                                                                                                                                                                                                                                                                                                                                                                                                                                                 Case 2:09-md-02047-EEF-MBN Document 21527-2 F ed 07/16/18 Page 1 of 9

Claimant Source      Claimant Name              Affected Property      City           State   Zip     Omni(s)              Date of Earliest PPF    Indicia    Verified    Type of Verficiation     Counsel's Declaration                                                               Product         Type of Indicia Description of Markings      Markings # from    Product       Current Owner as of    Ownership Status of   Proof of Ownership Per      Purchase Date Per   Sell Date if Applicable Counsel                            Counsel Address                  Counsel Phone    Counsel Email                                                           Global,                                                                Pre-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Amount Owed
Identifier                                      Address                                                                     Filed Taishan (Yes/No) (Yes/No)   Square      Provided Uploaded to       Verifying Square     2017 RS Means                                                Brand(s)                                                     Taishan Product ID Bucket(s)     May-August 2017 Per    Named Claimant Per         BrownGreer                BrownGreer       or Current Owner Per                                                                                                                                                               Banner, InEx                                                         Remediation                                                                                                                                                Aware property                                                                            Date Sold or                                                                                                                                                                                                                  Who Performed
                                                                                                                                                                                                                                                2017 Cost Per SF    2017 Remediation                                                                                                                                                                                                                                                                                                                                                         Already                                                                                                                  VA        Holdback                              Remediation                                                                                   If no, when did                                                                           Assign any       Expressly                       Court                                                                               on        Date of                       Partially or                                                               Date          Alternative
                                                                                                                                Omni                          Footage           Sharefile                Footage         Residential Location                                                                                                       Catalog                              BrownGreer            BrownGreer                                                              BrownGreer                                                                                                                            Pilot Program               Knauf        Repair and                 Foreclosure Lost Rent,                   Alternative                                      Remediation                                                   Residential or Date Property   Date CDW      had CDW at                    If CDW Installed Before Purchase, Date you Assignment of   Transferred                                                                                                                   Foreclosure or                              Short Sale Price                   Dates of           Work to     Total Cost for                                          Loss of Use  Diminution of
                                                                                                                                                                                                                                                [B = A x $109.85]      Damages                                                                                                                                                                                                                                                                                                                                                              Remediated                            Bodily Injury                             Miscellaneous             Tenant Loss Settlement    Payment                   KPT %       Complete by     SPPF Completed?                                                                 you become                                                                              Rights with   Retain Rights to   Bankruptcy    Bankruptcy       Date of Filing   Docket No.   Present Status                  Loan/Mortgage Foreclosure or                   Completely                                                               Remediation       Living                                                                                 SPPF Comments/ Notes
                                                                                                                                                                                                                               Factor                                                                                                                                                                                                                                                                                                                                                                                          Payments                Remediation    Relocation                or Short Sale Use, or Sales                  Living                                          Option                                                      commercial?      Acquired       Installed      time of                            Learned it Contained CDW               Rights?       Property if                                                                                                                   Short Sale?                                 (if applicable)                  Remediation        Remediate     Remediation                                           and Enjoyment    Value
                                                                                                                                                                                                                                                                        [SF x B]                                                                                                                                                                                                                                                                                                                                                           Home (ARH)                                                                                                             Gross Award   Amount                                  KPT?                                                                                            aware?                                                                                  Sale?       Pursue Claim?                     Filed In                                                                        at time of    Short Sale                    Remediated?                                                                Complete       Expenses
                                                                                                                                                                                                                                [A]                                                                                                                                                                                                                                                                                                                                                                                                                                   Expenses                                                             Expenses                                                                                                                                                    purchase?                                                                                Applicable                                                                                                                                                                                                                     Property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Foreclosure
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        (GBI)                                                              (PRALE)
   1    Ex 10/79 &   8227 Oak Street, LLC       104 Covington         Covington       LA      70433   [XV], [XVI],            7/5/2011   Yes      Yes           890      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "CHINA, MEETS OR         21                      I           8227 OAK STREET LLC     Owner as of 6/9/15     Condo Dues                      7/8/2015           Current Owner      Paul A. Lea, Jr., APLC               Paul A. Lea, Jr., Esq.           (985) 292-2300   jean@paullea.com                                                                                                                                                                                                                     2.28.18                                                                                        Corrosion Problems, A/C coils failed, Blackening
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Completely     May 2012 thru          GenBuilt
        Omni XX                                 Meadows, Circle, Unit                                 [XVII], [XX]                                                       Plan and Square Footage                                0.79                 86.78              $77,234                                       EXCEEEDS ASTM C13"                                                                                                                                                                                                     724 East Boston Street                                                                                                                                                                                                                        N/A              0%            No                             Commercial      10/18/2003      2/1/2008          No           5/2011        of copper surfaces and Failure of various                     //                                            No                               //                                                                            //                                                                                58,988.23         11/2012                         49,400.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           remediated     November 2012         Company
                                                A                                                                                                                                                                                                                                                                     matches DIG #3                                                                                                                                                                                                         Covington, LA 70433                                                                                                                                                                                                                                                                                                                                                                                electrical appliances
   2    Ex 10/79 &   8227 Oak Street, LLC       104 Covington         Covington       LA      70433   [XV], [XVI],            7/5/2011   Yes      Yes          1476      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "CHINA, MEETS OR         15                      I           8227 OAK STREET LLC     Owner as of 6/9/15     Tax Records + Title/Deed       10/18/2002          Current Owner      Paul A. Lea, Jr., APLC               Paul A. Lea, Jr., Esq.           (985) 292-2300   jean@paullea.com                                                                                                                                                                                                                     2.28.18                                                                                        Corrosion Problems, A/C coils failed, Blackening
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Completely     May 2012 thru          GenBuilt
        Omni XX                                 Meadows, Circle, Unit                                 [XVII], [XX]                                                       Plan and Square Footage                                0.79                 86.78             $128,087                                       EXCEEEDS ASTM C13"                                                                                                                                                                                                     724 East Boston Street                                                                                                                                                                                                                        N/A              0%            No                             Commercial      10/18/2003      2/1/2008          No           5/2011        of copper surfaces and Failure of various                     //                                            No                               //                                                                            //                                                                                58,988.23         11/2012                         65,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           remediated     November 2012         Company
                                                G                                                                                                                                                                                                                                                                     matches DIG #3                                                                                                                                                                                                         Covington, LA 70433                                                                                                                                                                                                                                                                                                                                                                                electrical appliances
   3    Ex 10/79 &   8227 Oak Street, LLC       104 Covington         Covington       LA      70433   [XV], [XVI],            7/5/2011   Yes      Yes          1476      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "EXCEEDS ASTM C1396-04 21                        I           8227 OAK STREET LLC     Owner as of 6/9/15     Tax Records + Title/Deed       10/18/2002          Current Owner      Paul A. Lea, Jr., APLC               Paul A. Lea, Jr., Esq.           (985) 292-2300   jean@paullea.com                                                                                                                                                                                                                     2.28.18                                                                                        Corrosion Problems, A/C coils failed, Blackening
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Completely     May 2012 thru          GenBuilt
        Omni XX                                 Meadows, Circle, Unit                                 [XVII], [XX]                                                       Plan and Square Footage                                0.79                 86.78             $128,087                                       STANDARD" matches DIG #3                                                                                                                                                                                               724 East Boston Street                                                                                                                                                                                                                        N/A              0%            No                             Commercial      10/18/2003      2/1/2008          No           5/2011        of copper surfaces and Failure of various                     //                                            No                               //                                                                            //                                                                                58,988.23         11/2012                         65,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           remediated     November 2012         Company
                                                H                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Covington, LA 70433                                                                                                                                                                                                                                                                                                                                                                                electrical appliances
   4    Ex 10/79 &   8227 Oak Street, LLC       104 Covington         Covington       LA      70433   [XV], [XVI],            7/5/2011   Yes      Yes          1476      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MEETS OR EXCEEDS        18                      I           8227 OAK STREET LLC     Owner as of 6/9/15     Tax Records + Title/Deed       10/18/2002          Current Owner      Paul A. Lea, Jr., APLC               Paul A. Lea, Jr., Esq.           (985) 292-2300   jean@paullea.com                                                                                                                                                                                                                     2.28.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Corrosion Problems, A/C coils failed, Blackening
        Omni XX                                 Meadows, Circle, Unit                                 [XVII], [XX]                                                       Plan and Square Footage                                                                                                                      ASTM C1396-04                                                                                                                                                                                                          724 East Boston Street                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Completely     May 2012 thru          GenBuilt
                                                                                                                                                                                                                                0.79                 86.78             $128,087                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A              0%            No                             Commercial      10/18/2003      2/1/2008          No           5/2011        of copper surfaces and Failure of various                     //                                            No                               //                                                                            //                                                                                58,988.23         11/2012                         65,000.00
                                                I                                                                                                                                                                                                                                                                     STANDARD" matches DIG #3                                                                                                                                                                                               Covington, LA 70433                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           remediated     November 2012         Company
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                electrical appliances

   5    Ex 10/79 &   8227 Oak Street, LLC       104 Covington         Covington       LA      70433   [XV], [XVI],            7/5/2011   Yes      Yes          1476      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS 18, 21                     I           8227 OAK STREET LLC     Owner as of 6/9/15     Tax Records + Title/Deed       10/18/2002          Current Owner      Paul A. Lea, Jr., APLC           Paul A. Lea, Jr., Esq.               (985) 292-2300   jean@paullea.com                                                                                                                                                                                                                     2.28.18                                                                                        Corrosion Problems, A/C coils failed, Blackening
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Completely     May 2012 thru          GenBuilt
        Omni XX                                 Meadows, Circle, Unit                                 [XVII], [XX]                                                       Plan and Square Footage                                0.79                 86.78             $128,087                                       OR EXCEEEDS ASTM C13"                                                                                                                                                                                              724 East Boston Street                                                                                                                                                                                                                            N/A              0%            No                             Commercial      10/18/2003      2/1/2008          No           5/2011        of copper surfaces and Failure of various                     //                                            No                               //                                                                            //                                                                                58,988.23         11/2012                         65,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           remediated     November 2012         Company
                                                J                                                                                                                                                                                                                                                                     matches DIG #3                                                                                                                                                                                                     Covington, LA 70433                                                                                                                                                                                                                                                                                                                                                                                    electrical appliances
   6    Ex 10/79 &   8227 Oak Street, LLC       106 Covington         Covington       LA      70433   [XV], [XVI],            7/5/2011   Yes      Yes          1476      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "CHINA, MEETS OR        15                       I           8227 OAK STREET LLC     Owner as of 6/9/15     Tax Records + Title/Deed       10/18/2002          Current Owner      Paul A. Lea, Jr., APLC           Paul A. Lea, Jr., Esq.               (985) 292-2300   jean@paullea.com                                                                                                                                                                                                                     2.28.18                                                                                        Corrosion Problems, A/C coils failed, Blackening
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Completely     May 2012 thru          GenBuilt
        Omni XX                                 Meadows Circle, Unit                                  [XVII], [XX]                                                       Plan and Square Footage                                0.79                 86.78             $128,087                                       EXCEEEDS ASTM C13"                                                                                                                                                                                                 724 East Boston Street                                                                                                                                                                                                                            N/A              0%            No                             Commercial      10/18/2003      2/1/2008          No           5/2011        of copper surfaces and Failure of various                     //                                            No                               //                                                                            //                                                                                58,988.23         11/2012                         59,800.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           remediated     November 2012         Company
                                                D                                                                                                                                                                                                                                                                     matches DIG #3                                                                                                                                                                                                     Covington, LA 70433                                                                                                                                                                                                                                                                                                                                                                                    electrical appliances
   7    Ex 10/79     Adams, Eddie and Rose      900 Union Avenue      Bogalusa        LA      70427   [III], [VII],          10/7/2009   Yes      Yes          2066      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "IN CHINA MEET OR EX.." 20                       I           ADAMS, EDDIE J. ET UX Owner as of 6/9/15       City or County Tax             11/28/2007          Current Owner      Becnel Law Firm/ Morris Bart LLC Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.14.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Received a letter from supplier that he sold
                                                                                                      [XV], [XVI],                                                       Plan and Square Footage                                                                                                                      matches DIG #3                                                                                              Records                                                                                                Becnel Law Firm, LLC                                                                                                                                                                                                                                               No
                                                                                                                                                                                                                                0.79                 86.78             $179,296                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential    11/28/2004       //2008           No           8/2009      Chinese Drywall to me. Drywall was installed                    //                                            No                               //                                                                            //                            No                                                                                                    55,000.00                                                    Had to replace my AC coils. Spent $600.37.
                                                                                                      [XVII]                                                                                                                                                                                                                                                                                                                                                                                                                             425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                     Inspection                                                                                                                         due to damage from Katrina
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         LaPlace, LA 70064
   8    Ex 10/79     Adcock, Jerry              3612 Chalona Drive     Chalmette      LA      70043   [XV], [XVI],            7/5/2011   Yes      Yes          1602      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "China Crescent City"         27                 D           ADCOCK, JERRY R.        Owner as of 6/9/15     City or County Tax              5/23/2013          Current Owner      Barrios, Kingsdorf & Casteix     Dawn M. Barrios, Esq.                (504) 523-3300   DBarrios@bkc-law.com                                                                                                                                                                                                                 4.11.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                         Inspection performed in January 2012
                                                                                                      [XVII]                                                              Document with Square                                  0.86                 94.47             $151,341                                                                                                                                                   Records                                                                                                701 Poydras Street, Suite 3650                                                                                                                                                                                                                    N/A                            No                              Residential     3/28/2008      1/8/2009          No           1/2012                                                                      //                                            No                               //                                                                            //                            No                                                                                                   250,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                  confirmed the presence of Chinese drywall.
                                                                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                                 New Orleans, LA 70139
   9    Ex 10/79     Allen, Cathy Williams      3380 Montgomery        Mandeville     LA      70448   [IX], [XV],             5/5/2011   Yes      Yes          1154               Other                    Yes                                                                         Chinese        Photo           "Manufactured to Conform to 37                   C           WILLIAMS, CATHERINE Owner as of 6/9/15         Tax Records + Title/Deed        6/27/2002          Current Owner      Whitfield, Bryson & Mason        Dan Bryson, Esq.                     919-600-5000     dan@wbmllp.com                                                                                                                                                                                                                       4.5.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                             Completely        09/2011 -         Habitat For
                                                Street                                                [XVI], [XVII]                                                                                                             0.79                 86.78             $100,144        Manufacturer 2                 ASTM C36 Made in China                                       MARIE                                                                                                                                                 900 W. Morgan Street                                                                                                                                                                                                                              N/A                            No                              Residential     2/1/2002      12/1/2001          No           4/2009                                                                      //                                            No                               //                                                                            //                                                                                                   2/2012
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated         02/2012           Humanity
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Raleigh, NC 27603
  10    Ex 10/79     Alonzo, Lana               3205 Maureen Lane      Meraux         LA      70075   [III], [VII],          10/7/2009   Yes      Yes          1550      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS 15                         I           ALONZO, LANA            Owner as of 6/9/15     City or County Tax              4/5/2011           Current Owner      Gainsburgh Benjamin              Gerald Meunier, Esq.                 (504) 522-2304   gmeunier@gainsben.com                                                                                                                                                                                                                3.30.18
                                                                                                      [XV], [XVI],                                                        Document with Square                                                                                                                        OR EXCEEEDS" matches DIG                                     GONZALES                                       Records                                                                                                2800 Energy Centre                                                                                                                                                                                                                                                 No
                                                                                                                                                                                                                                0.86                 94.47             $146,429                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential      //2006       10/1/2006          No                                            News                                       //                                            No                               //                                                                            //                            No
                                                                                                      [XVII]                                                                     Footage                                                                                                                              #3                                                                                                                                                                                                                 1100 Poydras Street                                                                                                                                                                                                                                             Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
  11    Ex 10/79     Alveris, Nina Ricci,       3009 Oak Drive         Violet         LA      70092   [XIII], [XV],           7/5/2011   Yes      Yes          1639        Inspection Showing              Yes                                                                         Crescent City   Photo          "Crescent City Gypsum         27                 D           ALVERIS, NINARICCI      Owner as of 6/9/15     City or County Tax              7/19/2006          Current Owner      Barrios, Kingsdorf & Casteix     Dawn M. Barrios, Esq.                (504) 523-3300   DBarrios@bkc-law.com                                                                                                                                                                                                                 2.15.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                        Inspection performed in September 2011
                     Dwight, Sr., Herbert and                                                         [XVI], [XVII]                                                       Floor Plan and Under                                  0.86                 94.47             $154,836                                       Incorporated"                                                VERNEK                                         Records                                                                                                701 Poydras Street, Suite 3650                                                                                                                                                                                                                    N/A                            No                              Residential     5/30/2006      8/1/2007          No           9/2011                                                                      //                                            No                               //                                                                            //                            No                                                                                                   250,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                  confirmed the presence of Chinese drywall.
                     Ballard, Nita                                                                                                                                         Air Square Footage                                                                                                                                                                                                                                                                                                                                            New Orleans, LA 70140
  12    Ex 10/79     Ambrose, Rosalie           7631 Scottwood Drive New Orleans      LA      70128   [II], [VII], [XV],     3/15/2010   Yes      Yes          1320        Inspection Showing              Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET      20                      I           AMBROSE ROSALIE         Owner as of 6/9/15     City or County Tax              2/8/1991           Current Owner      Bruno & Bruno, LLP               Joseph Bruno, Esq.                   (504) 525-1355   jbruno@brunobrunolaw.com                                                                                                                                                                                                             3.15.18                                                                                          I smelled an odor beginning in November of
                                                                                                      [XVI], [XVII]                                                       Floor Plan and Under                                                                                                                        OR EXCEEEDS ASTM C1396                                                                                      Records                                                                                                855 Baronne Street                                                                                                                                                                                                                                                 No                                                                                                                      2007. Property was inspected in August 2009
                                                                                                                                                                                                                                0.86                 94.47             $124,700                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential     2/8/1991        //2007           No          11/2007                                                                      //                                            No                               //                                                                            //                            No                                                                                                   250,000.00
                                                                                                                                                                           Air Square Footage                                                                                                                         04 STANDARD" matches DIG                                                                                                                                                                                           New Orleans, 70113                                                                                                                                                                                                                                              Inspection                                                                                                                     and it was confirmed that the property
                                                                                                                                                                                                                                                                                                                      #3                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      contained Chinese drywall.
  13    Ex 10/79     Anderson, Clarence and     4113 Willow Street     New Orleans    LA      70115   [III], [VII],          10/7/2009   Yes      Yes           713      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA" and      17                      I           ANDERSON CLARENCE Owner as of 6/9/15           City or County Tax              1/10/2007          Current Owner      Martzell & Bickford                  Scott Bickford, Esq.             (504) 581-9065   srb@mbfirm.com                                                                                                                                                                                                                       3.20.18
                     Constance                                                                        [XV], [XVI],                                                        Document with Square                                                                                                                        "ASTM C1396 04                                               J JR                                           Records                                                                                                    338 Lafayette Street                                                                                                                                                                                                                                           No                                                                                                                      Saw reports on local news and found Chinese                                                                                                                                                                                                            Completely        July 2009 -       Self and Mr.
                                                                                                                                                                                                                                0.86                 94.47              $67,357                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                                              1/10/2007     6/11/2007          No                                                                                       //                                            No                               //                                                                            //                                                                                                   2/2012
                                                                                                      [XVII]                                                                     Footage                                                                                                                              STANDARD" matches DIG #3                                      ANDERSON                                                                                                                                                 New Orleans, LA 70130                                                                                                                                                                                                                                       Inspection                                                                                                                                   drywall.                                                                                                                                                                                                                             remediated       August 2012         Reynolds
                                                                                                                                                                                                                                                                                                                                                                                   CONSTANCE P
  14    Ex 10/79     Anderson, Clarence and     4115 Willow Street     New Orleans    LA      70115   [III], [VII],          10/7/2009   Yes      Yes           713      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEETS 17                          I           ANDERSON CLARENCE Owner as of 6/9/15           City or County Tax              1/10/2007          Current Owner      Martzell & Bickford                  Scott Bickford, Esq.             (504) 581-9065   srb@mbfirm.com                                                                                                                                                                                                                       3.20.18
                     Constance                                                                        [XV], [XVI],                                                        Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                        J JR                                           Records                                                                                                    338 Lafayette Street                                                                                                                                                                                                                                           No                                                                                                                      Saw reports on local news and found Chinese                                                                                                                                                                                                            Completely        July 2009 -       Self and Mr.
                                                                                                                                                                                                                                0.86                 94.47              $67,357                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                                              1/10/2007     6/11/2007          No                                                                                       //                                            No                               //                                                                            //                                                                                 35,000            2/2012                         76,176.00
                                                                                                      [XVII]                                                                     Footage                                                                                                                              04 STANDARD" matches DIG                                      ANDERSON                                                                                                                                                 New Orleans, LA 70130                                                                                                                                                                                                                                       Inspection                                                                                                                                   drywall.                                                                                                                                                                                                                             remediated       August 2012         Reynolds
                                                                                                                                                                                                                                                                                                                      #3                                                           CONSTANCE P
  15    Ex 10/79     Anderson, Clarence and     7510 Dalewood          New Orleans    LA      70126   [XV], [XVI],            7/5/2011   Yes      Yes          1978      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET      17, 20                  I           ANDERSON CLARENCE Owner as of 6/9/15           City or County Tax              10/9/1987          Current Owner      Martzell & Bickford                  Scott Bickford, Esq.             (504) 581-9065   srb@mbfirm.com                                                                                                                                                                                                                       3.20.18                                                                                                                                                                                                                                                                                                                                                                                                 83,500 paid by
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Magic Makeover
                     Constance                                                                        [XVII]                                                             Plan and Square Footage                                                                                                                      OR EXCEEDS ASTM C1396                                        J JR                                           Records                                                                                                    338 Lafayette Street                                                                                                                                                                                                                                           No                                                                                                                     After local news reports, I checked my homes                                                                                                                                                                                                            Completely        12/2014 -                      Road Home and
                                                                                                                                                                                                                                0.86                 94.47             $186,862                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                                              10/9/1987     6/21/2007          No                                                                                       //                                            No                               //                                                                            //                                                           Construction,                           2/2015         5,700.00
                                                                                                                                                                                                                                                                                                                      04 STANDARD"                                                  PAPPAS WIFE                                                                                                                                              New Orleans, LA 70130                                                                                                                                                                                                                                       Inspection                                                                                                                drywall and discovered it was Chinese drywall.                                                                                                                                                                                                          remediated         2/2015                         17,321.97 by
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   LLC
                                                                                                                                                                                                                                                                                                                                                                                   CONSTANCE                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    myself
  16    Ex 10/79     Antoine, Carol             209 Llama Drive        Arabi          LA      70032   [IX], [XV],             5/5/2011   Yes      Yes          1456      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET           13                 I           HEFT, CAROL PHYLLIS Owner as of 6/9/15         Tax Records + Title/Deed        7/13/1999          Current Owner      Barrios, Kingsdorf & Casteix         Dawn M. Barrios, Esq.          (504) 523-3300     DBarrios@bkc-law.com                                                                                                                                                                                                                 3.22.18                                                                                                                                                                                                                                                                                                                                                                                                     37,740.70(Labor
                                                                                                      [XVI], [XVII]                                                       Document with Square                                                                                                                        OR" matches DIG #3                                                                                                                                                                                                     701 Poydras Street, Suite 3650                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Only) - Supplies
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                         Inspection performed in October 2010                                                                                                                                                                                                                Completely     November 2012-        Hardouin
                                                                                                                                                                                 Footage                                        0.86                 94.47             $137,548                                                                                                                                                                                                                                                              New Orleans, LA 70141                                                                                                                                                                                                                         N/A                            No                              Residential     7/13/1999      1/1/2008          No          10/2010                                                                      //                                            No                               //                                                                            //                                                                              and Materials        5/2013         8,750.00       125,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                  confirmed the presence of Chinese drywall.                                                                                                                                                                                                            remediated        May 2013          Construction
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Receipts to be
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   uploaded
  17    Ex 10/79     Antoun, Ivan               3604-3606 Pakenham Chalmette          LA      70043   [III], [IX], [XV],     10/7/2009   Yes      Yes          1976      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA" matches 13                       I           ANTOUN, IVAN M.         Owner as of 6/9/15     City or County Tax              2/2/2009           Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                               3.23.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     other damages:
                                                Drive                                                 [XVI], [XVII]                                                      Plan and Square Footage                                                                                                                      DIG #3                                                                                                      Records                                                                                                    8301 W. Judge Perez Drive,                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                             Completely
                                                                                                                                                                                                                                0.86                 94.47             $186,673                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Commercial       8/31/2006     7/??/2007          No           1/2010       report by materials analytical services, inc.                  //                                            No                               //                                                                            //                                       1/2011 - 4/2011          self            68,000.00          4/2011                         96,400.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Suite 303                                                                                                                                                                                                                                                   Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Loss of use: $6400.00 for lost rentals for 4 months plus 45 months x $2000 ($90,000.00) =
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Chalmette, LA 70043
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   $96,400.00
  18    Ex 10/79     Arnold, Gloria             4385 Genoa Road        New Orleans    LA      70129   [II], [IX], [XV],      3/15/2010   Yes      Yes          3401        Inspection Showing              Yes                                                                         Crescent City   Photo          "Incorporated Manufactured"   27                 D           ARNOLD GLORIA J         Owner as of 6/9/15     City or County Tax             10/30/2009          Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.   504-271-8422        storres@torres-law.com                                                                                                                                                                                                               3.23.18
                                                                                                      [XVI], [XVII]                                                       Floor Plan and Under                                                                                                                                                                                                                                    Records                                                                                                    8301 W. Judge Perez Drive,                                                                                                                                                                                                                                     No
                                                                                                                                                                                                                                0.86                 94.47             $321,311                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential    10/30/2006     8/??/2009          No           1/2010       report by materials analytical services, inc.                  //                                            No                               //                                                                            //                            No                                                                                                   200,000.00      211.057.00
                                                                                                                                                                           Air Square Footage                                                                                                                                                                                                                                                                                                                                                Suite 303                                                                                                                                                                                                                                                   Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Chalmette, LA 70043
  19    Ex 10/79     Atianzar, Pedro and        3004 Nancy Street      Meraux         LA      70075   [II(A)], [III(A)],     9/16/2010   Yes      Yes          1085      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS 14, 15                     H, I        ATIANZAR, PEDRO V.,     Owner as of 6/9/15     City or County Tax              1/27/2011          Current Owner      Baron & Budd, P.C.                   Russell Budd, Esq.            (214) 521-3605      rbudd@baronbudd.com                                                                                                                                                                                                                  4.23.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Magic Makeover
                     Sandra                                                                           [XV], [XVI],                                                        Document with Square                                                                                                                        OR EXCEEDS ASTM C1396-                                       JR.                                            Records                                                                                                    Baron & Budd
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                        Strong odor prompted investigation of the                                                                                                                                                                                                            Completely      May through        Construction,                                                                                           In addition to the rent for the alternative living space we also had to pay water, gas, and electricity
                                                                                                      [XVII]                                                                     Footage                                        0.86                 94.47             $102,500                                       04" and Taihe blue-aqua paper                                                                                                                                                                                          3102 Oak Lawn Ave., Ste. 1100                                                                                                                                                                                                                 N/A                            No                              Residential     7/16/1997      8/1/2007          No            2010                                                                       //                                            No                               //                                                                            //                                                                                50,811.00         11/2015         9,282.00       100,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                            drywall in the property.                                                                                                                                                                                                                    remediated     November 2015        LLC (Darrell                                                                                                                                     for two residences.
                                                                                                                                                                                                                                                                                                                      end tape                                                                                                                                                                                                               Dallas, TX 75219                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Turner)

  20    Ex 10/79     Aubert, John and Pamela 7400 Mayo Blvd.           New Orleans    LA      70126   [III], [VII],          10/7/2009   Yes      Yes          1800      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA" matches 20                       I           AUBERT JOHN P JR        Owner as of 6/9/15     City or County Tax              3/26/2003          Current Owner      Reich & Binstock                     Dennis Reich, Esq.               (713) 352-7883   DReich@reichandbinstock.com                                                                                                                                                                                                          4.4.18                                                                                                                                                                                                                                                                                                                                                                                   Magic Makeover
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     After Hurricane Katrina destroyed the home,
                                                                                                      [XV], [XVI],                                                        Document with Square                                                                                                                        DIG #3                                                       AUBERT PAMELA                                  Records                                                                                                    4265 San Felipe, Suite 1000                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Construction,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                     leaving seven (7) feet of water in the residence.                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                                0.86                 94.47             $170,046                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential     1/1/1996      ??/??/2006         No          11/2013                                                          No       ??/??/??         No              No              No                               //                                                                            //                                          May, 2015       Darrell Turner:      $68,000.00         10/2015           0.00             ???        Not applicable.
                                                                                                      [XVII]                                                                     Footage                                                                                                                                                                                                                                                                                                                                                     Houston, TX 77027                                                                                                                                                                                                                                           Inspection                                                                                                                Noticed sour smells in home and black electrical                                                                                                                                                                                                        remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              504.905.4581
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          wiring in home. In August of 2010.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                (mobile)
  21    Ex 10/79     Avenue A, LLC (D.J.        6700 Avenue A          New Orleans    LA      70124   [III], [IX], [XV],     10/7/2009   Yes      Yes          2369      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA" matches 20                       I           AVENUE A LLC            Owner as of 6/9/15     Tax Records + Title/Deed        6/23/2006          Current Owner      Allison Grant, P.A. Baron & Budd, Russell Budd, Esq.            (214) 521-3605         rbudd@baronbudd.com                                                                                                                                                                                                                  3.20.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Air conditioner broke down in September 2009
                     Craven, Member)                                                                  [XVI], [XVII]                                                      Plan and Square Footage                                                                                                                      DIG #3                                                                                                                                                                            P.C. Alters Boldt Brown Rash &    Baron & Budd
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                        and Chinese drywall was suspected. The                                                                                                                                                                                                                 Partially    September 2009
                                                                                                                                                                                                                                0.86                 94.47             $223,799                                                                                                                                                                                                                         Culmo                             3102 Oak Lawn Ave., Ste. 1100                                                                                                                                                                                                                    N/A                            No                              Residential     2/8/2007      4/??/2007          No          10/2009                                                                      //                                            No                               //                                                                            //                                                                Self            30,000.00                                         11,650.00       50,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                presence of Chinese drywall was confirmed in                                                                                                                                                                                                            remediated        to present
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219                                                                                                                                                                                                                                                                                                                                                                                         October of 2009.

  22    Add. Taishan Back, Charles              1215 Magnolia Alley    Mandeville     LA      70471   [II(C)], [III],        10/7/2009   Yes      Yes          1768              Other                     Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS         17                 I           BACK, CHARLES D SR      Owner as of 6/9/15     Tax Records + Title/Deed 2/15/2008              Current Owner         The Lambert Firm                     Hugh Lambert, Esq.               (504) 529-2931   hlambert@thelambertfirm.com                                                                                                                                                                                                          3.21.18                                                                                                                                                                                                                                                                                                                                                                                  Martin Homes
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                        We felt ill and had a sample of our drywall                                                                                                                                                                                                          Completely       11/1/2009 -
        Prop.                                                                                         [VII], [XV],                                                                                                              0.79                 86.78             $153,427                                       OR EXCEEDS ASTM"                                             ETUX                                                                                                                                                      701 Magazine St,                                                                                                                                                                                                                              N/A                            No                              Residential     3/8/2008      6/12/2007          No           9/2008                                                                      //                                            No                               //                                                                            //                                                            and Gerson          62,986.02          3/2010        14,876.37
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                tested and it tested positive for Chinese drywall.                                                                                                                                                                                                      remediated        3/10/2010
                                                                                                      [XVI], [XVII]                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans LA 70130                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Carrillo
  23    Ex 10/79     Bailey, Delores            2213 Beachhead Lane Violet            LA      70092   [II], [VII], [XV],     3/15/2010   Yes      Yes          1928        Inspection Showing              Yes                                                                         Crescent City   Photo          "Crescent City"               27                 D           BAILEY, DELORES         Owner as of 6/9/15     City or County Tax              8/20/2008          Current Owner      Bruno & Bruno, LLP                   Joseph Bruno, Esq.               (504) 525-1355   jbruno@brunobrunolaw.com                                                                                                                                                                                                             3.21.18                                                                                                                                                                                                                                                                                                                                                                                    Mayerhafer
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Property was inspected in August 2009 and it
                                                                                                      [XVI], [XVII]                                                       Floor Plan and Under                                                                                                                                                                                     JACKSON                                        Records                                                                                                    855 Baronne Street                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                             Completely     August 2014 to       Construction
                                                                                                                                                                                                                                0.86                 94.47             $182,138                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential     8/20/2008       //2007           No           8/2009       was confirmed that the property contained                      //                                            No                               //                                                                            //                                                                                71,352.81          3/2015          620.89        200,858.40
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated      March 2015           dba Oak E
                                                                                                                                                                           Air Square Footage                                                                                                                                                                                                                                                                                                                                                New Orleans, 70113                                                                                                                                                                                                                                                                                                                                                                                   Chinese drywall.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              (Road Home)
  24    Ex 10/79     Baker, Connie              2339 Valmont Street    New Orleans    LA      70115   [XIII], [XV],           7/5/2011   Yes      Yes          4423        Inspection Showing              Yes                                                                         Crescent City   Photo          "Made in China" and "Crescent 27                 D           BAKER CONNIE K          Owner as of 6/9/15     City or County Tax              5/28/1993          Current Owner      Bruno & Bruno, LLP                   Joseph Bruno, Esq.               (504) 525-1355   jbruno@brunobrunolaw.com                                                                                                                                                                                                             3.21.18                                                                                                                                                                                                                                                                                                                                                                                      Catholic
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Property was inspected in May 2011 and it was
                                                                                                      [XVI], [XVII]                                                       Floor Plan and Under                                                                                                                        City Gypsum Incorporated"                                                                                   Records                                                                                                    855 Baronne Street                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                             Completely      2011 (about 6         Charities
                                                                                                                                                                                                                                0.86                 94.47             $417,841                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Commercial       5/28/1993       //2008           No           5/2011     confirmed that the property contained Chinese                    //                                            No                               //                                                                            //                                                                                                    2011                          12,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated        months)         Archdiocese of
                                                                                                                                                                           Air Square Footage                                                                                                                                                                                                                                                                                                                                                New Orleans, 70113                                                                                                                                                                                                                                                                                                                                                                                       drywall.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              New Orleans
  25    Ex 10/79     Baker, Rudolph and Doris 2417 Flamingo Drive St. Bernard         LA      70085   [IX], [XV],             5/5/2011   Yes      Yes          1955      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China" and "Crescent 27                 D           BAKER, DORIS REGGIO Owner as of 6/9/15         City or County Tax             10/12/2012          Current Owner      Hurricane Legal Center, LLC          Jacob Young, Esq.                (504) 522-4322   jacob@jacobyounglaw.com                                                                                                                                                                                                              5.3.18
                                                                                                      [XVI], [XVII]                                                       Document with Square                                                                                                                        City Gypsum Incorporated"                                                                                   Records                                                                                                    Young Law Firm                                                                                                                                                                                                                                                 No
                                                                                                                                                                                                                                0.86                 94.47             $184,689                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential      //1970         //2006           No            2010                   Electrical breakdowns                               //                                                                                                                                                                                         No                                                                                                                   125,000.00
                                                                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                                     1010 Common St., Suite 3040                                                                                                                                                                                                                                 Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             New Orleans, LA 70112
  26    Ex 10/79     Banner, Tammy              1206 Aycort Street     Arabi          LA      70032   [III], [VII],          10/7/2009   Yes      Yes           700      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA" and      19                      I           BANNER, TAMMY M.        Owner as of 6/9/15     City or County Tax              1/27/2006          Current Owner      The Lambert Firm                     Hugh Lambert, Esq.               (504) 529-2931   hlambert@thelambertfirm.com                                                                                                                                                                                                          3.21.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                      2009 - Channel 4 News had reported to check                                                                                                                                                                                                              Partially                          self, DRS
                                                                                                      [XV], [XVI],                                                        Document with Square                                  0.86                 94.47              $66,129                                       "ASTM C1396" matches DIG                                                                                    Records                                                                                                    701 Magazine St,                                                                                                                                                                                                                              N/A                            No                              Residential     2/13/1997     12/1/2006          No                                                                                       //                                            No                               //                                                                            //                                        2011-present                            30,000.00                         1950.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                   your drywall - went into attic and found it                                                                                                                                                                                                          remediated                          Renovation
                                                                                                      [XVII]                                                                     Footage                                                                                                                              #3                                                                                                                                                                                                                     New Orleans LA 70130
  27    Ex 10/79     Baptiste, Harrison and     10831 Harrow Road      New Orleans    LA      70127   [III], [VII],          10/7/2009   Yes      Yes          2170        Inspection Showing              Yes                                                                         Taihe           Photo          "MADE IN CHINA MEETS 17, 18                      I           BAPTISTE HARRISON       Owner as of 6/9/15     City or County Tax              9/14/1995          Current Owner      Bruno & Bruno, LLP                   Joseph Bruno, Esq.               (504) 525-1355   jbruno@brunobrunolaw.com                                                                                                                                                                                                             3.21.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Property was inspected in December 2009 and
                     Regina                                                                           [XV], [XVI],                                                        Floor Plan and Under                                                                                                                        OR EXCEEDS ASTM C1396-                                       BAPTISTE REGINA A                              Records                                                                                                    855 Baronne Street                                                                                                                                                                                                                                             No
                                                                                                                                                                                                                                0.86                 94.47             $205,000                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential     9/14/1995      5/3/2007          No          12/2009      it was confirmed that the property contained                    //                                            No                               //                                                                            //                            No                                                                                                   250,000.00
                                                                                                      [XVII]                                                               Air Square Footage                                                                                                                         04 STANDARD" matches DIG                                                                                                                                                                                               New Orleans, 70113                                                                                                                                                                                                                                          Inspection                                                                                                                               Chinese drywall.
                                                                                                                                                                                                                                                                                                                      #3
  28    Ex 10/79     Baptiste, Judy             6131 Craigie Road      New Orleans    LA      70126   [II(B)], [III],        10/7/2009   Yes      Yes          1426      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA" matches 13, 17                   I           BAPTISTE JUDY           Owner as of 6/9/15     City or County Tax              5/31/2007          Current Owner      Whitfield, Bryson & Mason, LLP     Dan Bryson, Esq.                   919-600-5000     dan@wbmllp.com                                                                                                                                                                                                                       3.23.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No
                                                                                                      [XV], [XVI],                                                       Plan and Square Footage                                0.86                 94.47             $134,714                                       DIG #3                                                                                                      Records                                                               Don Barrett, PA Lovelace Law Firm, 900 W. Morgan Street                                                                                                                                                                                                                            N/A                            No                              Residential    ??/??/1993     ??/??/2008         No          ??/2010                    Inspection in 2010                                //                                            No                               //                                                                            //                            No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection
                                                                                                      [XVII]                                                                                                                                                                                                                                                                                                                                                                                            PA                                 Raleigh, NC 27603
  29    Ex 10/79     Bargky, David              14512 Tilbury Rd.      New Orleans    LA      70129   [VII], [XIII],         1/14/2011   Yes      Yes          1296      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Manufactured in P.R.C."      27                 D           BARGKY DAVID            Owner as of 6/9/15     Tax Records + Title/Deed       10/21/2002          Current Owner      Becnel Law Firm, LLC               Salvadore Christina, Jr., Esq.     (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             4.25.18                                                                                                                                                                                                                                                                                                                                                                                    Through the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                             Completely
                                                                                                      [XV], [XVI],                                                        Document with Square                                  0.86                 94.47             $122,433                                                                                                                                                                                                                                                            425 W. Airline Hwy, Suite B                                                                                                                                                                                                                     N/A                            No                              Residential     9/??/1991     5/??/2007          No           3/2010               Heard about it on the news.                            //                                            No                               //                                                                            //                                            2015            Road Home           unknown             2015          unknown          65,000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated
                                                                                                      [XVII]                                                                     Footage                                                                                                                                                                                                                                                                                                                                                   LaPlace, LA 70064                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Program
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       After the house was completed after Hurricane Katrina, we started experiencing problems with the
  30    Ex 10/79     Barisich, Frances and      408 Livingston Avenue Arabi           LA      70032   [III], [VII],          10/7/2009   Yes      Yes          1802      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "CHINA MEETS OR               18                 I           BARISICH, FRANCES 1/4, Owner as of 6/9/15      City or County Tax              9/22/2011          Current Owner      Herman, Herman & Katz              Russ Herman, Esq.                  (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.9.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      AC units losing Freon. For close to 3 years, we continued to purchase Freon and pay for it to be put
                     Joseph Barisich, George                                                          [XIII], [XV],                                                      Plan and Square Footage                                                                                                                      EXCEED"                                                      ETALS                                          Records                                                                                                  820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       into the AC unit. The next thong we did was change the coil. We continued to purchase and place
                     Sever-Barischi, Anne                                                             [XVI], [XVII]                                                                                                                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70113                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Freon into the AC unit. In June 2009 it was brought to our attention that our home was rebuilt with
                     Marie                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         This was because of Hurricane Katrina. Approx                                                                                                                                                                                                                                                                                                                                                     contaminated Chinese Drywall. We paid for the house to be inspected and was told again that it was
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    June 2009, we were having problems with AC                                                                                                                                                                                                                                               Road Home paid                                                                                          positively contaminated Chinese Drywall. We changed another coil and continued to place Freon into
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Approx June
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                      and had someone come check it. They found                                                                                                                                                                                                              Completely                           and Castle                                                                                             the AC unit. Until Summer of 2015 we had other appliances worked on and continued to purchase
                                                                                                                                                                                                                                0.86                 94.47             $170,235                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential      //1956       9/24/2008          No                                                                           No          //                                            No                               //                                                                            //                                           2015 -                               69,254.00         10/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                    Made in China on drywall. Then we got                                                                                                                                                                                                               remediated                          Construction                                                                                           Freon. The Freon cost was approx. $300 to $500 a bottle. The cost of this was almost $25,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          November 2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Colonial Inspection Service to test and it was                                                                                                                                                                                                                                          and Remodeling                                                                                          At the beginning, the receipts were not saved and the other receipts have since been misplaced when
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                positive for bad drywall                                                                                                                                                                                                                                                                                                                                                              the house was rebuilt. Road Home provided assistance to rebuild the house with non-contaminated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     drywall. Due to no one including Louisiana Health Center could confirm there would be no danger, al
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         the appliances, furniture bedding, towels and curtains were purchased new. These items were
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        purchased by us estimating the cost of $45,000 to $50,000. There are receipts for some of these
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       items and they are being retrieved
  31    Ex 10/79     Barlow, Regine and John 2644 Pelican Bay Blvd. Marrero           LA      70072   [III], [XV],           10/7/2009   Yes      Yes          1595      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA" matches 21                       I           BARLOW,JOHN B &         Owner as of 6/9/15     Tax Records + Title/Deed        7/31/2008          Current Owner      Galante & Bivalacqua, LLC            Scott Galante, Esq.          (504) 648-1858       scott@gb-lawfirm.com                                                                                                                                                                                                                 3.19.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Home has not
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No
                                                                                                      [XVI], [XVII]                                                      Plan and Square Footage                                0.86                 94.47             $150,680                                       DIG #3                                                       REGINE I BARLOW                                                                                                                                           650 Poydras St., Ste. 2615                                                                                                                                                                                                                    N/A                            No                              Residential     7/31/2008       //2006           No            2008                             N/A                                       //                                            No                               //                                                                            //                            No                                                                                      n/a              n/a       been put up for
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             New Orleans, Louisiana 70130                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          sale-unknown
  32    Ex 10/79     Bart, Eugene and Cynthia 5531 Rickert Drive       New Orleans    LA      70126   [III], [VII],          10/7/2009   Yes      Yes          2100      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET     17                       I           BART EUGENE M           Owner as of 6/9/15     City or County Tax              9/5/1985           Current Owner      Reich & Binstock                     Dennis Reich, Esq.           (713) 352-7883       DReich@reichandbinstock.com                                                                                                                                                                                                          4.4.18                                                                                                                                                                                                                                                                                                                                                                 In May of 2016 Torrance Small
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           80,000.00, will
                                                                                                      [XV], [XVI],                                                        Document with Square                                                                                                                        OR EXCEEDS" matches DIG                                      GOUGIS CYNTHIA L                               Records                                                                                                    4265 San Felipe, Suite 1000                                                                                                                                                                                                                                                                                                                                                            Appliances in the home began to malfunction                                                                                                                                                                                                                              began the      Construction
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                               Partially                                    supplement total
                                                                                                                                                                                                                                0.86                 94.47             $198,387                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential     6/??/1987     6/??/2007          No           6/2009     and began to experience a number of electrical       No          //                                            No                               //                                                                            //                                          process of      Company.                                  ??/??         8,000.00       200,000.00       Unknown
                                                                                                      [XVII]                                                                     Footage                                                                                                                              #3                                                                                                                                                                                                                     Houston, TX 77027                                                                                                                                                                                                                                           Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated                                           cost
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 issues in the home.                                                                                                                                                                                                                                      remediating the Telephone: 504-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           documentation.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              property.      289-0677.
  33    Ex 10/79     Batiste, Ben, Terrence,    5632 6th Street        Violet         LA      70092   [III], [VII],          10/7/2009   Yes      Yes          1750      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA" matches 20, 21                   I           BATISTE, GRALINA        Owner as of 6/9/15     City or County Tax              9/16/2011          Current Owner      Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq. (985) 536-1186     schristina@becnellaw.com                                                                                                                                                                                                             3.19.18                                                                                         Notice a rotten egg smell in the home and had
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                             Completely     January-March       Roy Kitchens
                     Frank and Gralina                                                                [XV], [XVI],                                                        Document with Square                                  0.86                 94.47             $165,323                                       DIG #3                                                       TAYLOR                                         Records                                                                                                    425 W. Airline Hwy, Suite B                                                                                                                                                                                                                   N/A                            No                              Residential     3/5/1994      9/??/2007          No           7/2009      an inspection done. Found Chinese Drywall in                    //                                            No                               //                                                                            //                                                                               102,000.00          3/2016        19,099.45        75,000.00                           Had repair expenses prior to the remediation of the home. These expenses totaled 1525.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated         2016            Contractors
                                                                                                      [XVII]                                                                     Footage                                                                                                                                                                                                                                                                                                                                                     LaPlace, LA 70064                                                                                                                                                                                                                                                                                                                                                                                        the home.
  34    Ex 10/79     Battie, Silas              4668 Corrinne Street   New Orleans    LA      70127   [III(A)], [VII],       9/16/2010   Yes      Yes          2544      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET           13, 17             I           BATTIE SILAS            Owner as of 6/9/15     City or County Tax              12/5/2006          Current Owner      Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq. (985) 536-1186     schristina@becnellaw.com
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No
                                                                                                      [XV], [XVI],                                                        Document with Square                                  0.86                 94.47             $240,332                                       OR" matches DIG #3                                           BATTIE RENEE' A                                Records                                                                                                    425 W. Airline Hwy, Suite B                                                                                                                                                                                                                   N/A                            No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection
                                                                                                      [XVII]                                                                     Footage                                                                                                                                                                                                                                                                                                                                                     LaPlace, LA 70064
  35    Ex 10/79     Bauman, Robert             5401 Bancraft Drive    New Orleans    LA      70112   [IX], [XV],             5/5/2011   Yes      Yes          3037        Inspection Showing              Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                  D           BAUMAN ROBERT           Owner as of 6/9/15     City or County Tax              9/28/2010          Current Owner      Bruno & Bruno, LLP                   Joseph Bruno, Esq.             (504) 525-1355     jbruno@brunobrunolaw.com                                                                                                                                                                                                             3.21.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                             Completely     November 2010     Hunter
                                                                                                      [XVI], [XVII]                                                       Floor Plan and Under                                  0.86                 94.47             $286,905                                       Gypsum Incorporated                                          BAUMAN ZIVAH H                                 Records                                                                                                    855 Baronne Street                                                                                                                                                                                                                            N/A                            No                              Residential     9/28/2010       //2008          Yes                                                                           Yes         //                                            No                               //                                                                            //                                                                                63,500.00          3/2011         6,000.00        82,299.57
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated     to March 2011 Enterprises, LLC
                                                                                                                                                                           Air Square Footage                                                                                                                         Manufactured in P.R.C."                                                                                                                                                                                                New Orleans, 70113
  36    Ex 10/79     Bean, Marquesa and         10200 Flossmoor Drive New Orleans     LA      70127   [II], [IX], [XV],      3/15/2010   Yes      Yes          1596        Builder's Floor Plan            Yes                                                                         Crescent City   Photo          "Crescent City Gypsum        27                  D           THE SECRETARY OF        Owner as of 6/9/15,    Tax Records + Title/Deed        4/13/2007             2/6/2017        Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.    504-271-8422       storres@torres-law.com                                                                                                                                                                                                               4.2.18
                     Shantez                                                                          [XVI], [XVII]                                                                                                                                                                                                   Incorporated"                                                HOUSING                 No Longer Owns                                                                                                                    8301 W. Judge Perez Drive,                                                                                                                                                                                                                                     No
                                                                                                                                                                                                                                0.86                 94.47             $150,774                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                                              4/13/2007     9/??/2007          No           1/2010       report by materials analytical services, inc.                  //                                            No                               //                                                                            //                            No                                                                                                   200,000.00
                                                                                                                                                                                                                                                                                                                                                                                   AND URBAN               Property                                                                                                                          Suite 303                                                                                                                                                                                                                                                   Inspection
                                                                                                                                                                                                                                                                                                                                                                                   DEVELOPMENT                                                                                                                                               Chalmette, LA 70043
  37    Ex 10/79     Beasley, Anika             7071 Whitmore Place New Orleans       LA      70128   [III], [IX], [XV],     10/7/2009   Yes      Yes          1812        Builder's Floor Plan            Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET           20                 I           BEASLEY ANIKA           Owner as of 6/9/15     City or County Tax              2/24/2011          Current Owner      Allison Grant, P.A. Baron & Budd, Russell Budd, Esq.                (214) 521-3605     rbudd@baronbudd.com                                                                                                                                                                                                                  3.19.18                                                                                            We had just purchased the home prior to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Hurricane Katrina. From April to October 2007
                                                                                                      [XVI], [XVII]                                                                                                                                                                                                   OR EXCEEDS ASTM"                                                                                            Records                                                               P.C. Alters Boldt Brown Rash &       Baron & Budd
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Chinese drywall was used throughout the house                                                                            U.S. Bankruptcy
                                                                                                                                                                                                                                                                                                                      matches DIG #3                                                                                                                                                                    Culmo                                3102 Oak Lawn Ave., Ste. 1100                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      she is mailing in
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     to repair the damage. Also a brand new air                                                                             Court, Eastern
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Dallas, TX 75219                                                                                                                                                                                                                                               No                                                                                                                                                                                                                                                                                                                                                                             Completely     October 2012 -       John Fields       receipts with a
                                                                                                                                                                                                                                0.86                 94.47             $171,180                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential     4/30/2005      4/1/2007          No           1/2010       conditioner unit and new appliances broke or                   //                                            Yes          District of     7/14/2017        17-11835       Pending                                           //                                                                                                   6/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated       June 2014          Contractor          total at that
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    stopped working. My daughter suffered with                                                                              Louisiana (New
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      time.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    an upper respiratory infection and pneumonia.                                                                              Orleans)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    We were then told about Chinese drywall and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 home was inspected.
  38    Ex 10/79     Bell, Dimple               6033 Campus Blvd.      New Orleans    LA      70126   [IX], [XV],             5/5/2011   Yes      Yes          1849      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEETS          19, 20             I           BELL DIMPLE G           Owner as of 6/9/15     City or County Tax             10/14/1991          Current Owner      Hurricane Legal Center, LLC          Jacob Young, Esq.                (504) 522-4322   jacob@jacobyounglaw.com                                                                                                                                                                                                              5.3.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Magic Makover
                                                                                                      [XVI], [XVII]                                                       Document with Square                                                                                                                        OR EXCEEDS ASTM"                                                                                            Records                                                                                                    Young Law Firm                                                                                                                                                                                                                                                 No                                                                                                                                                                                                                                                                                                                                                                             Completely
                                                                                                                                                                                                                                0.86                 94.47             $174,675                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential      //1991         //2007           No            2011                                                                       //                                            No                               //                                                                            //                                         2015-2016          Construction, 74,000.00 (est.)          2016         11,000.00
                                                                                                                                                                                 Footage                                                                                                                              matches DIG #3                                                                                                                                                                                                         1010 Common St., Suite 3040                                                                                                                                                                                                                                 Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             LLC (Contractor)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             New Orleans, LA 70112
  39    Ex 10/79     Belsom, Scott and Jennifer 2912 Bradbury Drive    Meraux         LA      70075   [III], [VII],          10/7/2009   Yes      Yes          2800      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEETS 20                          I           BELSOM, SCOTT J.        Owner as of 6/9/15     City or County Tax              2/9/2012           Current Owner      Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.15.18                                                                                             Consumer Safety Product Commission
                                                                                                      [XV], [XVI],                                                        Document with Square                                                                                                                        OR EXCEEDS" matches DIG                                                                                     Records                                                                                                    425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                                                                                                                                             inspected home and confirmed presence of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                             Completely
                                                                                                                                                                                                                                0.86                 94.47             $264,516                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential     6/4/2008        //2007           No           4/2009       Chinese Drywall in August 2009. I inspected                    //                                            No                               //                                                                            //                                         2010-2012              Self           $51,000.00         11/2012                         65,000.00
                                                                                                      [XVII]                                                                     Footage                                                                                                                              #3                                                                                                                                                                                                                     LaPlace, LA 70064                                                                                                                                                                                                                                           Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the home after hearing neighbors talking about
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      the issue.
  40    Ex 10/79     Benfatti, Mary C.          101 Coney Drive        Arabi          LA      70032   [IX], [XV],             5/5/2011   Yes      Yes          1723      Appraisal Showing Floor           Yes                                                                         Crescent City   Photo          "Crescent City Gypsum        27                  D           BENFATTI, MARY M.       Owner as of 6/9/15     City or County Tax              1/15/2009          Current Owner      Gainsburgh Benjamin                  Gerald Meunier, Esq.             (504) 522-2304   gmeunier@gainsben.com                                                                                                                                                                                                                3.30.18
                                                                                                      [XVI], [XVII]                                                      Plan and Square Footage                                                                                                                      Incorporated Manufactured in                                 CULLURA                                        Records                                                                                                    2800 Energy Centre                                                                                                                                                                                                                                             No
                                                                                                                                                                                                                                0.86                 94.47             $162,772                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential      1//1963       2/1/2007                                                                                                   //                                            No                               //                                                                            //                            No
                                                                                                                                                                                                                                                                                                                      P.R.C."                                                                                                                                                                                                                1100 Poydras Street                                                                                                                                                                                                                                         Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             New Orleans, LA 70163
  41    Add. Taishan Bernard, Warren and Faith 227 Mission Court       Avondale       LA      70094   [XV], [XVI],            7/5/2011   Yes      Yes          1417      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          Blue aqua Taihe edge tape     14                 H           BERNARD,WARREN J        Owner as of 6/9/15     City or County Tax         Unknown              Current Owner         The Lambert Firm                     Hugh Lambert, Esq.               (504) 529-2931   hlambert@thelambertfirm.com                                                                                                                                                                                                          3.22.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                          Chinese drywall was installed before I
        Prop.                                                                                         [XVII], [IX]                                                       Plan and Square Footage                                0.86                 94.47             $133,864                                                                                                                                                   Records                                                                                                    701 Magazine St,                                                                                                                                                                                                                              N/A                            No                              Residential     6/12/2007      5//2007           No           8/2008                                                          No          //            No              No              No                               //                                                                            //                            No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                               purchased home.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             New Orleans LA 70130
  42    Ex 10/79     Berry, Elaine and Kirk     13830 Pierre’s Court   New Orleans    LA      70129   [IX], [XV],             5/5/2011   Yes      Yes          1546      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Crescent City Gypsum         27                 D           BERRY KIRK D            Owner as of 6/9/15     City or County Tax              3/8/1996           Current Owner      Hurricane Legal Center, LLC          Jacob Young, Esq.                (504) 522-4322   jacob@jacobyounglaw.com                                                                                                                                                                                                              5.3.18
                                                                                                      [XVI], [XVII]                                                       Document with Square                                                                                                                        Incorporated"                                                BERRY ELAINE B                                 Records                                                                                                    Young Law Firm                                                                                                                                                                                                                                                 No                                                                                                                                                                                                                                                                                                                                                                             Completely     January 2016 to     Robert Wolfe
                                                                                                                                                                                                                                0.86                 94.47             $146,051                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential      //1996         //2008           No            2010                         Inspection                                    //                                            No                               //                                                                            //                                                                                 124,776           4/2016          13,200
                                                                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                                     1010 Common St., Suite 3040                                                                                                                                                                                                                                 Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated        April 2016       Construction
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             New Orleans, LA 70112
  43    Ex 10/79     Bertrand, Yolanda J.;      5535 Vermillion Blvd. New Orleans     LA      70122   [XV], [XVI],            7/5/2011   Yes      Yes          1823      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET     20                       I            JOSEPH CHARLES    Owner as of 6/9/15          City or County Tax              4/1/2011           Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               6.9.18
                     Joseph, Terry L., Charles,                                                       [XVII]                                                              Document with Square                                                                                                                        OR EXCEEDS" matches DIG                                       JOSEPH TERRY L                                Records                                                                                                    820 O'Keefe Avenue
                     Jr., Toran W. And Troylon                                                                                                                                   Footage                                                                                                                              #3                                                            JOSEPH CHARLES JR                                                                                                                                        New Orleans, LA 70113
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                             Completely
                                                                                                                                                                                                                                0.86                 94.47             $172,219                                                                                                     JOSEPH TORAN W                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                              Residential      9//1977        //2006                        9/2012                                                          No          //            No              No              No                               //                                                                            //                                                                Self            40000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated
                                                                                                                                                                                                                                                                                                                                                                                    BERTRAND YOLANDA
                                                                                                                                                                                                                                                                                                                                                                                   J
                                                                                                                                                                                                                                                                                                                                                                                    JOSEPH TROYLON
  44    RP           Bertucci, Elizabeth/ 5925 5925 Patton Street      New Orleans    LA      70115   [III(A)], [IX],        9/16/2010   Yes      Yes          3764      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET       20                     I           PATTON STREET LLC  Owner as of 6/9/15          Tax Records + Title/Deed        1/30/2009          Current Owner      Baron & Budd, P.C.                   Russell Budd, Esq.            (214) 521-3605      rbudd@baronbudd.com                                                                                                                                                                                                                  3.20.18
                     Patton Street, LLC                                                               [XV], [XVI],                                                       Plan and Square Footage                                                                                                                      OR EXCEEDS" and "C1396 04                                                                                                                                                                                              Baron & Budd
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No
                                                                                                      [XVII]                                                                                                                    0.86                 94.47             $355,585                                       STANDARD" matches DIG #3                                                                                                                                                                                               3102 Oak Lawn Ave., Ste. 1100                                                                                                                                                                                                                 N/A                            No                              Residential     1/9/2009       1/1/2008          No           5/2010                            N/A                                       //                                            No                               //                                                                            //                            No                                                                                                    200,000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Dallas, TX 75219

  45    Ex 10/79 &   Bienemy, Brandy Shelton 2820 Shannon Drive        Violet         LA      70092   [IX], [XV],             5/5/2011   Yes      Yes          1125        Builder's Floor Plan            Yes                                                                         Crescent City   Photo          "Manufactured in P.R.C." and 27                  D           SHELTON, BRANDY         Owner as of 6/9/15     City or County Tax              5/26/2000          Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                               3.26.18
        Omni XX                                                                                       [XVI], [XVII],                                                                                                                                                                                                  "Crescent City Gypsum"                                       ROBINSON                                       Records                                                                                                    8301 W. Judge Perez Drive,                                                                                                                                                                                                                                     No
                                                                                                                                                                                                                                0.86                 94.47             $106,279                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                                              4/14/2000     8/??/2007          No           3/2011       report by materials analytical services, inc.                  //                                            No                               //                                                                            //                            No                                                                                       0           200,000.00
                                                                                                      [XX]                                                                                                                                                                                                                                                                                                                                                                                                                                   Suite 303                                                                                                                                                                                                                                                   Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Chalmette, LA 70043
  46    Ex 10/79     Bienemy, Eric              2823 Daniel Drive      Violet         LA      70092   [II], [VII], [IX],     3/15/2010   Yes      Yes          1080      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Manufactured in P.R.C." and 27                  D           BEINEMY, ERIC           Owner as of 6/9/15     City or County Tax              3/30/2009          Current Owner      Bencomo & Associates                 Raul Bencomo, Esq.               (504) 289-2239   raul@bencomolaw.com
                                                                                                      [XV], [XVI],                                                        Document with Square                                                                                                                        "Crescent City Gypsum"                                       GERARD                                         Records                                                                                                    639 Loyola Avenue                                                                                                                                                                                                                                              No
                                                                                                                                                                                                                                0.86                 94.47             $102,028                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ARH                            No
                                                                                                      [XVII]                                                                     Footage                                                                                                                                                                                                                                                                                                                                                     Suite 2110                                                                                                                                                                                                                                                  Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             New Orleans, LA 70113
  47    Ex 10/79     Bierria, Cindy and         7631 Brevard Avenue New Orleans       LA      70127   [II], [VII], [XV],     3/15/2010   Yes      Yes          1769              Other                     Yes                                                                         Crescent City   Photo          "Manufactured in P.R.C." and 27                  D           BIERRIA NATHANIEL A Owner as of 6/9/15         City or County Tax             11/30/1993          Current Owner      Becnel Law Firm/ Morris Bart LLC Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             4.24.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Items were corroding in the house and heard
                     Nathaniel                                                                        [XVI], [XVII]                                                                                                                                                                                                   "Crescent City Gypsum"                                       SR                                             Records                                                                                                    Becnel Law Firm, LLC                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                             Completely      June 2015 to        C. Anderson
                                                                                                                                                                                                                                0.86                 94.47             $167,117                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential     12/9/1993     3/??/2007          No           5/2009       about the drywall on the news so I had the                     //                                            No                               //                                                                            //                                                                               $66,045.00         11/2015         unknown         65,000.00
                                                                                                                                                                                                                                                                                                                                                                                   BIERRIA CINDY J                                                                                                                                           425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                 Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated     November 2015        Construction
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  home inspected.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             LaPlace, LA 70064
  48    Ex 10/79     Billy, William and Thadius9900 Grant Street       New Orleans    LA      70127   [III], [VII],          10/7/2009   Yes      Yes          1390      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET      16, 17                  I            BILLY WILLIAM SR   Owner as of 6/9/15         City or County Tax              9/11/1995          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               4.16.18
                                                                                                      [XV], [XVI],                                                        Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                         BILLY THADIUS MARI                            Records                                                                                                    820 O'Keefe Avenue                                                                                                                                                                                                                                             No
                                                                                                                                                                                                                                0.86                 94.47             $131,313                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential     9/11/1979      1/1/2006          No           1/2006                                                          No          //                                            No                               //                                                                            //
                                                                                                      [XVII]                                                                     Footage                                                                                                                              04 STANDARD" matches DIG                                     J                                                                                                                                                         New Orleans, LA 70113                                                                                                                                                                                                                                       Inspection
                                                                                                                                                                                                                                                                                                                      #3
  49    Ex 10/79 &   Blaise, Ervin              1414 Reynes Street     New Orleans    LA      70117   [III], [XV],           10/7/2009   Yes      Yes          1513      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET      20                      I           BLAISE ERVIN J          Owner as of 6/9/15     Tax Records + Title/Deed        3/4/2002           Current Owner      Parker Waichman                      Jerrold Parker, Esq.             (239) 390-1000   jerry@yourlawyer.com                                                                                                                                                                                                                 3.13.18 (Whitfield
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Gilchrist
        Omni XX                                                                                       [XVI], [XVII],                                                      Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                                                                                                                                                                                  27300 Riverview Center Blvd                                                                                                                                                                                                                                    No                      Bryson)                                                                                                                                                                                                                                                                                                                                                Completely
                                                                                                                                                                                                                                0.86                 94.47             $142,933                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential     8/11/1966     ??/??/2007                                                Inspection in 2009                                //                                            No                               //                                                                            //                                         2014 - 2016       Investments,         70,435.10          7/2016         1,989.62
                                                                                                      [XX]                                                                       Footage                                                                                                                              04" matches DIG #3                                                                                                                                                                                                     Bonita Springs, FL 34134                                                                                                                                                                                                                                    Inspection                 3.13.18 (Parker                                                                                                                                                                                                                                                                                                                                        remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Waichman)
  50    Ex 10/79     Blalock, Angeles           3400 Napoleon Avenue New Orleans      LA      70125   [III], [VII],          10/7/2009   Yes      Yes          6485      Appraisal Showing Floor           Yes                                                                         Crescent City   Photo          "Manufactured in P.R.C.       27                 D           BLALOCK ANGELES P       Owner as of 6/9/15     City or County Tax              3/21/2000          Current Owner      Martzell & Bickford                  Scott Bickford, Esq.             (504) 581-9065   srb@mbfirm.com                                                                                                                                                                                                                       3.13.18                                                                                                                                                                                                                                                                                                                                                                                  Oak Enterprises,
                                                                                                      [XV], [XVI],                                                       Plan and Square Footage                                                                                                                                                                                                                                  Records                                                                                                    338 Lafayette Street                                                                                                                                                                                                                                                                                                                                                                   News broadcast about Chinese drywall, then I                                                                                                                                                                                                                                              Celestine Air
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                             Completely
                                                                                                      [XVII]                                                                                                                    0.86                 94.47             $612,638                                                                                                                                                                                                                                                              New Orleans, LA 70130                                                                                                                                                                                                                         N/A                            No                                              6/13/1978     ??/??/2007         No          ??/2009      called my contractor to verify, after Martzell,                 //                                            No                               //                                                                            //                                         2015-2016         and Heat and        170,999.36         11/2015         5,877.00        16,800.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Bickford & Centola conducted lab tests.                                                                                                                                                                                                                                                Mack McKay,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Inc.
  51    Ex 10/79     Blanchard, Kimberly L.     1349 Franklin Street   Mandeville     LA      70048   [XV], [XVI],            7/5/2011   Yes      Yes          1250      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET    20                        I           BLANCHARD,              Owner as of 6/9/15     Tax Records + Title/Deed        7/24/2008          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               4.16.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No
                                                                                                      [XVII]                                                             Plan and Square Footage                                0.86                 94.47             $118,088                                       OR EXCEEDS ASTM C1396"                                       KIMBERLY LANDRY                                                                                                                                           820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                                              7/24/2008       //2007           No           9/2012                            n/a                                       //                                            No                               //                                                                            //                            No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             New Orleans, LA 70113
  52    Ex 10/79     Bland, Elbert and Gloria   2315-17 Industry Street New Orleans   LA      70122   [II], [VII], [XV],     3/15/2010   Yes      Yes          1971      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                  D           JOHNSON RAMEL V         Owner as of 6/9/15,    City or County Tax              4/1/1999              9/22/2015       Reich & Binstock                     Dennis Reich, Esq.               (713) 352-7883   DReich@reichandbinstock.com                                                                                                                                                                                                                                                                                                            Drywall was discovered in property 2315                                                                                                                                                                                                                                                 Self and Leroy
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                               Partially
                                                                                                      [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $186,200                                       Gypsum"                                                                              No Longer Owns         Records                                                                                                    4265 San Felipe, Suite 1000                                                                                                                                                                                                                   N/A                            No                              Residential     4/13/1999      3/7/2010          No           3/2010     Industry St. while upgrading appliances, closet      No          //                                            No                               //                                                                            //                                       Will supplement.         Bland     Will supplement.          ??/??      Will supplement Will supplement Not applicable.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated
                                                                                                                                                                                 Footage                                                                                                                                                                                                                   Property                                                                                                                          Houston, TX 77027                                                                                                                                                                                                                                                                                                                                                                                 shelving, and cabinets.                                                                                                                                                                                                                                                       (Subcontractor)
  53    Ex 10/79     Blay, Mark and Anitra      620 Magnolia Ridge     Boutte         LA      70039   [IX], [XV],             5/5/2011   Yes      Yes          8077               Other                    Yes                                                                         DUN             Photo          "DUN GYPSUM BOARD         42                     E           BLAY, MARK & BLAY,      Owner as of 6/9/15     City or County Tax              6/2/2008           Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               3.22.18                                                                                                                                                                                                                                                                                                                                                                                  Self Remediated
                                                Road                                                  [XVI], [XVII]                                                                                                                                                                                                   4'X12'X1/2" AS PER ASTM C                                    ANITRA BRADSTREET                              Records                                                                                                    820 O'Keefe Avenue                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                             Completely
                                                                                                                                                                                                                                0.86                 94.47             $763,034                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential      //2008         //2008           No           4/2011                            n/a                                       //                                            No             n/a               //                                                                            //                                           05/2011         and Contractor                          2/2012                       $150,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated
                                                                                                                                                                                                                                                                                                                      1396-04 070422175507"                                                                                                                                                                                                  New Orleans, LA 70113                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Henry Jackson
  54    Ex 10/79     Blue, John and Rachelle    422 28th Street        New Orleans    LA      70124   [III], [VII],          10/7/2009   Yes      Yes          2544      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "EXCEEDS ASTM" matches        15                 I           BLUE JOHN B             Owner as of 6/9/15     City or County Tax              7/29/2003          Current Owner      The Lambert Firm                     Hugh Lambert, Esq.               (504) 529-2931   hlambert@thelambertfirm.com                                                                                                                                                                                                          3.22.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No
                                                                                                      [XV], [XVI],                                                        Document with Square                                  0.86                 94.47             $240,332                                       DIG #3                                                       BLUE RACHELLE R                                Records                                                                                                    701 Magazine St,                                                                                                                                                                                                                              N/A                            No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection
                                                                                                      [XVII]                                                                     Footage                                                                                                                                                                                                                                                                                                                                                     New Orleans LA 70130
  55    Ex 10/79     Boasso, Raymond            4600 E. St. Bernard    Meraux         LA      70075   [XIII], [XV],           7/5/2011   Yes      Yes          5345      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS 17, 18                     I           BOASSO, RAYMOND J.      Owner as of 6/9/15     City or County Tax              9/17/2008          Current Owner      Paul A. Lea, Jr., APLC               Paul A. Lea, Jr., Esq.           (985) 292-2300   jean@paullea.com                                                                                                                                                                                                                     3.14.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Corrosion Problems, A/C coils failed, Blackening                                                                                                                                                                                                                                                                                                                                                   I have had to live in this property containing Chinese Drywall and have suffered the side effects of
                                                Hwy.                                                  [XVI], [XVII]                                                      Plan and Square Footage                                                                                                                      OR EXCEEDS ASTM C1396-                                                                                      Records                                                                                                    724 East Boston Street                                                                                                                                                                                                                                         No                                                                                                                                                                                                                                                                                                                                                                               Partially
                                                                                                                                                                                                                                0.86                 94.47             $504,942                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential     6/??/1989     1/10/2006          No           7/2009        of copper surfaces and Failure of various                     //                                            No                               //                                                                            //                                          Currently             Self                                                             300,000.00      300,000.00       same. I have just began to partially remediate, have no money to remediate entire house, the value
                                                                                                                                                                                                                                                                                                                      04 STANDARD" matches DIG                                                                                                                                                                                               Covington, LA 70433                                                                                                                                                                                                                                         Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                electrical appliances                                                                                                                                                                                                                                                                                                                                                                    of my property has substantially decreased and I cannot sell because of the Chinese Drywall.
                                                                                                                                                                                                                                                                                                                      #3
  56    Ex 10/79     Boland Marine              4426 Cessna Court      New Orleans    LA      70126   [XIII], [XV],           7/5/2011   Yes      Yes           585      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "ASTM C 1396-0" and      16, 17, 21              I           4426 CESSNA COURT,      Owner as of 6/9/15     City or County Tax              8/10/2010          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               3.22.18                                                                                              Electrical and plumbing was affected
                                                                                                      [XVI], [XVII]                                                       Document with Square                                                                                                                        "CHINA MEET OR E"                                            LLC                                            Records                                                                                                    820 O'Keefe Avenue                                                                                                                                                                                                                                             No                                                                                                                       (corrosion); AC coils corroded & failed; light                                                                                                                                                                                                        Completely       12/1/2008-        Urban Rehab / App. $10,000 to
                                                                                                                                                                                                                                0.86                 94.47              $55,265                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Commercial       2/10/2004       //2007                        7/2009                                                                      //            No              No              No                               //                                                                            //                                                                                                   8/2009                           1900.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                    fixtures and cabinet and door hardware                                                                                                                                                                                                              remediated        2/1/2009           InterUrban     $15,000
                                                                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        corroded
  57    Ex 10/79     Boland Marine              5919 Boeing Street     New Orleans    LA      70126   [XIII], [XV],           7/5/2011   Yes      Yes           741      Property Tax Assessor's           Yes                                                                         Taihe/ DUN      Photo          "MADE IN CHINA MEET" 17, 42                      E, I        5919 BOEING STREET,     Owner as of 6/9/15     City or County Tax              8/3/2010           Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               3.22.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Electrical and plumbing wcted (corrosion); AC                                                                                                                                                                                                                                                                Approximately
                                                                                                      [XVI], [XVII]                                                       Document with Square                                                                                                                        and "4 STANDARD" matches                                     LLC                                            Records                                                                                                    820 O'Keefe Avenue                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                             Completely       12/1/2008 -       Urban Rehab /
                                                                                                                                                                                                                                0.86                 94.47              $70,002                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Commercial       6/12/2001       //2007           No           7/2009         coils corroded & failed; light fixtures and                  //            No              No              No                               //                                                                            //                                                                                $10,000 -          8/2009                         $1,900.00
                                                                                                                                                                                 Footage                                                                                                                              DIG #3 and "AS PER ASTM C                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                       Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated        2/1/2009          Inter-Urban
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         cabinet and door hardware corroded                                                                                                                                                                                                                                                                         $15,000
                                                                                                                                                                                                                                                                                                                      1396-04"
  58    Ex 10/79     Boland Marine              6006 Boeing Street     New Orleans    LA      70126   [XIII], [XV],           7/5/2011   Yes      Yes           741      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET" 17                          I           6006 BOEING STREET,     Owner as of 6/9/15     City or County Tax              8/10/2010          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               3.22.18                                                                                         Electrical and plumbing wcted (corrosion); AC                                                                                                                                                                                                                                                                Approximately
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                             Completely       12/1/2008 -       Urban Rehab /
                                                                                                      [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47              $70,002                                       and "396 04 STANDARD"                                        LCC                                            Records                                                                                                    820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Commercial      12/19/1989       //2007           No           7/2009         coils corroded & failed; light fixtures and              5/12/2010         No              No              No                               //                                                                            //                                                                                $10,000 -         10/2009                         $1,900.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated        2/1/2009          Inter-Urban
                                                                                                                                                                                 Footage                                                                                                                              matches DIG #3                                                                                                                                                                                                         New Orleans, LA 70113                                                                                                                                                                                                                                                                                                                                                                       cabinet and door hardware corroded                                                                                                                                                                                                                                                                         $15,000
  59    Ex 10/79     Boland Marine              6025 Boeing Street     New Orleans    LA      70126   [XIII], [XV],           7/5/2011   Yes      Yes           741      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET" 20, 21                      I           6025 BOEING STREET      Owner as of 6/9/15     City or County Tax              8/13/2010          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               3.22.18                                                                                         Electrical and plumbing wcted (corrosion); AC                                                                                                                                                                                                                                                                Approximately
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                             Completely       12/1/2008 -       Urban Rehab /
                                                                                                      [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47              $70,002                                       and "04 STANDARD" matches                                    LLC                                            Records                                                                                                    820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Commercial       7/15/1993       //2007           No           7/2009         coils corroded & failed; light fixtures and              5/12/2010         No              No              No                               //                                                                            //                                                                                $10,000 -         10/2009                         $1,900.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated        2/1/2009          Inter-Urban
                                                                                                                                                                                 Footage                                                                                                                              DIG #3                                                                                                                                                                                                                 New Orleans, LA 70113                                                                                                                                                                                                                                                                                                                                                                       cabinet and door hardware corroded                                                                                                                                                                                                                                                                         $15,000
  60    Ex 10/79     Boland Marine              5942 Boeing Street     New Orleans    LA      70126   [XIII], [XV],           7/5/2011   Yes      Yes           741      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET" 17                          I           5942 BOEING STREET,     Owner as of 6/9/15     City or County Tax              8/10/2010          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               3.22.18                                                                                         Electrical and plumbing wcted (corrosion); AC                                                                                                                                                                                                                                                                Approximately
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                             Completely       12/1/2008 -       Urban Rehab /
                                                                                                      [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47              $70,002                                       and "EXCEEDS ASTM C13"                                       LLC                                            Records                                                                                                    820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Commercial       1/27/1992       //2007           No           7/2009         coils corroded & failed; light fixtures and                  //            No              No              No                               //                                                                            //                                                                                $10,000 -          9/2009                         $1,900.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated        2/1/2009          Inter-Urban
                                                                                                                                                                                 Footage                                                                                                                              matches DIG #3                                                                                                                                                                                                         New Orleans, LA 70113                                                                                                                                                                                                                                                                                                                                                                       cabinet and door hardware corroded                                                                                                                                                                                                                                                                         $15,000
  61    Ex 10/79     Boland Marine              5943 Boeing Street     New Orleans    LA      70126   [XIII], [XV],           7/5/2011   Yes      Yes           702      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET       17                     I           5943 BOEING STREET,     Owner as of 6/9/15     City or County Tax              8/10/2010          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               3.22.18                                                                                         Electrical and plumbing wcted (corrosion); AC                                                                                                                                                                                                                                                                Approximately
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                             Completely       12/1/2008 -       Urban Rehab /
                                                                                                      [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47              $66,318                                       OR EXCEEDS ASTM C1"                                          LLC                                            Records                                                                                                    820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Commercial      11/15/1998       //2007           No           7/2009         coils corroded & failed; light fixtures and              5/12/2010         No              No              No                               //                                                                            //                                                                                $10,000 -          9/2009                         $1,900.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated        2/1/2009          Inter-Urban
                                                                                                                                                                                 Footage                                                                                                                              matches DIG #3                                                                                                                                                                                                         New Orleans, LA 70113                                                                                                                                                                                                                                                                                                                                                                       cabinet and door hardware corroded                                                                                                                                                                                                                                                                         $15,000
  62    Ex 10/79 &   Borne, Kim                 6145 General Diaz      New Orleans    LA      70124   [XV], [XVI],            7/5/2011   Yes      Yes          3000               Other                    Yes                                                                         Crescent City   Photo          "Made in China"           27                     D           AERTKER SCOTT T         Owner as of 6/9/15,    City or County Tax              4/1/2003              11/5/2015       Paul A. Lea, Jr., APLC               Paul A. Lea, Jr., Esq.           (985) 292-2300   jean@paullea.com                                                                                                                                                                                                                     3.12.18                                                                                        Corrosion Problems, A/C coils failed, Blackening
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         I was unable to occupy the property at all and was unable to sell for the full value had it not had
        Omni XX                                                                                       [XVII], [XX]                                                                                                              0.86                 94.47             $283,410                                                                                                    WEISS ASHLEY L          No Longer Owns         Records                                                                                                    724 East Boston Street                                                                                                                                                                                                                        N/A                            No                              Residential     3/31/2003      4/1/2007          No           4/2012        of copper surfaces and Failure of various                 11/5/2015         No              No              No                               //                                                                            //                            No                                                                                   136,400.00      300,000.00      200,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Chinese Drywall in it.
                                                                                                                                                                                                                                                                                                                                                                                                           Property                                                                                                                          Covington, LA 70433                                                                                                                                                                                                                                                                                                                                                                                electrical appliances
  63    Ex 10/79     Boudreaux, Shaun and       3005 Blanchard Drive Chalmette        LA      70043   [III], [IX], [XV],     10/7/2009   Yes      Yes          1340      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET   17                         I           BOUDREAUX, SHAUN        Owner as of 6/9/15     City or County Tax              3/1/2011           Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                               3.23.18
                     Justine                                                                          [XVI], [XVII]                                                      Plan and Square Footage                                                                                                                      OR EXCEEDS ASTM C1396                                        MICHAEL & TRUDEAU,                             Records                                                                                                    8301 W. Judge Perez Drive,                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                             Completely     1/2011 through   St. Bernard
                                                                                                                                                                                                                                0.86                 94.47             $126,590                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential    12/20/2006     10/??/2007         No           7/2009       report by materials analytical services, inc.                  //                                            No                               //                                                                            //                                                                                32,740.41          2/2012                        100,000.00                                               loss of use: 50 months with CDW x $2000 per month
                                                                                                                                                                                                                                                                                                                      04" matches DIG #3                                           JUSTINE ELIZABETH                                                                                                                                         Suite 303                                                                                                                                                                                                                                                   Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated        12/2011     Project and Self
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Chalmette, LA 70043
  64    Ex 10/79     Bourgeois, Patricia and    409 Sable Drive        Arabi          LA      70032   [IX], [XV],             5/5/2011   Yes      Yes          1781      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA" matches 13                       I           21ST. MORTGAGE          Owner as of 6/9/15,    City or County Tax              4/21/2011             10/5/2016       The Lambert Firm Greg DiLeo Law Hugh Lambert, Esq.                    (504) 529-2931   hlambert@thelambertfirm.com                                                                                                                                                                                                          3.21.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No
                     Glenn                                                                            [XVI], [XVII]                                                      Plan and Square Footage                                0.86                 94.47             $168,251                                       DIG #3                                                       CORPORATION             No Longer Owns         Records                                                               Offices Kanner & Whiteley, LLC       701 Magazine St,                                                                                                                                                                                                                              N/A                            No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection
                                                                                                                                                                                                                                                                                                                                                                                   MORTGAGEE               Property                                                                                     Milstein, Adelman & Kreger, LLP New Orleans LA 70130
  65    Ex 10/79     Boutte, Gloria             3537 Republic Street   New Orleans    LA      70122   [III], [VII],          10/7/2009   Yes      Yes          1308      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                  D           BOUTTE GLORIA           Owner as of 6/9/15     City or County Tax              12/2/2000          Current Owner      Becnel Law Firm/ Morris Bart LLC Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.26.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Remediated the home after Hurricane Katrina
                                                                                                      [XV], [XVI],                                                        Document with Square                                                                                                                        Gypsum"                                                      THOMAS                                         Records                                                                                                    Becnel Law Firm, LLC                                                                                                                                                                                                                                           No
                                                                                                                                                                                                                                0.86                 94.47             $123,567                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential     4/15/1965       //2007           No           9/2009      flooded the house. Replaced the drywall with                    //                                            No                               //                                                                            //                            No                                                                                                     70,000
                                                                                                      [XVII]                                                                     Footage                                                                                                                                                                                                                                                                                                                                                     425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                 Inspection                                                                                                                               Chinese Drywall.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             LaPlace, LA 70064
  66    Ex 10/79     Boutte, Kevin              4947 Pauline Drive     New Orleans    LA      70126   [III(A)], [VII],       9/16/2010   Yes      Yes          1545      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET"          17                 I           BOUTTE LILLIE M         Owner as of 6/9/15     City or County Tax             11/30/1998          Current Owner      Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.28.18                                                                                            AC went out, then the TV and then the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                               Partially                                           unknkown at
                                                                                                      [XV], [XVI],                                                        Document with Square                                  0.86                 94.47             $145,956                                       matches DIG #3                                                                                              Records                                                                                                    425 W. Airline Hwy, Suite B                                                                                                                                                                                                                   N/A                            No                              Residential     11/1/1999      6/1/2007          No          11/2011       Refrigerator. Had the home inspected and                       //                                            No                               //                                                                            //                                          May 2013              Self                                               20,000         75,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated                                             this time.
                                                                                                      [XVII]                                                                     Footage                                                                                                                                                                                                                                                                                                                                                     LaPlace, LA 70064                                                                                                                                                                                                                                                                                                                                                                                 found chinese drywall.
  67    Ex 10/79     Boyer, Donata S. Milligan 1333 Sylvia Avenue      Metairie       LA      70005   [XIII], [XV],           7/5/2011   Yes      Yes          1522               Other                    Yes                                                                         Taihe           Photo          "MADE IN CHINA MEETS 18                          I           BOYER,DONATA S          Owner as of 6/9/15     Tax Records + Title/Deed          2013             Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               4.16.18                                                                                                                                                                                                                                                                                                                                                                                      Driskill
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                       AC Repairman had to replace new coils. He                                                                                                                                                                                                             Completely                                               Already
                                                                                                      [XVI], [XVII]                                                                                                             0.86                 94.47             $143,783                                       OR EXCEEDS" matches DIG                                                                                                                                                                                                820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                              Residential     12/8/2006     1/15/2007          No                                                                                       //                                            No                               //                                                                            //                                                           Environmental                           3/2012
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                         mentioned Chinese drywall.                                                                                                                                                                                                                     remediated                                              submitted
                                                                                                                                                                                                                                                                                                                      #3                                                                                                                                                                                                                     New Orleans, LA 70113                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Consultants
  68    Add. Taishan Braden, Tiffany as         2024 Guerra Drive      Violet         LA      70092   [II], [VII], [XV],     3/15/2010   Yes      Yes          1000      Property Tax Assessor's           No                                                                          Crescent City   Photo                                                           D           BRADEN, TIFFANY 1/8     Owner as of 6/9/15     City or County Tax              6/28/2012          Current Owner      Pro Se                               2024 Guerra Drive                N/A              N/A
        Prop.        Representative of the                                                            [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                                                                    Records                                                                                                    Violet, LA 30092                                                                                                                                                                                                                                               No
                                                                                                                                                                                                                                0.86                 94.47              $94,470                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No
                     Estate of Jane Bienemy,                                                                                                                                     Footage                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Inspection
                     Deceased
  69    Ex 10/79     Brazile, Darrell G. And    9311 Grant Street      New Orleans    LA      70127   [XV], [XVI],            7/5/2011   Yes      Yes          1531      Property Tax Assessor's           Yes
                     Valeria M.                                                                       [XVII]                                                              Document with Square                                  0.86                 94.47             $144,6
                                                                                                                                                                                 Footage
                                                                                                                                                                                                                                                                                                                                                                                                                                               Case 2:09-md-02047-EEF-MBN Document 21527-2 Filed 07/16/18 Page 2 of 9

Claimant Source      Claimant Name              Affected Property      City          State   Zip     Omni(s)              Date of Earliest PPF    Indicia    Verified    Type of Verficiation     Counsel's Declaration                                                               Product         Type of Indicia Description of Markings     Markings # from    Product       Current Owner as of    Ownership Status of   Proof of Ownership Per     Purchase Date Per   Sell Date if Applicable Counsel                            Counsel Address                  Counsel Phone    Counsel Email                                                           Global,                                                                Pre-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Amount Owed
Identifier                                      Address                                                                    Filed Taishan (Yes/No) (Yes/No)   Square      Provided Uploaded to       Verifying Square     2017 RS Means                                                Brand(s)                                                    Taishan Product ID Bucket(s)     May-August 2017 Per    Named Claimant Per         BrownGreer               BrownGreer       or Current Owner Per                                                                                                                                                               Banner, InEx                                                         Remediation                                                                                                                                               Aware property                                                                            Date Sold or                                                                                                                                                                                                            Who Performed
                                                                                                                                                                                                                                               2017 Cost Per SF    2017 Remediation                                                                                                                                                                                                                                                                                                                                                       Already                                                                                                                  VA        Holdback                              Remediation                                                                                  If no, when did                                                                           Assign any       Expressly                      Court                                                                           on        Date of                       Partially or                                                              Date          Alternative
                                                                                                                               Omni                          Footage           Sharefile                Footage         Residential Location                                                                                                      Catalog                              BrownGreer            BrownGreer                                                             BrownGreer                                                                                                                            Pilot Program               Knauf        Repair and                 Foreclosure Lost Rent,                   Alternative                                      Remediation                                                  Residential or Date Property   Date CDW      had CDW at                    If CDW Installed Before Purchase, Date you Assignment of   Transferred                                                                                                              Foreclosure or                              Short Sale Price                   Dates of          Work to     Total Cost for                                          Loss of Use  Diminution of
                                                                                                                                                                                                                                               [B = A x $109.85]      Damages                                                                                                                                                                                                                                                                                                                                                            Remediated                            Bodily Injury                             Miscellaneous             Tenant Loss Settlement    Payment                   KPT %       Complete by     SPPF Completed?                                                                you become                                                                              Rights with   Retain Rights to   Bankruptcy   Bankruptcy   Date of Filing   Docket No.   Present Status                  Loan/Mortgage Foreclosure or                   Completely                                                              Remediation       Living                                                                                SPPF Comments/ Notes
                                                                                                                                                                                                                              Factor                                                                                                                                                                                                                                                                                                                                                                                        Payments                Remediation    Relocation                or Short Sale Use, or Sales                  Living                                          Option                                                     commercial?      Acquired       Installed      time of                            Learned it Contained CDW               Rights?       Property if                                                                                                              Short Sale?                                 (if applicable)                  Remediation       Remediate     Remediation                                           and Enjoyment    Value
                                                                                                                                                                                                                                                                       [SF x B]                                                                                                                                                                                                                                                                                                                                                         Home (ARH)                                                                                                             Gross Award   Amount                                  KPT?                                                                                           aware?                                                                                  Sale?       Pursue Claim?                    Filed In                                                                    at time of    Short Sale                    Remediated?                                                               Complete       Expenses
                                                                                                                                                                                                                               [A]                                                                                                                                                                                                                                                                                                                                                                                                                                 Expenses                                                             Expenses                                                                                                                                                   purchase?                                                                                Applicable                                                                                                                                                                                                               Property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Foreclosure
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     (GBI)                                                              (PRALE)                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Section VII.
  73    Ex 10/79     Brumfield, Damon           7721 Newcastle Street New Orleans    LA      70126   [XV], [XVI],            7/5/2011   Yes      Yes          1729      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA" and "OR 18                      I           BRUMFIELD DAMON K Owner as of 6/9/15           City or County Tax             2/2/1999           Current Owner      Doyle Law Firm                       Jimmy Doyle, Esq.                (205) 533-9500   jimmy@doylefirm.com
                                                                                                     [XVII]                                                              Document with Square                                                                                                                        EXCEEDS" matches DIG #3                                     BRUMFIELD ALISHA L                             Records                                                                                                   2100 Southbridge Parkway,                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Chinese Drywall has impacted our lives tremendously. Appliance repairs and replacement are a
                                                                                                                                                                                Footage                                                                                                                                                                                                                                                                                                                                                   Suite 650                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             constant struggle. Below is list of appliance and items we’ve repaired and/or replaced
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Birmingham, AL 35209
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Replaced 55 and 36 inch Televisions over five times
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Central Air Conditioning Unit repaired dozens of times and replaced
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Recessed lighting
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Light fixtures
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Ceiling fans
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Our home was repaired after damage was                                                                                                                                                                                                                                                                                                                                                                                             Outlets GFI outlets
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    caused by Hurricane Katrina. We had                                                                                                                                                                                                                                                                                                                                                                                                Microwaves
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   electronics fail, air conditioners fail and                                                                                                                                                                                                                                                                                                                                                                                        Double oven
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               appliances fail, so, after we learned about the                                                                                                                                                                                                                                                                                                                                                                                      Washing machines
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         No
                                                                                                                                                                                                                               0.86                 94.47             $163,339                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No        3.9.18               Residential     2/2/1999       4/1/2006          No           6/2012     effects of Chinese drywall, we decided to have     No            //                                            No                          //                                                                            //                            No                                                                                                  192,000.00                                                                      Dryers
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Inspection                                                                                                               an inspection performed. In 2012, we learned                                                                                                                                                                                                                                                                                                                                                                                   Bathroom heater vent fixtures
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                that our house contained defective Chinese-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 made drywall based on the Chinese drywall                                                                                                                                                                                                                                                                                                                                                                                               $42,000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   inspection.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Additional loss of use and enjoyment damages consistent with the Hernandez verdict would provide
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               an additional $150,000.00




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Grand Total = $192,000.00
  74    Ex 10/79     Bryant, Debra              27 South Oak Ridge     New Orleans   LA      70128   [III], [VII],          10/7/2009   Yes      Yes          2002      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "CHINA MEET OR E"            20                 I           BRYANT DEBRA P          Owner as of 6/9/15     City or County Tax             7/29/1987          Current Owner      Becnel Law Firm/ Morris Bart LLC Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             4.4.18
                                                Court                                                [XV], [XVI],                                                        Document with Square                                                                                                                        matches DIG #3                                                                                             Records                                                                                               Becnel Law Firm, LLC                                                                                                                                                                                                                                               No                                                                                                                      Pipes were turning black and saw Made in                                                                                                                                                                                                         Completely       July 2017-          Lucas
                                                                                                                                                                                                                               0.86                 94.47             $189,129                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     5/??/1986      1/5/2007          No           5/2009                                                                      //                                            No                          //                                                                            //                                                                                82,800.00         2/2018         5000.00         75,000.00
                                                                                                     [XVII]                                                                     Footage                                                                                                                                                                                                                                                                                                                                               425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                     Inspection                                                                                                                     China on the back of the drywall.                                                                                                                                                                                                            remediated     February 2018       Contractors
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      LaPlace, LA 70064
  75    Ex 10/79 &   Burks, Pamela              1500 Paula Street      New Orleans   LA      70122   [XIII], [XV],           7/5/2011   Yes      Yes          1454      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "CHINA, MEETS OR"            18                 I           BURKS GARY L            Owner as of 6/9/15     City or County Tax             5/22/1997          Current Owner      Paul A. Lea, Jr., APLC           Paul A. Lea, Jr., Esq.               (985) 292-2300   jean@paullea.com                                                                                                                                                                                                                     3.19.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    I have had to live in this property containing Chinese Drywall and have suffered the side effects of
        Omni XX                                                                                      [XVI], [XVII],                                                     Plan and Square Footage                                                                                                                      matches DIG #3                                              BURKS PAMELA F                                 Records                                                                                               724 East Boston Street                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              same. I had to replace various appliances and my a/c central unit had to be repaired 9 times. I had
                                                                                                     [XX]                                                                                                                                                                                                                                                                                                                                                                                                                             Covington, LA 70433                                                                                                                                                                                                                                                                                                                                                                      Corrosion Problems, A/C coils failed, Blackening                                                                                                                                                                                                                   October 2015          Lucas                                                                                              no money to repair the home and value was substantially reduced. Many years later, after living in
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                               0.86                 94.47             $137,359                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     5/22/1997     5/15/2007          No           7/2011        of copper surfaces and Failure of various                     //                                            No                          //                                                                            //                                        thru April 14,     Construction         73,350.00         4/2016        14,300.00       300,000.00      200,000.00           deplorable conditions, I was finally to make a loan under a special program to repair same.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            electrical appliances                                                                                                                                                                                                                                     2016           Corporation
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Attached are additional miscellaneous items: A/C Repairs - $7,884.00 and Appliances - $3,400.68


  76    Ex 10/79     Burton, Rose and Tebault 3711 Golden Drive,       Chalmette     LA      70043   [III], [IX], [XV],     10/7/2009   Yes      Yes           861        Builder's Floor Plan            Yes                                                                         Taihe           Photo          "MADE IN CHINA MEETS         18                 I           3711 GOLDEN, LLC 1/2 & Owner as of 6/9/15      Tax Records + Title/Deed      11/20/1991          Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                               3.23.18
                                              Apt. 1                                                 [XVI], [XVII]                                                                                                                                                                                                   OR" matches DIG #3                                          BURTON, BROOKS                                                                                                                                           8301 W. Judge Perez Drive,                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               lost rentals based uon monthly loss of $600 each for 2 units multiplied by vacancy (continuing) to date
                                                                                                                                                                                                                               0.86                 94.47              $81,339                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                            Commercial      11/20/1991     6/??/2007                       5/2010       report by materials analytical services, inc.              3/17/2009         No              Yes             No                          //                                                                            //                            No                                                                                  115,200.00                      188,600.00
                                                                                                                                                                                                                                                                                                                                                                                 ANTHONY 1/2                                                                                                                                              Suite 303                                                                                                                                                                                                                                                   Inspection                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              of 99 months = $115,200.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Chalmette, LA 70043
  77    Ex 10/79     Burton, Rose and Tebault 3711 Golden Drive,       Chalmette     LA      70043   [III], [IX], [XV],     10/7/2009   Yes      Yes           861        Builder's Floor Plan            Yes                                                                         Taihe           Photo          "MADE IN CHINA MEETS         18                 I           3711 GOLDEN, LLC 1/2 & Owner as of 6/9/15      Tax Records + Title/Deed      11/20/1991          Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                               3.23.18
                                              Apt. 3                                                 [XVI], [XVII]                                                                                                                                                                                                   OR" matches DIG #3                                          BURTON, BROOKS                                                                                                                                           8301 W. Judge Perez Drive,                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               lost rentals based uon monthly loss of $600 each for 2 units multiplied by vacancy (continuing) to date
                                                                                                                                                                                                                               0.86                 94.47              $81,339                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                            Commercial      11/20/1991     6/??/2007                       5/2010       report by materials analytical services, inc.              3/17/2009         No              Yes             No                          //                                                                            //                            No                                                                                  115,200.00                      188,600.00
                                                                                                                                                                                                                                                                                                                                                                                 ANTHONY 1/2                                                                                                                                              Suite 303                                                                                                                                                                                                                                                   Inspection                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              of 99 months = $115,200.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Chalmette, LA 70043
  78    Ex 10/79     Burton, Rose and Tebault 3713 Golden Drive,       Chalmette     LA      70043   [III], [IX], [XV],     10/7/2009   Yes      Yes           860        Builder's Floor Plan            Yes                                                                         Taihe           Photo          "IN CHINA ME" matches DIG 17                    I           3713 GOLDEN, LLC 1/2 & Owner as of 6/9/15      Tax Records + Title/Deed       7/12/1991          Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                               3.23.18
                                              Apt. 1 [Unit A]                                        [XVI], [XVII]                                                                                                                                                                                                   #3                                                          BURTON, BROOKS                                                                                                                                           8301 W. Judge Perez Drive,                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                               0.86                 94.47              $81,244                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                            Commercial       7/12/1991     6/??/2007          No           5/2010       report by materials analytical services, inc.              3/17/2009         No              Yes             No                          //                                                                            //                                       11/2010-3/2011 Z industries, LLC            ???            3/2011        36,000.00                       254,400.00
                                                                                                                                                                                                                                                                                                                                                                                 ANTHONY 1/2                                                                                                                                              Suite 303                                                                                                                                                                                                                                                   Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Chalmette, LA 70043
  79    Ex 10/79     Burton, Rose and Tebault 3713 Golden Drive,       Chalmette     LA      70043   [III], [IX], [XV],     10/7/2009   Yes      Yes           860        Builder's Floor Plan            Yes                                                                         Taihe           Photo          "MADE IN CHINA MEETS         18                 I           3713 GOLDEN, LLC 1/2 & Owner as of 6/9/15      Tax Records + Title/Deed       7/12/1991          Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                               3.23.18
                                              Apt. 2                                                 [XVI], [XVII]                                                                                                                                                                                                   OR" matches DIG #3                                          BURTON, BROOKS                                                                                                                                           8301 W. Judge Perez Drive,                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                               0.86                 94.47              $81,244                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                            Commercial       7/12/1991     6/??/2007          No           5/2010       report by materials analytical services, inc.              3/17/2009         No              Yes             No                          //                                                                            //                                       11/2010-3/2011 Z industries, LLC            ???            3/2011        36,000.00                       254,400.00
                                                                                                                                                                                                                                                                                                                                                                                 ANTHONY 1/2                                                                                                                                              Suite 303                                                                                                                                                                                                                                                   Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Chalmette, LA 70043
  80    Ex 10/79     Burton, Rose and Tebault 3713 Golden Drive,       Chalmette     LA      70043   [III], [IX], [XV],     10/7/2009   Yes      Yes           860        Builder's Floor Plan            Yes                                                                         Taihe           Photo          "EXCEEDS ASTM C1396 04" 17                      I           3713 GOLDEN, LLC 1/2 & Owner as of 6/9/15      Tax Records + Title/Deed       7/12/1991          Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                               3.23.18
                                              Apt. 3                                                 [XVI], [XVII]                                                                                                                                                                                                   matches DIG #3                                              BURTON, BROOKS                                                                                                                                           8301 W. Judge Perez Drive,                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                               0.86                 94.47              $81,244                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                            Commercial       7/12/1991     6/??/2007          No           5/2010       report by materials analytical services, inc.              3/17/2009         No              Yes             No                          //                                                                            //                                       11/2010-3/2011 Z industries, LLC            ???            3/2011        36,000.00                       254,400.00
                                                                                                                                                                                                                                                                                                                                                                                 ANTHONY 1/2                                                                                                                                              Suite 303                                                                                                                                                                                                                                                   Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Chalmette, LA 70043
  81    Ex 10/79     Burton, Rose and Tebault 3713 Golden Drive,       Chalmette     LA      70043   [III], [IX], [XV],     10/7/2009   Yes      Yes           860        Builder's Floor Plan            Yes                                                                         Taihe           Photo          "EXCEEDS ASTM C1396 04" 17                      I           3713 GOLDEN, LLC 1/2 & Owner as of 6/9/15      Tax Records + Title/Deed       7/12/1991          Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                               3.23.18
                                              Apt. 4                                                 [XVI], [XVII]                                                                                                                                                                                                   matches DIG #3                                              BURTON, BROOKS                                                                                                                                           8301 W. Judge Perez Drive,                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                               0.86                 94.47              $81,244                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                            Commercial       7/12/1991     6/??/2007          No           5/2010       report by materials analytical services, inc.              3/17/2009         No              Yes             No                          //                                                                            //                                       11/2010-3/2011 Z industries, LLC            ???            3/2011        36,000.00                       254,400.00
                                                                                                                                                                                                                                                                                                                                                                                 ANTHONY 1/2                                                                                                                                              Suite 303                                                                                                                                                                                                                                                   Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Chalmette, LA 70043
  82    Ex 10/79     Butler, Clarice            629 Forstall Street    New Orleans   LA      70117   [IX], [XV],             5/5/2011   Yes      Yes          1218        Builder's Floor Plan            Yes                                                                         Crescent City   Photo          "Crescent City Gypsum"       27                 D           BUTLER CLARICE M        Owner as of 6/9/15     City or County Tax             1/31/1984          Current Owner      Barrios, Kingsdorf & Casteix         Dawn M. Barrios, Esq.            (504) 523-3300   DBarrios@bkc-law.com                                                                                                                                                                                                                 3.22.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Section VI. Prior Payments (Continued)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     $150 - Stipend Payment - CDW Settlement Program
                                                                                                     [XVI], [XVII]                                                                                                                                                                                                                                                                                                              Records                                                                                                   701 Poydras Street, Suite 3650
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70142
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         No                                                                                                                        Inspection performed in January 2008                                                                                                                                                                                                           Completely      11/12/2012-      Ronald L. Mills,                                                                                                                                       Note:
                                                                                                                                                                                                                               0.86                 94.47             $115,064                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     2/1/1984      ??/??/2007         No           1/2008                                                                      //                                            No                          //                                                                            //                                                                                64,543.61         5/2013         8,677.32       100,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Inspection                                                                                                                 confirmed the presence of Chinese drywall.                                                                                                                                                                                                       remediated      05/31/2013        Inc. and Self                                                                                         The Preservation Resource Center of New Orleans (PRC) never owned the property, but remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           it and the home owner assigned the remediation claim and all claims to PRC with the exception of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           personal property and personal injury claims. The remediation work was performed by contractors
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              and PRC personnel. A claim has been filed with PRC's insurer but no payments made for this
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 property at this time
  83    Ex 10/79     Callais, Gary and Michelle 14 Callais Lane        St. Bernard   LA      70085   [III], [VII],          10/7/2009   Yes      Yes          2128        Builder's Floor Plan            Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS 15                        I           CALLAIS, GARY J., JR.   Owner as of 6/9/15     City or County Tax             5/28/2010          Current Owner      Martzell & Bickford                  Scott Bickford, Esq.             (504) 581-9065   srb@mbfirm.com                                                                                                                                                                                                                       3.19.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Jack Augustine
                                                                                                     [XV], [XVI],                                                                                                                                                                                                    OR EXCEEDS ASTM C1396-                                                                                     Records                                                                                                   338 Lafayette Street                                                                                                                                                                                                                                           No                                                                                                                     We became aware of Chinese drywall in our                                                                                                                                                                                                         Completely      04/08/2011 -
                                                                                                                                                                                                                               0.86                 94.47             $201,032                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                                             3/6/2007      12/1/2007          No            ??/??                                                                      //                                            No                          //                                                                            //                                                          and Tripple L         65,101.77        12/2011                         3,750.00
                                                                                                     [XVII]                                                                                                                                                                                                          04 STANDARD" matches DIG                                                                                                                                                                                             New Orleans, LA 70130                                                                                                                                                                                                                                       Inspection                                                                                                                      home after it began to smell.                                                                                                                                                                                                               remediated       12/01/2011
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Millwork
                                                                                                                                                                                                                                                                                                                     #3
  84    Ex 10/79     Callia, Roger              2329 Marietta          Chalmette     LA      70043   [XIII], [XV],           7/5/2011   Yes      Yes          1024      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA" and Taihe 14, 20                H, I        CALLIA, ROGER J.        Owner as of 6/9/15     Tax Records + Title/Deed      10/11/2011          Current Owner      Barrios, Kingsdorf & Casteix         Dawn M. Barrios, Esq.          (504) 523-3300     DBarrios@bkc-law.com                                                                                                                                                                                                                 2.15.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         No                                                                                                                     Inspection performed on September 22, 2011
                                                                                                     [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47              $96,737                                       blue-aqua paper end tape                                                                                                                                                                                             701 Poydras Street, Suite 3650                                                                                                                                                                                                                N/A                            No                             Residential     2/14/1974      9/1/2006          No           9/2011                                                                      //                                            No                          //                                                                            //                            No                                                                                                  250,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Inspection                                                                                                                 confirmed the presence of Chinese drywall.
                                                                                                                                                                                Footage                                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70143
  85    Ex 10/79     Campos, Carlos A.          940 N. Carrollton      New Orleans   LA      70119   [III(A)], [VII],       9/16/2010   Yes      Yes          1658      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS 21                        I           CAMPOS CARLOS A         Owner as of 6/9/15     City or County Tax            12/17/1990          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.              (504) 581-4892     rherman@hhklawfirm.com                                                                                                                                                                                                               4.20.18                                                                                                                                                                                                                                                                                                                                                                                               Unknown at this
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       DEEDL                                                                                              Claimant, Carlos Campos is deceased. The person completing this form is Olivia Lavie, his sister and
                                                Avenue                                               [XV], [XVI],                                                        Document with Square                                                                                                                        OR EXCEEDS" matches DIG                                                                                    Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                       Completely         April -                             time - still
                                                                                                                                                                                                                               0.86                 94.47             $156,631                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential      //1989         //2007           No            2010                                                                       //            No              No              No                          //                                                                            //                                                          Investments,                           12/2017                                                          the administrator of his estate, who completes this form to the best of her knowledge. She is still
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated     December 2017                           gathering
                                                                                                     [XVII]                                                                     Footage                                                                                                                              #3                                                                                                                                                                                                                   New Orleans, LA 70113                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         LLC                                                                                                             going through claimants documents and gathering supporting documents.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           receipts
  86    Ex 10/79     Candebat, Richard Sr.      2417 Nancy Drive       Meraux        LA      70075   [IX], [XV],             5/5/2011   Yes      Yes          1296        Inspection Showing              Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                 D           CANDEBAT, RICHARD, Owner as of 6/9/15          City or County Tax             1/25/2007          Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                               2.19.18                                                                                                                                                                                                                                                                                                                                                                              Domestic
                                                                                                     [XVI], [XVII]                                                       Floor Plan and Under                                                                                                                        Gypsum"                                                     SR.                                            Records                                                                                                   8301 W. Judge Perez Drive,                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                         Partially    9/25/14 through     Renovations
                                                                                                                                                                                                                               0.86                 94.47             $122,433                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     1/5/2007      5/??/2007          No           1/2011       report by materials analytical services, inc.                  //                                            No                          //                                                                            //                                                                                29,137.23                                        200,00.00
                                                                                                                                                                          Air Square Footage                                                                                                                                                                                                                                                                                                                                              Suite 303                                                                                                                                                                                                                                                   Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated        12/31/14           (Jason
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Chalmette, LA 70043                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Melbourn)
        Ex 10/79     Cantrell, Loretta H.       2805 Campagna Drive Chalmette        LA      70043   [XV], [XVI],            7/5/2011   Yes      Yes          2404              Other                     Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                 D           CANTRELL, LORETTA       Owner as of 6/9/15     City or County Tax             3/10/1966          Current Owner      Thornhill Law Firm, Fayard &         Tom Thornhill, Esq.              800-989-2707     tom@thornhilllawfirm.com                                                                                                                                                                                                             3.22.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Loss of enjoyment is being estimated at $100,000.00. Also, diminution of value is at least equal to the
  87
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             cost of remediation to be assigned by the Court or established at a future time. Alternative living
                                                                                                     [XVII]                                                                                                                                                                                                          Gypsum Incorporated                                         HERNANDEZ &                                    Records                                                              Honeycutt APLC and N. Frank Elliot Thornhill Law Firm
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           expenses will be incurred at the time of remediation. All rights are reserved to amend this section of
                                                                                                                                                                                                                                                                                                                     Manufactured in P.R.C."                                     CANTRELL, ANTHONY                                                                                                   III, LLC                             1308 9th St                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the SPPF.
                                                                                                                                                                                                                                                                                                                                                                                 N.                                                                                                                                                       Slidell, LA 70458                                                                                                                                                                                                                                                                                                                                                                    Property was renovated after Hurricane Katrina
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   by Claimant (Mrs. Loretta Cantrell, now                                                                                                                                                                                                                                                                                                                                                 Also, the original Claimant, Mrs. Loretta Cantrell, is deceased. A motion to substitute her daughter,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         No
                                                                                                                                                                                                                               0.86                 94.47             $227,076                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     3/9/1966       9/1/2007          No           9/2012        deceased). Claimants discovered Chinese                       //                                            No                          //                                                                            //                            No                                                                                  Premature       100,000.00       Premature       Lori Cantrell, has been filed as an unopposed motion with the Court. A Declaration fro Lori Cantrell
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Inspection                                                                                                                  drywall after investigations performed in                                                                                                                                                                                                                                                                                                                                                has been filed with the Court and uploaded to the site. Mrs. Lori Cantrell has signed the verification
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              September 2012.                                                                                                                                                                                                                                                                                                                                                                         form. Mrs. Lori Cantrell's information has also been added to the claimant site.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            The Court has granted Ms. Lori Cantrell's motion to be substituted for her deceased mother, Mrs.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Loretta Cantrell, who was the original claimant. This amended SPPF is being submitted to update the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              previous form and show Ms Lori Cantrell as the claimant All information remains the same
  88    Add. Taishan Carroll, Cynthia           1220 Magnolia Alley    Mandeville    LA      70471   [II], [II(C)],         3/15/2010   Yes      Yes          1843      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA,"             20                 I           CARROLL, CYNTHIA        Owner as of 6/9/15     Tax Records + Title/Deed 6/21/2007             Current Owner         The Lambert Firm                     Hugh Lambert, Esq.               (504) 529-2931   hlambert@thelambertfirm.com                                                                                                                                                                                                          3.21.18                                                                                                                                                                                                                                                                                                                                                                          Southern
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Construction
        Prop.                                                                                        [VII], [XV],                                                       Plan and Square Footage                                                                                                                                                                                  TAYLOR                                                                                                                                                   701 Magazine St,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                and Remodel
                                                                                                     [XVI], [XVII]                                                                                                                                                                                                                                                                                                                                                                                                                        New Orleans LA 70130
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                (Eric Boegel);
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         No                                                                                                                                                                                                                                                                                                                                                                       Completely     January 2010 -    Certified
                                                                                                                                                                                                                               0.79                 86.78             $159,936                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     6/21/2007     1/??/2007          No            2008                                                                   7/31/2017         No              No                                                                                                                                                                                                                            6/2010
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated       June 2010    Cleaning and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Restoration,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Inc.; Driskill
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Environmental
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Consultants
  89    Ex 10/79     Carter, Andrea             10201 Deerfield Drive New Orleans    LA      70128   [III], [VII],          10/7/2009   Yes      Yes          2097      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CH" matches DIG 19                     I           CARTER ANDREA F         Owner as of 6/9/15     City or County Tax             2/27/2009          Current Owner      Becnel Law Firm/ Morris Bart LLC Salvadore Christina, Jr., Esq. (985) 536-1186         schristina@becnellaw.com                                                                                                                                                                                                             3.8.18                                                                                                                                                                                                                                                                                                                                                                        Darrell Turner-
                                                                                                     [XV], [XVI],                                                        Document with Square                                                                                                                        #3                                                                                                         Records                                                                                               Becnel Law Firm, LLC                                                                                                                                                                                                                                               No                                                                                                                     It was installed when the home was repaired                                                                                                                                                                                                       Completely       June 2017-  Contractor and                                                                                               Due to the house being vacant for so long, the roof has suffered damage and the repair costs are
                                                                                                                                                                                                                               0.86                 94.47             $198,104                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential      6//1978       6//2007           No           5/2009                                                                      //                                            No                          //                                                                            //                                                                                 112,000         12/2017         171,600         75,000.00
                                                                                                     [XVII]                                                                     Footage                                                                                                                                                                                                                                                                                                                                               425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                     Inspection                                                                                                                                 from Katrina.                                                                                                                                                                                                                    remediated     December 2017        LCJ                                                                                                                                              $5000.00.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      LaPlace, LA 70064                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Enviromental
  90    RP           Carter, Henry and Verline 5319 N. Rampart         New Orleans   LA      70117   [IX], [XV],             5/5/2011   Yes      Yes           937        Builder's Floor Plan            Yes                                                                         Crescent City   Photo          "Crescent City Gypsum"       27                 D           CARTER HENRY            Owner as of 6/9/15     Tax Records + Title/Deed       6/15/2000          Current Owner      Barrios, Kingsdorf & Casteix     Dawn M. Barrios, Esq.          (504) 523-3300         DBarrios@bkc-law.com                                                                                                                                                                                                                 3.22.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Section VI. Prior Payments (Continued)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     $150 - Stipend Payment - CDW Settlement Program
                                               Street                                                [XVI], [XVII]                                                                                                                                                                                                                                                               CARTER VERLINE H                                                                                                                                     701 Poydras Street, Suite 3650
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      New Orleans, LA 70144
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Rebuilding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         No                                                                                                                        Inspection performed in February 2011                                                                                                                                                                                                          Completely      08/29/2011 -
                                                                                                                                                                                                                               0.86                 94.47              $88,518                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     6/15/2000     ??/??/2007         No           2/2011                                                                      //                                            No                          //                                                                            //                                                          Together New          26,660.57         6/2012         9,309.56       100,000.00                                                                     Note:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Inspection                                                                                                                 confirmed the presence of Chinese drywall.                                                                                                                                                                                                       remediated       06/29/2012
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Orleans                                                                                            The Preservation Resource Center of New Orleans (PRC) never owned the property, but remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           it and the home owner assigned the remediation claim and all claims to PRC with the exception of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             personal property and personal injury claims. A claim has been filed with PRC's insurer but no
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    payments made for this property at this time.
        Ex 10/79     Catalanotto, Mary Ann      743 Louque Street      New Orleans   LA      70124   [III], [III(A)],       10/7/2009   Yes      Yes          1200      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET      17                     I           CATALANOTTO MARY Owner as of 6/9/15            City or County Tax             12/2/1997          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               3.22.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  No changes have been made to the property or ownership of the property since I completed this form
  91
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        initially.
                                                                                                     [VII], [XIII],                                                      Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                       ANN                                            Records                                                                                                   820 O'Keefe Avenue
                                                                                                     [XV], [XVI],                                                               Footage                                                                                                                              04 STANDARD" matches DIG                                                                                                                                                                                             New Orleans, LA 70113                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           I am in possession of a book (8.5x11") titled "Post Remediation Verification Report" supplied to me by
                                                                                                     [XVII]                                                                                                                                                                                                          #3                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Elite Industries;                                                                                       Shawn Macomber of Healthy Home Solutions, LLC. Shawn was our HHS Inspector and was in charge
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         No                                                                                                                                                                                                                                                                                                                                                                       Completely      1/31/2014 -            Shawn                                                                                            of the remediation process. In this book are complete reports, photos, diagrams of drywall coverage,
                                                                                                                                                                                                                               0.86                 94.47             $113,364                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential    11/14/2002      7/3/2007          No                                            N/A                                        //                                            No                          //                                                                            //                                                                               $78,114.73         3/2014                       $100,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated       3/15/2014       Macomber (HHS                                                                                          certificates, and a DVD with 833 high resolution digital photos covering every step of the process from
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Inspector)                                                                                            initial inspection to tear-out and total remediation. This book is 70 pages full color and copies of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           any/all pages will be supplied upon request in part or full along with any digital photographic images
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             from the DVD as needed. Everything requested has been photographed including every sheet of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               drywall as it was removed, damaged electric sockets and switches, pitted fixtures, discolored
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        plumbing etc
  92    Add. Taishan Cathalougne, Thelma        3116 Pakenham Drive Chalmette        LA      70043   [XIII], [XV],           7/5/2011   Yes      Yes          1210      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEETS         18                 I           CATHALOUGNE,       Owner as of 6/9/15          City or County Tax             5/23/1986          Current Owner      Paul A. Lea, Jr., APLC               Paul A. Lea, Jr., Esq.           (985) 292-2300   jean@paullea.com                                                                                                                                                                                                                     3.9.18                                                                                        Corrosion Problems, A/C coils failed, Blackening                                                                                                                                                                                                                                                                                                                                             I have had to live in this property containing Chinese Drywall and have suffered the side effects of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         No
        Prop. &                                 Chalmette, LA 70433                                  [XVI], [XVII],                                                      Document with Square                                  0.86                 94.47             $114,309                                       OR EXCEEDS"                                                 THELMA WHEELER 1/2                             Records                                                                                                   724 East Boston Street                                                                                                                                                                                                                        N/A                            No                             Residential     5/23/1986     1/10/2006          No           4/2009        of copper surfaces and Failure of various                     //                                            No                          //                                                                            //                            No                                                                                                  300,000.00      200,000.00      same. I have no money to fix, the value of my property has substantially decreased and I cannot sell
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Inspection
        Omni XX                                                                                      [XX]                                                                       Footage                                                                                                                                                                                                                                                                                                                                                   Covington, LA 70433                                                                                                                                                                                                                                                                                                                                                                               electrical appliances                                                                                                                                                                                                                                                                                                                                                                                              because of the Chinese Drywall.
  93    RP           Catholic Charities         1940 Congress Street   New Orleans   LA      70117   [IX], [XV],             5/5/2011   Yes      Yes          1309      Property Tax Assessor's           Yes                                                                         Crescent City   Affidavit from N/A                          N/A                D           HILLS LUCILLE M         Owner as of 6/9/15     Tax Records + Title/Deed       8/30/1971          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.15.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         No                                                                                                                                                                                                                                                                                                                                                                       Completely                          Lakewood
                     Archdiocese of New         (Lucille Hills)                                      [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $123,661                        counsel                                                                    HILLS WILLIE J                                                                                                                                           820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                          //                                                                            //                                         5/12-9/12                             $64,354.00         9/2012        $19,791.00          n/a             n/a
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated                         Corporation
                     Orleans                                                                                                                                                    Footage                                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
  94    RP           Catholic Charities         2019 N. Robertson      New Orleans   LA      70116   [XIII], [XV],           7/5/2011   Yes      Yes           880      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                 D           WATSON JAMES H          Owner as of 6/9/15     Tax Records + Title/Deed       5/29/1958          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.15.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         No                                                                                                                                                                                                                                                                                                                                                                       Completely                          Lakewood
                     Archdiocese of New         (Dorothy Watson)                                     [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47              $83,134                                       Gypsum Incorporated                                         WATSON DOROTHY                                                                                                                                           820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                          //                                                                            //                                         3/12-6/12                             $46,708.00         6/2012        $1,805.00           n/a             n/a
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated                         Corporation
                     Orleans                                                                                                                                                    Footage                                                                                                                              Manufactured in P.R.C."                                     WATSON DOROTHY P                                                                                                                                         New Orleans, LA 70113
  95    RP           Catholic Charities         2032 St. Roch Avenue New Orleans     LA      70117   [IX], [XV],             5/5/2011   Yes      Yes           962        Builder's Floor Plan            Yes                                                                         Crescent City   Photo          "Made in China Crescent City" 27                D           ROMAN JOERETTA N        Owner as of 6/9/15     City or County Tax             12/9/1992          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.15.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         No                                                                                                                                                                                                                                                                                                                                                                       Completely                          Lakewood
                     Archdiocese of New         (Joeretta Roman)                                     [XVI], [XVII]                                                                                                             0.86                 94.47              $90,880                                                                                                                                                  Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                          //                                                                            //                                            6/13                               $50,156.00         6/2013        $12,935.00          n/a             n/a
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated                         Corporation
                     Orleans                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113
  96    RP           Catholic Charities         2337-2339 Valmont      New Orleans   LA      70115   [IX], [XV],             5/5/2011   Yes      Yes          2102        Builder's Floor Plan            Yes                                                                         Crescent City   Photo          "Manufactured in P.R.C."     27                 D           BAKER CONNIE K          Owner as of 6/9/15     City or County Tax             5/1/1993           Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.15.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         No                                                                                                                                                                                                                                                                                                                                                                       Completely                          Lakewood
                     Archdiocese of New         (Connie Baker)                                       [XVI], [XVII]                                                                                                             0.86                 94.47             $198,576                                                                                                                                                  Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                          //                                                                            //                                         7/12-10/12                            $41,888.00        10/2012        $3,190.00           n/a             n/a
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated                         Corporation
                     Orleans                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113
  97    RP           Catholic Charities         2412 Annunciation      New Orleans   LA      70130   [IX], [XV],             5/5/2011   Yes      Yes          1468      Property Tax Assessor's           Yes                                                                         Crescent City   Affidavit from N/A                          N/A                D           TAYLOR ALOS T           Owner as of 6/9/15     City or County Tax             8/31/1999          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.15.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         No                                                                                                                                                                                                                                                                                                                                                                       Completely                          Lakewood
                     Archdiocese of New         Street (Alos Taylor)                                 [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $138,682                        counsel                                                                                                                   Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                          //                                                                            //                                         9/12-3/13                             $79,585.00         3/2013        $36,769.00          n/a             n/a
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated                         Corporation
                     Orleans                                                                                                                                                    Footage                                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
  98    RP           Catholic Charities         2735 Higgins (Jeanette New Orleans   LA      70126   [IX], [XV],             5/5/2011   Yes      Yes          1440        Builder's Floor Plan            Yes                                                                         Crescent City   Photo          "Gypsum Incorporated         27                 D           COBBS EARLYN W    Owner as of 6/9/15,          Tax Records + Title/Deed       8/31/2004             1/25/2016       Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.15.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         No                                                                                                                                                                                                                                                                                                                                                                       Completely                          Lakewood
                     Archdiocese of New         Wilson)                                              [XVI], [XVII]                                                                                                             0.86                 94.47             $136,037                                       Manufactured"                                                                 No Longer Owns                                                                                                                         820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                          //                                                                            //                                         5/12-10/12                            $64,066.00        10/2012        $2,073.00           n/a             n/a
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                     Orleans                                                                                                                                                                                                                                                                                                                                                                       Property                                                                                                                               New Orleans, LA 70113
  99    RP           Catholic Charities         2754 Edna Street       New Orleans   LA      70126   [IX], [XV],             5/5/2011   Yes      Yes          1715        Builder's Floor Plan            Yes                                                                         Crescent City   Photo          "Incorporated Manufactured in 27                D           MARTIN LAWERNCE A Owner as of 6/9/15           Tax Records + Title/Deed       6/2/1999           Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.15.18
                     Archdiocese of New         (Barbara Martin)                                     [XVI], [XVII]                                                                                                                                                                                                   P.R.C."                                                     JR                                                                                                                                                       820 O'Keefe Avenue                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                       Completely                          Lakewood
                                                                                                                                                                                                                               0.86                 94.47             $162,016                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                          //                                                                            //                                         6/12-1/13                             $67,226.00         1/2013        $19,802.00          n/a             n/a
                     Orleans                                                                                                                                                                                                                                                                                                                                                     MARTIN BARBARA W                                                                                                                                         New Orleans, LA 70113                                                                                                                                                                                                                                       Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated                         Corporation
                                                                                                                                                                                                                                                                                                                                                                                 MARTIN BARBARA W
  100   RP           Catholic Charities         2837 A.P. Turead       New Orleans   LA      70119   [IX], [XV],             5/5/2011   Yes      Yes          2156              Other                     Yes                                                                         Crescent City   Affidavit from N/A                          N/A                D           SIMMONS ELOISE B  Owner as of 6/9/15           City or County Tax             1/22/2007          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.15.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         No                                                                                                                                                                                                                                                                                                                                                                       Completely                          Lakewood
                     Archdiocese of New         Avenue (Eloise                                       [XVI], [XVII]                                                                                                             0.86                 94.47             $203,677                        counsel                                                                                                                   Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                          //                                                                            //                                         8/12-11/12                            $83,356.00        11/2012        $22,460.00          n/a             n/a
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated                         Corporation
                     Orleans                    Simmons)                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  New Orleans, LA 70113
  101   RP           Catholic Charities         3610 Jumonville Street New Orleans   LA      70122   [IX], [XV],             5/5/2011   Yes      Yes          1435        Builder's Floor Plan            Yes                                                                         Crescent City   Affidavit from N/A                          N/A                D           BERNARD ANTONIO F       Owner as of 6/9/15     Tax Records + Title/Deed       12/3/2007          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.15.18
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                     Archdiocese of New         (Antonio & Laurette                                  [XVI], [XVII]                                                                                                             0.86                 94.47             $135,564                        counsel                                                                                                                                                                                                                             820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                          //                                                                            //                                         12/11-3/12                            $92,879.00         3/2012        $7,560.00           n/a             n/a
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                     Orleans                    Bernard)                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  New Orleans, LA 70113
  102   RP           Catholic Charities         4106 Eagle Street      New Orleans   LA      70118   [IX], [XV],             5/5/2011   Yes      Yes           872        Builder's Floor Plan            Yes                                                                         Crescent City   Inspection                                  N/A                D           WHITE LYDIA             Owner as of 6/9/15     City or County Tax             8/17/2006          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.15.18
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                     Archdiocese of New         (Lydia White)                                        [XVI], [XVII]                                                                                                             0.86                 94.47              $82,378                        Report                                                                                                                    Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                          //                                                                            //                                         4/12-10/12                            $40,830.00        10/2012        $19,917.00          n/a             n/a
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                     Orleans                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113
  103   RP           Catholic Charities         4222 Rayne Street      New Orleans   LA      70122   [IX], [XV],             5/5/2011   Yes      Yes          1230        Builder's Floor Plan            Yes                                                                         Crescent City   Photo          "Made in China Cr"           27                 D           WHEELER MELVIN H        Owner as of 6/9/15     Tax Records + Title/Deed       5/9/1977           Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.15.18
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                     Archdiocese of New         (Melvin Wheeler)                                     [XVI], [XVII]                                                                                                             0.86                 94.47             $116,198                                                                                                                                                                                                                                                            820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                          //                                                                            //                                         1/12-5/12                             $52,663.00         5/2012        $5,693.00           n/a             n/a
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                     Orleans                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113
  104   RP           Catholic Charities         4557 Mark Twain      New Orleans     LA      70126   [IX], [XV],             5/5/2011   Yes      Yes          1184      Property Tax Assessor's           Yes                                                                         Crescent City   Affidavit from N/A                          N/A                D           JONES YVONNE R          Owner as of 6/9/15     Tax Records + Title/Deed       12/3/1996          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.15.18
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                     Archdiocese of New         Drive (Yvonne Jones)                                 [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $111,852                        counsel                                                                                                                                                                                                                             820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                          //                                                                            //                                         3/12-8/12                             $57,117.00         8/2012        $2,324.00           n/a             n/a
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                     Orleans                                                                                                                                                    Footage                                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
  105   RP           Catholic Charities         4823 Shalimar Street   New Orleans   LA      70126   [IX], [XV],             5/5/2011   Yes      Yes          2512      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                 D           GASPARD KENNETH J       Owner as of 6/9/15     Tax Records + Title/Deed       12/6/1977          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.15.18
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                     Archdiocese of New         (Kenneth Gaspard)                                    [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $237,309                                       Gypsum Incorporated                                                                                                                                                                                                  820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                          //                                                                            //                                         3/12-7/12                             $66,654.00         7/2012        $8,127.00           n/a             n/a
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                     Orleans                                                                                                                                                    Footage                                                                                                                              Manufactured in P.R.C."                                                                                                                                                                                              New Orleans, LA 70113
  106   RP           Catholic Charities         4910 S. Claiborne Ave. New Orleans   LA      70115   [IX], [XV],             5/5/2011   Yes      Yes          1535      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Gypsum Incorporated         27                 D           HURST PAULINE W         Owner as of 6/9/15     Tax Records + Title/Deed      11/16/1988          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.15.18
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                     Archdiocese of New         (Pauline Hurst)                                      [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $145,011                                       Manufactured in P.R.C."                                                                                                                                                                                              820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                          //                                                                            //                                         11/11-2/12                            $63,599.00         2/2012        $13,170.96          n/a             n/a
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                     Orleans                                                                                                                                                    Footage                                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
  107   RP           Catholic Charities         5130 Pauline Drive     New Orleans   LA      70126   [IX], [XV],             5/5/2011   Yes      Yes          1534        Builder's Floor Plan            Yes                                                                         Crescent City   Photo          "City Gypsum Incorporated"   27                 D           TAYLOR LYDIA            Owner as of 6/9/15     Tax Records + Title/Deed       4/25/1994          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.15.18
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                     Archdiocese of New         (Lydia Taylor)                                       [XVI], [XVII]                                                                                                             0.86                 94.47             $144,917                                                                                                                                                                                                                                                            820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                          //                                                                            //                                         2/12-6/12                             $65,464.00         6/2012        $8,777.10           n/a             n/a
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                     Orleans                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113
  108   RP           Catholic Charities         5429 N. Villere Street New Orleans   LA      70117   [IX], [XV],             5/5/2011   Yes      Yes          1178        Builder's Floor Plan            Yes                                                                         Crescent City   Affidavit from N/A                          N/A                D           WALKER OLGA J           Owner as of 6/9/15     City or County Tax             6/28/1993          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.15.18
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                     Archdiocese of New         (Olga Walker)                                        [XVI], [XVII]                                                                                                             0.86                 94.47             $111,286                        counsel                                                                                                                   Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                          //                                                                            //                                         2/12-5/12                             $56,422.00         5/2012        $1,877.00           n/a             n/a
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                     Orleans                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113
  109   RP           Catholic Charities         5709 Wingate Drive     New Orleans   LA      70122   [IX], [XV],             5/5/2011   Yes      Yes          1280      Property Tax Assessor's           Yes                                                                         Crescent City   Affidavit from N/A                          N/A                D           ROBICHAUX CRAIN M Owner as of 6/9/15           Tax Records + Title/Deed       8/4/2004           Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.15.18
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                     Archdiocese of New         (Rosie Robichaux)                                    [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $120,922                        counsel                                                                    ROBICHAUX ROSIE                                                                                                                                          820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                          //                                                                            //                                         3/12-7/12                             $54,044.00         7/2012                            n/a             n/a
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                     Orleans                                                                                                                                                    Footage                                                                                                                                                                                          WALLACE                                                                                                                                                  New Orleans, LA 70113
  110   RP           Catholic Charities         5724 Music Street     New Orleans    LA      70122   [IX], [XV],             5/5/2011   Yes      Yes          1386        Builder's Floor Plan            Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                 D           SALGADO GUILLERMO Owner as of 6/9/15           Tax Records + Title/Deed       3/30/1979          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.15.18
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                     Archdiocese of New         (Guillermo & Anita                                   [XVI], [XVII]                                                                                                             0.86                 94.47             $130,935                                       Gypsum"                                                                                                                                                                                                              820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                          //                                                                            //                                         3/12-7/12                             $60,969.00         7/2012        $11,371.22          n/a             n/a
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                     Orleans                    Salgado)                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  New Orleans, LA 70113
  111   RP           Catholic Charities         5729 Vermillion Blvd. New Orleans    LA      70122   [IX], [XV],             5/5/2011   Yes      Yes          1325      Property Tax Assessor's           Yes                                                                         Crescent City   Affidavit from N/A                          N/A                D           CARTER AUGUSTA H        Owner as of 6/9/15     Tax Records + Title/Deed       5/21/1984          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.15.18
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                     Archdiocese of New         (Augusta Carter)                                     [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $125,173                        counsel                                                                                                                                                                                                                             820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                          //                                                                            //                                         1/12-5/12                             $59,680.00         5/2012        $13,950.00          n/a             n/a
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                     Orleans                                                                                                                                                    Footage                                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
  112   RP           Catholic Charities         6321 Baccich Street    New Orleans   LA      70122   [IX], [XV],             5/5/2011   Yes      Yes          1449        Builder's Floor Plan            Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                 D           SEGURA LUCILLE          Owner as of 6/9/15     City or County Tax             3/11/1999          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.15.18
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                     Archdiocese of New         (Lucille Segura)                                     [XVI], [XVII]                                                                                                             0.86                 94.47             $136,887                                       Gypsum Incorp"                                                                                             Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                          //                                                                            //                                         12/11-5/12                            $82,297.00         5/2012        $15,870.00          n/a             n/a
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                     Orleans                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113
  113   RP           Catholic Charities         7435 Alabama Street    New Orleans   LA      70126   [IX], [XV],             5/5/2011   Yes      Yes          2332      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Gypsum Incorporated         27                 D           COLE ANTHONY            Owner as of 6/9/15     Tax Records + Title/Deed       5/27/2005          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.15.18
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                     Archdiocese of New         (Anthony and Gloria                                  [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $220,304                                       Manufactured in P.R.C."                                     GLORIA JONES COLE                                                                                                                                        820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                          //                                                                            //                                         3/12-7/12                             $74,491.00         7/2012        $17,598.00          n/a             n/a
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                     Orleans                    Cole)                                                                                                                           Footage                                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
  114   RP           Catholic Charities         7542 Briarwood         New Orleans   LA      70128   [IX], [XV],             5/5/2011   Yes      Yes          1889      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Gypsum Incorporated         27                 D           WILLIAMS CARRIE H       Owner as of 6/9/15     City or County Tax             5/13/2004          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.15.18
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                     Archdiocese of New         (Carrie Williams)                                    [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $178,454                                       Manufactured in P.R.C."                                                                                    Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                          //                                                                            //                                         5/12-10/12                            $67,875.00        10/2012        $13,333.00          n/a             n/a
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                     Orleans                                                                                                                                                    Footage                                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
  115   RP           Catholic Charities         8631 Hammond Street New Orleans      LA      70127   [IX], [XV],             5/5/2011   Yes      Yes          1087      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                 D           EMILIEN SHEILA H        Owner as of 6/9/15     Tax Records + Title/Deed      12/17/1997          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.15.18
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                     Archdiocese of New         (Sheila Morris)                                      [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $102,689                                       Gypsum Incorporated                                                                                                                                                                                                  820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                          //                                                                            //                                         12/11-3/12                            $68,613.00         3/2012        $17,857.00          n/a             n/a
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                     Orleans                                                                                                                                                    Footage                                                                                                                              Manufactured in P.R.C."                                                                                                                                                                                              New Orleans, LA 70113
  116   RP           Catholic Charities         9000 Lake Forest Blvd. New Orleans   LA      70127   [IX], [XV],             5/5/2011   Yes      Yes          2705      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Incorporated Manufactured in 27                D           BYRD PRINCETTA G    Owner as of 6/9/15         Tax Records + Title/Deed       9/9/2009           Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.15.18
                     Archdiocese of New         (Alexander Byrd)                                     [XVI], [XVII]                                                       Document with Square                                                                                                                        P.R.C."                                                     LUCKETT TRESA                                                                                                                                            820 O'Keefe Avenue
                     Orleans                                                                                                                                                    Footage                                                                                                                                                                                          BRIGGS NADINE                                                                                                                                            New Orleans, LA 70113
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                                                                                                                                                                                                                               0.86                 94.47             $255,541                                                                                                   NELSON KAREN                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                          //                                                                            //                                         6/12-11/12                            $77,638.00        11/2012        $17,283.00          n/a             n/a
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  117   RP           Catholic Charities         9126 Fig Street     New Orleans      LA      70118   [IX], [XV],             5/5/2011   Yes      Yes          2088        Builder's Floor Plan            Yes                                                                         Crescent City   Photo          "Incorporated Manufactured in 27                D           JASMMINE                Owner as of 6/9/15     City or County Tax             7/16/1991          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.15.18
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                     Archdiocese of New         (Gwendolyn Jasmine)                                  [XVI], [XVII]                                                                                                             0.86                 94.47             $197,253                                       P.R.C."                                                     GWENDOLYN                                      Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                          //                                                                            //                                         3/12-6/12                             $70,058.00         6/2012        $18,530.00          n/a             n/a
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                     Orleans                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113
  118   RP           Catholic Charities         1134 Horace Street    New Orleans    LA      70114   [IX], [XV],             5/5/2011   Yes      Yes          1225      Property Tax Assessor's           Yes                                                                         Crescent City   Affidavit from N/A                          N/A                D           HARRISON SHIRLEEN & No Record of               City or County Tax                                                   Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.15.18
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                     Archdiocese of New         (Ruth & Shirleen                                     [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $115,726                        counsel                                                                    HARRISON RUTH, ET    Ownership                 Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                          //                                                                            //                                         6/12-1/13                             $73,864.00         1/2013        $21,022.00          n/a             n/a
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated                         Corporation
                     Orleans                    Harrison)                                                                                                                       Footage                                                                                                                                                                                          AL                                                                                                                                                       New Orleans, LA 70113
  119   RP           Catholic Charities         1426 S. Gayoso Street New Orleans    LA      70125   [IX], [XV],             5/5/2011   Yes      Yes           912      Property Tax Assessor's           Yes                                                                         Crescent City   Affidavit from N/A                          N/A                D           SLUSS HARRY L, SLUSS No Record of              City or County Tax                                                   Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.15.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         No                                                                                                                                                                                                                                                                                                                                                                       Completely                          Lakewood
                     Archdiocese of New         (Harry & Charlene                                    [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47              $86,157                        counsel                                                                    CHARLINE R, & SLUSS Ownership                  Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                          //                                                                            //                                         12/11-3/12                            $66,690.00         3/2012        $16,385.00          n/a             n/a
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated                         Corporation
                     Orleans                    Sluss)                                                                                                                          Footage                                                                                                                                                                                          CHARLINE R                                                                                                                                               New Orleans, LA 70113
  120   RP           Catholic Charities         1606 N. Broad Street New Orleans     LA      70119   [IX], [XV],             5/5/2011   Yes      Yes          1130      Property Tax Assessor's           Yes                                                                         Crescent City   Affidavit from N/A                          N/A                D           TERANCE WILFRED L    No Record of              City or County Tax                                                   Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.15.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         No                                                                                                                                                                                                                                                                                                                                                                       Completely                          Lakewood
                     Archdiocese of New         (Olivia Terance                                      [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $106,751                        counsel                                                                    ET ALS               Ownership                 Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                          //                                                                            //                                         4/12-9/12                             $42,437.00         9/2012        $21,055.00          n/a             n/a
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated                         Corporation
                     Orleans                    (deceased))                                                                                                                     Footage                                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
  121   RP           Catholic Charities         1814 N. Miro Street   New Orleans    LA      70119   [IX], [XV],             5/5/2011   Yes      Yes          2332      Property Tax Assessor's           Yes                                                                         Crescent City   Affidavit from N/A                          N/A                D           JOSEPH ANNETTE          No Record of           City or County Tax                                                   Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.15.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         No                                                                                                                                                                                                                                                                                                                                                                       Completely                          Lakewood
                     Archdiocese of New         (Annette Joseph)                                     [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $220,304                        counsel                                                                                            Ownership              Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                          //                                                                            //                                         4/12-9/12                             $77,753.00         9/2012        $13,808.00          n/a             n/a
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated                         Corporation
                     Orleans                                                                                                                                                    Footage                                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
  122   RP           Catholic Charities         1905 4th Street        New Orleans   LA      70113   [IX], [XIII],           5/5/2011   Yes      Yes           675        Builder's Floor Plan            Yes                                                                         Crescent City   Photo          "Made in China Cr"           27                 D           TURNER SHERLYN N.H No Record of                City or County Tax                                                   Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.15.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         No                                                                                                                                                                                                                                                                                                                                                                       Completely                          Lakewood
                     Archdiocese of New         (Sherlyn Turner)                                     [XV], [XVI],                                                                                                              0.86                 94.47              $63,767                                                                                                                      Ownership                   Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                          //                                                                            //                                         2/12-7/12                             $36,427.00         7/2012        $17,659.00          n/a             n/a
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated                         Corporation
                     Orleans                                                                         [XVII]                                                                                                                                                                                                                                                                                                                                                                                                                               New Orleans, LA 70113
  123   RP           Catholic Charities         1907 4th Street        New Orleans   LA      70113   [XIII], [XV],           7/5/2011   Yes      Yes           571        Builder's Floor Plan            Yes                                                                         Crescent City   Photo          "Made in China Cr"           27                 D           TURNER SHERLYN N.H No Record of                City or County Tax                                                   Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.15.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         No                                                                                                                                                                                                                                                                                                                                                                       Completely                          Lakewood
                     Archdiocese of New         (Sherlyn Turner)                                     [XVI], [XVII]                                                                                                             0.86                 94.47              $53,942                                                                                                                      Ownership                   Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                          //                                                                            //                                         5/12-9/12                             $38,451.00         9/2012                            n/a             n/a
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated                         Corporation
                     Orleans                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113
  124   RP           Catholic Charities         2008-10 Franklin       New Orleans   LA      70117   [IX], [XIII],           5/5/2011   Yes      Yes          2028      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                 D           PAYNE ROSE A, PAYNE No Record of               City or County Tax                                                   Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.15.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         No                                                                                                                                                                                                                                                                                                                                                                       Completely                          Lakewood
                     Archdiocese of New         Avenue (Warren                                       [XV], [XVI],                                                        Document with Square                                  0.86                 94.47             $191,585                                       Gypsum Incorporated                                         WARREN J, & WARREN Ownership                   Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                          //                                                                            //                                         9/12-3/13                             $54,209.00         3/2013        $19,894.00          n/a             n/a
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated                         Corporation
                     Orleans                    Payne, Jr.)                                          [XVII]                                                                     Footage                                                                                                                              Manufactured in P.R.C."                                     PAYNE JR                                                                                                                                                 New Orleans, LA 70113
  125   RP           Catholic Charities         2024-26 Franklin       New Orleans   LA      70117   [IX], [XIII],           5/5/2011   Yes      Yes          1508      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in Chi"                27                 D           REMY ERROL D        No Record of               City or County Tax                                                   Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.15.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         No                                                                                                                                                                                                                                                                                                                                                                       Completely                          Lakewood
                     Archdiocese of New         Avenue (both sides)                                  [XV], [XVI],                                                        Document with Square                                  0.86                 94.47             $142,461                                                                                                                       Ownership                  Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                          //                                                                            //                                         6/12-2/13                             $50,142.00         2/2013        $22,793.00          n/a             n/a
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated                         Corporation
                     Orleans                    (Errol Remy)                                         [XVII]                                                                     Footage                                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
  126   RP           Catholic Charities         6101 Perlita St.       New Orleans   LA      70122   [III(A)], [IX],        9/16/2010   Yes      Yes          2599      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Incorporated Manufactured in 27                D           BRECKENRIDGE            Owner as of 6/9/15     City or County Tax               2007             Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.15.18
                     Archdiocese of New                                                              [XV], [XVI],                                                        Document with Square                                                                                                                        P.R.C."                                                     MARYDIA JENNINGS                               Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                       Completely                          Lakewood
                                                                                                                                                                                                                               0.86                 94.47             $245,528                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential        //           //2007                        1/2011                HVAC or CDW Inspection                                //                                            No                          //                                                                            //                                         2/12-8/12                             $90,574.00         8/2012        $21,753.00          n/a             n/a
                     Orleans (Marydia                                                                [XVII]                                                                     Footage                                                                                                                                                                                          BRECKENRIDGE                                                                                                                                             New Orleans, LA 70113                                                                                                                                                                                                                                       Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated                         Corporation
                     Breckenridge-Jennings)                                                                                                                                                                                                                                                                                                                                      MARTINIQUE L( 1/6)
  127   Ex 10/79     Chalmers, Ryan and Julie   6359 Marshall Foch     New Orleans   LA      70124   [III], [VII],          10/7/2009   Yes      Yes          1561      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS 21                        I           CHALMERS RYAN G         Owner as of 6/9/15     City or County Tax             8/6/2004           Current Owner      The Lambert Firm                     Hugh Lambert, Esq.               (504) 529-2931   hlambert@thelambertfirm.com                                                                                                                                                                                                          3.21.18
                                                                                                     [XV], [XVI],                                                       Plan and Square Footage                                                                                                                      OR EXCEEDS" and "ASTM                                       CHALMERS JULIE                                 Records                                                                                                   701 Magazine St,                                                                                                                                                                                                                                               No                                                                                                                                                                                                                                                                                                                                                                       Completely     October 2010 -
                                                                                                                                                                                                                               0.86                 94.47             $147,468                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     8/6/2004      10/23/2006                                                                                                  //                                            No                          //                                                                            //                                                               Self             86,000.00         2/2011         1500.00         100.000
                                                                                                     [XVII]                                                                                                                                                                                                          C1396-04 STANDARD"                                                                                                                                                                                                   New Orleans LA 70130                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated     February 2011
                                                                                                                                                                                                                                                                                                                     matches DIG #3
  128   Ex 10/79     Chambers, Jewel            1016 Cougar Drive      Arabi         LA      70032   [XV], [XVI],            7/5/2011   Yes      Yes          1293        Inspection Showing              Yes                                                                         Crescent City   Photo          "Incorporated Manufactured in 27                D           CHAMBERS, JEWEL         Owner as of 6/9/15     City or County Tax             6/6/2002           Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                               3.23.18                                                                                                                                                                                                                                                                                                                                                          unknonw- post
                                                                                                     [XVII]                                                              Floor Plan and Under                                                                                                                        P.R.C."                                                     WILLIAMS                                       Records                                                                                                   8301 W. Judge Perez Drive,                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                         Partially     bond for deed
                                                                                                                                                                                                                               0.86                 94.47             $122,150                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                                             5/31/2002     10/??/2007                      6/2012     INSPECTION BY JOHNNY''S AIR CONDITIONING                     1/12/2017         No              No              No                          //                                                                            //                                                           1016C, LLC                                            2,252,23       200,000.00                          ALE- based upon attached receipts for appliances and household items which were replaced.
                                                                                                                                                                          Air Square Footage                                                                                                                                                                                                                                                                                                                                              Suite 303                                                                                                                                                                                                                                                   Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated     transfer by new
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Chalmette, LA 70043                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         owner
  129   Add. Taishan Chestnut, Sean and Holly 4416 Stella Drive        Meraux        LA      70075   [XV], [XVI],            7/5/2011   Yes      Yes          1540      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                 D           PALMERI, JAMES L.       Owner as of 6/9/15,    City or County Tax             2/13/2007             4/11/2016       Doyle Law Firm                       Jimmy Doyle, Esq.                (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Media reports made us concerned since we
        Prop.                                                                                        [XVII]                                                              Document with Square                                                                                                                        Gypsum"                                                                             No Longer Owns         Records                                                                                                   2100 Southbridge Parkway,                                                                                                                                                                                                                                      No                                                                                                                                                                                                                                                                                                                                                                       Completely       1/1/15 to
                                                                                                                                                                                                                               0.86                 94.47             $145,484                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No        3.11.18              Residential     2/1/2007       9/1/2007          No           2/2012     were experiencing the things they described, so              4/8/2016          No              Yes             No                          //                                                                            //                                                               self             60,000.00         4/2016                        225,000.00
                                                                                                                                                                                Footage                                                                                                                                                                                                                  Property                                                                                                                         Suite 650                                                                                                                                                                                                                                                   Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated         4/1/16
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 we had a Chinese drywall inspection done.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Birmingham, AL 35209
  130   Add. Taishan Chestnut, Thomas           3700 Lena Drive        Chalmette     LA      70043   [VII], [XV],           1/14/2011   Yes      Yes          1604      Property Tax Assessor's           Yes                                                                         Taihe           Photo                                                          I           CHESTNUT, THOMAS M. Owner as of 6/9/15         City or County Tax            10/15/1990          Current Owner      Reich & Binstock                     Dennis Reich, Esq.               (713) 352-7883   DReich@reichandbinstock.com                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Owners,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Thomas and
        Prop.                                                                                        [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                                                                   Records                                                                                                   4265 San Felipe, Suite 1000                                                                                                                                                                                                                                                                                                                                                              Plaintiff, Thomas Chestnut conducted an
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Patricia
                                                                                                                                                                                Footage                                                                                                                                                                                                                                                                                                                                                   Houston, TX 77027                                                                                                                                                                                                                                              No                                                                                                                      inspection of the property on November 28,                                                                                                                                                                                                       Completely      01/09/2007 -
                                                                                                                                                                                                                               0.86                 94.47             $151,530                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     3/??/2007     5/??/2007          No          11/2009                                                        No            //            No              No              No                          //                                                                            //                                                            Chestnut.        Will supplement.     6/2007      Will supplement Will supplement Not applicable.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Inspection                                                                                                               2009, where he discovered Made in China-Meet                                                                                                                                                                                                       remediated       06/01/2007
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Abraham
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    or Exceeds ASTM C138604 Standards.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Rodriguez:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    214.713.8016
  131   Ex 10/79     Chevalier, Randy and G.    2585 Jonquil Street    New Orleans   LA      70122   [XV], [XVI],            7/5/2011   Yes      Yes           900              Other                     Yes                                                                         Crescent City   Photo          "Manufactured in P.R.C."     27                 D           CHEVALIER RANDY G       Owner as of 6/9/15     City or County Tax             9/16/2006          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.21.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  When I bought this building, the apartment did not have any drywall in it. It was gutted to the stud
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             and needed a full renovation. I completely renovated it, including paying to have it drywalled. I
                     And Antoinette                                                                  [XVII]                                                                                                                                                                                                                                                                                                                     Records                                                                                                   820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            became aware that I had Chinese drywall when I showed a real estate broker the property after
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            having rented it for several years. At the time, I was thinking about selling it. The broker said the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            apartment smelled like Chinese Drywall. She suggested I contact the attorney handling the class
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          action lawsuit and ask for guidance. Samples of the drywall were taken from several locations in the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 apartment by an independent inspector, analyzed and confirmed to be Chinese Drywall.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            The calculation of diminution of value is based on a selling price per square foot for multi-unit
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          buildings in this neighborhood of $125/sqr ft. The building lost $225,000 of value due to the city
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          irrevocably reclassifying it to a 2-unit structure from a 4-unit structure due to it being vacant for
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        longer than 180 days. Dividing that number by 2, gives a, per apartment loss (for each of the lower
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               I purchased the building after 3 apartments had                                                                                                                                                                                                                      Drywall and                                                                                                           floor apartments) of $112,500. Therefore the loss of value to the building from this apartment is
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 6,500 for this
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                been completely gutted to the studs (including                                                                                                                                                                                                                    insulation were                                                                                                                                                         $112,500.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   apartment.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                this one) and a fourth one was partially gutted                                                                                                                                                                                                                  removed 7/1/16 Alberto of AAA                                                                           225,000 / 2 =
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         No                                                                                                                                                                                                                                                                                                                                                                         Partially                                     Total for the
                                                                                                                                                                                                                               0.86                 94.47              $85,023                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/A                            No                             Residential     9/19/2006     2/15/2007                       6/2012       to the studs. I had the apartments (including                  //                                            No                          //                                                                            //                                            through     Constructions                                             2,485           63,650       $112,500 this Cost to travel to New Orleans to secure a contractor and inspect the work to remove the drywall from
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated                                    building was 4 x
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               this one) fully renovated and rented for several                                                                                                                                                                                                                      7/27/16.         LLC                                                                                     apt                                           the entire building (4 apartments):
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    $6,500 =
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  years before learning that the building was                                                                                                                                                                                                                       Nothing has                                                                                                                                                -- airfare -- $425 X2 = $850
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    $26,000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       renovated using Chinese Drywall.                                                                                                                                                                                                                             been rebuilt                                                                                                                                           -- rental car -- $235 + $250 = $485
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   -- gas -- $35X2 = $70
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              -- meals and lodging - ($64 + $152/day) X 5 days = $1080
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                total cost of travel = $2,485

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Loss of Rent from this apartment:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Monthly rent this apartment = $950
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        First day of lost rent -- October 1, 2012
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Number months loss rent -- 67
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Total loss = Monthly rent X Number months loss = $950*67 = $63,650

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                RE: Section III - I have plumbing, electrical and AC parts.
                                                                                                                                                                                                                                                                                                                                                                                                                                                Case 2:09-md-02047-EEF-MBN Document 21527-2 F ed 07/16/18 Page 3 of 9

Claimant Source      Claimant Name              Affected Property      City           State   Zip     Omni(s)              Date of Earliest PPF    Indicia    Verified    Type of Verficiation     Counsel's Declaration                                                               Product         Type of Indicia Description of Markings      Markings # from    Product       Current Owner as of   Ownership Status of   Proof of Ownership Per      Purchase Date Per   Sell Date if Applicable Counsel                            Counsel Address                  Counsel Phone    Counsel Email                                                           Global,                                                                Pre-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Amount Owed
Identifier                                      Address                                                                     Filed Taishan (Yes/No) (Yes/No)   Square      Provided Uploaded to       Verifying Square     2017 RS Means                                                Brand(s)                                                     Taishan Product ID Bucket(s)     May-August 2017 Per   Named Claimant Per         BrownGreer                BrownGreer       or Current Owner Per                                                                                                                                                               Banner, InEx                                                         Remediation                                                                                                                                                   Aware property                                                                            Date Sold or                                                                                                                                                                                                                    Who Performed
                                                                                                                                                                                                                                                2017 Cost Per SF    2017 Remediation                                                                                                                                                                                                                                                                                                                                                        Already                                                                                                                  VA        Holdback                              Remediation                                                                                      If no, when did                                                                           Assign any       Expressly                       Court                                                                               on        Date of                       Partially or                                                                Date        Alternative
                                                                                                                                Omni                          Footage           Sharefile                Footage         Residential Location                                                                                                       Catalog                              BrownGreer           BrownGreer                                                              BrownGreer                                                                                                                            Pilot Program               Knauf        Repair and                 Foreclosure Lost Rent,                   Alternative                                      Remediation                                                      Residential or Date Property   Date CDW      had CDW at                    If CDW Installed Before Purchase, Date you Assignment of   Transferred                                                                                                                   Foreclosure or                              Short Sale Price                    Dates of            Work to     Total Cost for                                        Loss of Use  Diminution of
                                                                                                                                                                                                                                                [B = A x $109.85]      Damages                                                                                                                                                                                                                                                                                                                                                             Remediated                            Bodily Injury                             Miscellaneous             Tenant Loss Settlement    Payment                   KPT %       Complete by     SPPF Completed?                                                                    you become                                                                              Rights with   Retain Rights to   Bankruptcy    Bankruptcy       Date of Filing   Docket No.   Present Status                  Loan/Mortgage Foreclosure or                   Completely                                                                Remediation     Living                                                                                   SPPF Comments/ Notes
                                                                                                                                                                                                                               Factor                                                                                                                                                                                                                                                                                                                                                                                         Payments                Remediation    Relocation                or Short Sale Use, or Sales                  Living                                          Option                                                         commercial?      Acquired       Installed      time of                            Learned it Contained CDW               Rights?       Property if                                                                                                                   Short Sale?                                 (if applicable)                   Remediation         Remediate     Remediation                                         and Enjoyment    Value
                                                                                                                                                                                                                                                                        [SF x B]                                                                                                                                                                                                                                                                                                                                                          Home (ARH)                                                                                                             Gross Award   Amount                                  KPT?                                                                                               aware?                                                                                  Sale?       Pursue Claim?                     Filed In                                                                        at time of    Short Sale                    Remediated?                                                                 Complete     Expenses
                                                                                                                                                                                                                                [A]                                                                                                                                                                                                                                                                                                                                                                                                                                  Expenses                                                             Expenses                                                                                                                                                       purchase?                                                                                Applicable                                                                                                                                                                                                                       Property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Foreclosure
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       (GBI)                                                              (PRALE)
  132   Ex 10/79     Chevalier, Randy and G.    3900-3902 Franklin     New Orleans    LA      70122   [XV], [XVI],            7/5/2011   Yes      Yes          2125      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Manufactured in P.R.C."      27                 D           CHEVALIER RANDY G Owner as of 6/9/15          City or County Tax              9/19/2006          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.21.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 When I bought this building, this apartment did not have any drywall in the rear bedroom. That
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Bedroom was gutted to the studs and needed a full renovation. I completely renovated the rear
                     And Antoinette             Avenue                                                [XVII]                                                              Document with Square                                                                                                                                                                                                                                   Records                                                                                                    820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          bedroom (including insulation and drywall) and upgraded all fixtures in the apartment. I became
                                                                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                                    New Orleans, LA 70113
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           aware that I had Chinese drywall when I showed a real estate broker the property after having
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         rented it for several years. At the time, I was thinking about selling it. The broker said the building
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        smelled like Chinese Drywall. She suggested I contact the attorney handling the class action lawsuit
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        and ask for guidance. Samples of the drywall were taken from the rear bedroom by an independent
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               inspector, analyzed and confirmed to be Chinese Drywall.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Cost to travel to New Orleans to secure a contractor and inspect the work to remove the drywall from
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          the entire building (4 apartments):
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             -- airfare -- $425 X2 = $850
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     I purchased the building after 3 apartments had                                                                                                                                                                                                                          Drywall and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         -- rental car -- $235 + $250 = $485
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     been completely gutted to the studs, this fourth                                                                                                                                                                                                                       insulation were                   Total for the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 -- gas -- $35X2 = $70
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       apartment was partially gutted to the studs. I                                                                                                                                                                                                                          removed                        building was
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Alberto of AAA                                                                                                                  -- meals and lodging - ($64 + $152/day) X 5 days = $1080
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                          had the apartments (including this one) fully                                                                                                                                                                                                           Partially    between July 1,                   4X$6,500 =
                                                                                                                                                                                                                                0.86                 94.47             $200,749                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No                                 Residential     9/19/2006     2/15/2007                       6/2012                                                                      //                                            No                               //                                                                            //                                                       CONSTRUCTION                                               2485.00         54054.00                                                               total cost of travel = $2,485
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                    renovated and rented for several years before                                                                                                                                                                                                          remediated      2016 thru July                 $26,000. $6,500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      learning that the building was renovated using                                                                                                                                                                                                                           27, 2016.                         for this
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Loss of Rent from this apartment:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Chinese Drywall. (see notes section at the end                                                                                                                                                                                                                          Nothing has                      apartment.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Monthly rent this apartment = $1,150
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     for related detail).                                                                                                                                                                                                                                     been rebuilt
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        First day of lost rent -- June 1, 2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Number months loss rent -- 47, through May 2018. Increments each month that passes.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Total loss = Monthly rent X Number months loss = $1,150*47 = $54,050 and increments by $1,150
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            each month after May 2018.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            RE: Section III - I have all plumbing, electrical and AC parts.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          RE: Section V - All drywall previously installed (and later removed as partial remediation) in the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         building
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        was purchased in one order from the same distributor. I have the AC coils, all plumbing components
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              and all electrical outlets, and can provide all actual parts.

  133   Ex 10/79     Cloud, Deidra (aka Deidre 7831-33 Keats Street    New Orleans    LA      70126   [IX], [XV],             5/5/2011   Yes      Yes          2663      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET     17                       I           CLOUD DEIADRE T         Owner as of 6/9/15    City or County Tax              7/29/2002          Current Owner      The Lambert Firm Greg DiLeo Law Hugh Lambert, Esq.                    (504) 529-2931   hlambert@thelambertfirm.com                                                                                                                                                                                                          3.22.18                                                                                               The Chinese Drywall was installed after                                                                                                                                                                                                                                                      James
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                                  Partially
                     Robinson-Cloud)                                                                  [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $251,574                                       OR EXCEEDS ASTM C1396                                                                                      Records                                                               Offices Kanner & Whiteley, LLC       701 Magazine St,                                                                                                                                                                                                                              N/A                            No                                 Residential     7/29/2002      2/7/2008          No           7/2008       Hurricane Katrina and was discovered by an                     //                                            No                               //                                                                            //                                                            Washington and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated
                                                                                                                                                                                 Footage                                                                                                                              04" matches DIG #3                                                                                                                                                               Milstein, Adelman & Kreger, LLP New Orleans LA 70130                                                                                                                                                                                                                                                                                                                                                                            electrician who was working on the house.                                                                                                                                                                                                                                                  Wilbert Decou
  134   Ex 10/79     Colomb, John and Sharon 419 Florida Blvd.         New Orleans    LA      70124   [III(A)], [VII],       9/16/2010   Yes      Yes          2754      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA" and "DS 13                       I           COLOMB JOHN J III       Owner as of 6/9/15    City or County Tax              6/19/1992          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               3.22.18                                                                                                                                                                                                                                                                                                                                                                                         Mascari's
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                                Completely       6/6/2014 -
                                                                                                      [XV], [XVI],                                                        Document with Square                                  0.86                 94.47             $260,170                                       ASTM C1396" matches DIG                                                                                    Records                                                                                                    820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                                 Residential      //1980           //                                                                                                      //                                            No                               //                                                                            //                                                             Construction        $60,000.00        12/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated       12/27/2014
                                                                                                      [XVII]                                                                     Footage                                                                                                                              #3                                                                                                                                                                                                                    New Orleans, LA 70113                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Company
  135   Ex 10/79     Conrad, Jesse and Gelone 2318 Piety Street        New Orleans    LA      70117   [III], [XV],           10/7/2009   Yes      Yes          1200      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEE"     13                       I           CONRAD JESSE J II       Owner as of 6/9/15    City or County Tax               1/7/2005          Current Owner      Becnel Law Firm/ Morris Bart LLC Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.16.18
                                                                                                      [XVI], [XVII]                                                       Document with Square                                                                                                                        matches DIG #3                                                                                             Records                                                                                                    Becnel Law Firm, LLC                                                                                                                                                                                                                                           No                                                                                                                         There was an odor in the house so we had it                                                                                                                                                                                                            Completely     November 2016-
                                                                                                                                                                                                                                0.86                 94.47             $113,364                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No                                 Residential      //2004       7/??/2007          No           6/2009                                                                      //                                            No                               //                                                                            //                                                      Magic Makeover              61,000.00         7/2017                       75,000.00
                                                                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                                    425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                 Inspection                                                                                                                                    inspected.                                                                                                                                                                                                                             remediated        July 2017
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            LaPlace, LA 70064
  136   Ex 10/79     Conrad, Melody for         114 W. Claiborne       Chalmette      LA      70043   [XV], [XVI],            7/5/2011   Yes      Yes          1554        Inspection Showing              Yes                                                                         Crescent City   Photo          "Crescent City Gypsum Incor" 27                  D           MURRAY, CHARLES B., Owner as of 6/9/15        City or County Tax              12/17/2009         Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                               3.23.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   other damages:
                     Murray, Charles Conrad,    Square                                                [XVII]                                                              Floor Plan and Under                                                                                                                                                                                     JR. & MURRAY,                                 Records                                                                                                    8301 W. Judge Perez Drive,                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                                  Partially
                                                                                                                                                                                                                                0.86                 94.47             $146,825                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No                                 Residential     3/14/2003     7/??/2008          No          10/2009       report by materials analytical services, inc.             12/17/2009         No              No              No                               //                                                                            //                                             2014                 self            8,000.00                                       144,000.00
                     Justin Conrad, Jessica                                                                                                                                Air Square Footage                                                                                                                                                                                      CHRISTINE GRAF                                                                                                                                           Suite 303                                                                                                                                                                                                                                                   Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Loss of use: 72 months x $2000.00 = $144,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Chalmette, LA 70043
  137   Ex 10/79     Couture, Kasie and Patrick 5728 4th Street        Violet         LA      70092   [III], [IX], [XV],     10/7/2009   Yes      Yes          1530      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MEET OR EXCEEDS A"           20                 I           COUTURE, PATRICK        Owner as of 6/9/15    City or County Tax              11/20/2006         Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                               3.23.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              U.S, Bankruptcy
                                                                                                      [XVI], [XVII]                                                      Plan and Square Footage                                                                                                                      matches DIG #3                                               GEORGE                                        Records                                                                                                    8301 W. Judge Perez Drive,                                                                                                                                                                                                                                     No
                                                                                                                                                                                                                                0.86                 94.47             $144,539                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No                                 Residential    11/16/2006     5/??/2007          No           6/2009       report by materials analytical services, inc.                  //                                            Yes         Court, E.D.      9/23/2011        11-13116     discharged                                          //                            No                                                                                                   200,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Suite 303                                                                                                                                                                                                                                                   Inspection                                                                                                                                                                                                                                               Louisiana
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Chalmette, LA 70043
  138   Ex 10/79     Crandle, Angela            2232/2234 Joliet Street New Orleans   LA      70118   [III], [VII],          10/7/2009   Yes      Yes          2604      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent"      27                 D           CRANDLE ANGELA          Owner as of 6/9/15    City or County Tax              10/31/2002         Current Owner      Reich & Binstock                     Dennis Reich, Esq.               (713) 352-7883   DReich@reichandbinstock.com                                                                                                                                                                                                                                                                                                               January 14, 2010 when photographs were
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                                Completely
                                                                                                      [XV], [XVI],                                                        Document with Square                                  0.86                 94.47             $246,000                                                                                                                                                  Records                                                                                                    4265 San Felipe, Suite 1000                                                                                                                                                                                                                   N/A                            No                                 Residential    10/25/2002     ??/??/2007         No           1/2010      taken on the property to reflect Made In China    No            //            No              No              No                               //                                                                            //                                           Unknown             Unknown         Will supplement.      ??/??       Unknown         80,944.75       Not applicable.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated
                                                                                                      [XVII]                                                                     Footage                                                                                                                                                                                                                                                                                                                                                    Houston, TX 77027                                                                                                                                                                                                                                                                                                                                                                              sheetrock throughout entire home.
  139   Ex 10/79     Cruchfield, James and      5915 N. Claiborne      New Orleans    LA      70117   [III], [XV],           10/7/2009   Yes      Yes          2094      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEETS 18                          I           CRUTCHFIELD JAMES S Owner as of 6/9/15        City or County Tax              3/11/1988          Current Owner      Martzell & Bickford                  Scott Bickford, Esq.             (504) 581-9065   srb@mbfirm.com                                                                                                                                                                                                                       3.13.18
                     Louella                    Avenue                                                [XVI], [XVII]                                                      Plan and Square Footage                                                                                                                      OR EXCEEDS ASTM C1396-                                       CRUTCHFIELD                                   Records                                                                                                    338 Lafayette Street                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Magic Makeover
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Started June
                                                                                                                                                                                                                                                                                                                      04 STANDARD" matches DIG                                     LOUELLA S                                                                                                                                                New Orleans, LA 70130                                                                                                                                                                                                                                          No                                                                                                                         One Hour A/C discovered the Chinese drywall                                                                                                                                                                                                            Completely                           Consturction,
                                                                                                                                                                                                                                0.86                 94.47             $197,820                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No                                 Residential     3/11/1988     6/29/2007          No           6/2007                                                                      //                                            No                               //                                                                            //                                        8,2015 took 8                            113,297.00         3/2016       10,074.37
                                                                                                                                                                                                                                                                                                                      #3                                                           CRUTCHFIELD                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                       during a repair of the air conditioning.                                                                                                                                                                                                            remediated                           LLC and One
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                months
                                                                                                                                                                                                                                                                                                                                                                                   LOUELLA SHERIDAN                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Houre A/C


  140   Ex 10/79     Curtis, Sean               4919 Lancelot Drive    New Orleans    LA      70127   [XV], [XVI],            7/5/2011   Yes      Yes          1236      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET      19                      I           CURTIS SEAN             Owner as of 6/9/15    City or County Tax              6/20/2007          Current Owner      Parker Waichman                      Jerrold Parker, Esq.             (239) 390-1000   jerry@yourlawyer.com                                                                                                                                                                                                                 3.21.18                                                                                           I made minor renovations to the property after
                                                                                                      [XVII]                                                              Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                                                                      Records                                                                                                    27300 Riverview Center Blvd                                                                                                                                                                                                                                                                                                                                                               purchasing it The contractor I hired installed
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        defective Chinese drywall. I first noticed it
                                                                                                                                                                                 Footage                                                                                                                              04 STANDARD" matches DIG                                                                                                                                                                                              Bonita Springs, FL 34134                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                                Completely      September -
                                                                                                                                                                                                                                0.86                 94.47             $116,765                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No                                 Residential     6/27/2007     ??/??/2007         No           7/2012          when I observed the electrical devices,                     //                                            No                               //                                                                            //                                                                  Self           100,000.00        10/2012           0            2,625.00             0
                                                                                                                                                                                                                                                                                                                      #3                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated      October 2012
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       including the HVAC system, contained large
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     amounts of rust. The copper water piping was
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      also tarnished.
  141   Ex 10/79     Daboval, John and          6740 Milne Blvd.       New Orleans    LA      70124   [III(A)], [IX],        9/16/2010   Yes      Yes          2797      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS 14, 21                     H, I        DABOVAL JOHN H          Owner as of 6/9/15    City or County Tax              7/25/2003          Current Owner      Barrios, Kingsdorf & Casteix         Dawn M. Barrios, Esq.          (504) 523-3300     DBarrios@bkc-law.com                                                                                                                                                                                                                 3.20.18
                     Rosemary                                                                         [XV], [XVI],                                                       Plan and Square Footage                                                                                                                      OR EXCEEDS" and Taihe blue-                                                                                Records                                                                                                    701 Poydras Street, Suite 3650                                                                                                                                                                                                                                 No                                                                                                                         Inspection performed in May 2010 confirmed                                                                                                                                                                                                             Completely      August 2015- Dantin Building
                                                                                                                                                                                                                                0.86                 94.47             $264,233                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No                                 Residential     7/17/2003     12/1/2006          No           5/2010                                                                      //                                            No                               //                                                                            //                                                                                 174,812.57        12/2015                       250,000.00
                                                                                                      [XVII]                                                                                                                                                                                                          aqua paper end tape matches                                                                                                                                                                                           New Orleans, LA 70146                                                                                                                                                                                                                                       Inspection                                                                                                                          the presence of Chinese drywall.                                                                                                                                                                                                                 remediated     December 2015    Group
                                                                                                                                                                                                                                                                                                                      DIG #3
  142   Ex 10/79     Dakin, Kim                 3521 Lyndell           Chalmette      LA      70043   [III], [VII],          10/7/2009   Yes      Yes          1170      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Manufactured in P.R.C."    27                   D           DAKIN, KIM M, JR.       Owner as of 6/9/15    City or County Tax              8/30/2007          Current Owner      Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.19.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                         Heard on the news about Chinese Drywall, so                                                                                                                                                                                                            Completely     February 2017-                                                                           126,000.00 in
                                                                                                      [XV], [XVI],                                                        Document with Square                                  0.86                 94.47             $110,530                                                                                                    ETALS                                         Records                                                                                                    425 W. Airline Hwy, Suite B                                                                                                                                                                                                                   N/A                            No                                 Residential      //2007         //2007           No           8/2009                                                                  8/11/2017         No              Yes             No                               //                                                                            //                                                                  Self            40,000.00         8/2017
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                              had the home inspected.                                                                                                                                                                                                                      remediated      August 2017                                                                               lost rent
                                                                                                      [XVII]                                                                     Footage                                                                                                                                                                                                                                                                                                                                                    LaPlace, LA 70064
  143   Ex 10/79     Dasilva, Jose and Maria    4465 San Marco Road New Orleans       LA      70124   [II(B)], [III],        10/7/2009   Yes      Yes          2784        Builder's Floor Plan            Yes                                                                         Taihe           Photo          "ASTM C1396 04           20, 21                  I           DA SILVA JOSE           Owner as of 6/9/15    City or County Tax               2/1/2007          Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                               3.23.18
                                                                                                      [IX], [XV],                                                                                                                                                                                                     STANDARD" matches DIG #3                                     DA SILVA MARIA C                              Records                                                                                                    8301 W. Judge Perez Drive,                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                                Completely        5/2010 -           Tony Pavers
                                                                                                                                                                                                                                0.86                 94.47             $263,004                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No                                 Residential     2/1/2007      8/??/2007          No          11/2009       report by materials analytical services, inc.                  //                                            No                               //                                                                            //                                                                                 126,000.00                       8000.00        10,000.00
                                                                                                      [XVI], [XVII]                                                                                                                                                                                                                                                                                                                                                                                                                         Suite 303                                                                                                                                                                                                                                                   Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated     approx 10/2010        Remodeling
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Chalmette, LA 70043
  144   Ex 10/79     Davis, Juanita             4105-4107 Elba Street New Orleans     LA      70125   [III(A)], [IX],        9/16/2010   Yes      Yes          2906        Builder's Floor Plan            Yes                                                                         Taihe           Photo          "CHINA MEET OR                20                 I           ALEXANDER JUANITA       Owner as of 6/9/15    Tax Records + Title/Deed        12/16/1987         Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               3.22.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                        After Hurricane Katrina when the property was
                                                                                                      [XIII], [XV],                                                                                                             0.86                 94.47             $274,530                                       EXCEEDS" matches DIG #3                                      D                                                                                                                                                        820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                                 Residential    10/15/1987     9/12/2006                                                                                                   //                                            No                               //                                                                            //                            No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                         renovated, the drywall was installed
                                                                                                      [XVI], [XVII]                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70113
  145   Ex 10/79     Davis, Lakeisha            5543 Charlotte Drive   New Orleans    LA      70122   [II(B)], [III(A)],     9/16/2010   Yes      Yes          1859      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "CHINA MEET OR         20                        I           DAVIS LAKEISHA          Owner as of 6/9/15    City or County Tax              10/24/2008         Current Owner      Whitfield, Bryson & Mason, LLP       Dan Bryson, Esq.                 919-600-5000     dan@wbmllp.com                                                                                                                                                                                                                       3.21.18                                                                                                                                                                                                                                                                                                                                                                                       Self along with
                                                                                                      [XV], [XVI],                                                        Document with Square                                                                                                                        EXCEEDS ASTM C1396 04"                                                                                     Records                                                               Herman, Herman & Katz                900 W. Morgan Street                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       EPL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                                Completely        06/2010 -                                                                                                                 Loss of enjoyment of the property was calculated as increase of mortgage due to Wells Fargo re-fi
                                                                                                                                                                                                                                0.86                 94.47             $175,620                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No                                 Residential    11/12/2008     ??/??/2005         No           6/2010                                                                      //                                            No                               //                                                                            //                                                            Environmental         65,000.00         7/2011       13,000.00       24,260.49
                                                                                                      [XVII]                                                                     Footage                                                                                                                              matches DIG #3                                                                                                                                                                                                        Raleigh, NC 27603                                                                                                                                                                                                                                           Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated         07/2011                                                                                                                                      while remediating property. Documentation is attached.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Consultants,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Salazer & Co
  146   Ex 10/79     Dejan, Waldo W. and        4931 Chantilly Drive   New Orleans    LA      70126   [IX], [XV],             5/5/2011   Yes      Yes          1942      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                  D           DE JAN WALDO            Owner as of 6/9/15    City or County Tax              11/1/1979          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.9.18
                     Shirley L.                                                                       [XVI], [XVII]                                                       Document with Square                                                                                                                        Gypsum Incorporated                                          DEJAN SHIRLEY                                 Records                                                                                                    820 O'Keefe Avenue                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                                Completely                           See attached
                                                                                                                                                                                                                                0.86                 94.47             $183,461                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No                                 Residential     7/31/1983     7/31/2008                                                                                     No            //                                            No                               //                                                                            //                                        Summer 2011                               77,551.62         9/2011      See attached   SSee attached                             The attached listing and receipts account for remediation and alternative living expenses
                                                                                                                                                                                 Footage                                                                                                                              Manufactured in P.R.C."                                      LLORENS                                                                                                                                                  New Orleans, LA 70113                                                                                                                                                                                                                                       Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated                            documents
                                                                                                                                                                                                                                                                                                                                                                                   DEJAN SHIRLEY L
  147   Ex 10/79     Desselle, Brent            2917 Monica Lane       Marrero        LA      70072   [III], [VII],          10/7/2009   Yes      Yes          1553      Homeowner's Insurance             Yes                                                                         Taihe           Photo          "IN CHINA, MEE" matches       16, 17             I           DESSELLE,BRENT T        Owner as of 6/9/15    Tax Records + Title/Deed        12/6/2006          Current Owner      Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.15.18
                                                                                                      [XV], [XVI],                                                         Form with Square                                                                                                                           DIG #3                                                                                                                                                                                                                425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                    No                                                                                                                        Others were having the same issues as me so I                                                                                                                                                                                                                                                                                                                                                                                 I have had to change the AC Coils three times.
                                                                                                                                                                                                                                0.86                 94.47             $146,712                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No                                 Residential    12/15/2006     10/1/2006          No           4/2009                                                                      //                                            No                               //                                                                            //                            No                                                                                                   75,000.00
                                                                                                      [XVII]                                                             Footage and Floor Plan                                                                                                                                                                                                                                                                                                                                             LaPlace, LA 70064                                                                                                                                                                                                                                           Inspection                                                                                                                             had the home inspected.


  148   Ex 10/79     Dier, Amanda and Campo, 2912 Blanchard Drive Chalmette           LA      70043   [VII], [XV],           1/14/2011   Yes      Yes          1420      Appraisal Showing Floor           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                  D           CAMPO, DEREK & DIER, Owner as of 6/9/15       City or County Tax              11/20/2012         Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               4.20.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              We were also charged $20,000 - $30,000 back interest after filing a moratorium on our mortgage to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                                Completely     December 2010 - Derek Campo                40,000 -
                     Derek                                                                            [XVI], [XVII]                                                      Plan and Square Footage                                0.86                 94.47             $134,147                                       Gypsum Incorporated"                                         AMANDA                                        Records                                                                                                    820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                                 Residential     9/11/2009      6/1/2009          No          10/2010                                                                  3/23/2018        Yes              No              No                               //                                                                            //                                                                                                    1/2012       20000.00          40,000.           50000.         move out and rent while remediating the property. We lost almost all of our equity in the property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated     December 2011    and worker                $50,000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            New Orleans, LA 70113                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             when selling in 2018
  149   Ex 10/79     Diggs, David               228 Vintage Drive      Covington      LA      70433   [XIII], [XV],           7/5/2011   Yes      Yes          1842        Builder's Floor Plan            Yes                                                                         Taihe           Photo          "MADE IN CHINA" and      21                      I           DAVID DIGGS             Owner as of 6/9/15    Tax Records + Title/Deed        10/5/2007          Current Owner      Martzell & Bickford                  Scott Bickford, Esq.             (504) 581-9065   srb@mbfirm.com                                                                                                                                                                                                                       3.13.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                                  Partially       8/2/2013-
                                                                                                      [XVI], [XVII]                                                                                                             0.79                 86.78             $159,849                                       "MEETS OR EXCEEDS"                                                                                                                                                                                                    338 Lafayette Street                                                                                                                                                                                                                          N/A                            No                                Commercial       10/5/2007     7/10/2006          No           6/2011                                                                 10/10/2017         No                              No                               //                                                                            //                                                                  Self            23,767.65        12/2013                       32,300.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated       12/12/2013
                                                                                                                                                                                                                                                                                                                      matches DIG #3                                                                                                                                                                                                        New Orleans, LA 70130
  150   Ex 10/79     Dillon, Ray and Selestin   30147 Ola Magee        Angie          LA      70426   [III], [VII],          10/7/2009   Yes      Yes          1440              Other                     Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET      20                      I           DILLON, RAY CHARLES Owner as of 6/9/15        City or County Tax              8/30/2007          Current Owner      Martzell & Bickford                  Scott Bickford, Esq.             (504) 581-9065   srb@mbfirm.com
                                                Road                                                  [XV], [XVI],                                                                                                                                                                                                    OR EXCEEDS ASTM C1396                                        ET UX                                         Records                                                                                                    338 Lafayette Street                                                                                                                                                                                                                                           No
                                                                                                                                                                                                                                0.79                 86.78             $124,963                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No
                                                                                                      [XVII]                                                                                                                                                                                                          04 STANDARD" matches DIG                                                                                                                                                                                              New Orleans, LA 70130                                                                                                                                                                                                                                       Inspection
                                                                                                                                                                                                                                                                                                                      #3
  151   Ex 10/79     Dinette, Rodney and        573 Huseman Lane       Covington      LA      70435   [III], [IX], [XV],     10/7/2009   Yes      Yes          2701        Builder's Floor Plan            Yes                                                                         Taihe           Photo          "MADE IN CHIN" and       13, 21                  I           RODNEY DINETTE ET       Owner as of 6/9/15    Tax Records + Title/Deed        1/30/2007          Current Owner      Allison Grant, P.A. Baron & Budd, Russell Budd, Esq.            (214) 521-3605         rbudd@baronbudd.com                                                                                                                                                                                                                  3.21.18
                     Geraldine                                                                        [XVI], [XVII]                                                                                                                                                                                                   "EXCEEDS ASTM C1396-04                                       UX                                                                                                                  P.C. Alters Boldt Brown Rash &    Baron & Budd
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No
                                                                                                                                                                                                                                0.79                 86.78             $234,393                                       STANDARD" matches DIG #3                                                                                                                                                         Culmo                             3102 Oak Lawn Ave., Ste. 1100                                                                                                                                                                                                                    N/A                            No                                 Residential     1/30/2007     8/??/2006          No           9/2009                           N/A                                        //                                            No                               //                                                                            //                            No                                                                                                   200,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219

  152   Ex 10/79     Donaldson, Jill and        18 Log Cabin Lane      Pearl River    LA      70452   [III], [VII],          10/7/2009   Yes      Yes          6494      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS 21                         I            OERTLING, JOHN         Owner as of 6/9/15    Mortgage Documents                2013             Current Owner      Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.15.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            2009 into 2010.
                     Oertling, Jared                                                                  [XV], [XVI],                                                       Plan and Square Footage                                                                                                                      OR EXCEEDS ASTM C1396-                                       JARED ETUX                                                                                                                                               425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                    No                                                                                                                           A/C keep breaking and eventually Chinese                                                                                                                                                                                                             Completely                                                                              5858.92-AC
                                                                                                                                                                                                                                0.79                 86.78             $563,558                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No                                                  //2004         //2006           No            2009                                                                       //                                            No                               //                                                                            //                                        Took about 7   Tom Blackwell               175,000                                       75,000.00
                                                                                                      [XVII]                                                                                                                                                                                                          04 STANDARD" matches DIG                                                                                                                                                                                              LaPlace, LA 70064                                                                                                                                                                                                                                           Inspection                                                                                                                                 Drywall was found.                                                                                                                                                                                                                        remediated                                                                                Repairs
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               months
                                                                                                                                                                                                                                                                                                                      #3
  153   Ex 10/79     Donmeyer, Scott D. and     4436 Park Shore Drive Marrero         LA      70072   [III], [VII],          10/7/2009   Yes      Yes          1478      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET        14, 17, 21            H, I        ROBERT WOLFE            Owner as of 6/9/15,   Mortgage Statement              3/28/2007                             Whitfield, Bryson & Mason            Dan Bryson, Esq.                 919-600-5000     dan@wbmllp.com                                                                                                                                                                                                                       3.13.18
                     Kristin                                                                          [XV], [XVI],                                                       Plan and Square Footage                                                                                                                      OR EXCEEDS ASTM C1396                                        CONSTRUCTION INC        No Longer Owns                                                                                                                   900 W. Morgan Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Self along with
                                                                                                      [XVII]                                                                                                                                                                                                          04 STANDARD", "MADE IN                                                               Property                                                                                                                         Raleigh, NC 27603
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                                Completely                                Ryan         21,395.67 plus
                                                                                                                                                                                                                                0.86                 94.47             $139,627                                       CHINA, MEETS OR                                                                                                                                                                                                                                                                                                                                                                                                                                                     N/A                            No                                 Residential     5/16/2006     ??/??/2006         No           5/2009                                                                  4/13/2016         No              No              No                               //                                        Short Sale      $116,427.93     4/13/2016       85,000.00                          2016                                                   ??/2016                       5,416.00        119,015 loss
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated                          Environmental        expenses
                                                                                                                                                                                                                                                                                                                      EXCEEDS ASTM C1396-04                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Services
                                                                                                                                                                                                                                                                                                                      STANDARD", and Taihe blue-
                                                                                                                                                                                                                                                                                                                      aqua paper end tape
  154   Ex 10/79     Donofrio, Michael and      2401 Jefferson Avenue New Orleans     LA      70115   [VII], [XV],           1/14/2011   Yes      Yes          3076      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS 21                         I           DONOFRIO MICHAEL R Owner as of 6/9/15         City or County Tax              8/11/2003          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               4.23.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Not included in the cost of the renovations listed above is the cost to maintain the storage unit that
                     Kristin                                                                          [XVI], [XVII]                                                       Document with Square                                                                                                                        OR EXCEEDS ASTM C1396-                                       DONOFRIO KRISTIN C                            Records                                                                                                    820 O'Keefe Avenue                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                                Completely      August 2010-                                                                            2,700.00 Lost
                                                                                                                                                                                                                                0.86                 94.47             $290,590                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No                                 Residential      8//2003       9//2006                        8/2010                                                                      //                                                                                                                                                                                                                               Self            21,602.88         7/2011                                                          was rented because of this and is still used to keep the samples 7 years after the completion of the
                                                                                                                                                                                 Footage                                                                                                                              04 STANDARD" matches DIG                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                       Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated        July 2011                                                                                 Rent
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  remediation project.
                                                                                                                                                                                                                                                                                                                      #3
  155   Ex 10/79     Downey, Brent and Tina     1308 Maplewood DriveHarvey            LA      70058   [XIII], [XV],           7/5/2011   Yes      Yes          1688              Other                     Yes                                                                         Taihe           Photo          "MADE IN CHINA MEETS 18                          I           BRENT DOWNEY            Owner as of 6/9/15    Tax Records + Title/Deed        7/10/1996          Current Owner      Barrios, Kingsdorf & Casteix         Dawn M. Barrios, Esq.          (504) 523-3300     DBarrios@bkc-law.com                                                                                                                                                                                                                 3.6.18                                                                                                                                                                                                                                                                                                                                                                                        Oak Enterprise
                                                                                                      [XVI], [XVII]                                                                                                                                                                                                   OR" matches DIG #3                                                                                                                                                                                                    701 Poydras Street, Suite 3650                                                                                                                                                                                                                                 No                                                                                                                           Inspection performed in September 2011                                                                                                                                                                                                               Completely      August 2015-         through the
                                                                                                                                                                                                                                0.86                 94.47             $159,465                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No                                 Residential     7/10/1996      6/1/2007          No           9/2011                                                                      //                                            No                               //                                                                            //                                                                                  54,453.00         3/2016                       250,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                     confirmed the presence of Chinese drywall.                                                                                                                                                                                                            remediated       March 2016          Road Home
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            New Orleans, LA 70147
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Program
  156   Ex 10/79     Duarte, Jennifer M.        3317 Corinne Drive     Chalmette      LA      70043   [XV], [XVI],            7/5/2011   Yes      Yes          1100      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China" and           27                 D           DUARTE, JENNIFER        Owner as of 6/9/15    City or County Tax               7/1/2008          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.              (504) 581-4892     rherman@hhklawfirm.com                                                                                                                                                                                                               4.23.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                                Completely      August 2013 -         Luis Duarte
                                                                                                      [XVII]                                                              Document with Square                                  0.86                 94.47             $103,917                                       "Manufactured in P.R.C."                                     MARIE                                         Records                                                                                                    820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                                 Residential     6/30/2008      1//2007           No            2011                                                                       //                                            No                               //                                                                            //                                                                                  23,870.92         5/2014         2400.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated        May 2014           (father); Self
                                                                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                                    New Orleans, LA 70113
  157   Ex 10/79     Dumas, Bertrand and        11130 Winchester Park New Orleans     LA      70128   [XIII], [XV],           7/5/2011   Yes      Yes          4215      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEETS" 18                         I           DUMAS BERTRAND P        Owner as of 6/9/15    City or County Tax              12/30/1994         Current Owner      Barrios, Kingsdorf & Casteix         Dawn M. Barrios, Esq.          (504) 523-3300     DBarrios@bkc-law.com                                                                                                                                                                                                                 3.21.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                            Inspection performed in October 2011                                                                                                                                                                                                                Completely     September 2015-      U. S.
                     Pamela                     Drive                                                 [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $398,191                                       matches DIG #3                                               DUMAS PAMELA F                                Records                                                                                                    701 Poydras Street, Suite 3650                                                                                                                                                                                                                N/A                            No                                 Residential    12/30/1994     11/1/2008          No          10/2011                                                                      //                                            No                               //                                                                            //                                                                                 170,485.29         5/2016       2,140.00        200,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                     confirmed the presence of Chinese drywall.                                                                                                                                                                                                            remediated        May 2016     Restoration, LLC
                                                                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                                    New Orleans, LA 70148
  158   Ex 10/79     Elias, Mark                3028 Ivy Place         Chalmette      LA      70043   [II], [VII], [XV],     3/15/2010   Yes      Yes          1966      Appraisal Showing Floor           Yes                                                                         Crescent City   Photo          "China Crescent City"         27                 D           ELIAS, MARK A.          Owner as of 6/9/15    City or County Tax              9/29/2011          Current Owner      Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq. (985) 536-1186     schristina@becnellaw.com                                                                                                                                                                                                             3.8.18                                                                                            Bought the house after Katrina and repaired it.
                                                                                                      [XVI], [XVII]                                                      Plan and Square Footage                                                                                                                                                                                                                                 Records                                                                                                    425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                                                                                                                                              I bought the drywall and had it installed in the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No
                                                                                                                                                                                                                                0.86                 94.47             $185,747                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No                                 Residential     1/30/2007      2//2009           No           5/2009      house. Saw reports on the news so I looked                      //                                                                                                                                                                                         No                                                                                                   75,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            LaPlace, LA 70064                                                                                                                                                                                                                                           Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       and found the branding on the back of the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       drywall.
  159   Ex 10/79     Elly, Ernest and Portia    4516 Desire Drive      New Orleans    LA      70126   [XV], [XVI],            7/5/2011   Yes      Yes          1561      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Crescent" and "China"        27                 D           ELLY ERNEST A           Owner as of 6/9/15    Mortgage Documents               9/3/2003          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.29.18                                                                                                                                                                                                                                                                                                                                                                                         Magic Mike
                                                                                                      [XVII]                                                              Document with Square                                                                                                                                                                                                                                                                                                                                              820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                July 7 2015          COntractors
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                                Completely
                                                                                                                                                                                                                                0.86                 94.47             $147,468                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No                                 Residential     6/??/2002       //2006           No                                                                         No            //                                            No                               //                                                                            //                                           through            through the         75,860.00         3/2016
                                                                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                                    New Orleans, LA 70113                                                                                                                                                                                                                                       Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             February 2016         Road Home
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Program
  160   Ex 10/79     Elzie, Henry and Edna      1335 Alvar Street      New Orleans    LA      70117   [IX], [XV],             5/5/2011   Yes      Yes          1248      Property Tax Assessor's           Yes                                                                         Taihe/ Crescent Photo          "MADE IN CHINA MEET           17, 27             D, I        ELZIE HENRY             Owner as of 6/9/15    City or County Tax              6/12/2000          Current Owner      Hurricane Legal Center, LLC          Jacob Young, Esq.                (504) 522-4322   jacob@jacobyounglaw.com                                                                                                                                                                                                              5.3.18
                                                                                                      [XVI], [XVII]                                                       Document with Square                                                                                         City                           OR EXCEEDS ASTM C1396                                        ELZIE JEAN S                                  Records                                                                                                    Young Law Firm
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No
                                                                                                                                                                                 Footage                                        0.86                 94.47             $117,899                                       04 STANDARD" matches DIG                                                                                                                                                                                              1010 Common St., Suite 3040                                                                                                                                                                                                                   N/A                            No                                 Residential      //2000         //2008           No            2010                         Inspection                      No            //                                            No                               //                                                                            //                            No                                                                                                     2,000            100,000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection
                                                                                                                                                                                                                                                                                                                      #3 and "Crescent City Gypsum"                                                                                                                                                                                         New Orleans, LA 70112
                                                                                                                                                                                                                                                                                                                      matches DIG #2
  161   Ex 10/79     England, Charles P., Sr.   2516 Reunion Drive     Violet         LA      70092   [II(B)], [II(C)],      10/7/2009   Yes      Yes          1092      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET" 17                          I           ENGLAND, CHARLES P., Owner as of 6/9/15       City or County Tax              12/5/2006          Current Owner      Whitfield, Bryson & Mason        Dan Bryson, Esq.                     919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No
                                                                                                      [III], [XV],                                                        Document with Square                                  0.86                 94.47             $103,161                                       matches DIG #3                                               SR.                                           Records                                                                                                900 W. Morgan Street                                                                                                                                                                                                                              N/A                            No                                 Residential     9/30/2006     ??/??/2006         No           4/2009                                                                      //                                            No                               //                                                                            //                            No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection
                                                                                                      [XVI], [XVII]                                                              Footage                                                                                                                                                                                                                                                                                                                                                Raleigh, NC 27603
  162   Ex 10/79     Evans, Ronald              9235 Olive Street      New Orleans    LA      70118   [III], [VII],          10/7/2009   Yes      Yes          1757      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "IN CHINA ME" matches DIG 13                     I           EVANS RONALD G          Owner as of 6/9/15    City or County Tax               9/9/2002          Current Owner      Becnel Law Firm/ Morris Bart LLC Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.16.18
                                                                                                      [XV], [XVI],                                                        Document with Square                                                                                                                        #3                                                                                                         Records                                                                                                Becnel Law Firm, LLC                                                                                                                                                                                                                                               No                                                                                                                           heard about it on the news and had home                                                                                                                                                                                                              Completely       June 2015-
                                                                                                                                                                                                                                0.86                 94.47             $165,984                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No                                 Residential     3/28/1980      10//2008                       6/2009                                                                      //                                            No                               //                                                                            //                                                     Magic Makeover               76,516.16        11/2015                        75000.00                                     Before remediating the home, I had to fix the AC unit which costs $1800.00.
                                                                                                      [XVII]                                                                     Footage                                                                                                                                                                                                                                                                                                                                                425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                     Inspection                                                                                                                                      inspected.                                                                                                                                                                                                                           remediated     November 2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        LaPlace, LA 70064
  163   Ex 10/79     Everard, Elliott and       3000 N. Palm Drive     Slidell        LA      70458   [III], [VII],          10/7/2009   Yes      Yes          3377      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET      17                      I           EVERARD, ELLIOTT J      Owner as of 6/9/15    Mortgage Documents                2009             Current Owner      Gainsburgh Benjamin              Gerald Meunier, Esq.                 (504) 522-2304   gmeunier@gainsben.com                                                                                                                                                                                                                3.30.18                                                                                                                                                                                                                                                                                                                                                                                       Subcontracted;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Jake Barren -
                     Angelia                                                                          [XV], [XVI],                                                        Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                        ETUX                                                                                                                                                 2800 Energy Centre                                                                                                                                                                                                                                                                                                                                                                           After Hurricane Katrina we rebuilt the house on
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    plumber,
                                                                                                      [XVII]                                                                     Footage                                                                                                                              04 STANDARD" matches DIG                                                                                                                                                                                          1100 Poydras Street                                                                                                                                                                                                                                                No                                                                                                                          top of the old house and the sheetrock used                                                                                                                                                                                                           Completely
                                                                                                                                                                                                                                0.79                 86.78             $293,056                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No                                 Residential     7/12/2004     3/21/2007          No          11/2009                                                        No            //                                            No                               //                                                                            //                                                                Gatwood          101,610.70         8/2011
                                                                                                                                                                                                                                                                                                                      #3                                                                                                                                                                                                                New Orleans, LA 70163                                                                                                                                                                                                                                           Inspection                                                                                                                      was unknowingly Chinese Drywall boards.                                                                                                                                                                                                              remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Electical,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     March 21st 2007.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Sheetrock
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Shane?
  164   Ex 10/79     Eyrich, Lillian            130 22nd Street        New Orleans    LA      70124   [IX], [XV],             5/5/2011   Yes      Yes          1938      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS 21                         I           EYRICH LILLIAN E        Owner as of 6/9/15    City or County Tax              6/13/2001          Current Owner      Barrios, Kingsdorf & Casteix         Dawn M. Barrios, Esq.          (504) 523-3300     DBarrios@bkc-law.com                                                                                                                                                                                                                 2.19.18                                                                                                                                                                                                                                                                                                                                                                  August 1, 2011-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                        Inspection performed in March 2011 confirmed                                                                                                                                                                                                            Completely                              FSX                                                                                                   Please reference previously uploaded remediation and alternative living documents. Reference
                                                                                                      [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $183,083                                       OR EXCEEDS" matches DIG                                                                                    Records                                                                                                    701 Poydras Street, Suite 3650                                                                                                                                                                                                                N/A                            No                                 Residential     6/12/2001      4/1/2007          No           3/2011                                                                      //                                            No                               //                                                                            //                                         January 31,                             321,468.41         2/2012       13,647.56       150,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                          the presence of Chinese drywall.                                                                                                                                                                                                                 remediated                           Construction                                                                                                     document numbers 112317, 112318, 112319, 112320, 112321, 43007, 43008.
                                                                                                                                                                                 Footage                                                                                                                              #3                                                                                                                                                                                                                    New Orleans, LA 70150                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                2012
  165   Ex 10/79     Falgout, Christopher       2005 Flamingo Drive St. Bernard       LA      70085   [III(A)], [XV],        9/16/2010   Yes      Yes          2450      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China"         27                       D           FALGOUT,                Owner as of 6/9/15    City or County Tax               6/7/2007          Current Owner      Baron & Budd, P.C.                   Russell Budd, Esq.             (214) 521-3605     rbudd@baronbudd.com                                                                                                                                                                                                                  3.22.18                                                                                            The property was gutted when I purchased it.
                                                                                                      [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                     CHRISTOPHER A.                                Records                                                                                                    Baron & Budd                                                                                                                                                                                                                                                                                                                                                                               After the drywall was reinstalled electricians                                                                                                                                                                                                                                            Self, Contractor
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                         were reinstalling wiring in the home, and they                                                                                                                                                                                                           Partially                          Joe Dimaggio,
                                                                                                                                                                                 Footage                                        0.86                 94.47             $231,452                                                                                                                                                                                                                                                             3102 Oak Lawn Ave., Ste. 1100                                                                                                                                                                                                                 N/A                            No                                 Residential     6/1/2007       5/7/2009          No          10/2009                                                                      //                                            No                               //                                                                            //                                                                                   2845.81                                       300,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                    complained about their fingers turning black.                                                                                                                                                                                                          remediated                              Ronnie''s
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Dallas, TX 75219                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Electric
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      On or around October of 2009 I discover that
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           the home contained Chinese drywall.
  166   Ex 10/79     Farley, Patrick, Michael   9013 Amour Drive       Chalmette      LA      70043   [III], [IX], [XV],     10/7/2009   Yes      Yes          2100      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET"          13, 17             I           SERIGNE, ROSS           Owner as of 6/9/15,   City or County Tax              7/16/1997            11/22/2016       Allison Grant, P.A. Baron & Budd, Russell Budd, Esq.            (214) 521-3605         rbudd@baronbudd.com                                                                                                                                                                                                                  3.22.18
                     and Josephine                                                                    [XVI], [XVII]                                                       Document with Square                                                                                                                        and "OR EXCEEDS ASTM                                                                 No Longer Owns        Records                                                               P.C. Alters Boldt Brown Rash &    Baron & Budd
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                            The presence of Chinese drywall was                                                                                                                                                                                                                 Completely
                                                                                                                                                                                 Footage                                        0.86                 94.47             $198,387                                       C1396-04" matches DIG #3                                                             Property                                                                                    Culmo                             3102 Oak Lawn Ave., Ste. 1100                                                                                                                                                                                                                    N/A                            No                                 Residential     10/1/2006     10/1/2006          No          ??/2009                                                                 11/18/2016         No              No              No                               //                                                                            //                                         March 2013         Self/Contractor       52,346.58         5/2013                       200,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                      discovered in 2009 during an inspection.                                                                                                                                                                                                             remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219

  167   Ex 10/79     Fatta, Joseph and Tracy    2622 College Street    Slidell        LA      70458   [II], [XV],            3/15/2010   Yes      Yes          2890      Property Tax Assessor's           Yes                                                                         Taishan         Photo          "4feet*12feet*1/2inch" matches 7                 J           FATTA, JOSEPH A ETUX Owner as of 6/9/15       Tax Records + Title/Deed                           Current Owner      Whitfield, Bryson & Mason            Dan Bryson, Esq.                 919-600-5000     dan@wbmllp.com                                                                                                                                                                                                                       3.13.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                                                                                                                        UNKNOWN AT      UNKNOWN AT       UNKNOWN AT
                                                                                                      [XVI], [XVII]                                                       Document with Square                                  0.79                 86.78             $250,751                                       DIG #4                                                                                                                                                                                                                900 W. Morgan Street                                                                                                                                                                                                                          N/A                            No                                                 5/??/2007     3/??/2006          No          10/2009                                                                      //                                            No                               //                                                                            //                            No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                                                                                                                    THIS TIME       THIS TIME        THIS TIME
                                                                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                                    Raleigh, NC 27603
  168   Ex 10/79     Findorf, Fredene           2608 Creely Drive      Chalmette      LA      70043   [IX], [XV],             5/5/2011   Yes      Yes          1536      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "INA, MEETS OR EXC"           18                 I           FINDORFF, FREDENE       Owner as of 6/9/15    City or County Tax              1/29/2009          Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                               4.5.18
                                                                                                      [XVI], [XVII]                                                       Document with Square                                                                                                                        matches DIG #3                                               MORIN                                         Records                                                                                                    8301 W. Judge Perez Drive,                                                                                                                                                                                                                                     No
                                                                                                                                                                                                                                0.86                 94.47             $145,106                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No                                 Residential     1/23/2009     2/??/2009                       8/2009       report by materials analytical services, inc.              6/14/2017         No              No              No                               //                                                                            //                            No                                                                                                   200,000.00
                                                                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                                    Suite 303                                                                                                                                                                                                                                                   Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Chalmette, LA 70043
  169   Add. Taishan Fineschi, Nicola           1200 Magnolia Alley    Mandeville     LA      70471   [III], [VII],          10/7/2009   Yes      Yes          1768      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS         17                 I           FINESCHI, NICOLA F      Owner as of 6/9/15    City or County Tax         3/29/2007            Current Owner         The Lambert Firm                     Hugh Lambert, Esq.               (504) 529-2931   hlambert@thelambertfirm.com                                                                                                                                                                                                          3.22.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No
        Prop.                                                                                         [XV], [XVI],                                                       Plan and Square Footage                                0.79                 86.78             $153,427                                       OR EXCEEDS ASTM"                                             ETUX                                          Records                                                                                                    701 Magazine St,                                                                                                                                                                                                                              N/A                            No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection
                                                                                                      [XVII]                                                                                                                                                                                                                                                                                                                                                                                                                                New Orleans LA 70130
  170   Add. Taishan Finger, Simon and          1844 State Street      New Orleans    LA      70115   [II(A)], [XV],         9/16/2010   Yes      Yes          5017              Other                     Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEET" 14, 17                     H, I        FINGER SIMON &          Owner as of 6/9/15    City or County Tax         1/9/2006             Current Owner         The Lambert Firm                     Hugh Lambert, Esq.               (504) 529-2931   hlambert@thelambertfirm.com                                                                                                                                                                                                          3.22.18                                                                                                                                                                                                                                                                                                                                                                     Our partial
        Prop.        Rebecca                                                                          [XVI], [XVII]                                                                                                                                                                                                   and blue aqua Taihe edge tape                                FINGER REBECCA T                              Records                                                                                                    701 Magazine St,                                                                                                                                                                                                                                                                                                                                                                         We had an inspection conducted by Engineering                                                                                                                                                                                                                          remediation was
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                                  Partially
                                                                                                                                                                                                                                0.86                 94.47             $473,956                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No                                                 1/9/2006      11/20/2006         No           6/2009     Systems Inc. on June 30, 2009 which revealed                     //                                            No                               //                                                                            //                                         performed in         Dillon Group       314,045.88                      70,183.41       100,000.00       250.000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            New Orleans LA 70130                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      the presence of Chinese drywall in our home.                                                                                                                                                                                                                           the later half of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  2011.
  171   Add. Taishan Fisher, Donald and Nadja 3140 N. Roman            New Orleans    LA      70117   [II], [VII], [XV],      3/5/2010   Yes      Yes          1008      Property Tax Assessor's           No                                                                          Crescent City   Photo                                                           D           FISHER DONALD R         Owner as of 6/9/15    City or County Tax              1/30/2009          Current Owner      Pro Se                               3140 N. Roman Avenue             504-861-0627     N/A                                                                                                                                                                                                                                  3.22.18                                                                                                                                                                                                                                                                                                                                                                                  New Orleans
        Prop.                                 Avenue                                                  [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                     FISHER NADJA T                                Records                                                                                                    New Orleans, LA 70117                                                                                                                                                                                                                                          No                                                                                                                                                                                                                                                                                                                                                                                Completely        May 2011-   Area Habitat for
                                                                                                                                                                                                                                0.86                 94.47              $95,226                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No                                 Residential     1/7/2008      12/??/2007         No          ??/2011                The news and my insurer                               //                                            No                               //                                                                            //                                                                                                    9/2011       1,500.00        100,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated     September 2011    Humanity
                                                                                                                                                                                 Footage
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              (NOAHH)
  172   Ex 10/79     Flax, Yvonne               2700 Edna Street       New Orleans    LA      70126   [XV], [XVI],            7/5/2011   Yes      Yes          1490      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET      19, 20                  I           FLAX YVONNE A           Owner as of 6/9/15    City or County Tax              2/29/2008          Current Owner      Barrios, Kingsdorf & Casteix         Dawn M. Barrios, Esq.          (504) 523-3300     DBarrios@bkc-law.com                                                                                                                                                                                                                 3.22.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Small
                                                                                                      [XVII]                                                              Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                        PRICE SYLVIA                                  Records                                                                                                    701 Poydras Street, Suite 3650                                                                                                                                                                                                                                 No                                                                                                                        Inspection performed in March 2012 confirmed                                                                                                                                                                                                            Completely        June 2016-
                                                                                                                                                                                                                                0.86                 94.47             $140,760                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No                                 Residential     2/29/2008      2/1/2008          No           3/2012                                                                      //                                            No                               //                                                                            //                                                             Construction         73,500.00         8/2016                       250,000.00
                                                                                                                                                                                 Footage                                                                                                                              04 STANDARD" matches DIG                                                                                                                                                                                              New Orleans, LA 70151                                                                                                                                                                                                                                       Inspection                                                                                                                          the presence of Chinese drywall.                                                                                                                                                                                                                 remediated       August 2016
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Group, LLC
                                                                                                                                                                                                                                                                                                                      #3
  173   Ex 10/79     Flot, Denise               2501-2503 Elder Street New Orleans    LA      70122   [II(A)], [XV],         9/16/2010   Yes      Yes          2055      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Gypsum Incorporated     27                      D           FLOT DENISE R           Owner as of 6/9/15    City or County Tax              8/30/1995          Current Owner      Martzell & Bickford                  Scott Bickford, Esq.           (504) 581-9065     srb@mbfirm.com                                                                                                                                                                                                                       3.21.18                                                                                                                                                                                                                                                                                                                                                                                         Road Home
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                          Sometime in 2007 the air conditioning was                                                                                                                                                                                                             Completely
                                                                                                      [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $194,136                                       Manufactured in P.R.C."                                                                                    Records                                                                                                    338 Lafayette Street                                                                                                                                                                                                                          N/A                            No                                                 8/??/1985     ??/??/2007         No          ??/2007                                                                      //                                            No                               //                                                                            //                                             2007           Contractor: Mr.         0.00            ??/2007
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                     broken and the faucets were turning colors                                                                                                                                                                                                            remediated
                                                                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                                    New Orleans, LA 70130                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Small
  174   Ex 10/79     Fontana, Patricia          2509 Mumphrey Road Chalmette          LA      70043   [III], [XV],           10/7/2009   Yes      Yes          1344      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China"               27                 D           FONTANA, PATRICIA       Owner as of 6/9/15    City or County Tax              2/22/2002          Current Owner      Barrios, Kingsdorf & Casteix         Dawn M. Barrios, Esq.          (504) 523-3300     DBarrios@bkc-law.com                                                                                                                                                                                                                 3.23.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                            Inspection performed in January 2010                                                                                                                                                                                                                Completely
                                                                                                      [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $126,968                                                                                                    BRYAN                                         Records                                                                                                    701 Poydras Street, Suite 3650                                                                                                                                                                                                                N/A                            No                                 Residential     2/18/2002      5/1/2008          No           1/2010                                                                      //                                            No                               //                                                                            //                                                                                                                                 250,000.00                                               Remediation documents to be uploaded at a later date.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                     confirmed the presence of Chinese drywall.                                                                                                                                                                                                            remediated
                                                                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                                    New Orleans, LA 70152
  175   Ex 10/79     Forsythe, Blaise and Patsy 2733 South Lake Blvd. Violet          LA      70092   [II(A)], [VII],        9/16/2010   Yes      Yes          1535      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                  D           FORSYTHE, BLAISE A.     Owner as of 6/9/15    City or County Tax              11/13/1987         Current Owner      Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq. (985) 536-1186     schristina@becnellaw.com                                                                                                                                                                                                             3.14.18                                                                                              Appliances and AC started to break. AC                                                                                                                                                                                                                              June 15, 2017- Magic Makeover
                                                                                                      [XV], [XVI],                                                        Document with Square                                                                                                                        Gypsum"                                                                                                    Records                                                                                                    425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                    No                                                                                                                                                                                                                                                                                                                                                                                  Partially
                                                                                                                                                                                                                                0.86                 94.47             $145,011                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No                                 Residential     1/1/1986       4//2007           No           6/2009      repairman went into attic and found Chinese                     //                                            No                               //                                                                            //                                        November 29, Construction LLC             80,952.08                       1080.00        75,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated
                                                                                                      [XVII]                                                                     Footage                                                                                                                                                                                                                                                                                                                                                    LaPlace, LA 70064                                                                                                                                                                                                                                                                                                                                                                                          Drywall.                                                                                                                                                                                                                                                  2017      via Road Home
  176   Ex 10/79     Forte, John                3002 Paris Road        Chalmette      LA      70043   [XIII], [XV],           7/5/2011   Yes      Yes          1784      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET      19                      I           COLT PROPERTIES, LLC Owner as of 6/9/15,      City or County Tax              8/14/2006             8/19/2015       Bruno & Bruno, LLP                   Joseph Bruno, Esq.               (504) 525-1355   jbruno@brunobrunolaw.com                                                                                                                                                                                                             3.21.18                                                                                           Property was inspected in May 2011 and it was
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No
                                                                                                      [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $168,534                                       OR EXCEEDS" matches DIG                                                           No Longer Owns           Records                                                                                                    855 Baronne Street                                                                                                                                                                                                                            N/A                            No                                 Residential     8/14/2006      9/1/2006          No           5/2011     confirmed that the property contained Chinese                8/14/2015         No              Yes             No                               //                                                                            //                            No                                                                                                   200,000.00        24,284.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection
                                                                                                                                                                                 Footage                                                                                                                              #3                                                                                Property                                                                                                                            New Orleans, 70113                                                                                                                                                                                                                                                                                                                                                                                          drywall.
  177   Ex 10/79     Frank, Peter and Elizabeth 11230 North Idlewood New Orleans      LA      70128   [VII], [XV],           1/14/2011   Yes      Yes          1879      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "IN CHINA MEET OR        17                      I           FRANK PETER R JR     Owner as of 6/9/15       City or County Tax               6/1/1998          Current Owner      Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.8.18                                                                                              Repaired the home after Katrina and heard
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No
                                                Court                                                 [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $177,509                                       EXCEEDS ASTM" matches                                        FRANK ELIZABETH P                             Records                                                                                                    425 W. Airline Hwy, Suite B                                                                                                                                                                                                                   N/A                            No                                 Residential      //1998        12//2007          No           5/2010        about Chinese Drywall on the news so had                      //                                            No                               //                                                                            //                            No                                                                                                   75,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection
                                                                                                                                                                                 Footage                                                                                                                              DIG #3                                                       FRANK ELIZABETH P                                                                                                                                        LaPlace, LA 70064                                                                                                                                                                                                                                                                                                                                                                          home inspected and found Chinese Drywall.
  178   Ex 10/79     Friel, Dan and Kathryn     6511 General Diaz      New Orleans    LA      70124   [III(A)], [XV],        9/16/2010   Yes      Yes          2026      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET      17, 20                  I           FRIEL DANIEL P       Owner as of 6/9/15       City or County Tax              3/14/2008          Current Owner      Martzell & Bickford                  Scott Bickford, Esq.             (504) 581-9065   srb@mbfirm.com                                                                                                                                                                                                                       3.21.18 (verification                                                                                                                                                                                                                                                                                                                                                                           Lakeview
                                                Street                                                [XVI], [XVII]                                                       Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                        FRIEL KATHRYN S                               Records                                                                                                    338 Lafayette Street                                                                                                                                                                                                                                           No                      uploaded to 100130,                                                                                                                                                                                                                                                                                                                                       Completely        7/2/2012 -         Demolition;
                                                                                                                                                                                                                                0.86                 94.47             $191,396                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No                                                 3/14/2008      6/1/2007          No           3/2010                                                                      //                                            No                               //                                                                            //                                                                                 493,405.93         3/2013       52,500.00        4,046.82
                                                                                                                                                                                 Footage                                                                                                                              04 STANDARD" matches DIG                                                                                                                                                                                              New Orleans, LA 70130                                                                                                                                                                                                                                       Inspection                 SPPF uploaded to                                                                                                                                                                                                                                                                                                                                          remediated        3/17/2013         Hotard General
                                                                                                                                                                                                                                                                                                                      #3                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           100149)                                                                                                                                                                                                                                                                                                                                                                                        Contracting
  179   Ex 10/79     Galatas, Lloyd E. and      4637 Mandeville Street New Orleans    LA      70122   [VII], [XV],           1/14/2011   Yes      Yes          1827      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET" 20                          I           GALATAS SHERRIE R Owner as of 6/9/15          City or County Tax              6/10/2013          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.23.18                                                                                           CDW was installed after Hurricane Katrina. Our                                                                                                                                                                                                                                              The Road Home
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                                Completely
                     Sherrie R. Jr.                                                                   [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $172,597                                       matches DIG #3                                               GALATAS LLOYD E JR                            Records                                                                                                    820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                                 Residential      //1996        11//2007          No           6/2010     AC went out and the repair man informed us of                    //                                            No                               //                                                                            //                                             2015            / C. Anderson        90,130.00        11/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated
                                                                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                                    New Orleans, LA 70113                                                                                                                                                                                                                                                                                                                                                                                     the drywall.                                                                                                                                                                                                                                                                 Construction
  180   Ex 10/79     Gardette, Emile, Jr.       700 Lakeview Lane      Covington      LA      70435   [III(A)], [XV],        9/16/2010   Yes      Yes          1510      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS" 15                        I           EMILE GARDETTE, JR.     Owner as of 6/9/15    Tax Records + Title/Deed        3/23/2007          Current Owner      Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.6.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No
                                                                                                      [XVI], [XVII]                                                       Document with Square                                  0.79                 86.78             $131,038                                       matches DIG #3                                                                                                                                                                                                        425 W. Airline Hwy, Suite B                                                                                                                                                                                                                   N/A                            No                                 Residential     3/23/2007     6/30/2006          No           8/2008                                                                      //                                            No                               //                                                                            //                            No                                                                                                   75,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection
                                                                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                                    LaPlace, LA 70064
  181   Ex 10/79     Garner, Toni               7639 Stonewood Street New Orleans     LA      70128   [XIII], [XV],           7/5/2011   Yes      Yes          1112      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET           17                 I           GARNER TONI J           Owner as of 6/9/15    City or County Tax              8/29/1983          Current Owner      The Lambert Firm Kanner &            Hugh Lambert, Esq.               (504) 529-2931   hlambert@thelambertfirm.com                                                                                                                                                                                                          3.21.18                                                                                                                                                                                                                                                                                                                                                                                       Magic Makeover
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                                Completely
                                                                                                      [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $105,051                                       OR" matches DIG #3                                                                                         Records                                                               Whitely Greg Dileo                   701 Magazine St,                                                                                                                                                                                                                              N/A                            No                                 Residential     7/12/1983     6/18/2007          No           6/2012            When the pipes started tarnishing           No            //            No              No              No                               //                                                                            //                                                             Construction,        49,800.00        10/2015       3,353.00                          53,353.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated
                                                                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                                    New Orleans LA 70130                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       LLC
  182   Ex 10/79     Geiser, Walter             3901 Ventura Drive     Chalmette      LA      70043   [IX], [XV],             5/5/2011   Yes      Yes          3037      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET   17                         I           GEISER, DEBORAH         Owner as of 6/9/15    City or County Tax              12/7/1976          Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                               3.23.18                                                                                                                                                                                                                                                                                                                                                                                  HGI Catastrophe
                                                                                                      [XVI], [XVII]                                                       Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                        ABRAM & GEISER,                               Records                                                                                                    8301 W. Judge Perez Drive,                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            other damages:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Services, LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                                Completely                                                                                                                                                          ALE - 3 months rent x $1192 per month = $3576.00
                                                                                                                                                                                 Footage                                        0.86                 94.47             $286,905                                       STANDARD"                                                    WALTER R.                                                                                                                                                Suite 303                                                                                                                                                                                                                                     N/A                            No                                 Residential     12/1/1976     9/??/2007          No           9/2009        report by materials analytic services, inc.                   //                                            No                               //                                                                            //                                       5/2015 - 8/2015    and Castle              59,000.00         8/2015       3,576.00        194,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Chalmette, LA 70043                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Construction &
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Loss of use: 97 months x $2000 = $194,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Remodeling
  183   Ex 10/79     Gibson, Glennel            2216 Veronica Drive    Chalmette      LA      70043   [XIII], [XV],           7/5/2011   Yes      Yes          1380      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China C"             27                 D           GIBSON, GLENNEL         Owner as of 6/9/15    City or County Tax               7/2/2007          Current Owner      Barrios, Kingsdorf & Casteix         Dawn M. Barrios, Esq.           (504) 523-3300    DBarrios@bkc-law.com                                                                                                                                                                                                                 3.21.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                           Inspection performed in September 2011                                                                                                                                                                                                               Completely     April 2013-June
                                                                                                      [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $130,369                                                                                                                                                  Records                                                                                                    701 Poydras Street, Suite 3650                                                                                                                                                                                                                N/A                            No                                 Residential     6/20/2007     11/1/2008          No           9/2011                                                                      //                                            No                               //                                                                            //                                                              KTBN, Inc.                            6/2013       1,900.00        125,000.00                             Remediation and alternative living expenses to be uploaded at a later date when received.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                     confirmed the presence of Chinese drywall.                                                                                                                                                                                                            remediated           2013
                                                                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                                    New Orleans, LA 70154
  184   Ex 10/79     Gilchrist, Norman and      2408 Culotta Street    Chalmette      LA      70043   [III(A)], [VII],       9/16/2010   Yes      Yes          1200      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Cr"            27                 D           GILCHRIST, NORMAN J., Owner as of 6/9/15      City or County Tax               6/7/1985          Current Owner      Berrigan Litchfield, LLC             Kathy Torregano, Esq.           (504) 568-0541    ktorregano@berriganlaw.net                                                                                                                                                                                                           3.22.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     2008 - strong smell, A.C. coils turned black and
                     Sharon                                                                           [XV], [XVI],                                                        Document with Square                                                                                                                                                                                     JR. & GILCHRIST,                              Records                                                                                                    201 Saint Charles Ave, Ste 4204                                                                                                                                                                                                                                No                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       100,000.00 each
                                                                                                                                                                                                                                0.86                 94.47             $113,364                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No                                 Residential      //1983         //2007           No            2008        had to be replaced, getting shocked by light                   //
                                                                                                      [XVII]                                                                     Footage                                                                                                                                                                                           SHARON WOLFE                                                                                                                                             New Orleans, LA 70170-4204                                                                                                                                                                                                                                  Inspection                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     occupant
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          switches, had to replace refrigerator.

  185   Ex 10/79     Givins, Larry and Rose     6007-9 Warfield Street New Orleans    LA      70126   [II], [VII], [XV],     3/15/2010   Yes      Yes          2049      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Crescent City" and           27                 D           GIVINS LEROY            Owner as of 6/9/15    City or County Tax              8/15/2005          Current Owner      Reich & Binstock                     Dennis Reich, Esq.               (713) 352-7883   DReich@reichandbinstock.com                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Will provide  Approximately
                                                                                                      [XVI], [XVII]                                                       Document with Square                                                                                                                        "Manufactured in P.R.C."                                     GIVINS ROSE M                                 Records                                                                                                    4265 San Felipe, Suite 1000                                                                                                                                                                                                                                    No                                                                                                                             After Hurricane Katrina, my home was                                                                                                                                                                                                               Completely       The years of
                                                                                                                                                                                                                                0.86                 94.47             $193,569                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No                                 Residential      ??/??/??     ??/??/2009         No           1/2010                                                        No            //            No              No              No                               //                                                                         ??/??/??                                                            information  $85,000.00, will         ??/??          ???             ???          Not applicable.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                      inspected and Chinese Drywall was found.                                                                                                                                                                                                             remediated        2008-2009.
                                                                                                                                                                                 Footage                                                                                                                                                                                           WIFE                                                                                                                                                     Houston, TX 77027                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    from contractor. supplement.
  186   Ex 10/79     Gonzales, Jane             60337 Emerald Drive Lacombe           LA      70445   [XV], [XVI],            7/5/2011   Yes      Yes          1480      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET   17                         I           JANE ZUVICEH            Owner as of 6/9/15    Tax Records + Title/Deed        11/21/2006         Current Owner      Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.21.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No
                                                                                                      [XVII]                                                              Document with Square                                  0.79                 86.78             $128,434                                       OR EXCEEDS ASTM C1396                                        GONZALES                                                                                                                                                 425 W. Airline Hwy, Suite B                                                                                                                                                                                                                   N/A                            No                                 Residential     12//2006      11/??/2006         No          12/2009                                                                      //                                            No                               //                                                                            //                            No                                                                                    5760.00        65,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection
                                                                                                                                                                                 Footage                                                                                                                              04 STANDARD"                                                                                                                                                                                                          LaPlace, LA 70064
  187   Ex 10/79     Gonzalez, Robert and       1816 Michelle Drive    St. Bernard    LA      70085   [IX], [XV],             5/5/2011   Yes      Yes          1047      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEE"  18                         I           GONZALEZ, ROBERT M. Owner as of 6/9/15        City or County Tax              3/20/2012          Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com
                     Natasha                                                                          [XVI], [XVII]                                                       Document with Square                                                                                                                        matches DIG #3                                                                                             Records                                                                                                    8301 W. Judge Perez Drive,                                                                                                                                                                                                                                     No
                                                                                                                                                                                                                                0.86                 94.47              $98,910                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No
                                                                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                                    Suite 303                                                                                                                                                                                                                                                   Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Chalmette, LA 70043
  188   Ex 10/79     Gordon, Patricia           7409 Cornwall Place    New Orleans    LA      70126   [II], [VII], [XV],     3/15/2010   Yes      Yes          1069      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                  D           GORDON PATRICIA C       Owner as of 6/9/15    City or County Tax              10/12/2004         Current Owner      Bruno & Bruno, LLP                   Joseph Bruno, Esq.               (504) 525-1355   jbruno@brunobrunolaw.com                                                                                                                                                                                                             3.21.18                                                                                                                                                                                                                                                                                                                                                                                       Magic Makeover
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Property was inspected in December 2009 and
                                                                                                      [XVI], [XVII]                                                       Document with Square                                                                                                                        Gypsum"                                                                                                    Records                                                                                                    855 Baronne Street                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                                Completely       June 2015 to        Construction,
                                                                                                                                                                                                                                0.86                 94.47             $100,988                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No                                 Residential    10/12/2004       //2008           No          12/2009      it was confirmed that the property contained                    //                                            No                               //                                                                            //                                                                                  69,800.00         2/2016                       200,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated      February 2016          LLC (Road
                                                                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                                    New Orleans, 70113                                                                                                                                                                                                                                                                                                                                                                                      Chinese drywall.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Home)
  189   Ex 10/79     Grant, Edward and Coretta 2241 Athis Street       New Orleans    LA      70122   [VII], [XV],           1/14/2011   Yes      Yes          1304      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET      20                      I           GRANT CORETTA L         Owner as of 6/9/15    City or County Tax              6/24/2005          Current Owner      Bruno & Bruno, LLP                   Joseph Bruno, Esq.               (504) 525-1355   jbruno@brunobrunolaw.com                                                                                                                                                                                                             3.17.18                                                                                                                                                                                                                                                                                                                                                                                          Mahogany
                                                                                                      [XVI], [XVII]                                                       Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                                                                      Records                                                                                                    855 Baronne Street                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Renovations,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Property was inspection in October 2010 and it
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                                Completely        11/2010 to         Inc., P.O. Box
                                                                                                                                                                                 Footage                                        0.86                 94.47             $123,189                                       04 STANDARD" matches DIG                                                                                                                                                                                              New Orleans, 70113                                                                                                                                                                                                                            N/A                            No                                                 6/24/2005       //2007           No          10/2010       was confirmed that the property contained                      //                                            No                               //                                                                            //                                                                                 180,228.00        12/2013       4,029.00        150,705.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated         12/2013            8767, New
                                                                                                                                                                                                                                                                                                                      #3                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Chinese drywall.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Orleans, LA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      70182
  190   Ex 10/79     Green, Mary                1632 Pauline Street    New Orleans    LA      70117   [III], [VII],          10/7/2009   Yes      Yes          1424      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEE"          13                 I           GREEN MARY W            Owner as of 6/9/15    City or County Tax               8/4/1995          Current Owner      Becnel Law Firm/ Morris Bart LLC Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             2.8.18
                                                                                                      [XV], [XVI],                                                        Document with Square                                                                                                                        matches DIG #3                                                                                             Records                                                                                                Becnel Law Firm, LLC                                                                                                                                                                                                                                               No                                                                                                                           Had house inspected and found Chinese
                                                                                                                                                                                                                                0.86                 94.47             $134,525                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No                                 Residential     8/4/1995      2/??/2007          No           6/2009                                                                      //                                            No                               //                                                                            //                            No                                                                                                    275,000.
                                                                                                      [XVII]                                                                     Footage                                                                                                                                                                                                                                                                                                                                                425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                     Inspection                                                                                                                     Drywall. This was sometime in 2009 or so.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        LaPlace, LA 70064
  191   Ex 10/79     Green, Ronald              105 Maryland Avenue Metairie          LA      70003   [III(A)], [XV],        9/16/2010   Yes      Yes          1273      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHIN" matches        13                 I           GREEN,RONALD JR         Owner as of 6/9/15    City or County Tax               9/7/2001          Current Owner      Becnel Law Firm, LLC             Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.13.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                          Had the home inspected and found Chinese                                                                                                                                                                                                                Partially                                             Lost receipts,
                                                                                                      [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $120,260                                       DIG #3                                                                                                     Records                                                                                                425 W. Airline Hwy, Suite B                                                                                                                                                                                                                       N/A                            No                                 Residential     9/7/2001        //2006           No           3/2010                                                        No            //                                            No                               //                                                                            //                                         Do not recall            Self                                                           75,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                     Drywall.                                                                                                                                                                                                                              remediated                                             couple hundred
                                                                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                                LaPlace, LA 70064
  192   Ex 10/79     Grose, Lillian             2309-11 Bartolo Drive Meraux          LA      70075   [XIII], [XV],           7/5/2011   Yes      Yes          1648      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET           20                 I           GROSE, LILLIAN          Owner as of 6/9/15    City or County Tax               9/3/1985          Current Owner      The Lambert Firm Kanner &        Hugh Lambert, Esq.                   (504) 529-2931   hlambert@thelambertfirm.com                                                                                                                                                                                                          3.22.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No
                                                                                                      [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $155,687                                       OR EXCE" matches DIG #3                                      LOUISE SMITH                                  Records                                                               Whitely Greg Dileo               701 Magazine St,                                                                                                                                                                                                                                  N/A                            No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection
                                                                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                                New Orleans LA 70130
  193   Ex 10/79     Gross, Cheryl and David    400 Hay Place          New Orleans    LA      70124   [III], [VII],          10/7/2009   Yes      Yes          3832      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA," matches 21                      I           GROSS DAVID G           Owner as of 6/9/15    City or County Tax              2/19/1999          Current Owner      Becnel Law Firm/ Morris Bart LLC Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.12.18                                                                                                                                                                                                                                                                                                                                                                    2 phases 1st
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Phase 1: Self;
                                                                                                      [XV], [XVI],                                                        Document with Square                                                                                                                        DIG #3                                                                                                     Records                                                                                                Becnel Law Firm, LLC                                                                                                                                                                                                                                                                                                                                                                             Had a contract to sell the house and final                                                                                                                                                                                                                         Aug-Sept 2012,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                                Completely                            phase 2 was                                                                                          The house was sold on March 25, 2009 for the sum of $469,000.00. The sale fell through because of
                                                                                                                                                                                                                                0.86                 94.47             $362,009                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No                                 Residential     12//1999       7//2006           No           6/2009      inspection found Chinese drywall. We lost the     No            //                                            No                               //                                                                            //                                        2nd phase July                            68,149.24        12/2015       14,553.00       75,000.00
                                                                                                      [XVII]                                                                     Footage                                                                                                                                                                                                                                                                                                                                                425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                     Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated                             Couvillion                                                                                                                      finding Chinese Drywall at the inspection.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           sale.                                                                                                                                                                                                                                            2015-December
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        LaPlace, LA 70064                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Construction
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  2015
  194   RP           Gross, John                3815-17 Delachaise     New Orleans    LA      70125   [IX], [XV],             5/5/2011   Yes      Yes          1190      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                  D           TAYLOR YOLANDA V        Owner as of 6/9/15,   Tax Records + Title/Deed        12/14/2006              2017          Barrios, Kingsdorf & Casteix         Dawn M. Barrios, Esq.          (504) 523-3300     DBarrios@bkc-law.com                                                                                                                                                                                                                 3.22.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Section VI. Prior Payments (Continued)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   $150 - Stipend Payment - CDW Settlement Program
                                                New Orleans, LA                                       [XVI], [XVII]                                                       Document with Square                                                                                                                        Gypsum"                                                                              No Longer Owns                                                                                                                   701 Poydras Street, Suite 3650
                                                70125                                                                                                                            Footage                                                                                                                                                                                                                   Property                                                                                                                         New Orleans, LA 70155
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Rebuilding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                            Inspection performed in January 2008                                                                                                                                                                                                                Completely      09/19/2011 -
                                                                                                                                                                                                                                0.86                 94.47             $112,419                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No                                 Residential    12/14/2006     ??/??/2007         No           1/2008                                                                      //                                            No                               //                                                                            //                                                             Together New         27,754.97         5/2012       2,714.00        100,000.00                                                                       Note:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                     confirmed the presence of Chinese drywall.                                                                                                                                                                                                            remediated       05/14/2012
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Orleans                                                                                            The Preservation Resource Center of New Orleans (PRC) never owned the property, but remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         it and the home owner assigned the remediation claim and all claims to PRC with the exception of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           personal property and personal injury claims. A claim has been filed with PRC's insurer but no
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  payments made for this property at this time.
  195   Ex 10/79     Guidry, Sheila             11111 S. Idlewood Ct. New Orleans     LA      70128   [III], [VII],          10/7/2009   Yes      Yes          1510      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET          19                  I           GUIDRY SHEILA B         Owner as of 6/9/15    City or County Tax              4/18/2008          Current Owner      Bruno & Bruno, LLP                   Joseph Bruno, Esq.               (504) 525-1355   jbruno@brunobrunolaw.com                                                                                                                                                                                                             3.21.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Property was inspected in January 2010 and it                                                                                                                                                                                                                                               Robert Wolfe
                                                                                                      [XV], [XVI],                                                        Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                                                                      Records                                                                                                    855 Baronne Street                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                                Completely     October 2015 to
                                                                                                                                                                                                                                0.86                 94.47             $142,650                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No                                 Residential     4/18/2008      3//2009           No           1/2010        was confirmed that the property contained                     //                                            No                               //                                                                            //                                                             Construction,        66,422.70         4/2016       5,670.00        180,988.46
                                                                                                      [XVII]                                                                     Footage                                                                                                                              04 STANDARD" matches DIG                                                                                                                                                                                              New Orleans, 70113                                                                                                                                                                                                                                          Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated       April 2016
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Chinese drywall.                                                                                                                                                                                                                                                                  Inc.
                                                                                                                                                                                                                                                                                                                      #3
  196   Ex 10/79     Guy, Etta                  2701 Aubry Street      New Orleans    LA      70119   [IX], [XV],             5/5/2011   Yes      Yes          1137      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Crescent City Gypsum        27                  D           GUY ETTA T              Owner as of 6/9/15    City or County Tax              8/28/1981          Current Owner      Bruno & Bruno, LLP                   Joseph Bruno, Esq.               (504) 525-1355   jbruno@brunobrunolaw.com                                                                                                                                                                                                             3.21.18                                                                                                                                                                                                                                                                                                                                                                                       Ronald Wilson,
                                                                                                      [XVI], [XVII]                                                       Document with Square                                                                                                                        Incorporated Manufactured in                                                                               Records                                                                                                    855 Baronne Street                                                                                                                                                                                                                                                                                                                                                                        Property was inspected in January 2011 and it                                                                                                                                                                                                                                                  Dayman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                                  Partially
                                                                                                                                                                                                                                0.86                 94.47             $107,412                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No                                 Residential     8/28/1981       //2008           No           1/2011        was confirmed that the property contained                     //                                            No                               //                                                                            //                                         2016 - 2017        Williams, Lionel      4,500.00                                       250,000.00
                                                                                                                                                                                 Footage                                                                                                                              P.R.C."                                                                                                                                                                                                               New Orleans, 70113                                                                                                                                                                                                                                          Inspection                                                                                                                                                                                                                                                                                                                                                                           remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Chinese drywall.                                                                                                                                                                                                                                                             Marshall, Barry
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Flint
  197   Ex 10/79 &   Hadley, Stephnea           5524 Feliciana Drive   New Orleans    LA      70126   [II], [VII], [XV],     3/15/2010   Yes      Yes          2750      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                  D           CANE VENTURES LLC       Owner as of 6/9/15,   Tax Records + Title/Deed        12/16/1992           12/21/2015       Willi
        Omni XX      (Deceased); Gaskin,                                                              [XVI], [XVII],                                                      Document with Square                                  0.86                 94.47             $259,793                                       Gypsum Incorporated                                                                  No Longer Owns
                     Annette, Executor                                                                [XX]                                                                       Footage                                                                                                                              Manufactured in P.R.C."                                                              Property
                                                                                                                                                                                                                                                                                                                                                                                                                                                  Case 2:09-md-02047-EEF-MBN Document 21527-2 F ed 07/16/18 Page 4 of 9

Claimant Source      Claimant Name               Affected Property      City           State   Zip     Omni(s)              Date of Earliest PPF    Indicia    Verified    Type of Verficiation     Counsel's Declaration                                                               Product         Type of Indicia Description of Markings       Markings # from    Product       Current Owner as of   Ownership Status of   Proof of Ownership Per     Purchase Date Per   Sell Date if Applicable Counsel                            Counsel Address                  Counsel Phone    Counsel Email                                                            Global,                                                                Pre-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Amount Owed
Identifier                                       Address                                                                     Filed Taishan (Yes/No) (Yes/No)   Square      Provided Uploaded to       Verifying Square     2017 RS Means                                                Brand(s)                                                      Taishan Product ID Bucket(s)     May-August 2017 Per   Named Claimant Per         BrownGreer               BrownGreer       or Current Owner Per                                                                                                                                                                Banner, InEx                                                         Remediation                                                                                                                                                Aware property                                                                            Date Sold or                                                                                                                                                                                                            Who Performed
                                                                                                                                                                                                                                                 2017 Cost Per SF    2017 Remediation                                                                                                                                                                                                                                                                                                                                                         Already                                                                                                                  VA        Holdback                              Remediation                                                                                   If no, when did                                                                           Assign any       Expressly                      Court                                                                           on        Date of                       Partially or                                                           Date          Alternative
                                                                                                                                 Omni                          Footage           Sharefile                Footage         Residential Location                                                                                                        Catalog                              BrownGreer           BrownGreer                                                             BrownGreer                                                                                                                             Pilot Program               Knauf        Repair and                 Foreclosure Lost Rent,                   Alternative                                      Remediation                                                   Residential or Date Property   Date CDW      had CDW at                    If CDW Installed Before Purchase, Date you Assignment of   Transferred                                                                                                              Foreclosure or                              Short Sale Price                   Dates of          Work to     Total Cost for                                       Loss of Use  Diminution of
                                                                                                                                                                                                                                                 [B = A x $109.85]      Damages                                                                                                                                                                                                                                                                                                                                                              Remediated                            Bodily Injury                             Miscellaneous             Tenant Loss Settlement    Payment                   KPT %       Complete by     SPPF Completed?                                                                 you become                                                                              Rights with   Retain Rights to   Bankruptcy   Bankruptcy   Date of Filing   Docket No.   Present Status                  Loan/Mortgage Foreclosure or                   Completely                                                           Remediation       Living                                                                               SPPF Comments/ Notes
                                                                                                                                                                                                                                Factor                                                                                                                                                                                                                                                                                                                                                                                          Payments                Remediation    Relocation                or Short Sale Use, or Sales                  Living                                          Option                                                      commercial?      Acquired       Installed      time of                            Learned it Contained CDW               Rights?       Property if                                                                                                              Short Sale?                                 (if applicable)                  Remediation       Remediate     Remediation                                        and Enjoyment    Value
                                                                                                                                                                                                                                                                         [SF x B]                                                                                                                                                                                                                                                                                                                                                           Home (ARH)                                                                                                             Gross Award   Amount                                  KPT?                                                                                            aware?                                                                                  Sale?       Pursue Claim?                    Filed In                                                                    at time of    Short Sale                    Remediated?                                                            Complete       Expenses
                                                                                                                                                                                                                                 [A]                                                                                                                                                                                                                                                                                                                                                                                                                                   Expenses                                                             Expenses                                                                                                                                                    purchase?                                                                                Applicable                                                                                                                                                                                                               Property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Foreclosure
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         (GBI)                                                              (PRALE)
  202   Ex 10/79     Hampton, Helen (aka         2013 Caluda Lane       Violet         LA      70092   [II(A)], [III],        10/7/2009   Yes      Yes          2000      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                   D           HAMPTON, HELEN          Owner as of 6/9/15    City or County Tax             6/21/2000          Current Owner      Matthews & Associates                David P. Matthews, Esq.          (888) 520-5202   dmatthews@thematthewslawfirm                                                                                                                                                                                                          3.13.18 (Whitfield
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No
                     Helen Bingham)                                                                    [VII], [XV],                                                        Document with Square                                  0.86                 94.47             $188,940                                       Gypsum Incorporated                                                                                         Records                                                                                                   2905 Sackett Street                               .com                                                                                                                                                                                         N/A                            No        Bryson)               Residential    ??/??/2006     7/??/2007                                              Inspection - 05/10/2010                              //            No              No              No                          //                                                                            //                            No                                                                               14,304.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection
                                                                                                       [XVI], [XVII]                                                              Footage                                                                                                                              Manufactured in P.R.C."                                                                                                                                                                                               Houston, TX 77098
  203   Ex 10/79     Hampton, Konrad             2514 Kenneth Drive     Violet         LA      70092   [II(A)], [VII],        9/16/2010   Yes      Yes          1000      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                   D           HAMPTON, KONRAD         Owner as of 6/9/15    City or County Tax             7/6/2004           Current Owner      Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No
                                                                                                       [XV], [XVI],                                                        Document with Square                                  0.86                 94.47              $94,470                                       Gypsum"                                                                                                     Records                                                                                                   425 W. Airline Hwy, Suite B                                                                                                                                                                                                                    N/A                            No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection
                                                                                                       [XVII]                                                                     Footage                                                                                                                                                                                                                                                                                                                                                    LaPlace, LA 70064
  204   Ex 10/79     Hampton, Vernon             5641 St. Matthew       Violet         LA      70092   [II], [II(A)],         3/15/2010   Yes      Yes          1500      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Crescent City Gypsum"         27                 D           HITCHENS PROPERTIES, Owner as of 6/9/15,      City or County Tax             8/6/2001              8/24/2015       Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                              3.13.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                     Had issues with house the same as on the news
                                                 Circle                                                [VII], [XV],                                                        Document with Square                                  0.86                 94.47             $141,705                                                                                                     LLC                  No Longer Owns           Records                                                                                                   425 W. Airline Hwy, Suite B                                                                                                                                                                                                                    N/A                            No                              Residential      //1985         //2007           No           1/2010                                                                      //                                            No                          //                                        Foreclosure     Do not recall   7/15/2015                         No                                                                                                65,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                        so we had the home inspected.
                                                                                                       [XVI], [XVII]                                                              Footage                                                                                                                                                                                                                 Property                                                                                                                           LaPlace, LA 70064
  205   Ex 10/79     Hankton, Earl and Louise 4939 Wright Road          New Orleans    LA      70128   [VII], [XV],           1/14/2011   Yes      Yes          1787      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Crescent City Gypsum        27                   D           HANKTON LOUISE J     Owner as of 6/9/15,      Mortgage Documents                                   9/29/2016       Bruno & Bruno, LLP                   Joseph Bruno, Esq.               (504) 525-1355   jbruno@brunobrunolaw.com                                                                                                                                                                                                              3.22.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Earl Hankton Sr. died March 14, 2016. Earl Hankton, Jr. has power of attorney for Louise J. Hankton.
                                                                                                       [XVI], [XVII]                                                       Document with Square                                                                                                                        Incorporated Manufactured in                                  HANKTON EARL JR      No Longer Owns                                                                                                                     855 Baronne Street                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Earl Hankton Jr. has his father's portion of the property. Due to the complete remediation at my
                                                                                                                                                                                  Footage                                                                                                                              P.R.C."                                                                            Property                                                                                                                           New Orleans, 70113                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              parents house they suffered a great amount of mental stress. Uprooted first by Katrina for nearly
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Magic Makeover
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Property was inspected in October 2010 and it                                                                                                                                                                                                                                                                                                                                             three years they never imagined they would have to move again. However, due to the Chinese
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                        Completely      July 2015 to      Construction,
                                                                                                                                                                                                                                 0.86                 94.47             $168,818                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential      //1970        10//2006          No          10/2010        was confirmed that the property contained                     //                                            No                          //                                                                            //                                                                              80,064.00       11/2015                        230,372.55                      drywall and its effects on the electrical, plumbing, air conditioning, not to mention the danger posed
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                                                                                                                                                                                                                                                                   remediated     November 2015       LLC (Road
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Chinese drywall.                                                                                                                                                                                                                                                                                                                                                          to their health, they had no other options. They bought this home in 1970 and lived there happily.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Home)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Thus, the dramatic change for the second time was very inconvenient. They endured life style
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             changes and changes to their personal relationships with family and friends. At this point their life
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            (both in 90's) no monetary amount can adequately compensate them.
  206   Ex 10/79     Hargrove, Linda             12 Marywood Court      New Orleans    LA      70128   [III(A)], [VII],       9/16/2010   Yes      Yes          1448      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS 21                          I           HARGROVE LINDA B        Owner as of 6/9/15    City or County Tax             12/9/1998          Current Owner      Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                              3.19.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Had issues with home after repairing it from
                                                                                                       [XV], [XVI],                                                        Document with Square                                                                                                                        OR EXCEEDS ASTM C1396-                                                                                      Records                                                                                                   425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                        Completely     February 2015-                                                                                                       Had to repair my AC and replace electronics and appliances prior to remediating the home. The total
                                                                                                                                                                                                                                 0.86                 94.47             $136,793                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential     12/9/1998     9/??/2006          No           1/2009         Hurricane Katrina. Saw the news about                        //                                            No                          //                                                                            //                                                         Oak Enterprise         68,000         4/2015                         70,000.00
                                                                                                       [XVII]                                                                     Footage                                                                                                                              04 STANDARD" matches DIG                                                                                                                                                                                              LaPlace, LA 70064                                                                                                                                                                                                                                            Inspection                                                                                                                                                                                                                                                                                                                                                                   remediated       April 2015                                                                                                                                             cost of this was $1860.47.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Chinese Drywall and had the home inspected.
                                                                                                                                                                                                                                                                                                                       #3
  207   Ex 10/79     Harrington, Thomas and      11338 Will Stutley     New Orleans    LA      70128   [VII], [XV],           1/14/2011   Yes      Yes          2334      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET         13                    I            HARRINGTON THOMAS Owner as of 6/9/15         City or County Tax             1/31/1996          Current Owner      Bruno & Bruno, LLP                   Joseph Bruno, Esq.               (504) 525-1355   jbruno@brunobrunolaw.com                                                                                                                                                                                                              3.17.18                                                                                                                                                                                                                                                                                                                                                                            LA Construction
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Property was inspected in May 2010 and it was
                     Maxine                      Drive                                                 [XVI], [XVII]                                                       Document with Square                                                                                                                        OR EXCEEDS" and Taihe blue-                                   JR                                            Records                                                                                                   855 Baronne Street                                                                                                                                                                                                                                              No                                                                                                                                                                                                                                                                                                                                                                        Completely       11/2015 to         Company
                                                                                                                                                                                                                                 0.86                 94.47             $220,493                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                                              1/31/1996     3/??/2006          No           5/2010     confirmed that the property contained Chinese                    //                                            No                          //                                                                            //                                                                              127,755.00       4/2016         2,640.80       227,466.40
                                                                                                                                                                                  Footage                                                                                                                              aqua paper end tape matches                                    HARRINGTON MAXINE                                                                                                                                      New Orleans, 70113                                                                                                                                                                                                                                           Inspection                                                                                                                                                                                                                                                                                                                                                                   remediated         4/2016          LLC/Lance
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       drywall.
                                                                                                                                                                                                                                                                                                                       DIG #3                                                        S                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Thomas
  208   RP           Harris, Shawn               2521 St. Roch Avenue New Orleans      LA      70117   [XIII], [XV],           7/5/2011   Yes      Yes           789      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Crescent City Gypsum       27                    D           HARRIS SHAWN       Owner as of 6/9/15         City or County Tax             7/9/2004           Current Owner      Barrios, Kingsdorf & Casteix         Dawn M. Barrios, Esq.          (504) 523-3300     DBarrios@bkc-law.com                                                                                                                                                                                                                  3.22.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Section VI. Prior Payments (Continued)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      $150 - Stipend Payment - CDW Settlement Program
                                                 New Orleans, LA                                       [XVI], [XVII]                                                       Document with Square                                                                                                                        Incorporated" and                                                                                           Records                                                                                                   701 Poydras Street, Suite 3650
                                                 70117                                                                                                                            Footage                                                                                                                              "Manufactured in P."                                                                                                                                                                                                  New Orleans, LA 70156
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Upstream
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                        Inspection performed in September 2010                                                                                                                                                                                                          Completely      06/01/2012 -                                                                                                                                                        Note:
                                                                                                                                                                                                                                 0.86                 94.47              $74,537                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential     3/7/2012      ??/??/2007         No           9/2010                                                                      //                                            No                          //                                                                            //                                                          Construction        21,593.52        2/2013         3,769.29       100,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                  confirmed the presence of Chinese drywall.                                                                                                                                                                                                       remediated       10/31/2012                                                                                                         The Preservation Resource Center of New Orleans (PRC) never owned the property, but remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Consulting, Inc.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            it and the home owner assigned the remediation claim and all claims to PRC with the exception of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            personal property and personal injury claims. The remediation work was performed by contractors
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               and PRC personnel. A claim has been filed with PRC's insurer but no payments made for this
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  property at this time
  209   Ex 10/79     Harris, Sheldon and Phyllis7410 Alabama Street     New Orleans    LA      70126   [XIII], [XV],           7/5/2011   No       Yes          1843      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA" matches 13                        I           HARRIS SHELDON V        Owner as of 6/9/15    City or County Tax             7/19/2004          Current Owner      Toxic Litigation Group, LLC      Stuart Barasch, Esq.                 213-621-2536     stuartbarasch@gmail.com                                                                                                                                                                                                               3.14.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                        Completely
                                                                                                       [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $174,108                                       DIG #3                                                                                                      Records                                                                                               767 N Hill St #220                                                                                                                                                                                                                                 N/A                            No                              Residential        //             //             No                                                                                       //                                            No                          //                                                                            //
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                                                                                                                                                                                                                                                                   remediated
                                                                                                                                                                                  Footage                                                                                                                                                                                                                                                                                                                                                Los Angeles, CA 90012
  210   Ex 10/79     Hartenstein, Lorena         2519 Tournefort Street Chalmette      LA      70043   [III], [VII],          10/7/2009   Yes      Yes          1300      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA" and "OR 20                        I           HARTENSTEIN,            Owner as of 6/9/15    City or County Tax             8/23/2000          Current Owner      Gainsburgh Benjamin              Gerald Meunier, Esq.                 (504) 522-2304   gmeunier@gainsben.com                                                                                                                                                                                                                 3.30.18
                                                                                                       [XV], [XVI],                                                        Document with Square                                                                                                                        EXCEEDS ASTM C1396 04                                         LORENA JAUNET                                 Records                                                                                               2800 Energy Centre                                                                                                                                                                                                                                                  No                                                                                                                                                                                                                                                                                                                                                                        Completely       June, July,                                                                                                         My mother had to stay with me during the work on her home. Very inconvenient for her not to be
                                                                                                                                                                                                                                 0.86                 94.47             $122,811                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential        //             //                                                                                         Yes          //                                            No                          //                                                                            //                                                                                10,000
                                                                                                       [XVII]                                                                     Footage                                                                                                                              STANDARD" matches DIG #3                                                                                                                                                                                          1100 Poydras Street                                                                                                                                                                                                                                              Inspection                                                                                                                                                                                                                                                                                                                                                                   remediated     August of 2013                                                                                                         able to use her own kitchen for cooking. Move all the clothes & misc item she needed to live.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
  211   Ex 10/79     Hartford, Phillis           5119 Sandhurst Drive New Orleans      LA      70126   [XV], [XVI],            7/5/2011   Yes      Yes          1554      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET      19                       I           HARTFORD PHILLIS M Owner as of 6/9/15         City or County Tax            10/15/1999          Current Owner      Doyle Law Firm                   Jimmy Doyle, Esq.                    (205) 533-9500   jimmy@doylefirm.com                                                                                                                                                                                                                                                                                                                  We confirmed the presence of Chinese drywall
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      September 2017
                                                                                                       [XVII]                                                              Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                                                                       Records                                                                                               2100 Southbridge Parkway,                                                                                                                                                                                                                                           No                                                                                                                      by inspecting the drywall after a/c, appliance                                                                                                                                                                                                    Completely                     Magic Makeover
                                                                                                                                                                                                                                 0.86                 94.47             $146,806                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No        3.11.18               Residential     5/21/1992      7/1/2007          No           8/2012                                                                      //                                            No                          //                                                                            //                                       through January                        85,000.00        1/2017         8,533.00       250,000.00
                                                                                                                                                                                  Footage                                                                                                                              04 STANDARD" matches DIG                                                                                                                                                                                          Suite 650                                                                                                                                                                                                                                                        Inspection                                                                                                                  and electronic failures. These signs were                                                                                                                                                                                                        remediated                      Construction
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           2018
                                                                                                                                                                                                                                                                                                                       #3                                                                                                                                                                                                                Birmingham, AL 35209                                                                                                                                                                                                                                                                                                                                                                           discussed on the news in New Orleans.
  212   Ex 10/79     Haskin, Tracy               1740 Sere Street       New Orleans    LA      70122   [II(B)], [VII],        12/6/2010   Yes      Yes          1164      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS" 18                         I           HASKIN TRACY A          Owner as of 6/9/15    City or County Tax             3/29/2002          Current Owner      The Lambert Firm                 Hugh Lambert, Esq.                   (504) 529-2931   hlambert@thelambertfirm.com                                                                                                                                                                                                           3.21.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No
                                                                                                       [XV], [XVI],                                                        Document with Square                                  0.86                 94.47             $109,963                                       matches DIG #3                                                                                              Records                                                                                               701 Magazine St,                                                                                                                                                                                                                                   N/A                            No                                              3/1/2002      11/1/2005          No                                                                                       //                                            No                          //                                                                            //                            No                                                                                                2,185.44
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection
                                                                                                       [XVII]                                                                     Footage                                                                                                                                                                                                                                                                                                                                                New Orleans LA 70130
  213   Ex 10/79     Haydel, Merlin              7150 E. Renaissance    New Orleans    LA      70128   [XV], [XVI],            7/5/2011   Yes      Yes          1440      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET            17                 I           FERROUILLET PEGGY J Owner as of 6/9/15,       City or County Tax            11/29/1984             9/12/2014       Becnel Law Firm, LLC             Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                              3.13.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                       Heard about problems with drywall on news
                                                 Court                                                 [XVII]                                                              Document with Square                                  0.86                 94.47             $136,037                                       OR EXCEEDS ASTM"                                                                  No Longer Owns            Records                                                                                               425 W. Airline Hwy, Suite B                                                                                                                                                                                                                        N/A                            No                              Residential    11/29/1984      2//2007           No           3/2009                                                                  9/12/2014         No              Yes             No                          //                                                                            //                            No                                                                               50,802.94        55,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                 and home inspected. Found Chinese Drywall.
                                                                                                                                                                                  Footage                                                                                                                                                                                                                Property                                                                                                                        LaPlace, LA 70064
  214   RP           Hayes, Gloria               7022 Bundy Road        New Orleans    LA      70127   [III], [VII],          10/7/2009   Yes      Yes          1976      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Manufactured in P.R.C."       27                 D           HAYES GLORIA F      Owner as of 6/9/15        City or County Tax             3/17/1983          Current Owner      Becnel Law Firm/ Morris Bart LLC Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                              4.18.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Installer made a comment about drywall being
                                                                                                       [XV], [XVI],                                                        Document with Square                                                                                                                                                                                                                                    Records                                                                                               Becnel Law Firm, LLC                                                                                                                                                                                                                                                No
                                                                                                                                                                                                                                 0.86                 94.47             $186,673                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential     1/28/2004      12//2008                       6/2009       made in China and then heard on the news                       //                                            No                          //                                                                            //                            No                                                                                                  75000
                                                                                                       [XVII]                                                                     Footage                                                                                                                                                                                                                                                                                                                                                425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                      Inspection                                                                                                                    reports about bad drywall from China.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         LaPlace, LA 70064
  215   RP           Hazeur, Melvina             2205-07 St. Roch       New Orleans    LA      70117   [IX], [XV],             5/5/2011   Yes      Yes          1627      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Crescent City Gypsum          27                 D           HEALY LOGAN M           Owner as of 6/9/15,   Tax Records + Title/Deed       8/29/1980             6/25/2015       Barrios, Kingsdorf & Casteix     Dawn M. Barrios, Esq.                (504) 523-3300   DBarrios@bkc-law.com                                                                                                                                                                                                                  3.22.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Section VI. Prior Payments (Continued)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      $150 - Stipend Payment - CDW Settlement Program
                                                 Avenue                                                [XVI], [XVII]                                                       Document with Square                                                                                                                        Incorporated"                                                 KING SAMANTHA E         No Longer Owns                                                                                                              701 Poydras Street, Suite 3650
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 $3,802.12 - Chartis Insurance
                                                                                                                                                                                  Footage                                                                                                                                                                                                                    Property                                                                                                                    New Orleans, LA 70157
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                        Inspection performed in September 2010                                                                                                                                                                                                          Completely      06/10/2011 -
                                                                                                                                                                                                                                 0.86                 94.47             $153,703                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential     8/29/1980     ??/??/2007         No           9/2010                                                                      //                                            No                          //                                                                            //                                                           JC Services        23,298.63        4/2012        11,703.57       100,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                  confirmed the presence of Chinese drywall                                                                                                                                                                                                        remediated       04/12/2012                                                                                                                                                         Note:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           The Preservation Resource Center of New Orleans (PRC) never owned the property, but remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            it and the home owner assigned the remediation claim and all claims to PRC with the exception of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            personal property and personal injury claims. The remediation work was performed by contractors
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   and PRC personnel
  216   Ex 10/79     Hearns, Ingrid              2127 North Tonti StreetNew Orleans    LA      70119   [XV], [XVI],            7/5/2011   Yes      Yes          1394      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                   D           HEARNS INGRID           Owner as of 6/9/15    City or County Tax             2/6/1998           Current Owner      The Lambert Firm Kanner &            Hugh Lambert, Esq.             (504) 529-2931     hlambert@thelambertfirm.com                                                                                                                                                                                                           3.21.18                                                                                                                                                                                                                                                                                                                                                            11-27-2012
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                      During restoration post Hurricane Katrina toxic                                                                                                                                                                                                   Completely                          Castellon
                                                                                                       [XVII]                                                              Document with Square                                  0.86                 94.47             $131,691                                       Gypsum Incorporated                                                                                         Records                                                              Whitely Greg Dileo                   701 Magazine St,                                                                                                                                                                                                                               N/A                            No                              Residential        //             //                                                                                                      //                                            No                          //                                                                            //                                       through 04-01-                         52,000.00        4/2013         5,250.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                  drywall was discovered during HVAC repair.                                                                                                                                                                                                       remediated                         Construction
                                                                                                                                                                                  Footage                                                                                                                              Manufactured in P.R.C."                                                                                                                                                                                               New Orleans LA 70130                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          2013
  217   Ex 10/79     Hebert, Ronald and          3856 Augustine Lane Marrero           LA      70072   [XV], [XVI],            7/5/2011   Yes      Yes          1679      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "CHINA, MEETS OR             18                   I           HEBERT,RONALD A JR      Owner as of 6/9/15    Tax Records + Title/Deed       1/13/2011          Current Owner      Barrios, Kingsdorf & Casteix         Dawn M. Barrios, Esq.          (504) 523-3300     DBarrios@bkc-law.com                                                                                                                                                                                                                  3.19.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                         Inspection performed in February 2011                                                                                                                                                                                                          Completely       9/10/2012-          Ochello
                     Tiffany                                                                           [XVII]                                                              Document with Square                                  0.86                 94.47             $158,615                                       EXCEEDS ASTM C13"                                             & TIFFANY L                                                                                                                                             701 Poydras Street, Suite 3650                                                                                                                                                                                                                 N/A                            No                              Residential     1/13/2011     ??/??/2006         No           2/2011                                                                  2/9/2017          No              Yes             No                          //                                                                            //                                                                              57,535.85        9/2013                         25,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                  confirmed the presence of Chinese drywall.                                                                                                                                                                                                       remediated        09/2013        Contractors, LLC
                                                                                                                                                                                  Footage                                                                                                                              matches DIG #3                                                                                                                                                                                                        New Orleans, LA 70158
  218   Ex 10/79     Helmstetter, Lorraine       2244 Lizardi Street    New Orleans    LA      70117   [IX], [XV],             5/5/2011   Yes      Yes          1488      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                   D           FREEMAN SHARON S 5 Owner as of 6/9/15         Tax Records + Title/Deed       5/23/2007          Current Owner      Hurricane Legal Center, LLC          Jacob Young, Esq.              (504) 522-4322     jacob@jacobyounglaw.com                                                                                                                                                                                                               5.3.18
                                                                                                       [XVI], [XVII]                                                       Document with Square                                                                                                                        Gypsum Incorporated                                            MILLER ESTER S 5                                                                                                                                       Young Law Firm
                                                                                                                                                                                  Footage                                                                                                                              Manufactured in P.R.C."                                        SMITH WILLIE 1                                                                                                                                         1010 Common St., Suite 3040
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Upon calling AC man Holmes he pointed out the
                                                                                                                                                                                                                                                                                                                                                                                      BEARDEN JACQUELYN                                                                                                                                      New Orleans, LA 70112                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Magic Makeover
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                     copper piping turning black on the 4-15-11 John                                                                                                                                                                                                    Completely
                                                                                                                                                                                                                                 0.86                 94.47             $140,571                                                                                                     5                                                                                                                                                                                                                                                                                                                                                                                                      N/A                            No                              Residential     10/7/2008     5/15/2009                       5/2009                                                                      //            No              No              No                          //                                                                            //                                            2017          Construction,       102,645.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                  Crawford lead paralegal came to check the                                                                                                                                                                                                        remediated
                                                                                                                                                                                                                                                                                                                                                                                      SMITH GLENN 1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         copper piping found blackness there.
                                                                                                                                                                                                                                                                                                                                                                                      FREEMAN SHARON 5
                                                                                                                                                                                                                                                                                                                                                                                      HELMSTEHER
                                                                                                                                                                                                                                                                                                                                                                                     LORRAINE 5
  219   Ex 10/79     Henry, Fred and Tia         4800 Cardenas Drive    New Orleans    LA      70127   [IX], [XV],             5/5/2011   Yes      Yes          2361      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA" matches 13                        I           HENRY FRED A JR    Owner as of 6/9/15         City or County Tax             5/20/2005          Current Owner      Berniard Law Firm, LLC               Jeffrey Berniard, Esq.       (504) 527-6225       Jeff@getjeff.com                                                                                                                                                                                                                      3.21.18                                                                                            In 2010 after many years of health and
                                                                                                       [XVI], [XVII]                                                       Document with Square                                                                                                                        DIG #3                                                         HENRY TIA C.M                                Records                                                                                                   300 Lafayette St, #101                                                                                                                                                                                                                                                                                                                                                                   electrical problems Plaintiffs became aware
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No
                                                                                                                                                                                                                                 0.86                 94.47             $223,044                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential     5/1/2005       3/1/2006          No          12/2010     they had chinese drywall after they investigated    No           //                                            No                          //                                                                            //                            No                                                                                                 200000
                                                                                                                                                                                  Footage                                                                                                                                                                                                                                                                                                                                                    New Orleans, Louisiana 70130                                                                                                                                                                                                                                 Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    the matter and saw the markings on the back of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       the drywall.
  220   Ex 10/79     Hill, Jamar                 4736 Rosalia Drive     New Orleans    LA      70127   [IX], [XV],             5/5/2011   Yes      Yes          1696      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                   D           HILL, SR, JAMAR A       Owner as of 6/9/15    City or County Tax             4/26/2007          Current Owner      Hurricane Legal Center, LLC          Jacob Young, Esq.                (504) 522-4322   jacob@jacobyounglaw.com
                                                                                                       [XVI], [XVII]                                                       Document with Square                                                                                                                        Gypsum Incorporated                                                                                         Records                                                                                                   Young Law Firm                                                                                                                                                                                                                                                  No
                                                                                                                                                                                                                                 0.86                 94.47             $160,221                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No
                                                                                                                                                                                  Footage                                                                                                                              Manufactured in P.R.C."                                                                                                                                                                                               1010 Common St., Suite 3040                                                                                                                                                                                                                                  Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             New Orleans, LA 70112
  221   Ex 10/79     Hite, Tonya                 4404 Paris Avenue      New Orleans    LA      70122   [II], [VII], [XV],     3/15/2010   Yes      Yes          1472      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China"                27                 D           HITE TONYA S            Owner as of 6/9/15    City or County Tax             5/28/1997          Current Owner      Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                              4.10.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                      AC unit broke for third time and the tech that                                                                                                                                                                                                    Completely       April 2015-
                                                                                                       [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $139,060                                                                                                                                                   Records                                                                                                   425 W. Airline Hwy, Suite B                                                                                                                                                                                                                    N/A                            No                              Residential      //1995       1/??/2007          No          10/2009                                                                      //                                            No                          //                                                                            //                                                         LP Construction      74,385.00        8/2015         7980.00         75,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                     came to fix it found Chinese Drywall.                                                                                                                                                                                                         remediated      August 2015
                                                                                                                                                                                  Footage                                                                                                                                                                                                                                                                                                                                                    LaPlace, LA 70064
  222   Ex 10/79     Holden, Dawn                3305 Meraux Lane       Violet         LA      70092   [VII], [XV],           1/14/2011   Yes      Yes          1706      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                   D           HOLDEN, PAUL W.         Owner as of 6/9/15    City or County Tax             5/4/2001           Current Owner      Gainsburgh Benjamin                  Gerald Meunier, Esq.             (504) 522-2304   gmeunier@gainsben.com                                                                                                                                                                                                                 4.16.18
                                                                                                       [XVI], [XVII]                                                       Document with Square                                                                                                                        Gypsum Incorporated                                                                                         Records                                                                                                   2800 Energy Centre                                                                                                                                                                                                                                              No
                                                                                                                                                                                                                                 0.86                 94.47             $161,166                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                                               //2007         //2007           No           8/2009                                                                      //                                            No                          //                                                                            //                            No
                                                                                                                                                                                  Footage                                                                                                                              Manufactured in P.R.C."                                                                                                                                                                                               1100 Poydras Street                                                                                                                                                                                                                                          Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             New Orleans, LA 70163
  223   Ex 10/79     Holland, Alberta            8000 Lehigh Street     New Orleans    LA      70127   [XIII], [XV],           7/5/2011   Yes      Yes          1430      Property Tax Assessor's           Yes                                                                         Taihe           Inspection     "MADE IN CHINA" and            17                 I           LOCKETT NATALIE A Owner as of 6/9/15,         City or County Tax             9/26/2008             3/29/2016       Toxic Litigation Group, LLC          Stuart Barasch, Esq.             213-621-2536     stuartbarasch@gmail.com                                                                                                                                                                                                               3.14.18
                                                                                                       [XVI], [XVII]                                                       Document with Square                                                                                                         Report         "MEET OR EXCEEDS"                                             FLEMING NADINE L  No Longer Owns              Records                                                                                                   767 N Hill St #220
                                                                                                                                                                                  Footage                                                                                                                              matches DIG #3                                                WELLS NELDA       Property                                                                                                                              Los Angeles, CA 90012
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No
                                                                                                                                                                                                                                 0.86                 94.47             $135,092                                                                                                     HOLLAND NATHANIEL                                                                                                                                                                                                                                                                                                                                                                                      N/A                            No                              Residential     3/29/2016     10/6/2008         Yes                                                                          Yes          //                                            No                          //                                                                            //                            No                                                                                   0                0
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection
                                                                                                                                                                                                                                                                                                                                                                                     D JR
                                                                                                                                                                                                                                                                                                                                                                                     HOLLAND NICHOLAS
                                                                                                                                                                                                                                                                                                                                                                                     M
  224   Ex 10/79     Holloway, Virgie            2522 Pauger Street     New Orleans    LA      70116   [II], [VII], [XV],     3/15/2010   Yes      Yes          1314      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent"       27                 D           HOLLOWAY VIRGIE   Owner as of 6/9/15          City or County Tax             9/13/1988          Current Owner      Bruno & Bruno, LLP                   Joseph Bruno, Esq.               (504) 525-1355   jbruno@brunobrunolaw.com                                                                                                                                                                                                              3.22.18                                                                                                                                                                                                                                                                                                                                                                              Al Sanchez
                                                                                                       [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                                                                    Records                                                                                                   855 Baronne Street                                                                                                                                                                                                                                                                                                                                                                        Property was inspected in May 2009 and                                                                                                                                                                                                                                            Construction,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                          Partially
                                                                                                                                                                                                                                 0.86                 94.47             $124,134                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential     9/13/1988      4//2009           No           5/2009      November 2009 and it was confirmed that the                     //                                            No                          //                                                                            //                                         2010 - 2014     Joseph Electric,     37,642.81         2014         16,031.91       125,000.00
                                                                                                                                                                                  Footage                                                                                                                                                                                                                                                                                                                                                    New Orleans, 70113                                                                                                                                                                                                                                           Inspection                                                                                                                                                                                                                                                                                                                                                                   remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         property contained Chinese drywall.                                                                                                                                                                                                                                               Inc., Jose
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Torres, etc
  225   Ex 10/79     Holmes, Rhonda              2024 Perez Drive       Braithwaite    LA      70040   [III(A)], [IX],        9/16/2010   Yes      Yes          2000      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS" 15                         I           HOLMES, TERRI LYNN      Owner as of 6/9/15,   Tax Records + Title/Deed       7/24/2012             12/2/2016       Allison Grant, P.A. Baron & Budd, Russell Budd, Esq.            (214) 521-3605         rbudd@baronbudd.com                                                                                                                                                                                                                   3.19.18                                                                                          Purchased the drywall from Interior Exterior
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Building Supply located in Abita Springs, LA in
                                                                                                       [XV], [XVI],                                                        Document with Square                                                                                                                        matches DIG #3                                                & HUTHCINSON,           No Longer Owns                                                                             P.C. Alters Boldt Brown Rash &    Baron & Budd
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    April of 2007. This was purchased to repair the
                                                                                                       [XVII]                                                                     Footage                                                                                                                                                                                            JUSTIN J., JR           Property                                                                                   Culmo                             3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    entire inside of our home after Katrina. Around
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               April 2009
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                      2009 I noticed wires on electrical components                                                                                                                                                                                                       Partially                    Raquel tejeda-          50,000.00
                                                                                                                                                                                                                                 0.86                 94.47             $188,940                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential    ??/??/1976     4/??/2007          No          ??/2009                                                                      //                                            No                          //                                                                            //                                       through October                                        10/2009
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                   were turning black, and I noticed a smell.                                                                                                                                                                                                      remediated                        Fajardo            (approximate)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           2009
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Around 2009 I saw a story on the news
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      regarding defective Chinese drywall. Soon
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        after that I had my home inspected and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      confirmed the presence of Chinese drywall
  226   Ex 10/79     Houghton, Thomas            1007 Desire Street     New Orleans    LA      70117   [III(A)], [VII],       9/16/2010   Yes      Yes          1848      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEE"            17                 I           HOUGHTON THOMAS         Owner as of 6/9/15    City or County Tax             7/18/2006          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                                3.22.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                        Completely       8/18/2011 -                                                                        See attached
                                                                                                       [XV], [XVI],                                                        Document with Square                                  0.86                 94.47             $174,581                                       matches DIG #3                                                                                              Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                             N/A                            No                              Residential     7/18/2006     8/18/2011          No                                   When the HVAC failed                   No           //                                            No                          //                                                                            //                                                         Self Contracted      $37,524.84
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                                                                                                                                                                                                                                                                   remediated        8/23/2011                                                                             letter
                                                                                                       [XVII]                                                                     Footage                                                                                                                                                                                                                                                                                                                                                    New Orleans, LA 70113
  227   Ex 10/79     Hughes, Mathew and Jan 3513 Van Cleave Drive Meraux               LA      70075   [II], [VII], [XV],     3/15/2010   Yes      Yes          2178      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                   D           HUGHES, MATHEW          Owner as of 6/9/15    City or County Tax             8/4/2008           Current Owner      Herman, Herman & Katz Becnel         Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                              3.22.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No
                                                                                                       [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $205,756                                       Gypsum Incorporated"                                          DUANE                                         Records                                                              Law Firm, LLC                        425 W. Airline Hwy, Suite B                                                                                                                                                                                                                    N/A                            No                              Residential     8/10/2008      2/1/2006          No           5/2009                            n/a                                       //                                            No                          //                                                                            //                            No               n/a               n/a               n/a                                                          $107,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection
                                                                                                                                                                                  Footage                                                                                                                                                                                                                                                                                                                                                    LaPlace, LA 70064
  228   Ex 10/79     Hunter, Dorothy             2512 Reunion Drive     Violet         LA      70092   [III], [IX], [XV],     10/7/2009   Yes      Yes           976      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "CHINA MEETS OR" matches 18                       I           HUNTER, DOROTHY         Owner as of 6/9/15    City or County Tax             3/1/1984           Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                                3.23.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 alternate living espenses: rent = $1192 x 4 months pluse the total receipts for moving an utilities
                                                                                                       [XVI], [XVII]                                                       Document with Square                                                                                                                        DIG #3                                                        BRICKLEY                                      Records                                                                                                   8301 W. Judge Perez Drive,                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 (attached)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                        Completely     8/1/15 through       Roy Milton
                                                                                                                                                                                                                                 0.86                 94.47              $92,231                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential     2/29/1984     7/??/2007          No           9/2009        report by materials analytic services, inc.                   //                                            No                          //                                                                            //                                                                              58,737.00       12/2015         7968.82        171,200.00
                                                                                                                                                                                  Footage                                                                                                                                                                                                                                                                                                                                                    Suite 303                                                                                                                                                                                                                                                    Inspection                                                                                                                                                                                                                                                                                                                                                                   remediated        11/30/15           Kitchens
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           loss of use: 107 months from installation to complete renobation = 107 months x $1600 per month =
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Chalmette, LA 70043
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        $171,200.00.
  229   Ex 10/79     Jackel, Jon                 244 Springrose Drive Belle Chasse     LA      70037   [II], [VII], [XV],     3/15/2010   Yes      Yes          3663      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Cresc"          27                 D           JACKEL, JON J &         Owner as of 6/9/15    City or County Tax             5/22/2003          Current Owner      Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                              3.9.18                                                                                         Was having issues with electronics, AC, fixtures                                                                                                                                                                                                                    April 2012 -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                        Completely                       Mallard Homes,
                                                                                                       [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $346,044                                                                                                     ELIZABETH V                                   Records                                                                                                   425 W. Airline Hwy, Suite B                                                                                                                                                                                                                    N/A                            No                              Residential     7/31/2007     2/10/2006          No           5/2009     turning black, so inspected the house and found                  //                                            No                          //                                                                            //                                         October 30,                           150,000        10/2012        43,200.00        75,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                                                                                                                                                                                                                                                                   remediated                             LLC
                                                                                                                                                                                  Footage                                                                                                                                                                                                                                                                                                                                                    LaPlace, LA 70064                                                                                                                                                                                                                                                                                                                                                                                      Chinese Drywall.                                                                                                                                                                                                                                       2012
  230   Ex 10/79     James, Dominesha (nka       1857 Joseph Drive      Poydras        LA      70085   [XV], [XVI],            7/5/2011   Yes      Yes          1054      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                   D           JAMES, DOMINESHA        Owner as of 6/9/15    City or County Tax             8/7/2012           Current Owner      Doyle Law Firm                       Jimmy Doyle, Esq.                (205) 533-9500   jimmy@doylefirm.com                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Louisiana Road
                     Clay, Dominesha)                                                                  [XVII]                                                              Document with Square                                                                                                                        Gypsum Incorporated                                           ORELIA                                        Records                                                                                                   2100 Southbridge Parkway,                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                        Completely      June 2014 to     Home Program
                                                                                                                                                                                                                                 0.86                 94.47              $99,571                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No        3.13.18               Residential     7/26/2007     2/22/2007          No           4/2012                                                                      //                                            No                          //                                                                            //                                                                              73,748.00       10/2015         8,000.00       212,000.00
                                                                                                                                                                                  Footage                                                                                                                              Manufactured in P.R.C."                                                                                                                                                                                               Suite 650                                                                                                                                                                                                                                                    Inspection                                                                                                                                                                                                                                                                                                                                                                   remediated      October 2015         "Magic
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Birmingham, AL 35209                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Makeover"
  231   Add. Taishan James, Ken & Vita,          3808 Gallo Drive       Chalmette      LA      70043   [XV], [XVI],            7/5/2011   Yes      Yes          1407      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "China Crescent" and "Gypsum 27                   D           JAMES & VITA, L.L.C.    Owner as of 6/9/15    City or County Tax             6/18/2007          Current Owner      Parker Waichman                      Jerrold Parker, Esq.             (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No
        Prop.        Thomas (James & Vita,                                                             [XVII]                                                              Document with Square                                  0.86                 94.47             $132,919                                       Incorporated"                                                                                               Records                                                                                                   27300 Riverview Center Blvd                                                                                                                                                                                                                    N/A                            No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection
                     LLC)                                                                                                                                                         Footage                                                                                                                                                                                                                                                                                                                                                    Bonita Springs, FL 34134
  232   Ex 10/79     James, Milria               1028 Reynes Street     New Orleans    LA      70117   [IX], [XV],             5/5/2011   Yes      Yes          1175      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                   D           JAMES MILRIA T          Owner as of 6/9/15    City or County Tax             1/5/1990           Current Owner      Hurricane Legal Center, LLC          Jacob Young, Esq.                (504) 522-4322   jacob@jacobyounglaw.com                                                                                                                                                                                                               5.3.18
                                                                                                       [XVI], [XVII]                                                       Document with Square                                                                                                                        Gypsum"                                                                                                     Records                                                                                                   Young Law Firm                                                                                                                                                                                                                                                  No
                                                                                                                                                                                                                                 0.86                 94.47             $111,002                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential      //1990         //2008           No            2011                                                                       //                                            No                          //                                                                            //                            No
                                                                                                                                                                                  Footage                                                                                                                                                                                                                                                                                                                                                    1010 Common St., Suite 3040                                                                                                                                                                                                                                  Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             New Orleans, LA 70112
  233   Ex 10/79     Jenkins, Curtis             2042 Egania Street     New Orleans    LA      70117   [XIII], [XV],           7/5/2011   Yes      Yes          1508      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                   D           JENKINS CURTIS L        Owner as of 6/9/15    Tax Records + Title/Deed       8/30/2002          Current Owner      Bruno & Bruno, LLP                   Joseph Bruno, Esq.               (504) 525-1355   jbruno@brunobrunolaw.com                                                                                                                                                                                                              3.20.18                                                                                        Property was inspected in June 2009 and it was
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                        Completely                         Self (Temp
                                                                                                       [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $142,461                                       Gypsum"                                                                                                                                                                                                               855 Baronne Street                                                                                                                                                                                                                             N/A                            No                             Commercial       1/28/2002       //2009           No           6/2009      confirmed that the property contained Chinese      No           //                                            No                          //                                                                            //                                            2009                               6,831.75        8/2009                         4,800.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                                                                                                                                                                                                                                                                   remediated                           Labor)
                                                                                                                                                                                  Footage                                                                                                                                                                                                                                                                                                                                                    New Orleans, 70113                                                                                                                                                                                                                                                                                                                                                                                         drywall.
  234   Ex 10/79     Jenkins, Gary               3020 Montesquieu St. New Orleans      LA      70043   [XV], [XVI],            7/5/2011   Yes      Yes          1994      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                   D           JENKINS, GARY L.        Owner as of 6/9/15    City or County Tax             6/22/2007          Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                                3.14.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              all photographic evidence and receipts have been previoulsy uploaded.
                                                                                                       [XVII]                                                              Document with Square                                                                                                                        Gypsum"                                                                                                     Records                                                                                                   8301 W. Judge Perez Drive,                                                                                                                                                                                                                                      No                                                                                                                                                                                                                                                                                                                                                                        Completely     8/7/12 through       Alexander
                                                                                                                                                                                                                                 0.86                 94.47             $188,373                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential     6/12/2007     6/??/2012          No           6/2012      report by driskill environmental consultants llc                //                                            No                          //                                                                            //                                                                              56,467.32        2/2013        10,000.00         16,000
                                                                                                                                                                                  Footage                                                                                                                                                                                                                                                                                                                                                    Suite 303                                                                                                                                                                                                                                                    Inspection                                                                                                                                                                                                                                                                                                                                                                   remediated         2/1/13          Renovations                                                                                      loss of use is based upon length of time from installation of CDW to renovation completion multiplied
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Chalmette, LA 70043                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        by a rental factor of $2000.00 per month.
  235   Ex 10/79     Jenkins, Kawanda            7240 Thornley Drive    New Orleans    LA      70126   [XIII], [XV],           7/5/2011   Yes      Yes          2618      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "IN CHINA MEET OR              19                 I           JENKINS KAWANDA M Owner as of 6/9/15          City or County Tax             7/24/2007          Current Owner      Bruno & Bruno, LLP                   Joseph Bruno, Esq.               (504) 525-1355   jbruno@brunobrunolaw.com                                                                                                                                                                                                              4.2.18                                                                                         Property was inspected in May 2011 and it was                                                                                                                                                                                                                        May 2017
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                        Completely                     Magic Makeover
                                                                                                       [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $247,322                                       EXCEEDS" matches DIG #3                                                                                     Records                                                                                                   855 Baronne Street                                                                                                                                                                                                                             N/A                            No                                              4/7/1999       7/5/2007          No           5/2011     confirmed that the property contained Chinese                    //                                            No                          //                                                                            //                                       through October                        135,600.00      10/2017        13,416.42       250,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                                                                                                                                                                                                                                                                   remediated                      (Road Home)
                                                                                                                                                                                  Footage                                                                                                                                                                                                                                                                                                                                                    New Orleans, 70113                                                                                                                                                                                                                                                                                                                                                                                        drywall.                                                                                                                                                                                                                                            2017
  236   Ex 10/79     Johnson, Audrey Mae         3444 Toledano Street New Orleans      LA      70125   [II], [VII], [XV],     3/15/2010   Yes      Yes          1500      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                   D           JOHNSON AUDREY          Owner as of 6/9/15    City or County Tax             8/10/1988          Current Owner      Martzell & Bickford                  Scott Bickford, Esq.             (504) 581-9065   srb@mbfirm.com                                                                                                                                                                                                                        3.15.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                      I noticed a smell and had my home tested for                                                                                                                                                                                                      Completely                         Habitat for
                                                                                                       [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $141,705                                       Gypsum Incorporated                                                                                         Records                                                                                                   338 Lafayette Street                                                                                                                                                                                                                           N/A                            No                                              8/10/1988     5/??/2007          No                                                                                       //                                            No                          //                                                                            //                                                                                              12/2008
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                        the presence of Chinese Drywall                                                                                                                                                                                                            remediated                         Humanity
                                                                                                                                                                                  Footage                                                                                                                              Manufactured in P.R.C."                                                                                                                                                                                               New Orleans, LA 70130
  237   Ex 10/79     Johnson, Barbara and        2425 Independence      New Orleans    LA      70117   [II], [VII], [XV],     3/15/2010   Yes      Yes          1553      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Cre"          27                   D           JOHNSON HERBERT G       Owner as of 6/9/15    City or County Tax             7/24/1998          Current Owner      Becnel Law Firm/ Morris Bart LLC Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                              3.21.18
                     Herbert                     Street                                                [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                      SR                                            Records                                                                                                   Becnel Law Firm, LLC                                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                        Completely
                                                                                                                                                                                                                                 0.86                 94.47             $146,707                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential     7/??/1998     ??/??/2007                      5/2009      Saw on the news and had my home inspected                       //                                            No                          //                                                                            //                                                                                                                              65,000.00
                                                                                                                                                                                  Footage                                                                                                                                                                                            JOHNSON BARBARA                                                                                                                                         425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                  Inspection                                                                                                                                                                                                                                                                                                                                                                   remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             LaPlace, LA 70064
  238   Add. Taishan Johnson, Henry              6524 Peoples Avenue New Orleans       LA      70122   [XIII], [XV],           7/5/2011   Yes      Yes          1596      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "China Crescent City"          27                 D           JOHNSON HENRY           Current Owner,        City or County Tax                                Current Owner      Whitfield, Bryson & Mason            Dan Bryson, Esq.                 919-600-5000     dan@wbmllp.com                                                                                                                                                                                                                        3.14.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No
        Prop.                                                                                          [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $150,774                                                                                                                             Unknown Purchase      Records                                                                                                   900 W. Morgan Street                                                                                                                                                                                                                           N/A                            No                              Residential     5/4/1971      ??/??/2005                                          Inspection done on 9/17/2011                            //                                            No                          //                                                                            //                            No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection
                                                                                                                                                                                  Footage                                                                                                                                                                                                                    Date                                                                                                                            Raleigh, NC 27603
  239   Ex 10/79     Johnson, Jimmie S. Sr.      3313 Shannon Drive     Violet         LA      70092   [VII], [XV],           1/14/2011   Yes      Yes          1120      Property Tax Assessor's           Yes                                                                         Crescent City   Inspection                                    N/A                D           JOHNSON, JIMMIE S.,     Owner as of 6/9/15    City or County Tax             8/25/2006          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                                5.9.18                                                                                          My AC unit went out. My AC noticed the coils
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                        Completely                                                                                                                            I lived with LaQuinta Lagania for five years after moving out of my home at 3313 Shannon Drive,
                                                                                                       [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $105,806                        Report                                                                       SR.                                           Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                             N/A                            No                              Residential     7/1/2006      10/2/2006          No           1/2007      were eaten up. TV went out also as did some        No           //                                            No                          //                                                                            //                                           2/2018              Self                            2/2018          24000.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                                                                                                                                                                                                                                                                   remediated                                                                                                                                        Violet, LA because of CDW While living with her I paid $500 a month rent
                                                                                                                                                                                  Footage                                                                                                                                                                                                                                                                                                                                                    New Orleans, LA 70113                                                                                                                                                                                                                                                                                                                                                                                other appliances.
  240   Ex 10/79     Johnson, Ronald             4505 Lamarque Drive Meraux            LA      70075   [III], [IX], [XV],     10/7/2009   Yes      Yes          1540      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "CHINA MEET" matches DIG 13                       I           ROSSIGNOL REAL          Owner as of 6/9/15,   City or County Tax             8/29/2007             3/8/2016        Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                                3.23.18
                                                                                                       [XVI], [XVII]                                                       Document with Square                                                                                                                        #3                                                            ESTATE                  No Longer Owns        Records                                                                                                   8301 W. Judge Perez Drive,                                                                                                                                                                                                                                      No
                                                                                                                                                                                                                                 0.86                 94.47             $145,503                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential     6/29/2007     6/??/2007          No           1/2010       report by materials analytical services, inc.              2/3/2016          No              No              No                          //                                        Foreclosure     $150,662.21      2/3/2016      243,176.57         No                                                                                               200,000.00
                                                                                                                                                                                  Footage                                                                                                                                                                                            INVESTMENTS,LLC         Property                                                                                                                        Suite 303                                                                                                                                                                                                                                                    Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Chalmette, LA 70043
  241   Ex 10/79     Johnson, Timothy            3430 Jackson Blvd.     Chalmette      LA      70043   [II(B)], [IX],         12/6/2010   Yes      Yes          2010      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Crescent City Gypsum          27                 D           JOHNSON, TIMOTHY G. Owner as of 6/9/15        Title/Deed                     3/1/2006           Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                                3.23.18                                                                                                                                                                                                                                                                                                                                                           began 9/2010-
                                                                                                       [XV], [XVI],                                                        Document with Square                                                                                                                        Incorporated Manufactured"                                                                                                                                                                                            8301 W. Judge Perez Drive,                                                                                                                                                                                                                                      No                                                                                                                                                                                                                                                                                                                                                                          Partially       incomplete
                                                                                                                                                                                                                                 0.86                 94.47             $189,837                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential     3/1/2006      2/??/2007          No           8/2010       report by materials analytical services, inc.                  //                                            No                          //                                                                            //                                                               self           14,000.00                                      200,000.00
                                                                                                       [XVII]                                                                     Footage                                                                                                                                                                                                                                                                                                                                                    Suite 303                                                                                                                                                                                                                                                    Inspection                                                                                                                                                                                                                                                                                                                                                                   remediated     because ran out
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Chalmette, LA 70043                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          of money
  242   Ex 10/79     Johnson, Yolanda            4667 Cerise Avenue     New Orleans    LA      70127   [XIII], [XV],           7/5/2011   Yes      Yes          1439      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET            20                 I           JOHNSON YOLANDA         Owner as of 6/9/15    City or County Tax             8/23/2002          Current Owner      Barrios, Kingsdorf & Casteix         Dawn M. Barrios, Esq.            (504) 523-3300   DBarrios@bkc-law.com                                                                                                                                                                                                                  3.23.18                                                                                                                                                                                                                                                                                                                                                                                  Small
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                         Inspection performed in October 2011                                                                                                                                                                                                           Completely     April 2015-May
                                                                                                       [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $135,942                                       OR EXCEEDS" matches DIG                                                                                     Records                                                                                                   701 Poydras Street, Suite 3650                                                                                                                                                                                                                 N/A                            No                              Residential     8/23/2002      6/1/2007          No          10/2011                                                                      //                                            No                          //                                                                            //                                                           Construction       70,385.00        5/2015                        200,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                  confirmed the presence of Chinese drywall.                                                                                                                                                                                                       remediated           2015
                                                                                                                                                                                  Footage                                                                                                                              #3                                                                                                                                                                                                                    New Orleans, LA 70163                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Group, Inc.
  243   Ex 10/79     Jones, Allie S. and Jeannie 212 16th Street        New Orleans    LA      70124   [III], [VII],          10/7/2009   Yes      Yes          1172      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA," and           14, 15, 18         H, I        JONES ALLIE S           Owner as of 6/9/15    City or County Tax             6/23/2006          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                                3.22.18                                                                                                                                                                                                                                                                                                                                                                               Self; Driskill
                     L.                                                                                [XV], [XVI],                                                        Document with Square                                                                                                                        Taihe blue-aqua paper end tape                                                                              Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Environmental;                                                   Unknown - Two
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                        Completely      10/10/2010 -       Hired various                                                   and 1/2 years of
                                                                                                       [XVII]                                                                     Footage                                        0.86                 94.47             $110,719                                       matches DIG #3                                                                                                                                                                                                        New Orleans, LA 70113                                                                                                                                                                                                                          N/A                            No                              Residential        //             //                                                                                                      //                                            No                          //                                                                            //                                                                              $40,000.00      12/2010        $2,262.34
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                                                                                                                                                                                                                                                                   remediated       12/17/2010        individuals to                                                   no ac, heat or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        perform various                                                      hot water
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           remediation
  244   Ex 10/79     Jones, Daphne               2531 Delery Street     New Orleans    LA      70117   [II], [VII], [XV],     3/15/2010   Yes      Yes          1234      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Crescent City Gypsum        27                   D           JONES DAPHNE W          Owner as of 6/9/15    City or County Tax             8/2/1999           Current Owner      Bruno & Bruno, LLP                   Joseph Bruno, Esq.               (504) 525-1355   jbruno@brunobrunolaw.com                                                                                                                                                                                                              3.20.18                                                                                         Property was inspected in August 2009 and it                                                                                                                                                                                                                                        Wei Z Li, Juan
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                        Completely      2010 through
                                                                                                       [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $116,576                                       Incorporated Manufactured in                                                                                Records                                                                                                   855 Baronne Street                                                                                                                                                                                                                             N/A                            No                              Residential     6/3/1999       2//2007           No           8/2009       was confirmed that the property contained                      //                                            No                          //                                                                            //                                                         Vasquez, Arturo      27,525.75        3/2012        10,175.00       126,850.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                                                                                                                                                                                                                                                                   remediated         2012
                                                                                                                                                                                  Footage                                                                                                                              P.R.C."                                                                                                                                                                                                               New Orleans, 70113                                                                                                                                                                                                                                                                                                                                                                                    Chinese drywall.                                                                                                                                                                                                                                                         Castellon
  245   Ex 10/79     Jones, Joyce                4123 Walmsley          New Orleans    LA      70125   [II(C)], [XV],         1/24/2011   Yes      Yes          4057      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Crescent City Gypsum        27                   D           HAKIM JOYE J J          Owner as of 6/9/15    City or County Tax            11/15/1985          Current Owner      Barrios, Kingsdorf & Casteix         Dawn M. Barrios, Esq.            (504) 523-3300   DBarrios@bkc-law.com                                                                                                                                                                                                                  2.15.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                         Inspection performed in October 2010
                                                 Avenue                                                [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $383,239                                       Incorporated Manufactured in                                                                                Records                                                                                                   701 Poydras Street, Suite 3650                                                                                                                                                                                                                 N/A                            No                              Residential    11/15/1985      6/1/2008          No          10/2010                                                                      //                                            No                          //                                                                            //                            No                                                                                               250,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                  confirmed the presence of Chinese drywall
                                                                                                                                                                                  Footage                                                                                                                              P.R.C."                                                                                                                                                                                                               New Orleans, LA 70164
  246   Ex 10/79     Jones, William and Margie 5403 West End Blvd. New Orleans         LA      70124   [IX], [XV],             5/5/2011   Yes      Yes          1056      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET          19                   I           JONES WILLIAM J JR      Owner as of 6/9/15    City or County Tax            11/18/2010          Current Owner      Hurricane Legal Center, LLC          Jacob Young, Esq.                (504) 522-4322   jacob@jacobyounglaw.com
                                                                                                       [XVI], [XVII]                                                       Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                         BRAUD JONES                                   Records                                                                                                   Young Law Firm                                                                                                                                                                                                                                                  No
                                                                                                                                                                                                                                 0.86                 94.47              $99,760                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No
                                                                                                                                                                                  Footage                                                                                                                              04 STANDARD" matches DIG                                      KRISTINA M                                                                                                                                              1010 Common St., Suite 3040                                                                                                                                                                                                                                  Inspection
                                                                                                                                                                                                                                                                                                                       #3                                                                                                                                                                                                                    New Orleans, LA 70112
  247   Ex 10/79     Jurisich, Malcolm and       6900 Louisville Street New Orleans    LA      70124   [XV], [XVI],            7/5/2011   Yes      Yes          3440      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "IN CHINA" matches DIG #3 13                      I           JURISICH MALCOLM A Owner as of 6/9/15         City or County Tax             1/26/2007          Current Owner      Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                              3.14.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                       Interior hardware corroded, heard on news
                     Betty                                                                             [XVII]                                                              Document with Square                                  0.86                 94.47             $324,977                                                                                                     SR                                            Records                                                                                                   425 W. Airline Hwy, Suite B                                                                                                                                                                                                                    N/A                            No                              Residential     1/26/2007      6//2007           No           8/2012                                                         No           //                                            No                          //                                                                            //                            No                                                                                                75,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                about Chinese Drywall and had home inspected.
                                                                                                                                                                                  Footage                                                                                                                                                                                            JURISICH BETTY S                                                                                                                                        LaPlace, LA 70064
  248   Ex 10/79     Kaufman, Kristy and         4125 Najolia Street    Meraux         LA      70075   [XV], [XVI],            7/5/2011   Yes      Yes          1141      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET          17                   I           SAVOIE-KAUFMAN,    Owner as of 6/9/15         City or County Tax             9/23/2011          Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                                3.23.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         other damages:
                     Elphage                                                                           [XVII]                                                              Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                         KRISTY                                        Records                                                                                                   8301 W. Judge Perez Drive,                                                                                                                                                                                                                                      No                                                                                                                                                                                                                                                                                                                                                                        Completely                           self and                                                                                                                         ALE: 9 months x $200 = $1800.00
                                                                                                                                                                                                                                 0.86                 94.47             $107,790                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential     9/22/2011      ??/??/??          No           7/2012        Louisiana Citizens - Homeowners; Insurer                      //                                            No                          //                                                                            //                                       7/2012 - 4/2013                        40,000.00        4/2013         1800.00         38,000.00
                                                                                                                                                                                  Footage                                                                                                                              04 STANDARD" matches DIG                                                                                                                                                                                              Suite 303                                                                                                                                                                                                                                                    Inspection                                                                                                                                                                                                                                                                                                                                                                   remediated                          contractor
                                                                                                                                                                                                                                                                                                                       #3                                                                                                                                                                                                                    Chalmette, LA 70043                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       loss of use: 19 months x $2000 - $38,000.00
  249   Ex 10/79     Kelley, John Donald and     50 Crane Street        New Orleans    LA      70127   [XIII], [XV],           7/5/2011   Yes      Yes          1542      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Crescent City Gypsum        27                   D           KELLEY JOHN D           Owner as of 6/9/15    Tax Records + Title/Deed       8/15/1975          Current Owner      Barrios, Kingsdorf & Casteix         Dawn M. Barrios, Esq.            (504) 523-3300   DBarrios@bkc-law.com                                                                                                                                                                                                                  3.13.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                      Inspection performed in April 2011 confirmed
                     Patricia                                                                          [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $145,673                                       Incorporated Manufactured in                                                                                                                                                                                          701 Poydras Street, Suite 3650                                                                                                                                                                                                                 N/A                            No                              Residential     8/15/1975      3/1/2008          No           4/2011                                                                      //                                            No                          //                                                                            //                            No                                                                                               250,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                       the presence of Chinese drywall
                                                                                                                                                                                  Footage                                                                                                                              P.R.C."                                                                                                                                                                                                               New Orleans, LA 70165
  250   Ex 10/79     Kelly, Bruce and June       2009 Emilie Oaks       Meraux         LA      70075   [III(A)], [IX],        9/16/2010   Yes      Yes          3078      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEETS 18                           I           KELLY, BRUCE J.         Owner as of 6/9/15    City or County Tax             9/28/2006          Current Owner      Barrios, Kingsdorf & Casteix         Dawn M. Barrios, Esq.            (504) 523-3300   DBarrios@bkc-law.com                                                                                                                                                                                                                  3.13.18
                                                 Drive                                                 [XV], [XVI],                                                        Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                                                                       Records                                                                                                   701 Poydras Street, Suite 3650                                                                                                                                                                                                                                  No                                                                                                                     Inspection performed in March 2010 confirmed
                                                                                                                                                                                                                                 0.86                 94.47             $290,779                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential     9/25/2006     6/15/2006          No           3/2010                                                                  8/30/2017        Yes              Yes             No                          //                                                                            //                            No                                                                                               250,000.00
                                                                                                       [XVII]                                                                     Footage                                                                                                                              04 STANDARD" matches DIG                                                                                                                                                                                              New Orleans, LA 70166                                                                                                                                                                                                                                        Inspection                                                                                                                       the presence of Chinese drywall.
                                                                                                                                                                                                                                                                                                                       #3
  251   Ex 10/79     Koffler, Paul               3208 Riverland Drive Chalmette        LA      70043   [II(A)], [IX],         9/16/2010   Yes      Yes          1899      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China"              27                   D           DASILVA, JOSE R. &      Owner as of 6/9/15,   City or County Tax            10/11/2011            11/17/2015       Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                                3.23.18
                                                                                                       [XV], [XVI],                                                        Document with Square                                                                                                                                                                                      DASILVA, MARIA          No Longer Owns        Records                                                                                                   8301 W. Judge Perez Drive,                                                                                                                                                                                                                                      No                                                                                                                                                                                                                                                                                                                                                                        Completely     unknown/cannot self and/or Jose
                                                                                                                                                                                                                                 0.86                 94.47             $179,399                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential     6/28/1996     6/??/2006          No           6/2010            law offices of sidney d. torres, iii                      //                                            No                          //                                                                            //                                                                               unknown                                       200,000.00
                                                                                                       [XVII]                                                                     Footage                                                                                                                                                                                            CABRERA                 Property                                                                                                                        Suite 303                                                                                                                                                                                                                                                    Inspection                                                                                                                                                                                                                                                                                                                                                                   remediated          recall         Dasilva
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Chalmette, LA 70043
  252   Ex 10/79     Labrosse, Jr., Bradley R.   4401 Tracy Street      Meraux         LA      70075   [II(B)], [IX],         12/6/2010   Yes      Yes          3855      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Gypsum Incorporated           27                 D           LABROSSE, TRICIA        Owner as of 6/9/15    City or County Tax             4/17/2001          Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                                3.23.18
                     and Tricia M.                                                                     [XV], [XVI],                                                        Document with Square                                                                                                                        Manufactured in P.R.C."                                       GUNTER                                        Records                                                                                                   8301 W. Judge Perez Drive,                                                                                                                                                                                                                                      No                                                                                                                                                                                                                                                                                                                                                                        Completely        11/2010 -
                                                                                                                                                                                                                                 0.86                 94.47             $364,182                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential     4/12/2001     11/??/2007         No           9/2010        report by maerials analytical services, inc.                  //                                            No                          //                                                                            //                                                               self           90,000.00        3/2018                        200,000.00
                                                                                                       [XVII]                                                                     Footage                                                                                                                                                                                                                                                                                                                                                    Suite 303                                                                                                                                                                                                                                                    Inspection                                                                                                                                                                                                                                                                                                                                                                   remediated         3/2018
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Chalmette, LA 70043
  253   Ex 10/79     Lamarque, Carroll Jr.       708 Magistrate Street Chalmette       LA      70043   [III], [XV],           10/7/2009   Yes      Yes          1600      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET"           17                 I           LAMARQUE, CARROLL Owner as of 6/9/15          City or County Tax             11/6/2002          Current Owner      Pro Se                               Carroll Lamarque                 (504) 914-2935   jrlamarkcj@hotmail.com
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No
                                                                                                       [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $151,152                                       matches DIG #3                                                J., JR.                                       Records                                                                                                   708 Magistrate Street                                                                                                                                                                                                                          N/A                            No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection
                                                                                                                                                                                  Footage                                                                                                                                                                                                                                                                                                                                                    Chalmette, LA 70043
  254   Ex 10/79     Landry, Jerome and Brandi200 W. Urquhart Street Chalmette         LA      70043   [IX], [XV],             5/5/2011   Yes      Yes          2245      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET      17                       I           LANDRY, JEROME A. & Owner as of 6/9/15        City or County Tax             2/9/2007           Current Owner      The Lambert Firm Greg DiLeo Law Hugh Lambert, Esq.                    (504) 529-2931   hlambert@thelambertfirm.com                                                                                                                                                                                                           4.5.18
                                                                                                       [XVI], [XVII]                                                       Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                         LIBERTA, BRANDI                               Records                                                              Offices Kanner & Whiteley, LLC       701 Magazine St,                                                                                                                                                                                                                                                No
                                                                                                                                                                                                                                 0.86                 94.47             $212,085                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                                                 //             //                                                                                                      //                                            No                          //                                                                            //
                                                                                                                                                                                  Footage                                                                                                                              04 STANDARD" matches DIG                                      CHRISTINE                                                                                                          Milstein, Adelman & Kreger, LLP New Orleans LA 70130                                                                                                                                                                                                                                              Inspection
                                                                                                                                                                                                                                                                                                                       #3
  255   Ex 10/79     Landry, Merritt A.          738 Angela Street      Arabi          LA      70032   [XIII], [XV],           7/5/2011   Yes      Yes          1100      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS 18                          I           RISEY, DEBRA            Owner as of 6/9/15,   Tax Records + Title/Deed       8/10/2012            11/20/2015       Herman, Herman & Katz              Russ Herman, Esq.                  (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No
                                                                                                       [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $103,917                                       OR EXCEEDS ASTM"                                                                      No Longer Owns                                                                                                                820 O'Keefe Avenue                                                                                                                                                                                                                               N/A                            No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection
                                                                                                                                                                                  Footage                                                                                                                              matches DIG #3                                                                        Property                                                                                                                      New Orleans, LA 70113
  256   Ex 10/79     Landry, Ron                 6038 Louis XIV Street New Orleans     LA      70124   [IX], [XV],             5/5/2011   Yes      Yes          2635      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEE"      13                       I           LANDRY RONALD J         Owner as of 6/9/15    City or County Tax            10/31/1997          Current Owner      Barrios, Kingsdorf & Casteix       Dawn M. Barrios, Esq.              (504) 523-3300   DBarrios@bkc-law.com                                                                                                                                                                                                                  2.19.18                                                                                                                                                                                                                                                                                                                                                                                Dantin
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                      Inspection performed in May 2011 confirmed                                                                                                                                                                                                        Completely      August 2015-
                                                                                                       [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $248,928                                       matches DIG #3                                                LANDRY SHELLEY S                              Records                                                                                                 701 Poydras Street, Suite 3650                                                                                                                                                                                                                   N/A                            No                              Residential    10/31/1997     10/26/2006         No           5/2011                                                                      //                                            No                          //                                                                            //                                                          Construction,       193,690.27       2/2016                        250,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                       the presence of Chinese drywall.                                                                                                                                                                                                            remediated     February 2016
                                                                                                                                                                                  Footage                                                                                                                                                                                                                                                                                                                                                  New Orleans, LA 70166                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             LLC
  257   Ex 10/79     LaPierre, Dawn Ross and 728 Whitney Avenue         New Orleans    LA      70114   [IX], [XV],             5/5/2011   Yes      Yes          1813      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "OR EXCEEDS ASTM C1396" 17                        I           LAPIERRE RONALD V       Owner as of 6/9/15    City or County Tax             3/28/2001          Current Owner      Thornhill Law Firm, Fayard &       Tom Thornhill, Esq.                800-989-2707     tom@thornhilllawfirm.com                                                                                                                                                                                                              3.19.18                                                                                        Property was renovated after Hurricane Katrina                                                                                                                                                                                                                                                                                                                                         Loss of enjoyment is being estimated at $100,000.00. Also, diminution of value is at least equal to the
                     Ronald V.                                                                         [XVI], [XVII]                                                       Document with Square                                                                                                                        matches DIG #3                                                                                              Records                                                              Honeycutt APLC and N. Frank Elliot Thornhill Law Firm                                                                                                                                                                                                                                                No                                                                                                                       by Claimants. Claimants discovered Chinese                                                                                                                                                                                                                                                                                                                                             cost of remediation assigned by the Court or established at a future time. Lastly, alternative living
                                                                                                                                                                                                                                 0.86                 94.47             $171,274                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential     3/8/2001      12/1/2006          No           4/2011                                                                      //                                            No                          //                                                                            //                            No                                                                               Premature       100,000.00       Premature
                                                                                                                                                                                  Footage                                                                                                                                                                                                                                                                                                               III, LLC                           1308 9th St                                                                                                                                                                                                                                                    Inspection                                                                                                                 drywall after investigations performed in April                                                                                                                                                                                                                                                                                                                                          expenses will be incurred when remediation is performed. All rights are reserved to amend this
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Slidell, LA 70458                                                                                                                                                                                                                                                                                                                                                                                              2011.                                                                                                                                                                                                                                                                                                                                                                                                    section of the SPPF.
  258   Ex 10/79     LaPierre, Dawn Ross and 730 Whitney Avenue         New Orleans    LA      70114   [IX], [XV],             5/5/2011   Yes      Yes           661      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET      17                       I           LAPIERRE RONALD V       Owner as of 6/9/15    City or County Tax             3/28/2001          Current Owner      Thornhill Law Firm, Fayard &       Tom Thornhill, Esq.                800-989-2707     tom@thornhilllawfirm.com                                                                                                                                                                                                              3.19.18                                                                                        Property was renovated after Hurricane Katrina                                                                                                                                                                                                                                                                                                                                         Declarations from Mrs. and Mr. LaPierre have been submitted in support of the loss of use due to the
                     Ronald V.                                                                         [XVI], [XVII]                                                       Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                                                                       Records                                                              Honeycutt APLC and N. Frank Elliot Thornhill Law Firm                                                                                                                                                                                                                                                No                                                                                                                       by Claimants. Claimants discovered Chinese                                                                                                                                                                                                                                                                                                                                             inability to rent 730 Whitney because of the Chinese drywall. Also, diminution of value is at least
                                                                                                                                                                                                                                 0.86                 94.47              $62,445                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential     3/8/2001      12/1/2006          No           4/2011                                                                      //                                            No                          //                                                                            //                            No                                                                                                30,550.00       Premature
                                                                                                                                                                                  Footage                                                                                                                              04 STANDARD" matches DIG                                                                                                                                                         III, LLC                           1308 9th St                                                                                                                                                                                                                                                    Inspection                                                                                                                 drywall after investigations performed in April                                                                                                                                                                                                                                                                                                                                       equal to the cost of remediation to be assigned by the Court or established at a future date. All rights
                                                                                                                                                                                                                                                                                                                       #3                                                                                                                                                                                                                  Slidell, LA 70458                                                                                                                                                                                                                                                                                                                                                                                              2011.                                                                                                                                                                                                                                                                                                                                                                                       are reserved to amend this section of the SPPF.
  259   Ex 10/79     Lavergne, Sheral Ann        701 Sally Mae Street   Lake Charles   LA      70601   [IX], [XV],             5/5/2011   Yes      Yes          2296              Other                     Yes                                                                         ProWall         Photo                                                            G           LAVERGNE, SHERAL        Owner as of 6/9/15    City or County Tax             1/1/1980           Current Owner      Reich & Binstock                   Dennis Reich, Esq.                 (713) 352-7883   DReich@reichandbinstock.com                                                                                                                                                                                                           4.4.18                                                                                                                                                                                                                                                                                                                                                             02/01/2006         Self, Albert
                                                                                                       [XVI], [XVII]                                                                                                                                                                                                                                                                 MAGEE                                         Records                                                                                                 4265 San Felipe, Suite 1000                                                                                                                                                                                                                                       No                                                                                                                      From television news and during an inspection                                                                                                                                                                                                       Partially                                       26,000.00, will
                                                                                                                                                                                                                                 0.87                 95.57             $219,429                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential     9/1/2007      ??/??/2006         No          ??/2007                                                         No           //            No              No              No                          //                                                                            //                                           through          Miller, and                        9/2007      Will supplement Will supplement       N/A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                     of the property in November of 2009.                                                                                                                                                                                                          remediated                                         supplement
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Houston, TX 77027                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            09/01/2007      Nicolas Pedraza.
  260   Ex 10/79     Lawrence, Annette           7579 Berg Street       New Orleans    LA      70128   [IX], [XV],             5/5/2011   Yes      Yes          1554      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEETS           18                 I           SPENCER ANNETTE         Owner as of 6/9/15    City or County Tax             6/30/1993          Current Owner      Hurricane Legal Center, LLC          Jacob Young, Esq.              (504) 522-4322     jacob@jacobyounglaw.com                                                                                                                                                                                                               5.3.18                                                                                                                                                                                                                                                                                                                                                                              Iron Triangle
                                                                                                       [XVI], [XVII]                                                       Document with Square                                                                                                                        OR" matches DIG #3                                            SPENCER JOYCE A                               Records                                                                                                   Young Law Firm                                                                                                                                                                                                                                                  No                                                                                                                                                                                                                                                                                                                                                                        Completely       April 2015-      Development                                       13,365 (Road
                                                                                                                                                                                                                                 0.86                 94.47             $146,806                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential      //1993         //2010           No            2010                     Electrical problems                  No           //                                            No                          //                                                                            //                                                                              60,000.00        1/2016                          10,000
                                                                                                                                                                                  Footage                                                                                                                                                                                                                                                                                                                                                    1010 Common St., Suite 3040                                                                                                                                                                                                                                  Inspection                                                                                                                                                                                                                                                                                                                                                                   remediated      January 2016      (Road Home                                         Home Progr
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             New Orleans, LA 70112                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Program)
  261   RP           Lazard, Lloyd               3320 Delachaise Street New Orleans    LA      70125   [II(C)], [XV],         1/24/2011   Yes      Yes          1734      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "In China Crescent"            27                 D           LAZARD LLOYD E          Owner as of 6/9/15    City or County Tax             1/23/1998          Current Owner      Barrios, Kingsdorf & Casteix         Dawn M. Barrios, Esq.          (504) 523-3300     DBarrios@bkc-law.com                                                                                                                                                                                                                  3.22.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Section VI. Prior Payments (Continued)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     $150 - Stipend Payment - CDW Settlement Program
                                                 New Orleans, LA                                       [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                                                                    Records                                                                                                   701 Poydras Street, Suite 3650
                                                 70125                                                                                                                            Footage                                                                                                                                                                                                                                                                                                                                                    New Orleans, LA 70166
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Big Yellow
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                     Inspection performed in August 2010 confirmed                                                                                                                                                                                                      Completely      04/23/2013 -                                                                                                                                                        Note:
                                                                                                                                                                                                                                 0.86                 94.47             $163,811                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential        //         ??/??/2007         No           8/2010                                                                      //                                            No                          //                                                                            //                                                          Construction,       114,734.68       2/2014        11,843.21       100,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                       the presence of Chinese drywall.                                                                                                                                                                                                            remediated       02/28/2014                                                                                                          The Preservation Resource Center of New Orleans (PRC) never owned the property, but remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         LLC and Self
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             it and the home owner assigned the remediation claim and all claims to PRC with the exception of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            personal property and personal injury claims. The remediation work was performed by contractors
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           and PRC personnel. A claim has been filed with PRC's insurer but no payments made for this property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       at this time
  262   Ex 10/79     Lazard, Norma               14401 Morrison Road New Orleans       LA      70128   [IX], [XV],             5/5/2011   Yes      Yes          1210      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "City Gypsum Incorporated      27                 D           FRANKLIN NORMA          Current Owner,        City or County Tax                                Current Owner      Hurricane Legal Center, LLC          Jacob Young, Esq.                (504) 522-4322   jacob@jacobyounglaw.com
                                                                                                       [XVI], [XVII]                                                       Document with Square                                                                                                                        Manufactured in P.R.C."                                                               Unknown Purchase      Records                                                                                                   Young Law Firm                                                                                                                                                                                                                                                  No
                                                                                                                                                                                                                                 0.86                 94.47             $114,309                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No
                                                                                                                                                                                  Footage                                                                                                                                                                                                                    Date                                                                                                                            1010 Common St., Suite 3040                                                                                                                                                                                                                                  Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             New Orleans, LA 70112
  263   Ex 10/79     LeBlanc, Steven and Dana 572 Huseman Lane          Covington      LA      70435   [III], [XV],           10/7/2009   Yes      Yes          3129      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA, ME"            15                 I           STEVEN LEBLANC, SR. Owner as of 6/9/15        City or County Tax               2007             Current Owner      Paul A. Lea, Jr., APLC               Paul A. Lea, Jr., Esq.           (985) 292-2300   jean@paullea.com                                                                                                                                                                                                                      3.9.18                                                                                         Corrosion Problems, A/C coils failed, Blackening                                                                                                                                                                                                                                                                                                                                         I have had to live in this property containing Chinese Drywall and have suffered the side effects of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No
                                                                                                       [XVI], [XVII]                                                       Document with Square                                  0.79                 86.78             $271,535                                       matches DIG #3                                                ET UX                                         Records                                                                                                   724 East Boston Street                                                                                                                                                                                                                         N/A                            No                              Residential     12/6/2006     11/1/2006          No           4/2007        of copper surfaces and Failure of various                     //                                            No                          //                                                                            //                            No                                                                                               300,000.00       200,000.00    same. I have no money to fix, the value of my property has substantially decreased and I cannot sell
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection
                                                                                                                                                                                  Footage                                                                                                                                                                                                                                                                                                                                                    Covington, LA 70433                                                                                                                                                                                                                                                                                                                                                                                 electrical appliances                                                                                                                                                                                                                                                                                                                                                                                         because of the Chinese Drywall.
  264   Ex 10/79     Lee, Dorothy                7514 Dwyer Road        New Orleans    LA      70126   [II], [XV],            3/15/2010   Yes      Yes          1669      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27, 29               D           LEE DOROTHY P           Owner as of 6/9/15    City or County Tax             2/8/2007           Current Owner      Barrios, Kingsdorf & Casteix         Dawn M. Barrios, Esq.            (504) 523-3300   DBarrios@bkc-law.com                                                                                                                                                                                                                  2.23.18                                                                                                                                                                                                                                                                                                                                                                         Magic Makeover
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                         Inspection performed in October 2009                                                                                                                                                                                                           Completely     November 2015-
                                                                                                       [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $157,670                                       Gypsum"                                                                                                     Records                                                                                                   701 Poydras Street, Suite 3650                                                                                                                                                                                                                 N/A                            No                              Residential     3/3/1978      12/1/2007          No          10/2009                                                                      //                                            No                          //                                                                            //                                                      Construction &          65,006.00                                      200,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                  confirmed the presence of Chinese drywall.                                                                                                                                                                                                       remediated      February 2016
                                                                                                                                                                                  Footage                                                                                                                                                                                                                                                                                                                                                    New Orleans, LA 70166                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Demolition, LLC
  265   Ex 10/79     Lee, Sibyl A.               6305 4th Street        Violet         LA      70092   [II(B)], [IX],         12/6/2010   Yes      Yes          1050      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Manufactured in P.R.C."       27                 D           LEE, SIBYL 1/3          Owner as of 6/9/15    City or County Tax             2/27/1987          Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                                3.23.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          other damages:
                                                                                                       [XV], [XVI],                                                        Document with Square                                                                                                                                                                                                                                    Records                                                                                                   8301 W. Judge Perez Drive,                                                                                                                                                                                                                                      No                                                                                                                                                                                                                                                                                                                                                                        Completely        4/2015 -
                                                                                                                                                                                                                                 0.86                 94.47              $99,194                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential     2/27/1987     10/??/2007         No           7/2010       report by materials analytical services, inc.                  //                                            No                          //                                                                            //                                                            contractor        46,532.00       11/2015         8400.00        130.000.00                                                   ALE: 7 months x $1200.00 per month rent
                                                                                                       [XVII]                                                                     Footage                                                                                                                                                                                                                                                                                                                                                    Suite 303                                                                                                                                                                                                                                                    Inspection                                                                                                                                                                                                                                                                                                                                                                   remediated        11/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Chalmette, LA 70043
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      loss of use: 65 months x $2000.00 rental value
  266   Ex 10/79     Leftwich, Mary, Leftwich, 6708 General Diaz        New Orleans    LA      70124   [II], [XV],            3/15/2010   Yes      Yes          1975      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                   D           LEFTWICH MARY C         Owner as of 6/9/15    City or County Tax            11/12/1993          Current Owner      Barrios, Kingsdorf & Casteix         Dawn M. Barrios, Esq.          (504) 523-3300     DBarrios@bkc-law.com                                                                                                                                                                                                                  3.20.18
                     Brian, Leftwich, Owen,    Street                                                  [XVI], [XVII]                                                       Document with Square                                                                                                                        Gypsum Incorporated                                           LEFTWICH BRIAN T                              Records                                                                                                   701 Poydras Street, Suite 3650
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                        Completely       1/12/2014 -
                     Coleman, Kerry Coleman                                                                                                                                       Footage                                        0.86                 94.47             $186,578                                       Manufactured"                                                 LEFTWICH OWEN B                                                                                                                                         New Orleans, LA 70166                                                                                                                                                                                                                          N/A                            No                              Residential    12/10/2006     ??/??/2006         No          11/2011                            N/A                                   4/20/2017         No              No              No                          //                                                                            //                                                          Maritus Negrin      25,000.00        3/2014                         50,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inspection                                                                                                                                                                                                                                                                                                                                                                   remediated        3/00/2014
                     and LeBlanc , Erin                                                                                                                                                                                                                                                                                                                                              COLEMAN KERRY L
                                                                                                                                                                                                                                                                                                                                                                                     LE BLANC ERIC L
  267   Ex 10/79     Lemmon, Andrew A.           5931 Memphis Street New Orleans       LA      70124   [XIII], [XV],           7/5/2011   Yes      Yes          2139      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Crescent City Gypsum"         27                 D           LEMMON ANDREW A         Owner as of 6/9/15    City or County Tax             7/14/1999          Current Owner      Herman, Herman & Katz Lemmon Andrew Lemmon, Esq.          (504) 581-4892               rherman@hhklawfirm.com                                                                                                                                                                                                                3.22.18
                                                                                                       [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                                                                    Records                                                              Law Firm                     PO Box 904 (mailing address)                                                                                                                                                                                                                                            No                                                                                                                          Quigley Construction, LLC, contractor
                                                                                                                                                                                                                                 0.86                 94.47             $202,071                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                              Residential     7/8/1999       9/1/2006          No           9/2011
                                                                                                                                                                                  Footage                                                                                                                                                                                                                                                                                                                                            15058 River Road                                                                                                                                                                                                                                                     Inspection                                                                                                                         perf
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Hahnville, LA 70057
                                                                                                                                                                                                                                                                                                                                                                                                                                             Case 2:09-md-02047-EEF-MBN Document 21527-2 F ed 07/16/18 Page 5 of 9

Claimant Source    Claimant Name              Affected Property       City          State   Zip     Omni(s)              Date of Earliest PPF    Indicia    Verified    Type of Verficiation     Counsel's Declaration                                                               Product         Type of Indicia Description of Markings     Markings # from    Product       Current Owner as of   Ownership Status of   Proof of Ownership Per     Purchase Date Per   Sell Date if Applicable Counsel                            Counsel Address                  Counsel Phone    Counsel Email                                                           Global,                                                                Pre-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Amount Owed
Identifier                                    Address                                                                     Filed Taishan (Yes/No) (Yes/No)   Square      Provided Uploaded to       Verifying Square     2017 RS Means                                                Brand(s)                                                    Taishan Product ID Bucket(s)     May-August 2017 Per   Named Claimant Per         BrownGreer               BrownGreer       or Current Owner Per                                                                                                                                                               Banner, InEx                                                         Remediation                                                                                                                                               Aware property                                                                            Date Sold or                                                                                                                                                                                                             Who Performed
                                                                                                                                                                                                                                              2017 Cost Per SF    2017 Remediation                                                                                                                                                                                                                                                                                                                                                      Already                                                                                                                  VA        Holdback                              Remediation                                                                                  If no, when did                                                                           Assign any       Expressly                      Court                                                                           on        Date of                       Partially or                                                               Date          Alternative
                                                                                                                              Omni                          Footage           Sharefile                Footage         Residential Location                                                                                                      Catalog                              BrownGreer           BrownGreer                                                             BrownGreer                                                                                                                            Pilot Program               Knauf        Repair and                 Foreclosure Lost Rent,                   Alternative                                      Remediation                                                  Residential or Date Property   Date CDW      had CDW at                    If CDW Installed Before Purchase, Date you Assignment of   Transferred                                                                                                              Foreclosure or                              Short Sale Price                   Dates of           Work to     Total Cost for                                               Loss of Use  Diminution of
                                                                                                                                                                                                                                              [B = A x $109.85]      Damages                                                                                                                                                                                                                                                                                                                                                           Remediated                            Bodily Injury                             Miscellaneous             Tenant Loss Settlement    Payment                   KPT %       Complete by     SPPF Completed?                                                                you become                                                                              Rights with   Retain Rights to   Bankruptcy   Bankruptcy   Date of Filing   Docket No.   Present Status                  Loan/Mortgage Foreclosure or                   Completely                                                               Remediation       Living                                                                                  SPPF Comments/ Notes
                                                                                                                                                                                                                             Factor                                                                                                                                                                                                                                                                                                                                                                                       Payments                Remediation    Relocation                or Short Sale Use, or Sales                  Living                                          Option                                                     commercial?      Acquired       Installed      time of                            Learned it Contained CDW               Rights?       Property if                                                                                                              Short Sale?                                 (if applicable)                  Remediation        Remediate     Remediation                                                and Enjoyment    Value
                                                                                                                                                                                                                                                                      [SF x B]                                                                                                                                                                                                                                                                                                                                                        Home (ARH)                                                                                                             Gross Award   Amount                                  KPT?                                                                                           aware?                                                                                  Sale?       Pursue Claim?                    Filed In                                                                    at time of    Short Sale                    Remediated?                                                                Complete       Expenses
                                                                                                                                                                                                                              [A]                                                                                                                                                                                                                                                                                                                                                                                                                                Expenses                                                             Expenses                                                                                                                                                   purchase?                                                                                Applicable                                                                                                                                                                                                                Property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Foreclosure
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   (GBI)                                                              (PRALE)
  274   Ex 10/79   Lindsey, Linda and         2509 Repose Street      Violet        LA      70092   [IX], [XV],             5/5/2011   Yes      Yes           959      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET      17                     I           LINDSEY, ARMOND A., Owner as of 6/9/15        City or County Tax             3/31/2011          Current Owner      Barrios, Kingsdorf & Casteix         Dawn M. Barrios, Esq.          (504) 523-3300     DBarrios@bkc-law.com                                                                                                                                                                                                                 2.19.18
                   Armond                                                                           [XVI], [XVII]                                                       Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                       JR.                                           Records                                                                                                   701 Poydras Street, Suite 3650                                                                                                                                                                                                                                 No                                                                                                                        Inspection performed in October 2010                                                                                                                                                                                                           Completely      October 2010-
                                                                                                                                                                                                                              0.86                 94.47              $90,597                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential    11/18/1985      4/1/2007          No          10/2010                                                                      //                                            No                          //                                                                            //                                                          Self-Contractor        20,892.04        10/2011                             100,000.00
                                                                                                                                                                               Footage                                                                                                                              04 STANDARD" matches DIG                                                                                                                                                                                            New Orleans, LA 70166                                                                                                                                                                                                                                       Inspection                                                                                                                 confirmed the presence of Chinese drywall.                                                                                                                                                                                                       remediated      October 2011
                                                                                                                                                                                                                                                                                                                    #3
  275   Ex 10/79   Lindsey, Yolanda and Gary121 Cougar Drive          Arabi         LA      70032   [IX], [XV],             5/5/2011   Yes      Yes          1500      Property Tax Assessor's           Yes                                                                         Taihe           Inspection                              17                     I           LINDSEY, YOLANDA        Owner as of 6/9/15    City or County Tax             6/6/2013           Current Owner      Herman, Herman & Katz                Russ Herman, Esq.            (504) 581-4892       rherman@hhklawfirm.com                                                                                                                                                                                                               5.25.18                                                                                                                                                                                                                                                                                                                                                                                                   8,000 to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                    [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $141,705                        Report                                                                     ANDERSON 1/2 &                                Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Residential     6/25/2009      ??/??/??          No          11/2010                                                                      //                                            No                          //                                                                            //                                         March 2012             Self             $10,000           3/2012
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated
                                                                                                                                                                               Footage                                                                                                                                                                                          LINDSEY, GARY 1/2                                                                                                                                       New Orleans, LA 70113                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Approximately
  276   Ex 10/79   Livers, Alvin J.           930 Caffin Avenue       New Orleans   LA      70117   [II(A)], [VII],        9/16/2010   Yes      Yes          2036      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                 D           LIVERS ALVIN J JR       Owner as of 6/9/15    City or County Tax            12/13/1994          Current Owner      Berniard Law Firm, LLC               Jeffrey Berniard, Esq.       (504) 527-6225       Jeff@getjeff.com                                                                                                                                                                                                                     3.21.18                                                                                           Plaintiff noticed a foul smell, had health
                                                                                                    [XV], [XVI],                                                        Document with Square                                                                                                                        Gypsum Incorporated                                                                                       Records                                                                                                   300 Lafayette St, #101                                                                                                                                                                                                                                                                                                                                                                 problems and electrical problems after the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       No
                                                                                                                                                                                                                              0.86                 94.47             $192,341                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     8/12/2003      1/1/2006          No           5/2010       drywall was installed. Plaintiff first became                  //                                            No                          //                                                                            //                            No                                                                                                          200000
                                                                                                    [XVII]                                                                     Footage                                                                                                                              Manufactured in P.R.C."                                                                                                                                                                                             New Orleans, Louisiana 70130                                                                                                                                                                                                                                Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               aware that the property contained Chinese
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          drywall on May 1, 2010.
  277   Ex 10/79   Louis, Leonard and Wanda 2366 Odin Street          New Orleans   LA      70122   [II], [VII], [XV],     3/15/2010   Yes      Yes          1329      Property Tax Assessor's           Yes                                                                         Taihe/ Crescent Photo          "MADE IN CHINA MEETS 18, 27                     D, I        LOUIS LEONARD JR        Owner as of 6/9/15    Tax Records + Title/Deed       7/27/1988          Current Owner      Bruno & Bruno, LLP                   Joseph Bruno, Esq.               (504) 525-1355   jbruno@brunobrunolaw.com                                                                                                                                                                                                             3.21.18
                                                                                                    [XVI], [XVII]                                                       Document with Square                                                                                         City                           OR EXCEEDS ASTM C1396                                                                                                                                                                                               855 Baronne Street                                                                                                                                                                                                                                                                                                                                                                   Property was inspected in November 2009 and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       No
                                                                                                                                                                               Footage                                        0.86                 94.47             $125,551                                       04 STANDARD" matches DIG                                                                                                                                                                                            New Orleans, 70113                                                                                                                                                                                                                            N/A                            No                             Residential      //1971         //2007           No          11/2009      it was confirmed that the property contained                    //                                            No                          //                                                                            //                            No                                                                                                        250,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Inspection
                                                                                                                                                                                                                                                                                                                    #3 and "Crescent City Gypsum"                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Chinese drywall.
                                                                                                                                                                                                                                                                                                                    matches DIG #2
  278   Ex 10/79   Lubrano, Raymond and       3909 Jacob Drive        Chalmette     LA      70043   [II], [VII], [XV],     3/15/2010   Yes      Yes          2118      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City" 27                D           LUBRANO, RAYMOND        Owner as of 6/9/15    Title/Deed                     8/21/2007          Current Owner      Martzell & Bickford                  Scott Bickford, Esq.             (504) 581-9065   srb@mbfirm.com                                                                                                                                                                                                                       3.20.18                                                                                                                                                                                                                                                                                                                                                                             Self & severeal
                   Mary                                                                             [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                    C., JR.                                                                                                                                                 338 Lafayette Street                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      contractors,Jami
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Was informed about Chinese drywall from a
                                                                                                                                                                               Footage                                                                                                                                                                                                                                                                                                                                                  New Orleans, LA 70130                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      e Perez,Tommy
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       No                                                                                                                      local news report. Investigated own drywall                                                                                                                                                                                                      Completely        4/2009 -
                                                                                                                                                                                                                              0.86                 94.47             $200,087                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                                             5/27/2009     12/??/2006         No           3/2009                                                        No            //                                            No                          //                                                                            //                                                          Brownfield,Rena        36,034.49        12/2010          1,439.11            14,400.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Inspection                                                                                                                  and noticed it had markings similar to new                                                                                                                                                                                                      remediated        12/2010
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  to Bastato Tile &
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  report.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Hi-C
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Construction
  279   Ex 10/79   Ludwig, Donald J., Sr.,    2521 Lawrence Drive Meraux            LA      70075   [II], [IX], [XV],      3/15/2010   Yes      Yes          1471      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City" 27                D           LUDWIG, REGINA          Owner as of 6/9/15    City or County Tax            10/24/1995          Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.   504-271-8422        storres@torres-law.com                                                                                                                                                                                                               3.23.18
                                                                                                    [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                    MELAN & LUDWIG,                               Records                                                                                                   8301 W. Judge Perez Drive,                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                         Partially        6/2011 -
                                                                                                                                                                                                                              0.86                 94.47             $138,937                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     4/18/1975     2/??/2006          No           1/2010       report by materials analytical services, inc.                  //                                            No                          //                                                                            //                                                                self             10,000.00                                            200,000.00
                                                                                                                                                                               Footage                                                                                                                                                                                          DONALD J, SR.                                                                                                                                           Suite 303                                                                                                                                                                                                                                                   Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated       incomplete
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Chalmette, LA 70043
  280   Ex 10/79   Lund, Daniel and Elizabeth5829 Silvia Drive        New Orleans   LA      70124   [III], [VII],          10/7/2009   Yes      Yes          4212      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEETS         18                 I           LUND DANIEL III         Owner as of 6/9/15    City or County Tax             7/9/2008           Current Owner      Herman, Herman & Katz                Russ Herman, Esq.             (504) 581-4892      rherman@hhklawfirm.com                                                                                                                                                                                                               5.9.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       No
                   III                                                                              [XV], [XVI],                                                        Document with Square                                  0.86                 94.47             $397,908                                       OR" matches DIG #3                                          LUND ELIZABETH R                              Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Residential     7/8/2008        //2007           No                                                                                   12/1/2017         No              No              No                          //                                                                            //                            No                                                                                                          100000.         298250.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Inspection
                                                                                                    [XVII]                                                                     Footage                                                                                                                                                                                                                                                                                                                                                  New Orleans, LA 70113
  281   Ex 10/79   Maclies, Mary              4635 Rosalia Drive      New Orleans   LA      70127   [II(B)], [XV],         12/6/2010   Yes      Yes          1900      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEETS         15, 17, 18         I           MACLIES SAMUEL          Owner as of 6/9/15    City or County Tax             4/30/1998          Current Owner      Allison Grant, P.A. Baron & Budd, Russell Budd, Esq.               (214) 521-3605      rbudd@baronbudd.com                                                                                                                                                                                                                  3.21.18
                                                                                                    [XVI], [XVII]                                                       Document with Square                                                                                                                        OR" matches DIG #3                                          MACLIES MARY D                                Records                                                              P.C. Alters Boldt Brown Rash &       Baron & Budd                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Driskell
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       No                                                                                                                        An inspection performed in July of 2010                                                                                                                                                                                                          Partially         July -
                                                                                                                                                                               Footage                                        0.86                 94.47             $179,493                                                                                                                                                                                                                      Culmo                                3102 Oak Lawn Ave., Ste. 1100                                                                                                                                                                                                                 N/A                            No                             Residential     4/30/1998     ??/??/2006         No           7/2010                                                                      //                                            No                          //                                                                            //                                                       Environmental             45,629.67                                            200,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Inspection                                                                                                                  revealed the presence of Chinese drywall.                                                                                                                                                                                                       remediated     September 2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Consultant, LLC


  282   Ex 10/79   Macomber, Shawn            221 West Camellia       Slidell       LA      70458   [III], [VII],          10/7/2009   Yes      Yes          1993      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET      20                     I           MACOMBER, SHAWN A Owner as of 6/9/15          Tax Records + Title/Deed       1/16/2007          Current Owner      Martzell & Bickford                  Scott Bickford, Esq.             (504) 581-9065   srb@mbfirm.com                                                                                                                                                                                                                       3.21.18                                                                                                                                                                                                                                                                                                                                                                             Self, Accurate
                                              Drive                                                 [XV], [XVI],                                                        Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                                                                                                                                                                               338 Lafayette Street                                                                                                                                                                                                                                                                                                                                                                      House was purchased and completely                                                                                                                                                                                                                                              Electric, Inc., LA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                    [XVII]                                                                     Footage                                        0.79                 86.78             $172,953                                       04 STANDARD" matches DIG                                                                                                                                                                                            New Orleans, LA 70130                                                                                                                                                                                                                         N/A                            No                             Residential     1/26/2007     5/25/2008          No          12/2008       renovated after Hurricane Katrina. Repairs                     //                                            No                          //                                                                            //                                          2/1/2012        Drywall, Danny's      281,889.82         9/2009           55,210             56,550.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated
                                                                                                                                                                                                                                                                                                                    #3                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             were made with Chinese drywall.                                                                                                                                                                                                                                                 AC, Affordable
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Plumbing.
  283   Ex 10/79   Magee, Eola                1009 South              New Orleans   LA      70125   [IX], [XV],             5/5/2011   Yes      Yes          1878      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Crescent City Gypsum        27                 D           MAGEE EOLA W            Owner as of 6/9/15    City or County Tax             1/12/1989          Current Owner      Hurricane Legal Center, LLC          Jacob Young, Esq.                (504) 522-4322   jacob@jacobyounglaw.com                                                                                                                                                                                                              5.3.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Castle
                                              Telemachus                                            [XVI], [XVII]                                                       Document with Square                                                                                                                        Incorporated Manufactured in                                                                              Records                                                                                                   Young Law Firm                                                                                                                                                                                                                                                 No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                              0.86                 94.47             $177,415                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                                              //1989         //2006           No            2011                                                         No            //                                            No                          //                                                                            //                                            2014            Construction         77,078.00          2014
                                                                                                                                                                               Footage                                                                                                                              P.R.C."                                                                                                                                                                                                             1010 Common St., Suite 3040                                                                                                                                                                                                                                 Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  and Remodeling
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70112
  284   Ex 10/79   Maggiore, Peter and        3852 Alexander Lane Marrero           LA      70072   [III], [VII],          10/7/2009   Yes      Yes          1608      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS 21                        I           MAGGIORE,PETER E &      Owner as of 6/9/15    Tax Records + Title/Deed      10/25/2006          Current Owner      Martzell & Bickford                  Scott Bickford, Esq.             (504) 581-9065   srb@mbfirm.com                                                                                                                                                                                                                       3.14.18
                   Frankie                                                                          [XV], [XVI],                                                        Document with Square                                                                                                                        OR EXCEEDS ASTM C1396-                                      FRANKIE                                                                                                                                                 338 Lafayette Street                                                                                                                                                                                                                                           No
                                                                                                                                                                                                                              0.86                 94.47             $151,908                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential    10/26/2006     7/??/2006          No           4/2009                                                                      //                                            No                          //                                                                            //                            No                                                   9,013.18                                              94,500.00
                                                                                                    [XVII]                                                                     Footage                                                                                                                              04 STANDARD" matches DIG                                                                                                                                                                                            New Orleans, LA 70130                                                                                                                                                                                                                                       Inspection
                                                                                                                                                                                                                                                                                                                    #3
  285   Ex 10/79   Mai, Kim Lien and          4921 Friar Tuck Drive New Orleans     LA      70128   [III], [VII],          10/7/2009   Yes      Yes          1930      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET      17                     I           NGUYEN DAVID            Owner as of 6/9/15    City or County Tax             2/12/2007          Current Owner      Becnel Law Firm/ Morris Bart LLC Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.19.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Relatives started having same problem as us
                   Nguyen, David                                                                    [XV], [XVI],                                                        Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                       MAI KIMLIEN                                   Records                                                                                                   Becnel Law Firm, LLC                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                       Completely      January 2013 -
                                                                                                                                                                                                                              0.86                 94.47             $182,327                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     2/12/2007     5/??/2007          No           4/2009      with the AC units in the house so we had the                    //                                            No                          //                                                                            //                                                       Self Remediated           32,457.48         9/2013                              60,000.00
                                                                                                    [XVII]                                                                     Footage                                                                                                                              04 STANDARD" matches DIG                                                                                                                                                                                            425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                 Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated     September 2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              home inspected and found Chinese Drywall.
                                                                                                                                                                                                                                                                                                                    #3                                                                                                                                                                                                                  LaPlace, LA 70064
  286   Ex 10/79   Mai, Long                  4900 Wright Road        New Orleans   LA      70128   [III], [VII],          10/7/2009   Yes      Yes          2104      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET      17                     I           MAI LONG H              Owner as of 6/9/15    City or County Tax             1/8/2007           Current Owner      Becnel Law Firm/ Morris Bart LLC Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.26.18                                                                                         Was constantly having AC issues with losing
                                                                                                    [XV], [XVI],                                                        Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                                                                     Records                                                                                                   Becnel Law Firm, LLC                                                                                                                                                                                                                                           No                                                                                                                    freon from Coils and saw report on news about                                                                                                                                                                                                                                                                                             yes unknown at
                                                                                                                                                                                                                              0.86                 94.47             $198,765                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     1/8/2007       2//2007           No           4/2009                                                                      //                                            No                          //                                                                            //                            No                                                                                                        $95,000.00
                                                                                                    [XVII]                                                                     Footage                                                                                                                              04 STANDARD" matches DIG                                                                                                                                                                                            425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                 Inspection                                                                                                                    effects of Chinese Drywall so had home                                                                                                                                                                                                                                                                                                  this time.
                                                                                                                                                                                                                                                                                                                    #3                                                                                                                                                                                                                  LaPlace, LA 70064                                                                                                                                                                                                                                                                                                                                                                       inspected and they found Chinese Drywall.
  287   Ex 10/79   Manuel, Barbara and        2016 Allo Umphrey       Violet        LA      70092   [II(B)], [III],        10/7/2009   Yes      Yes          2208      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET      20                     I           MANUEL, BARBARA         Owner as of 6/9/15    City or County Tax            12/27/2002          Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                               3.23.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                other damages:
                   Lucien                     Drive                                                 [IX], [XV],                                                         Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                       WASHINGTON                                    Records                                                                                                   8301 W. Judge Perez Drive,                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                contractor - last
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely     approx: 7/2017 -
                                                                                                                                                                                                                              0.86                 94.47             $208,618                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential    12/30/1994     10/??/2007         No           1/2009       report by materials analytical services, inc.                  //                                            No                          //                                                                            //                                                            name was           cannot recall       8/2011          9,800.00            88,000.00                                           ALE - 10 months rent @ $980.00 per month $9800.00
                                                                                                    [XVI], [XVII]                                                              Footage                                                                                                                              04 STANDARD" matches DIG                                                                                                                                                                                            Suite 303                                                                                                                                                                                                                                                   Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated         8/2011
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Smith
                                                                                                                                                                                                                                                                                                                    #3                                                                                                                                                                                                                  Chalmette, LA 70043
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Loss of use - 44 months @ $2000.0 per month = $88,000.00
  288   Ex 10/79   Maone, Susan and Pacual, 3344 Marietta Street      Chalmette     LA      70043   [XIII], [XV],           7/5/2011   Yes      Yes          1500      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "IN CHINA MEET OR"           20                 I           MAONE, SUSAN            Owner as of 6/9/15    City or County Tax             9/12/2012          Current Owner      Gainsburgh Benjamin                  Gerald Meunier, Esq.          (504) 522-2304      gmeunier@gainsben.com                                                                                                                                                                                                                4.16.18                                                                                                                                                                                                                                                                                                                                                          2015 / 2016 AC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              2010 - My AC stopped working - AC tech said                                                                                                                                                                                                                                                                                                                    did not live in
                   Rumio                                                                            [XVI], [XVII]                                                       Document with Square                                                                                                                        matches DIG #3                                              PERROT                                        Records                                                                                                   2800 Energy Centre                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                         Partially    stopped working      C. Anderson
                                                                                                                                                                                                                              0.86                 94.47             $141,705                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     2/15/1999       //2007                                      coils were corroded - may have Chinese                        //                                                                                                                                                                                                                                         $77,790           4/2016       Approx 7,000        home for over 6                            My fixtures are pitted. My AC Unit (window) have coils that are turning black.
                                                                                                                                                                               Footage                                                                                                                                                                                                                                                                                                                                                  1100 Poydras Street                                                                                                                                                                                                                                         Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated      - only replaced     Construction
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Drywall                                                                                                                                                                                                                                                                                                                                         months
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70163                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         coils
  289   Ex 10/79   Marrero, Charlene          11252 King Richard      New Orleans   LA      70128   [III], [IX], [XV],     10/7/2009   Yes      Yes          2484      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET           13                I           MARRERO CHARLENE Owner as of 6/9/15           City or County Tax            12/11/2008          Current Owner      Cuneo, Gilbert & LaDuca, LLC         William Anderson, Esq.        202-789-3960        wanderson@cuneolaw.com                                                                                                                                                                                                               3.27.18
                                              Drive                                                 [XVI], [XVII]                                                       Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                       G                                             Records                                                                                                   4725 Wisconsin Ave, NW, Suite                                                                                                                                                                                                                                  No                                                                                                                                                                                                                                                                                                                                                                         Partially
                                                                                                                                                                                                                              0.86                 94.47             $234,663                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential    12/11/2008         //             No           2/2009                                                                      //                                            No                          //                                                                            //                                           6/2009               Self              3,276                             1,500
                                                                                                                                                                               Footage                                                                                                                              04 STANDARD" matches DIG                                                                                                                                                                                            200                                                                                                                                                                                                                                                         Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated
                                                                                                                                                                                                                                                                                                                    #3                                                                                                                                                                                                                  Washington, D.C. 20016
  290   Ex 10/79   Martin, Cornell and        11265 Notaway Lane New Orleans        LA      70128   [VII], [XV],           1/14/2011   Yes      Yes          3323      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET           20                I           MARTIN CORNELL          Owner as of 6/9/15    City or County Tax             8/20/1990          Current Owner      Bruno & Bruno, LLP                   Joseph Bruno, Esq.            (504) 525-1355      jbruno@brunobrunolaw.com                                                                                                                                                                                                             3.21.18                                                                                        Property was inspected in January 2010 and it                                                                                                                                                                                                                                       Magic Makeover
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                         Partially                                                                                                                                    I have been in the emergency room five to six times due to Chinese sheetrock. I have seem to
                   Beverly                                                                          [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $313,924                                       OR EXCEEDS ASTM C1396                                       MARTIN BEVERLY T                              Records                                                                                                   855 Baronne Street                                                                                                                                                                                                                            N/A                            No                             Residential     8/20/1990      11//2007          No           1/2010        was confirmed that the property contained                     //                                            No                          //                                                                            //                                            2015           Construction,         75,824.00                         7,432.00           250,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated                                                                                                                                                                          develop asthma.
                                                                                                                                                                               Footage                                                                                                                              04 STANDARD"                                                                                                                                                                                                        New Orleans, 70113                                                                                                                                                                                                                                                                                                                                                                                  Chinese drywall.                                                                                                                                                                                                                                                            LLC
  291   Ex 10/79   Martinez, John and         1612 Deborah Drive      St. Bernard   LA      70085   [III(A)], [XV],        9/16/2010   Yes      Yes          1375      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City" 27                D           ASEVADO, LOGAN          Owner as of 6/9/15,   City or County Tax             3/19/1999             12/6/2016       Baron & Budd, P.C.                   Russell Budd, Esq.            (214) 521-3605      rbudd@baronbudd.com                                                                                                                                                                                                                  5.25.18
                   Melanie                                                                          [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                    EDWARD                  No Longer Owns        Records                                                                                                   Baron & Budd
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       No
                                                                                                                                                                               Footage                                        0.86                 94.47             $129,896                                                                                                                           Property                                                                                                                        3102 Oak Lawn Ave., Ste. 1100                                                                                                                                                                                                                 N/A                            No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219

  292   Ex 10/79   Martinez, Kim              4843 Evangeline Drive New Orleans     LA      70127   [III], [IX], [XV],     10/7/2009   Yes      Yes          1386      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA" matches 17                      I           MARTINEZ KIM M          Owner as of 6/9/15    City or County Tax            11/29/1999          Current Owner      Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892        rherman@hhklawfirm.com                                                                                                                                                                                                               5.31.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       No                                                                                                                     Noticed rusting of chrome items in the home                                                                                                                                                                                                       Completely         9/2015          Self - Myers
                                                                                                    [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $130,935                                       DIG #3                                                                                                    Records                                                                                                820 O'Keefe Avenue                                                                                                                                                                                                                               N/A                            No                             Residential    11/23/1999     11/7/2007                                                                                               3/1/2018          No              No              No                          //                                                                            //                                                                                 56,000.00        12/2015         13,700.00            50,000.00       40,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Inspection                                                                                                                           and contacted attorney                                                                                                                                                                                                                 remediated     through12/2015      Contstruction
                                                                                                                                                                               Footage                                                                                                                                                                                                                                                                                                                                               New Orleans, LA 70113
  293   Ex 10/79   Mason, Gary                1860 Filmore Avenue New Orleans       LA      70122   [II(B)], [XV],         12/6/2010   Yes      Yes          1334      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                 D           MASON GARY              Owner as of 6/9/15    City or County Tax             9/21/1999          Current Owner      Barrios, Kingsdorf & Casteix      Dawn M. Barrios, Esq.          (504) 523-3300        DBarrios@bkc-law.com                                                                                                                                                                                                                 3.19.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       No                                                                                                                     Inspection performed in July 2010 confirmed                                                                                                                                                                                                       Completely      July 2010-May
                                                                                                    [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $126,029                                       Gypsum Incorporated                                                                                       Records                                                                                                701 Poydras Street, Suite 3650                                                                                                                                                                                                                   N/A                            No                             Residential     1/21/1991      1/1/2008          No           7/2010                                                                      //                                            No                          //                                                                            //                                                          Self Contractor        10,509.73         5/2013         37,000.00            50,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Inspection                                                                                                                     the presence of Chinese drywall.                                                                                                                                                                                                             remediated           2013
                                                                                                                                                                               Footage                                                                                                                              Manufactured in P.R.C."                                                                                                                                                                                          New Orleans, LA 70166
  294   Ex 10/79   Matrana, Anthony and       3524 Marietta Street    Chalmette     LA      70043   [III(A)], [IX],        9/16/2010   Yes      Yes          1758      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEE"         17                 I           MATRANA, JEFFREY        Owner as of 6/9/15    City or County Tax             12/5/2006          Current Owner      Allison Grant, P.A. Baron & Budd, Russell Budd, Esq.             (214) 521-3605        rbudd@baronbudd.com                                                                                                                                                                                                                  3.20.18                                                                                                                                                                                                                                                                                                                                                                              Self, family
                   Debra, and Jeff                                                                  [XV], [XVI],                                                        Document with Square                                                                                                                        matches DIG #3                                              RAYMOND                                       Records                                                              P.C. Alters Boldt Brown Rash &    Baron & Budd                                                                                                                                                                                                                                                                                                                                                                            The presence of defective Chinese drywall was                                                                                                                                                                                                                                          members,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                         Partially    April 18, 2009 to                                                                                                            Additional evidence includes that of parts of air conditioning units and duct work, stored in garage of
                                                                                                    [XVII]                                                                     Footage                                        0.86                 94.47             $166,078                                                                                                                                                                                                                      Culmo                             3102 Oak Lawn Ave., Ste. 1100                                                                                                                                                                                                                    N/A                            No                             Residential    11/30/2006     ??/??/2007         No           3/2009     confirmed by HVAC professionals on March 27,                 6/29/2017         No              No              No                          //                                                                            //                                                         friends, Raquel         25,059.34         7/2009
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated      June 19, 2009                                                                                                                                                           the residence.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Dallas, TX 75219                                                                                                                                                                                                                                                                                                                                                                                           2009.                                                                                                                                                                                                                                                            Tejeda-Fajarda
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    and crew.
  295   Ex 10/79   Mays, Gina                 540 S. Kenner Drive     Waggaman      LA      70094   [III], [VII],          10/7/2009   Yes      Yes          4415      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEE"          13                 I           MAYS,BOBBY R III &      Owner as of 6/9/15    City or County Tax            11/19/2007          Current Owner      Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.21.18                                                                                          We built the house new and moved in in
                                                                                                    [XV], [XVI],                                                        Document with Square                                                                                                                                                                                    GINA P                                        Records                                                                                                   425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                                                                                                                                             November 2007. Heard about issues with
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely                                                                                                                                  Had expenses for repairing the HVAC system, TV, and appliances in the home prior to remediation in
                                                                                                                                                                                                                              0.86                 94.47             $417,085                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential    ??/??/2007     3/??/2007                       4/2009       Chinese Drywall on the news so we had the                      //                                            No                          //                                                                            //                                                                                                                  17,080.32            65,000.00
                                                                                                    [XVII]                                                                     Footage                                                                                                                                                                                                                                                                                                                                                  LaPlace, LA 70064                                                                                                                                                                                                                                           Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated                                                                                                                                                                      the amount of $4823.65.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               home inspected as we were having AC and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              other issues.
  296   Ex 10/79   McAfee, Lillie M.          12981 McRaven Court New Orleans       LA      70128   [IX], [XV],             5/5/2011   Yes      Yes          1388      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET      17                     I           MCAFEE LILLIE M         Owner as of 6/9/15    City or County Tax             1/23/1998          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               4.23.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      I am very concern about the remediation that was done because the only plumbing that was involved
                                                                                                    [XVI], [XVII]                                                       Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                                                                     Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Mayerhafer                                                                                              was a breakage in the guest bathroom that was paid by me (copy attached). The same lighting, fans
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       No                                                                                                                     Numerous problems with an new AC unit that                                                                                                                                                                                                        Completely                          Construction                                                                                             and cabinets were used because I wasn't in a financial position to purchase new ones. I purchased
                                                                                                                                                                               Footage                                        0.86                 94.47             $131,124                                       04 STANDARD" matches DIG                                                                                                                                                                                            New Orleans, LA 70113                                                                                                                                                                                                                         N/A                            No                             Residential      2//1989       9//2006           No           5/2010                                                        No            //                                            No                          //                                                                            //                                         2015-2016                               72479.01          5/2016
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Inspection                                                                                                                          was installed in 2010                                                                                                                                                                                                                   remediated                            DBA Oak                                                                                                    new faucets for both bathrooms and kitchen (looking for receipts) because refused to have
                                                                                                                                                                                                                                                                                                                    #3                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Enterprise                                                                                             contaminated ones placed back. There were some changes, window coverings for kitchen and living
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        room that do not fit. This information is given to the best of my knowledge
  297   Ex 10/79   McAvoy, Michael and        3141 State Street Drive New Orleans   LA      70125   [IX], [XV],             5/5/2011   Yes      Yes          2018      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA", MEETS 21                       I           LAGARDE ATARA L         Owner as of 6/9/15    City or County Tax             3/10/2003          Current Owner      Barrios, Kingsdorf & Casteix         Dawn M. Barrios, Esq.          (504) 523-3300     DBarrios@bkc-law.com                                                                                                                                                                                                                 2.28.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       No                                                                                                                       Inspection performed in November 2009
                   Atara                                                                            [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $190,640                                       matches DIG #3                                              MC AVOY MICHAEL R                             Records                                                                                                   701 Poydras Street, Suite 3650                                                                                                                                                                                                                N/A                            No                             Residential     3/10/2003      6/1/2006          No          11/2009                                                                      //                                            No                          //                                                                            //                            No                                                                                                        250,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Inspection                                                                                                                 confirmed the presence of Chinese drywall.
                                                                                                                                                                               Footage                                                                                                                                                                                                                                                                                                                                                  New Orleans, LA 70166
  298   Ex 10/79   McCallum, Leroy and        2309 Riverbend Drive Violet           LA      70092   [II], [VII], [XV],     3/15/2010   Yes      Yes          2028      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City" 27                D           MC CALLUM, LEROY        Owner as of 6/9/15    City or County Tax             6/24/2010          Current Owner      Willis & Buckley                     William Buckley, Esq.          (504) 488-6301     bill@willisbuckley.com                                                                                                                                                                                                               3.22.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Alternative Living Expenses were calculated based upon approximately 36 months of storage at
                   Lona (fka Lona Wells)                                                            [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                                                                  Records                                                                                                   3723 Canal Street                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      $65/month, and rental for 24 months at $925/month and rental for 12 months at $500/month.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             We first became aware of the Chinese drywall
                                                                                                                                                                               Footage                                                                                                                                                                                                                                                                                                                                                  New Orleans, LA 70119                                                                                                                                                                                                                                          No                                                                                                                    during the inspection of the property conducted                                                                                                                                                                                                    Completely                            Kenneth
                                                                                                                                                                                                                              0.86                 94.47             $191,614                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     6/28/2007     9/??/2007          No           8/2009                                                                      //                                            No                          //                                                                            //                                       8/1/09 to 9/5/13                          50,000.00         9/2013           30,540              $15,000          66,000     Claimant has submitted herewith several additional supporting documents, in addition to all previously
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Inspection                                                                                                                              in August, 2009.                                                                                                                                                                                                                    remediated                           Deszignes
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                submitted documents, including Document ID's 234094, 197639, 197638, 175361 and 175342.



  299   Ex 10/79   McKinnies, Kionne and      2612 Sand Bar lane      Marrero       LA      70072   [III], [VII],          10/7/2009   Yes      Yes          1481      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA" matches 20, 21                  I           MC KINNIES,TERRAL L Owner as of 6/9/15        Tax Records + Title/Deed       3/6/2007           Current Owner      Becnel Law Firm, LLC               Salvadore Christina, Jr., Esq.     (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.8.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       No
                   Terral                                                                           [XV], [XVI],                                                        Document with Square                                  0.86                 94.47             $139,910                                       DIG #3                                                      & KIONNE                                                                                                                                              425 W. Airline Hwy, Suite B                                                                                                                                                                                                                     N/A                            No                             Residential     3/10/2007      11//2006          No           5/2009                                                                      //                                            No                          //                                                                            //                            No                                                                                                         75000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Inspection
                                                                                                    [XVII]                                                                     Footage                                                                                                                                                                                                                                                                                                                                                LaPlace, LA 70064
  300   Ex 10/79   McLain, Jon Scott          82401 Heintz Jenkins Bush             LA      70431   [II], [XV],            3/15/2010   Yes      Yes          2271      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA," and         14, 17             H, I        FEDERAL NATIONAL        Owner as of 6/9/15,   Tax Records + Title/Deed       3/3/2006              6/17/2015       Thornhill Law Firm, Fayard &       Tom Thornhill, Esq.                800-989-2707     tom@thornhilllawfirm.com                                                                                                                                                                                                             3.19.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        A Declaration has been submitted in support of the alternative living claims. Loss of enjoyment is
                                              Road                                                  [XVI], [XVII]                                                       Document with Square                                                                                                                        "1396-04"                                                   MORTGAGE                No Longer Owns                                                                             Honeycutt APLC and N. Frank Elliot Thornhill Law Firm                                                                                                                                                                                                                                               No                                                                                                                       Claimant discovered the Chinese drywall                                                                                                                                                                                                                                                                                                                                                        being estimated at $100,000.00. Also, diminution of value is at least equal to the amount of the
                                                                                                                                                                                                                              0.79                 86.78             $197,077                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     3/3/2006      11/15/2006         No           5/2009                                                                  6/17/2015         No              No              No                          //                                        Foreclosure     $200209.14      6/17/2015                         No                                                                                    66,150.00           100,000.00       212,500.00
                                                                                                                                                                               Footage                                                                                                                                                                                          ASSOCIATION             Property                                                                                   III, LLC                           1308 9th St                                                                                                                                                                                                                                                   Inspection                                                                                                                    following investigation and inspection                                                                                                                                                                                                                                                                                                                                                     original mortgage which is the value lost in foreclosure. The diminution may be equal to the cost of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Slidell, LA 70458                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       remediation assigned by the Court too. All rights are reserved to amend this section of the SPPF.
  301   Ex 10/79   Melerine, Clifton and      2133 Fable Drive        Meraux        LA      70075   [III(A)], [XV],        9/16/2010   Yes      Yes          1079      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS        14, 18             H, I        MELERINE, CLIFTON       Owner as of 6/9/15    City or County Tax             5/2/2006           Current Owner      Baron & Budd, P.C.                   Russell Budd, Esq.            (214) 521-3605      rbudd@baronbudd.com                                                                                                                                                                                                                  3.19.18                                                                                                                                                                                                                                                                                                                                                                                                   To date,
                   Glenda                                                                           [XVI], [XVII]                                                       Document with Square                                                                                                                        OR EXCEES ASTM" and                                         ANTHONY                                       Records                                                                                                   Baron & Budd                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 documentation
                                                                                                                                                                               Footage                                                                                                                              Taihe blue-aqua edge tape                                                                                                                                                                                           3102 Oak Lawn Ave., Ste. 1100                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    showing
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Dallas, TX 75219                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              $13,125.73 in
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              The presence of defective Chinese drywall was                                                                                                                                                                                                                                             RZA            remediation
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       No                                                                                                                    confirmed via an inspection and drywall analysis                                                                                                                                                                                                     Partially     June 2009 to       Construction;     costs has been
                                                                                                                                                                                                                              0.86                 94.47             $101,933                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     4/??/2007     7/??/2007          No           6/2009                                                                      //                                            No                          //                                                                            //                                                                                                  10/2009
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Inspection                                                                                                                  test performed by Air Toxic, Ltd. in June of                                                                                                                                                                                                    remediated      October 2009      Self - electrical located. Plaintiff
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  2009.                                                                                                                                                                                                                                                            and plumbing will supplement
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     with additional
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     information on
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       remediation
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          costs.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Mr. Melerine
  302   Ex 10/79   Melerine, Marty and Rose 2101 Emilie Oaks          Meraux        LA      70075   [XV], [XVI],            7/5/2011   Yes      Yes          4050      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS 18                        I           S & A LIVING TRUST      Owner as of 6/9/15,   City or County Tax             7/25/2006            11/20/2015       Gainsburgh Benjamin                  Gerald Meunier, Esq.             (504) 522-2304   gmeunier@gainsben.com                                                                                                                                                                                                                4.16.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          has not yet
                                            Drive                                                   [XVII]                                                              Document with Square                                                                                                                        OR EXCEEDS" matches DIG                                                             No Longer Owns        Records                                                                                                   2800 Energy Centre
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       remediated the
                                                                                                                                                                               Footage                                                                                                                              #3                                                                                  Property                                                                                                                        1100 Poydras Street                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Chinese drywall
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        New Orleans, LA 70163                                                                                                                                                                                                                                                                                                                                                                 Mr. Melerine installed the Chinese drywall as                                                                                                                                                                                                                                                                                            from the home.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 part of his post-Hurricane Katrina home                                                                                                                                                                                                                                                                                               As such, he has
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              renovation. Mr. Melerine first learned of the                                                                                                                                                                                                                                                                                            not yet incurred
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       No
                                                                                                                                                                                                                              0.86                 94.47             $382,604                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     8/20/2016     10/20/2006         No           5/2011     Chinese drywall problems through news outlets                    //                                            No                          //                                                                            //                            No                                                                                 alternative living
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Inspection                                                                                                                  and he checked his home in 05/2011 and                                                                                                                                                                                                                                                                                                  expenses. Mr.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               confirmed that he had in fact had Chinese                                                                                                                                                                                                                                                                                                    Melerine
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  drywall.                                                                                                                                                                                                                                                                                                               reserves the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         right to make
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       this claim when
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        such costs are
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            incurred
  303   Ex 10/79   Meyaski, Grenes            532 Emerald Street      New Orleans   LA      70124   [III(A)], [VII],       9/16/2010   Yes      Yes          3279      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET      17, 20, 21             I           MEYASKI GRENES J II     Owner as of 6/9/15    City or County Tax             12/4/2006          Current Owner      Martzell & Bickford                  Scott Bickford, Esq.             (504) 581-9065   srb@mbfirm.com                                                                                                                                                                                                                       3.21.18
                                                                                                    [XV], [XVI],                                                        Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                       MEYASKI STACEY L                              Records                                                                                                   338 Lafayette Street                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                       Completely     October 2010 -
                                                                                                                                                                                                                              0.86                 94.47             $309,767                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     12/4/2006      9//2007           No           9/2010                                                                      //                                            No                          //                                                                            //                                                                Self             56,369.00         3/2011                              13,602.00
                                                                                                    [XVII]                                                                     Footage                                                                                                                              04 STANDARD" matches DIG                                                                                                                                                                                            New Orleans, LA 70130                                                                                                                                                                                                                                       Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated      March 20141
                                                                                                                                                                                                                                                                                                                    #3
  304   Ex 10/79   Micken, Gail               7732 Lady Gray          New Orleans   LA      70127   [II], [II(A)],         3/15/2010   Yes      Yes           900      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Gypsum Incorporated"    27                     D           MICKEN GAIL M           Owner as of 6/9/15    City or County Tax             5/24/2007          Current Owner      Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             4.24.18
                                                                                                    [VII], [IX],                                                        Document with Square                                                                                                                                                                                                                                  Records                                                                                                   425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                    No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                              0.86                 94.47              $85,023                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     5/24/2007      9/5/2007          No          12/2007     Learned about it from publications and friends.                  //                                            No                          //                                                                            //                                            2010           Charles Horn          $30,000           8/2010                              50,000.00
                                                                                                    [XV], [XVI],                                                               Footage                                                                                                                                                                                                                                                                                                                                                  LaPlace, LA 70064                                                                                                                                                                                                                                           Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated
                                                                                                    [XVII]
  305   Ex 10/79   Micken, Gail               7735 Lafourche Street New Orleans     LA      70127   [II], [II(A)],         3/15/2010   Yes      Yes          1970      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "China Crescent City" and    27                 D           MICKEN GAIL R           Owner as of 6/9/15    City or County Tax             3/27/2004          Current Owner      Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             5.2.18
                                                                                                    [VII], [IX],                                                        Document with Square                                                                                                                        "Manufactured in P.R.C."                                                                                  Records                                                                                                   425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                    No                                                                                                                        Learned about Chinese Drywall through                                                                                                                                                                                                            Partially
                                                                                                                                                                                                                              0.86                 94.47             $186,106                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     2/??/2005     4/16/2007          No          12/2007                                                                      //                                            No                          //                                                                            //                                          June 2016             self               3500                                                 50,000
                                                                                                    [XV], [XVI],                                                               Footage                                                                                                                                                                                                                                                                                                                                                  LaPlace, LA 70064                                                                                                                                                                                                                                           Inspection                                                                                                                  publications, friends and advertisements.                                                                                                                                                                                                       remediated
                                                                                                    [XVII]
  306   Ex 10/79   Miller, Karen and Buras,   2301 Guillot Drive      St. Bernard   LA      70085   [III(A)], [VII],       9/16/2010   Yes      Yes           960      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made In China"              27                 D           MILLER, KAREN           Owner as of 6/9/15    City or County Tax            11/29/2007          Current Owner      Becnel Law Firm/ Morris Bart LLC Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.6.18
                   Clyde, Sr.                                                                       [XV], [XVI],                                                        Document with Square                                                                                                                                                                                    KRAMER                                        Records                                                                                               Becnel Law Firm, LLC                                                                                                                                                                                                                                               No
                                                                                                                                                                                                                              0.86                 94.47              $90,691                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential    12/14/2007      10//2007          No           8/2009      Got drywall from Lutheran Disaster Response.                    //                                            No                          //                                                                            //                            No                                                                                       0.00              50,000.00
                                                                                                    [XVII]                                                                     Footage                                                                                                                                                                                                                                                                                                                                              425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                     Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    LaPlace, LA 70064
  307   Ex 10/79   Miller, Yasha              2912 Shannon Drive      Violet        LA      70092   [III(A)], [VII],       9/16/2010   Yes      Yes          1302      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA" matches 17                      I           MILLER, YASHA G.        Owner as of 6/9/15    City or County Tax             4/12/2011          Current Owner      Becnel Law Firm/ Morris Bart LLC Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.13.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               in 2016, do not
                                                                                                    [XV], [XVI],                                                        Document with Square                                                                                                                        DIG #3                                                                                                    Records                                                                                               Becnel Law Firm, LLC                                                                                                                                                                                                                                               No                                                                                                                      AC went out twice and had home inspected.                                                                                                                                                                                                        Completely
                                                                                                                                                                                                                              0.86                 94.47             $123,000                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     4/30/2002     1/25/2006          No            2007                                                                       //                                            No                          //                                                                            //                                         recall exact  BJC Construction           73,000          12/2016          7800.00             65,000.00
                                                                                                    [XVII]                                                                     Footage                                                                                                                                                                                                                                                                                                                                              425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                     Inspection                                                                                                                          Found Chinese Drywall.                                                                                                                                                                                                                  remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    dates
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    LaPlace, LA 70064
  308   Ex 10/79   Millet, Jonathan           6530 Avenue B           New Orleans   LA      70124   [XV], [XVI],            7/5/2011   Yes      Yes          1134      Property Tax Assessor's           Yes                                                                         Crescent City   Inspection                                  N/A                D           MILLET JONATHAN A       Owner as of 6/9/15    City or County Tax             6/4/2007           Current Owner      Paul A. Lea, Jr., APLC           Paul A. Lea, Jr., Esq.               (985) 292-2300   jean@paullea.com                                                                                                                                                                                                                     3.16.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        I have had to live in this property containing Chinese Drywall and have suffered the side effects of
                                                                                                    [XVII]                                                              Document with Square                                                                                                         Report                                                                                                                   Records                                                                                               724 East Boston Street                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  same. I have no money to fix, the value of my property has substantially decreased and I cannot sell
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Corrosion Problems, A/C coils failed, Blackening
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  because of the Chinese Drywall and the bank had to foreclose on same.
                                                                                                                                                                               Footage                                        0.86                 94.47             $107,129                                                                                                                                                                                                                                                       Covington, LA 70433                                                                                                                                                                                                                               N/A                            No                             Residential     6/4/2007       4/1/2008          No           7/2010        of copper surfaces and Failure of various                     //                                            No                          //                                        Foreclosure     $149,545.95     12/6/2010                         No                                                                                                        300,000.00       200,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          electrical appliances
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             I finally had to move out because my children were always sick and appliances kept going out and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          hed to be replaced that I couldn't afford
  309   Ex 10/79   Moore, Leon                6945 Virgilian Street   New Orleans   LA      70126   [III], [VII],          10/7/2009   Yes      Yes          1573      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "CHINA"                      13                 I           MOORE LEON              Owner as of 6/9/15    City or County Tax             3/12/2001          Current Owner      Becnel Law Firm/ Morris Bart LLC Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.8.18
                                                                                                    [XV], [XVI],                                                        Document with Square                                                                                                                                                                                                                                  Records                                                                                                   Becnel Law Firm, LLC                                                                                                                                                                                                                                           No                                                                                                                      Home was rebuilt after Katrina and Chinese
                                                                                                                                                                                                                              0.86                 94.47             $148,573                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     5/16/2003      9//2006           No           8/2009                                                                      //                                            No                          //                                                                            //                            No                                                                                                         50,000.00
                                                                                                    [XVII]                                                                     Footage                                                                                                                                                                                                                                                                                                                                                  425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                 Inspection                                                                                                                  Drywall as used to replace the sheetrock.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        LaPlace, LA 70064
  310   Ex 10/79   Mora, August, Jr.          335/337 West Robert     New Orleans   LA      70124   [II(A)], [XV],         9/16/2010   Yes      Yes          1288      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEE"         14, 21             H, I        MORA AUGUST T JR        Owner as of 6/9/15    City or County Tax             2/17/2004          Current Owner      Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.16.18                                                                                          Bought house from my son and use it as a
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely       May 2010 -       Self Remediated
                                              E. Lee Blvd.                                          [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $121,677                                                                                                                                                 Records                                                                                                   425 W. Airline Hwy, Suite B                                                                                                                                                                                                                   N/A                            No                             Residential     12//2006       11//2006          No          11/2009      rental property. Due to the AC failing I found                  //                                            No                          //                                                                            //                                                                                 56,953.90        10/2010                              50,000.00                           I had AC repair bills in the amount of $700 and lost rents in the amount of $18,400.00.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated      October 2010       and hired subs
                                                                                                                                                                               Footage                                                                                                                                                                                                                                                                                                                                                  LaPlace, LA 70064                                                                                                                                                                                                                                                                                                                                                                               out I had Chinese Drywall.
  311   Ex 10/79   Moran, Shawn and Jill      735 Angela Avenue       Arabi         LA      70032   [II], [IX], [XV],      3/15/2010   Yes      Yes          1152      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                 D           MORAN, SHAWN M.         Owner as of 6/9/15    City or County Tax             6/5/2007           Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                               3.23.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                other damages:
                                                                                                    [XVI], [XVII]                                                       Document with Square                                                                                                                        Gypsum Incorporated                                                                                       Records                                                                                                   8301 W. Judge Perez Drive,                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                              0.86                 94.47             $108,829                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     5/21/2007     5/??/2007          No           8/2009       report by materials analytical services, inc.                  //                                            No                          //                                                                            //                                        2009-8/2011             self             17,300.00         8/2011          1680.00            102,000.00                                                    ALE- storage unit costs @ $1680.00
                                                                                                                                                                               Footage                                                                                                                              Manufactured in P.R.C."                                                                                                                                                                                             Suite 303                                                                                                                                                                                                                                                   Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Chalmette, LA 70043
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Loss of use - 51 months x $2000 per month
  312   Ex 10/79   Morel, Rudolph             1236 Alvar Street       New Orleans   LA      70124   [III], [VII],          10/7/2009   Yes      Yes          1176      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEE"          13                 I           THOMAS STANLEY          Owner as of 6/9/15,   City or County Tax             8/17/2006             6/7/2016        Becnel Law Firm/ Morris Bart LLC Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.12.18                                                                                          Pursuant to an act of sale, the home was
                                                                                                    [XV], [XVI],                                                        Document with Square                                                                                                                        matches DIG #3                                                                      No Longer Owns        Records                                                                                                   Becnel Law Firm, LLC                                                                                                                                                                                                                                           No                                                                                                                     inspected and found to have Chinese Drywall.                                                                                                                                                                                                        Partially
                                                                                                                                                                                                                              0.86                 94.47             $111,097                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     8/17/2006     7/20/2008          No           6/2009                                                                  6/7/2016          No              No              No                          //                                                                            //                                          5/20/2016            Myself            $3000.00                                              75,000.00       20,000.00            The house sold for $90,000 in 2016 when I could have sold it in 2009 for $110,000.00
                                                                                                    [XVII]                                                                     Footage                                                                                                                                                                                                                  Property                                                                                                                        425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                 Inspection                                                                                                               The sale for $110,000.00 was cancelled at that                                                                                                                                                                                                     remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        LaPlace, LA 70064                                                                                                                                                                                                                                                                                                                                                                                        time.
  313   Ex 10/79   Mowers, Matthew and        321 Perrin Drive        Arabi         LA      70032   [III], [IX], [XV],     10/7/2009   Yes      Yes          1904      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "IN CHINA MEET OR            17                 I           MOWERS, EVELYN          Owner as of 6/9/15    Tax Records + Title/Deed      12/28/2006          Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                               2.19.18
                   Evelyn                                                                           [XVI], [XVII]                                                       Document with Square                                                                                                                        EXCEEDS ASTM C1396"                                         BREAUX                                                                                                                                                  8301 W. Judge Perez Drive,                                                                                                                                                                                                                                     No
                                                                                                                                                                                                                              0.86                 94.47             $179,909                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                                             4/18/2007     7/??/2007          No           7/2009       report by materials analytical services, inc.                  //                                            No                          //                                                                            //                            No                                                                                                        200,000.00
                                                                                                                                                                               Footage                                                                                                                              matches DIG #3                                                                                                                                                                                                      Suite 303                                                                                                                                                                                                                                                   Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Chalmette, LA 70043
  314   Ex 10/79   Mundee, Beryl              4321 S. Liberty Street New Orleans    LA      70115   [XIII], [XV],           7/5/2011   Yes      Yes          1938      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS 15                        I           MUNDEE BERYL F          Owner as of 6/9/15    City or County Tax             4/14/2008          Current Owner      Gainsburgh Benjamin                  Gerald Meunier, Esq.             (504) 522-2304   gmeunier@gainsben.com                                                                                                                                                                                                                4.16.18                                                                                                                                                                                                                                                                                                                                                                                                                                                      No value can be
                                                                                                    [XVI], [XVII]                                                       Document with Square                                                                                                                        OR EXCEEDS ASTM C1396-                                                                                    Records                                                                                                   2800 Energy Centre                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  assessed for the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                years of
                                                                                                                                                                               Footage                                                                                                                              04" matches DIG #3                                                                                                                                                                                                  1100 Poydras Street                                                                                                                                                                                                                                                                                                                                                                   A/C coils replaced 9/15/09, 7/15/11, 7/5/12;                                                                                                                                                                                                                                                             37,292.83 See                     Please see                                         Attached please see copy of my letter to Mayor Landrieu dated 10/10/11, and to senator David Vitter
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely     October 2011 -     G&G                                                                          cumulative
                                                                                                                                                                                                                              0.86                 94.47             $183,083                                                                                                                                                                                                                                                           New Orleans, LA 70163                                                                                                                                                                                                                         N/A                            No                             Residential     6/19/1974     11/7/2006                                  microwave replaced 12/13/10. Chinese Drywall                     //                                            No                          //                                                                            //                                                                                  Attached         8/2012         attached                              unknown     dated 1/3/13. Basically, this same letter was addressed to all elected officials and Louisiana disaster
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated      August 2012 Contractors, LLC                                                                stress, sadness,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              identified July, 2011. See spreadsheet attd.                                                                                                                                                                                                                                                             Spreadsheets                     spreadsheets                                             relief agencies concerned with the importation of Chinese drywall. No response received.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             inconvenience
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             and decline of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 health
  315   Ex 10/79   Murphy, Lawrence and       7021 Mayo Boulevard New Orleans       LA      70126   [III], [III(A)],       10/7/2009   Yes      Yes          2100      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET          17                 I           MURPHY LAWRENCE         Owner as of 6/9/15    City or County Tax             4/7/1993           Current Owner      Becnel Law Firm/ Morris Bart LLC Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com
                   Sharon                                                                           [VII], [XV],                                                        Document with Square                                                                                                                        OR" matches DIG #3                                                                                        Records                                                                                               Becnel Law Firm, LLC                                                                                                                                                                                                                                               No                                                                                                                         Heard on the news so I had the home
                                                                                                                                                                                                                              0.86                 94.47             $198,387                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     4/7/1993       5//2007           No           4/2010                                                                      //                                            No                          //                                                                            //                            No                                                                                                           75000
                                                                                                    [XVI], [XVII]                                                              Footage                                                                                                                                                                                                                                                                                                                                              425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                     Inspection                                                                                                                                 inspected.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    LaPlace, LA 70064
  316   Ex 10/79   Nane, Earline and Salah    10104 S. Kelly Lane     Waggaman      LA      70094   [VII], [XV],           1/14/2011   Yes      Yes          2312      Property Tax Assessor's           Yes                                                                         Crescent City   Video          "Made in China Crescent City 27                 D           NANE,EARLINE D          Owner as of 6/9/15    Tax Records + Title/Deed       4/19/2010          Current Owner      Becnel Law Firm, LLC             Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.29.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       No                                                                                                                     Found Chinese Drywall after house caught fire
                                                                                                    [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $218,415                                       Gypsum"                                                                                                                                                                                                         425 W. Airline Hwy, Suite B                                                                                                                                                                                                                       N/A                            No                             Residential     6/??/2006      1/5/2007                       7/2010                                                                      //                                            No                          //                                                                            //                            No                                                                                                         75,000.00                                              I spent $857.24 on AC repairs and replacements.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Inspection                                                                                                                      because of electrical problems.
                                                                                                                                                                               Footage                                                                                                                                                                                                                                                                                                                                              LaPlace, LA 70064
  317   Ex 10/79   Nelson, Frances            4619 Nighthart Street New Orleans     LA      70127   [II], [VII], [XV],     3/15/2010   Yes      Yes          1812      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                       27                 D           NELSON RUSSELL          Owner as of 6/9/15    Tax Records + Title/Deed       5/5/1978           Current Owner      Bruno & Bruno, LLP               Joseph Bruno, Esq.                   (504) 525-1355   jbruno@brunobrunolaw.com                                                                                                                                                                                                             3.20.18                                                                                       Property was inspected in November 2009 and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Property became commercial property after Frances Nelson died on September 15, 2013 and is
                                                                                                    [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $171,180                                                                                                                                                                                                                                                       855 Baronne Street                                                                                                                                                                                                                                N/A                            No                             Residential     5/5/1978        //2007           No          11/2009      it was confirmed that the property contained                9/24/2014                                         No                          //                                                                            //                            No                                                                                                         30,900.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Inspection                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                commercial property now.
                                                                                                                                                                               Footage                                                                                                                                                                                                                                                                                                                                              New Orleans, 70113                                                                                                                                                                                                                                                                                                                                                                                      Chinese drywall.
  318   Ex 10/79   Ney, Connie and Terry      5521 West End Blvd. New Orleans       LA      70124   [II(B)], [VII],        12/6/2010   Yes      Yes          3366      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEETS 14, 21                     H, I        NEY TERRY J             Owner as of 6/9/15    City or County Tax             8/5/2005           Current Owner      The Lambert Firm                 Hugh Lambert, Esq.                   (504) 529-2931   hlambert@thelambertfirm.com                                                                                                                                                                                                          3.21.18
                                                                                                    [XV], [XVI],                                                        Document with Square                                                                                                                        OR EXCEEDS" and                                             NEY CONNIE F                                  Records                                                                                               701 Magazine St,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       No
                                                                                                    [XVII]                                                                     Footage                                        0.86                 94.47             $317,986                                       "STANDARD" and Taihe blue-                                                                                                                                                                                      New Orleans LA 70130                                                                                                                                                                                                                              N/A                            No                             Residential      //2001         //2006                        8/2010                                                                      //                                                                                                                                                                                    No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Inspection
                                                                                                                                                                                                                                                                                                                    aqua paper end tape matches
                                                                                                                                                                                                                                                                                                                    DIG #3
  319   Ex 10/79   Nicholas, Barbara          7732 Dogwood Drive New Orleans        LA      70126   [IX], [XV],             5/5/2011   Yes      Yes          1645      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEETS 18                         I           NICHOLAS BARBARA        Owner as of 6/9/15    City or County Tax            11/30/1987          Current Owner      Hurricane Legal Center, LLC          Jacob Young, Esq.                (504) 522-4322   jacob@jacobyounglaw.com
                                                                                                    [XVI], [XVII]                                                       Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                       A                                             Records                                                                                                   Young Law Firm                                                                                                                                                                                                                                                 No
                                                                                                                                                                                                                              0.86                 94.47             $155,403                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No
                                                                                                                                                                               Footage                                                                                                                              04 STANDARD" matches DIG                                                                                                                                                                                            1010 Common St., Suite 3040                                                                                                                                                                                                                                 Inspection
                                                                                                                                                                                                                                                                                                                    #3                                                                                                                                                                                                                  New Orleans, LA 70112
  320   Ex 10/79   Nieto, Pete                42773 Snapperway        Franklinton   LA      70438   [IX], [XIII],           5/5/2011   Yes      Yes          1382      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEETS 20                         I           PETER NIETO             Owner as of 6/9/15    City or County Tax             5/8/2007           Current Owner      Wolfe Law Group                      Seth Smiley                      (504) 208-1124   seth@smileyfirm.com                                                                                                                                                                                                                  3.16.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Partially
                                                                                                    [XV], [XVI],                                                        Document with Square                                  0.79                 86.78             $119,930                                       OR EXCEEDS" matches DIG                                                                                   Records                                                                                                   365 Canal St Suite 1680                           sarah@wolfelaw.com                                                                                                                                                                          N/A              0%            No                             Residential     3/23/2007      12//2006          No            2009                                                                       //                                            No                          //                                                                            //                                        2014-present            Self                                              32,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                remediated
                                                                                                    [XVII]                                                                     Footage                                                                                                                              #3                                                                                                                                                                                                                  New Orleans, LA 70130                             ssmiley@wolfelaw.com
  321   RP         NOAHH (New Orleans         1304 Ferry Place        New Orleans   LA      70118   [IX], [XV],             5/5/2011   Yes      Yes          1068      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                      27                  D           SILAS VONTRELL A        Owner as of 6/9/15    Tax Records + Title/Deed       6/26/2009          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                                 [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                                                                                                                                                                            820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              answering these questions, NOAHH has assumed that CDW means corrosive CDW and not just any
                   Humanity, Inc.)                                                                                                                                             Footage                                                                                                                                                                                                                                                                                                                                                  New Orleans, LA 70113                                                                                                                                                                                                                                          No                                                                                                                                                                                                                                                                                                                                                                       Completely                            Parker
                                                                                                                                                                                                                              0.86                 94.47             $100,894                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     9/16/2010       //2009          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                       11/2010-1/2011                           $44,707.58        01/2011         $8,544.68                                         CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated                          Construction
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            as per Judge Fallon's order. NOAHH has not recently opened each one of those boxes to ensure that
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            all evidence is in pristine condition. NOAHH has and continues to gather receipts and other materials
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      as supporting materials for each remediated property.
  322   RP         NOAHH (New Orleans         1308 Ferry Place        New Orleans   LA      70118   [IX], [XV],             5/5/2011   Yes      Yes          1135      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                       27                 D           BANGHAM TANISHA         Owner as of 6/9/15    City or County Tax             1/19/2010          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                                 [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                                                                  Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              answering these questions, NOAHH has assumed that CDW means corrosive CDW and not just any
                   Humanity, Inc.)                                                                                                                                             Footage                                                                                                                                                                                                                                                                                                                                                  New Orleans, LA 70113                                                                                                                                                                                                                                          No                                                                                                                                                                                                                                                                                                                                                                       Completely                            Parker
                                                                                                                                                                                                                              0.86                 94.47             $107,223                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     1/25/2011       //2009          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                       2/2011-6/2011                            $19,581.25        06/2011         $8,133.59                                         CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated                          Construction
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            as per Judge Fallon's order. NOAHH has not recently opened each one of those boxes to ensure that
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            all evidence is in pristine condition. NOAHH has and continues to gather receipts and other materials
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      as supporting materials for each remediated property.
  323   RP         NOAHH (New Orleans         1309 Ferry Place        New Orleans   LA      70118   [IX], [XV],             5/5/2011   Yes      Yes          1073      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                       27                 D           GROSS KERRY R           Owner as of 6/9/15    City or County Tax             2/20/2009          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                                 [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                                                                  Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                             Footage                                                                                                                                                                                                                                                                                                                                                  New Orleans, LA 70113                                                                                                                                                                                                                                          No                                                                                                                                                                                                                                                                                                                                                                       Completely                            Parker
                                                                                                                                                                                                                              0.86                 94.47             $101,366                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     9/24/2010       //2008          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                         10/10-2/11                             $49,101.59         2/2011         $8,380.14                                         CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  324   RP         NOAHH (New Orleans         1340 Bayou Road         St. Bernard   LA      70085   [IX], [XV],             5/5/2011   Yes      Yes          1581      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                       27                 D           HERNANDEZ, JOAN         Owner as of 6/9/15    City or County Tax             5/3/1977           Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                                 [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                    MARIE FISCHER                                 Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                             Footage                                                                                                                                                                                                                                                                                                                                                  New Orleans, LA 70113                                                                                                                                                                                                                                          No                                                                                                                                                                                                                                                                                                                                                                       Completely                           Lakewood
                                                                                                                                                                                                                              0.86                 94.47             $149,357                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential    10/25/2010       //2008          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                          1/11-7/11                             $59,485.26        07/2011         $9,085.98                                         CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  325   RP         NOAHH (New Orleans         1721 Bartholomew        New Orleans   LA      70117   [IX], [XV],             5/5/2011   Yes      Yes          1034      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                       27                 D           HELEN M GILLET          Owner as of 6/9/15    City or County Tax             9/27/2007          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for           Street                                                [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                                                                  Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                             Footage                                                                                                                                                                                                                                                                                                                                                  New Orleans, LA 70113                                                                                                                                                                                                                                          No                                                                                                                                                                                                                                                                                                                                                                       Completely                           Lakewood                                                                                               CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
                                                                                                                                                                                                                              0.86                 94.47              $97,682                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential    11/11/2010       //2007          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                       12/2010-2/2011                           $42,371.76         2/2011         $6,994.19
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated                          Corporation                                                                                             as per Judge Fallon's order. NOAHH has not recently opened each one of those boxes to ensure that
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  326   RP         NOAHH (New Orleans         1724 Alvar Street       New Orleans   LA      70117   [XIII], [XV],           7/5/2011   Yes      Yes          1025      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                       27                 D           CORNEIAGO ANNETTE Owner as of 6/9/15          City or County Tax             3/19/2008          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                                 [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                    S.                                            Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                             Footage                                                                                                                                                                                                                                                                                                                                                  New Orleans, LA 70113                                                                                                                                                                                                                                          No                                                                                                                                                                                                                                                                                                                                                                       Completely                           Lakewood
                                                                                                                                                                                                                              0.86                 94.47              $96,832                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     2/14/2012       //2007          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                       2/2012-7/2012                            $44,635.11         7/2012        $10,985.54                                         CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  327   RP         NOAHH (New Orleans         1733 Bartholomew        New Orleans   LA      70117   [IX], [XV],             5/5/2011   Yes      Yes           990      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                       27                 D           SAWYER TROY L           Owner as of 6/9/15    City or County Tax             7/2/2007           Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for           Street                                                [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                                                                  Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                             Footage                                                                                                                                                                                                                                                                                                                                                  New Orleans, LA 70113                                                                                                                                                                                                                                          No                                                                                                                                                                                                                                                                                                                                                                       Completely                           Lakewood
                                                                                                                                                                                                                              0.86                 94.47              $93,525                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     9/24/2010       //2006          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                       11/2010-2/2011                           $44,070.24         2/2011         $9,842.27                                         CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  328   Ex 10/79   NOAHH (New Orleans         1739 Bartholomew        New Orleans   LA      70117   [IX], [XV],             5/5/2011   Yes      Yes           702      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                       27                 D           NEW ORLEANS AREA        Owner as of 6/9/15    City or County Tax             4/11/2006          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for           Street - Dbl                                          [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                    HABITAT FOR                                   Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                             Footage                                                                                                                                                                                          HUMANITY                                                                                                                                                New Orleans, LA 70113                                                                                                                                                                                                                                          No                                                                                                                                                                                                                                                                                                                                                                       Completely                           Lakewood
                                                                                                                                                                                                                              0.86                 94.47              $66,318                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential      //2009         //2009                                             10/28/2010-Testing Resutls                             //                                            No                          //                                                                            //                                       7/2011-11/2011                           $31,434.65        11/2011        $12,986.86                                         CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  329   Ex 10/79   NOAHH (New Orleans         1741 Bartholomew        New Orleans   LA      70117   [IX], [XV],             5/5/2011   Yes      Yes           702      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                       27                 D           NEW ORLEANS AREA        Owner as of 6/9/15    City or County Tax             4/11/2006          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for           Street - Dbl                                          [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                    HABITAT FOR                                   Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                             Footage                                                                                                                                                                                          HUMANITY                                                                                                                                                New Orleans, LA 70113                                                                                                                                                                                                                                          No                                                                                                                                                                                                                                                                                                                                                                       Completely                           Lakewood
                                                                                                                                                                                                                              0.86                 94.47              $66,318                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential      //2009         //2009                                             5/18/2011-Testing Results                              //                                            No                          //                                                                            //                                       7/2011-11/2011                           $30,869.65        11/2011         $2,559.52                                         CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  330   Ex 10/79   NOAHH (New Orleans         1827 Bartholomew        New Orleans   LA      70117   [IX], [XV],             5/5/2011   Yes      Yes           690      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                       27                 D           NEW ORLEANS AREA        Owner as of 6/9/15    City or County Tax             11/2/2006          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for           Street - Dbl                                          [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                    HABITAT FOR                                   Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                             Footage                                                                                                                                                                                          HUMANITY                                                                                                                                                New Orleans, LA 70113                                                                                                                                                                                                                                          No                                                                                                                                                                                                                                                                                                                                                                       Completely                            Parker
                                                                                                                                                                                                                              0.86                 94.47              $65,184                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential      //2009         //2009                                              9/9/2010-Testing Results                              //                                            No                          //                                                                            //                                       3/2011-6/2011                            $58,198.56         6/2011        $13,132.61                                         CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  331   Ex 10/79   NOAHH (New Orleans         1829 Bartholomew        New Orleans   LA      70117   [IX], [XV],             5/5/2011   Yes      Yes           690      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                       27                 D           NEW ORLEANS AREA        Owner as of 6/9/15    City or County Tax             11/2/2006          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.
                   Area Habitat for           Street - Dbl                                          [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                    HABITAT FOR                                   Records                                                                                                   820 O'Keefe Avenue
                   Humanity, Inc.)                                                                                                                                             Footage                                                                                                                                                                                          HUMANITY                                                                                                                                                New Orleans, LA 7011
                                                                                                                                                                                                                              0.86                 94.47              $65,184
                                                                                                                                                                                                                                                                                                                                                                                                                               Case 2:09-md-02047-EEF-MBN Document 21527-2 F ed 07/16/18 Page 6 of 9

Claimant Source    Claimant Name        Affected Property      City          State   Zip     Omni(s)         Date of Earliest PPF    Indicia    Verified    Type of Verficiation     Counsel's Declaration                                                               Product         Type of Indicia Description of Markings   Markings # from    Product       Current Owner as of   Ownership Status of   Proof of Ownership Per     Purchase Date Per   Sell Date if Applicable Counsel               Counsel Address         Counsel Phone    Counsel Email                                                      Global,                                                                Pre-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Amount Owed
Identifier                              Address                                                               Filed Taishan (Yes/No) (Yes/No)   Square      Provided Uploaded to       Verifying Square     2017 RS Means                                                Brand(s)                                                  Taishan Product ID Bucket(s)     May-August 2017 Per   Named Claimant Per         BrownGreer               BrownGreer       or Current Owner Per                                                                                                                                    Banner, InEx                                                         Remediation                                                                                                                                               Aware property                                                                            Date Sold or                                                                                                                                                                                                           Who Performed
                                                                                                                                                                                                                                  2017 Cost Per SF    2017 Remediation                                                                                                                                                                                                                                                                                                                         Already                                                                                                                  VA        Holdback                              Remediation                                                                                  If no, when did                                                                           Assign any       Expressly                      Court                                                                           on        Date of                       Partially or                                                     Date        Alternative
                                                                                                                  Omni                          Footage           Sharefile                Footage         Residential Location                                                                                                    Catalog                              BrownGreer           BrownGreer                                                             BrownGreer                                                                                                 Pilot Program               Knauf        Repair and                 Foreclosure Lost Rent,                   Alternative                                      Remediation                                                  Residential or Date Property   Date CDW      had CDW at                    If CDW Installed Before Purchase, Date you Assignment of   Transferred                                                                                                              Foreclosure or                              Short Sale Price                   Dates of         Work to     Total Cost for                                Loss of Use  Diminution of
                                                                                                                                                                                                                                  [B = A x $109.85]      Damages                                                                                                                                                                                                                                                                                                                              Remediated                            Bodily Injury                             Miscellaneous             Tenant Loss Settlement    Payment                   KPT %       Complete by     SPPF Completed?                                                                you become                                                                              Rights with   Retain Rights to   Bankruptcy   Bankruptcy   Date of Filing   Docket No.   Present Status                  Loan/Mortgage Foreclosure or                   Completely                                                     Remediation     Living                                                                           SPPF Comments/ Notes
                                                                                                                                                                                                                 Factor                                                                                                                                                                                                                                                                                                                                                          Payments                Remediation    Relocation                or Short Sale Use, or Sales                  Living                                          Option                                                     commercial?      Acquired       Installed      time of                            Learned it Contained CDW               Rights?       Property if                                                                                                              Short Sale?                                 (if applicable)                  Remediation      Remediate     Remediation                                 and Enjoyment    Value
                                                                                                                                                                                                                                                          [SF x B]                                                                                                                                                                                                                                                                                                                           Home (ARH)                                                                                                             Gross Award   Amount                                  KPT?                                                                                           aware?                                                                                  Sale?       Pursue Claim?                    Filed In                                                                    at time of    Short Sale                    Remediated?                                                      Complete     Expenses
                                                                                                                                                                                                                  [A]                                                                                                                                                                                                                                                                                                                                                                                                   Expenses                                                             Expenses                                                                                                                                                   purchase?                                                                                Applicable                                                                                                                                                                                                              Property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Foreclosure
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          (GBI)                                                              (PRALE)
  334   Ex 10/79   NOAHH (New Orleans   1838 Feliciana         New Orleans   LA      70117   [XIII], [XV],      7/5/2011   Yes      Yes          1034      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           NEW ORLEANS AREA        Owner as of 6/9/15    City or County Tax            11/30/2011          Current Owner      Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for     (NOAHH)                                              [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                  HABITAT FOR                                   Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  answering these questions, NOAHH has assumed that CDW means corrosive CDW and not just any
                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                        HUMANITY                                                                                                                                   New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                  0.86                 94.47              $97,682                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential    12/22/2011       //2008          Yes                                                                      Yes              //                                            No                          //                                                                            //                                       1/2012-8/2012                     $38,069.17      8/2012        $0.00                                     CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  335   RP         NOAHH (New Orleans   1905 Tino Lane        Violet         LA      70093   [XIII], [XV],      7/5/2011   Yes      Yes          1664      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           NEW ORLEANS AREA        Owner as of 6/9/15    City or County Tax             12/6/2012          Current Owner      Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for     (Donald and Charlette                                [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                  HABITAT FOR                                   Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)      Rush)                                                                                                                      Footage                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                  0.86                 94.47             $157,198                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential    11/14/2012       //2008                                                                                                    //                                            No                          //                                                                            //                                       7/2011-10/2011                    $58,526.81     10/2011      $8,694.35                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  336   RP         NOAHH (New Orleans   1908 Bartholomew       New Orleans   LA      70117   [IX], [XV],        5/5/2011   Yes      Yes          1150      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           NEW ORLEANS AREA        Owner as of 6/9/15    City or County Tax             4/2/2007           Current Owner      Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for     Street                                               [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                  HABITAT FOR                                   Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                        HUMANITY IN                                                                                                                                New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                  0.86                 94.47             $108,641                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential     5/11/2017       //2007                                                                                                    //                                            No                          //                                                                            //                                       10/2010-1/2011                    $45,434.30      1/2011      $8,166.35                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  337   RP         NOAHH (New Orleans   1917 Highland Drive    Violet        LA      70092   [IX], [XV],        5/5/2011   Yes      Yes          1520      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           LANIER, SHARON A. MC Owner as of 6/9/15       City or County Tax             6/6/2007           Current Owner      Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                          [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                  DOWELL                                        Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                  0.86                 94.47             $143,594                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential     1/28/2011       //2008          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       4/2011-8/2011                     $58,716.99      8/2011      $11,924.85                                  CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  338   RP         NOAHH (New Orleans   1927 Bridgehead Lane Violet          LA      70092   [IX], [XV],        5/5/2011   Yes      Yes          1581      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           LENARIS, CHARLES        Owner as of 6/9/15    City or County Tax                                Current Owner      Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                          [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                                                Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                  0.86                 94.47             $149,357                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential    11/10/2010       //2007          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       1/2011-4/2011                     $56,667.36      4/2011      $7,295.01                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  339   RP         NOAHH (New Orleans   1934 Pilate Lane       St. Bernard   LA      70085   [XIII], [XV],      7/5/2011   Yes      Yes          1520      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           MAURICE, ROSEANA        Owner as of 6/9/15    City or County Tax             8/12/2005          Current Owner      Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for     (Roseanna Maurice)                                   [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                  JAMES                                         Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                  0.86                 94.47             $143,594                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential     11/4/2010       //2008          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       12/2011-4/2011                    $56,390.36      4/2012      $9,321.78                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  340   RP         NOAHH (New Orleans   2122 Caluda Street     Violet        LA      70092   [IX], [XV],        5/5/2011   Yes      Yes          1152      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           RICHARD, ROGER 1/2      Owner as of 6/9/15    City or County Tax             3/3/1976           Current Owner      Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                          [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                                                Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                  0.86                 94.47             $108,829                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential     1/6/2011        //2007          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       3/2011-7/2011                     $52,304.30      7/2011      $2,964.27                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  341   Ex 10/79   NOAHH (New Orleans   2138 France Street     New Orleans   LA      70117   [IX], [XV],        5/5/2011   Yes      Yes          1000      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           NEW ORLEANS AREA        Owner as of 6/9/15    City or County Tax            10/26/2007          Current Owner      Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                          [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                  HABITAT FOR                                   Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                        HUMANITY                                                                                                                                   New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                  0.86                 94.47              $94,470                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential      //2008         //2009                                            5/18/2011-Testing Results                               //                                            No                          //                                                                            //                                       6/2011-9/2011                     $18,580.50      9/2011        $82.73                                    CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  342   RP         NOAHH (New Orleans   2200 Tiffany Ct        St. Bernard   LA      70085   [IX], [XV],        5/5/2011   Yes      Yes          1520      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           GUIDROZ, WARREN J.,     Owner as of 6/9/15    City or County Tax            10/11/1995          Current Owner      Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                          [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                  SR.                                           Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                  0.86                 94.47             $143,594                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential     1/18/2011       //2008          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       4/2011-10/2011    Construction,   $43,473.59     10/2011      $10,933.18                                  CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  343   RP         NOAHH (New Orleans   2220 Highland Drive    Violet        LA      70092   [IX], [XV],        5/5/2011   Yes      Yes          1152      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           SANCHEZ, RICARDO        Owner as of 6/9/15    Tax Records + Title/Deed       8/25/2010          Current Owner      Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                          [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                  ARNOLD                                                                                                                                     820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                  0.86                 94.47             $108,829                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential     12/7/2010       //2007          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       1/2011-6/2011                     $49,900.56      6/2011      $6,910.13                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  344   RP         NOAHH (New Orleans   2300 Caluda Street     Violet        LA      70092   [IX], [XV],        5/5/2011   Yes      Yes          1152      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           TAYLOR, DOLORES         Owner as of 6/9/15    City or County Tax            12/23/2008          Current Owner      Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                          [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                  HAYES                                         Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                  0.86                 94.47             $108,829                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential    10/11/2010       //2007          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       1/2011-6/2011                     $52,486.36      6/2011      $4,678.38                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  345   RP         NOAHH (New Orleans   2312 Farmsite Road     Violet        LA      70092   [IX], [XV],        5/5/2011   Yes      Yes          1581      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           LAY, JOANN MARIE 1/2 Owner as of 6/9/15       City or County Tax             4/30/2008          Current Owner      Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                          [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                                                Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Parker
                                                                                                                                                                                                                  0.86                 94.47             $149,357                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential     2/18/2011       //2007          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       3/2011-9/2011                     $58,880.06      9/2011      $7,734.41                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  346   RP         NOAHH (New Orleans   2312 Gina Drive        St. Bernard   LA      70085   [IX], [XV],        5/5/2011   Yes      Yes          1581      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           GUERRA, EDNA ASHER Owner as of 6/9/15         City or County Tax             4/24/2007          Current Owner      Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                          [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                  1/2                                           Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                  0.86                 94.47             $149,357                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential     10/6/2010       //2008          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       1/2011-6/2011                     $67,578.84      6/2011      $10,172.79                                  CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  347   RP         NOAHH (New Orleans   2316 Caluda Street     Violet        LA      70092   [IX], [XV],        5/5/2011   Yes      Yes          1152      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           LAFRANCE, DOROTHY       Owner as of 6/9/15    City or County Tax             9/15/1987          Current Owner      Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                          [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                  MILLER                                        Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                  0.86                 94.47             $108,829                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential    11/19/2010       //2008          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       2/2011-7/2011                     $52,290.20      7/2011      $15,984.06                                  CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  348   RP         NOAHH (New Orleans   2320 Licciardi Lane    Violet        LA      70092   [IX], [XV],        5/5/2011   Yes      Yes          1520      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           BRADFORD, HAZEL         Owner as of 6/9/15    City or County Tax             3/27/1986          Current Owner      Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                          [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                  RICHARD                                       Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Parker
                                                                                                                                                                                                                  0.86                 94.47             $143,594                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential     9/23/2010       //2007          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       12/2010-7/2011                    $54,645.63      7/2011      $15,151.90                                  CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  349   RP         NOAHH (New Orleans   2320 New Orleans       Harvey        LA      70058   [IX], [XV],        5/5/2011   Yes      Yes          1176      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           NEW ORLEANS AREA        Current Owner,        City or County Tax                                Current Owner      Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for     Avenue                                               [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                  HABITAT FOR             Unknown Purchase      Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                        HUMANITY INC            Date                                                                                                               New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                  0.86                 94.47             $111,097                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential     1/14/2015       //2007                                                                                                    //                                            No                          //                                                                            //                                       2/2011-8/2011     Construction,   $42,436.30      8/2011      $12,261.11                                  CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  350   RP         NOAHH (New Orleans   2338 Rochelle Street   Harvey        LA      70058   [XIII], [XV],      7/5/2011   Yes      Yes          1176      Property Tax Assessor's           Yes                                                                         Taihe/ Crescent Photo          "MADE IN CHINA MEET      17, 27               D, I        NEW ORLEANS             Current Owner,        City or County Tax                                Current Owner      Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for     (Christy Kisack)                                     [XVI], [XVII]                                                  Document with Square                                                                                         City                           OR EXCEEDS ASTM C1396                                     HABITAT FOR             Unknown Purchase      Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                              04 STANDARD" matches DIG                                  HUMANITY INC            Date                                                                                                               New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                  0.86                 94.47             $111,097                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential     1/21/2015       //2009                                                                                                8/26/2016         No              Yes             No                          //                                                                            //                                       8/2011-12/2011                    $52,125.81     12/2011      $11,097.95                                  CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
                                                                                                                                                                                                                                                                                                        #3 and "Manufactured in                                                                                                                                                                                                                                                                                                                                                                                                                            Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated                        Corporation
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                                                                                                                                                                                                                                                                                                        P.R.C." matches DIG #2                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  all evidence is in pristine condition. NOAHH has and continues to gather receipts and other materials
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  351   RP         NOAHH (New Orleans   2346 Louisa Street     New Orleans   LA      70117   [IX], [XV],        5/5/2011   Yes      Yes          1034      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           NEW ORLEANS AREA        Owner as of 6/9/15    City or County Tax             10/1/2014          Current Owner      Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                          [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                  HABITAT FOR                                   Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                        HUMANITY,                                                                                                                                  New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                  0.86                 94.47              $97,682                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential     1/21/2015       //2008                                                                                                    //                                            No                          //                                                                            //                                       7/2011-10/2011                    $52,564.99     10/2011      $16,846.26                                  CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  352   RP         NOAHH (New Orleans   2500 Gina Drive        St. Bernard   LA      70085   [IX], [XV],        5/5/2011   Yes      Yes          1520      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           SUMMERLIN, JUDY A.      Owner as of 6/9/15    City or County Tax             4/19/1994          Current Owner      Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                          [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                                                Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Parker
                                                                                                                                                                                                                  0.86                 94.47             $143,594                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential     9/20/2010       //2008          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       1/2011-6/2011                     $52,958.80      6/2011      $9,200.00                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  353   RP         NOAHH (New Orleans   2529 Caluda Street     Violet        LA      70092   [IX], [XV],        5/5/2011   Yes      Yes          1152      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           JONES, BETTY            Owner as of 6/9/15,   City or County Tax             10/2/1969             2/22/2016       Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                          [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                          No Longer Owns        Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  answering these questions, NOAHH has assumed that CDW means corrosive CDW and not just any
                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                                                Property                                                                                                           New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                  0.86                 94.47             $108,829                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential     3/11/2011       //2008          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       4/2011-8/2011                     $49,798.79      8/2011      $9,524.01                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated                        Corporation
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  354   Ex 10/79   NOAHH (New Orleans   2544 Gallier (NOAHH)New Orleans      LA      70117   [XIII], [XV],      7/5/2011   Yes      Yes          1071      Property Tax Assessor's           Yes                                                                         Crescent City   Inspection                                N/A                D           NEW ORLEANS AREA        Owner as of 6/9/15    City or County Tax             1/19/2012          Current Owner      Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                          [XVI], [XVII]                                                  Document with Square                                                                                                         Report                                                                   HABITAT FOR                                   Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                        HUMANITY                                                                                                                                   New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                  0.86                 94.47             $101,177                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential     1/19/2012       //2009          Yes                                                                                       //                                            No                          //                                                                            //                                         2012-2015          NOAHH        $47,334.57                    $0.00                                     CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated
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  355   RP         NOAHH (New Orleans   2545 Desire Street     New Orleans   LA      70117   [VII], [IX],      1/14/2011   Yes      Yes          1128      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           WATSON ALTHILA          Current Owner,        City or County Tax                                                   Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                          [XV], [XVI],                                                   Document with Square                                                                                                                                                                                                          Unknown Purchase      Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  answering these questions, NOAHH has assumed that CDW means corrosive CDW and not just any
                   Humanity, Inc.)                                                           [XVII]                                                                Footage                                                                                                                                                                                                                Date                                                                                                               New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely           10/2010-      Lakewood
                                                                                                                                                                                                                  0.86                 94.47             $106,562                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential     9/20/2010       //2008          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                                                         $41,821.30     12/2010      $7,306.21                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated           12/2010      Corporation
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  356   RP         NOAHH (New Orleans   2701 Kenilworth Drive St. Bernard    LA      70085   [IX], [XV],        5/5/2011   Yes      Yes          1520      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           HELD, MICHAEL D.        Owner as of 6/9/15    City or County Tax             1/12/2007          Current Owner      Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                          [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                                                Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Parker
                                                                                                                                                                                                                  0.86                 94.47             $143,594                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential     3/21/2011       //2008          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       5/2011-10/2011                    $55,418.80     10/2011      $9,197.08                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  357   RP         NOAHH (New Orleans   2720 Gina Drive        St. Bernard   LA      70085   [IX], [XV],        5/5/2011   Yes      Yes          1612      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           GUERRA, CHARLENE        Owner as of 6/9/15    City or County Tax             2/22/1996          Current Owner      Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                          [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                  ALPHONSO                                      Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                  0.86                 94.47             $152,286                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential     3/11/2011       //2007          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       4/2011-10/2011    Consturction,   $51,664.81     10/2011      $11,523.73                                  CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  358   RP         NOAHH (New Orleans   3125 N Galvez Street New Orleans     LA      70117   [IX], [XV],        5/5/2011   Yes      Yes          1470      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           NEW ORLEANS AREA        Owner as of 6/9/15    City or County Tax            12/13/2013          Current Owner      Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                          [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                  HABITAT FOR                                   Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                        HUMANITY                                                                                                                                   New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                  0.86                 94.47             $138,871                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential    11/21/2013       //2007                                                                                                    //                                            No                          //                                                                            //                                       8/2011-10/2011                    $50,873.77     10/2011      $12,863.96                                  CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  359   RP         NOAHH (New Orleans   3251 Law Street        New Orleans   LA      70117   [IX], [XV],        5/5/2011   Yes      Yes          1056      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           NEW ORLEANS AREA        Owner as of 6/9/15    City or County Tax             11/1/2006          Current Owner      Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                          [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                  HABITAT FOR                                   Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                        HUMANITY IN                                                                                                                                New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                  0.86                 94.47              $99,760                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential    11/14/2016       //2007                                                                                                    //                                            No                          //                                                                            //                                       5/2011-8/2011                     $44,761.96      8/2011      $7,977.48                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  360   RP         NOAHH (New Orleans   3631 1st Street        New Orleans   LA      70125   [IX], [XV],        5/5/2011   Yes      Yes          1022      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           ROBY LOUIS V SR         Owner as of 6/9/15    City or County Tax             3/30/2009          Current Owner      Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                          [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                                                Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                  0.86                 94.47              $96,548                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential     2/1/2011        //2008          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       3/2011-7/2011     Construction,   $42,625.00      7/2011      $8,859.90                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  361   RP         NOAHH (New Orleans   3720 4th Street (Cathy New Orleans   LA      70125   [XIII], [XV],      7/5/2011   Yes      Yes          1022      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           NEW ORLEANS AREA        Owner as of 6/9/15    City or County Tax             7/21/2014          Current Owner      Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for     Hankton)                                             [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                  HABITAT FOR                                   Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                        HUMANITY                                                                                                                                   New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                  0.86                 94.47              $96,548                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential     7/1/2014        //2007                                                                                                    //                                            No                          //                                                                            //                                       7/2011-10/2011                    $45,105.27     10/2011      $9,761.83                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  362   RP         NOAHH (New Orleans   4733 Wilson Avenue     New Orleans   LA      70126   [IX], [XV],        5/5/2011   Yes      Yes          1040      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           BROWN CHAD JEROT        Owner as of 6/9/15    City or County Tax             6/30/2008          Current Owner      Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                          [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                                                Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                  0.86                 94.47              $98,249                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential     3/14/2011       //2008          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       5/2011-8/2011                     $46,445.33      8/2011      $9,752.96                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  363   RP         NOAHH (New Orleans   4737 Wilson Avenue     New Orleans   LA      70126   [IX], [XV],        5/5/2011   Yes      Yes          1092      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           DABNEY CYNTHIA          Owner as of 6/9/15    City or County Tax             9/29/2008          Current Owner      Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                          [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                                                Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                  0.86                 94.47             $103,161                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential     10/8/2010       //2008          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       11/2010-3/2011 HumbleHG, LLC      $40,841.08      3/2011      $9,429.30                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  364   RP         NOAHH (New Orleans   4746 Wilson Avenue     New Orleans   LA      70126   [IX], [XV],        5/5/2011   Yes      Yes          1056      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           LEONARD KASIME B        Owner as of 6/9/15    City or County Tax             12/9/2009          Current Owner      Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                          [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                                                Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                  0.86                 94.47              $99,760                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential     9/30/2010       //2009          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       11/2010-3/2011 HumbleHG, LLC      $41,797.97      3/2011      $6,586.18                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  365   RP         NOAHH (New Orleans   4816 Tulip Street      New Orleans   LA      70126   [IX], [XV],        5/5/2011   Yes      Yes          1040      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           HULBERT LASHONDA        Owner as of 6/9/15    City or County Tax             8/14/2009          Current Owner      Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                          [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                  M                                             Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                  0.86                 94.47              $98,249                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential    12/31/2010       //2009          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                             4/2011     HumbleHG, LLC    $30,368.21      4/2011      $11,096.39                                  CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  366   RP         NOAHH (New Orleans   6101 Second Street     Violet        LA      70092   [XV], [XVI],       7/5/2011   Yes      Yes          1651      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           PEREZ, LEO JOHN, JR     Owner as of 6/9/15    City or County Tax             3/2/2012           Current Owner      Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                          [XVII]                                                         Document with Square                                                                                                                                                                                                                                Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
                                                                                                                                                                                                                  0.86                 94.47             $155,970                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential     5/31/2012       //2008          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       7/2012-3/2013                     $56,915.41      3/2013      $9,908.81                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  367   RP         NOAHH (New Orleans   6418 4th Street        New Orleans   LA      70125   [IX], [XV],        5/5/2011   Yes      Yes           640      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           BIENEMY, CAROLYN        Owner as of 6/9/15    City or County Tax             9/13/1993          Current Owner      Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                          [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                                                Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                  0.86                 94.47              $60,461                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential     2/3/2011        //2007          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       3/2011-9/2011     Construction,   $41,405.10      9/2011      $9,894.04                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  368   RP         NOAHH (New Orleans   6518 Louis Elam Street Violet        LA      70092   [IX], [XV],        5/5/2011   Yes      Yes           640      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           JACKSON, PHILIP 1/2     Owner as of 6/9/15    Tax Records + Title/Deed       5/20/1976          Current Owner      Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                          [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                                                                                                                                             820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                  0.86                 94.47              $60,461                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential     2/3/2011        //2007          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       3/2011-9/2011     Construction,   $64,515.43      9/2011      $10,567.45                                  CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  369   RP         NOAHH (New Orleans   8529 Palmetto Street   New Orleans   LA      70125   [IX], [XV],        5/5/2011   Yes      Yes          1040      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           TRASK JEANNETTE H       Owner as of 6/9/15    City or County Tax             7/27/2007          Current Owner      Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                          [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                                                Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Lakewood
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  370   RP         NOAHH (New Orleans   1533 Bayou Road        St. Bernard   LA      70085   [IX], [XV],        5/5/2011   Yes      Yes          1581      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           UNKNOWN                 Records Not Available City or County Tax                                                   Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                          [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                                                Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Parker
                                                                                                                                                                                                                  0.86                 94.47             $149,357                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential     9/30/2010       //2008          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                         1/11-7/11                       $56,660.12     07/2011      $13,317.50                                  CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  371   RP         NOAHH (New Orleans   1816 Karl Drive Arabi Arabi          LA      70032   [IX], [XV],        5/5/2011   Yes      Yes          1581      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                     27                 D           DUCOTE, JANICE HALL No Record of              City or County Tax                                                   Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                          [XVI], [XVII]                                                  Document with Square                                                                                                                                                                                                      Ownership                 Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely                         Parker
                                                                                                                                                                                                                  0.86                 94.47             $149,357                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential     11/2/2010       //2008          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       12/2010-4/2011                    $54,806.86      4/2011      $8,411.05                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  372   Ex 10/79   NOAHH (New Orleans   1829 Alvar Street      New Orleans   LA      70117   [IX], [XV],        5/5/2011   Yes      Yes          1143      Property Tax Assessor's           Yes                                                                         Crescent City   Inspection                                27                 D           TRAYANOVA               No Record of          City or County Tax                                   5/7/2007        Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                          [XVI], [XVII]                                                  Document with Square                                                                                                         Report                                                                   BOYANNA                 Ownership             Records                                                                                      820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  answering these questions, NOAHH has assumed that CDW means corrosive CDW and not just any
                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Completely                         Lakewood
                                                                                                                                                                                                                  0.86                 94.47             $107,979                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ARH             50%         12/9/2014                         Residential     10/6/2010       //2006          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       2/2010-4/2011                     $45,345.54      4/2011      $6,186.00                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       remediated                        Corporation
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                as per Judge Fallon's order. NOAHH has not recently opened each one of those boxes to ensure that
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                all evidence is in pristine condition. NOAHH has and continues to gather receipts and other materials
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  373   RP         NOAHH (New Orleans   1921 Alvar Street      New Orleans   LA      70117   [IX], [XV],        5/5/2011   Yes      Yes          1122      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS 14, 21                  H, I        CRESPO RICARDO M        No Record of          City or County Tax                                                   Herman, Herman & Katz   Russ Herman, Esq.       (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                          4.30.18
                   Area Habitat for                                                          [XVI], [XVII]                                                  Document with Square                                                                                                                        OR EXCEEDS ASTM C1396-                                                            Ownership             Records                                                                                      820 O'Keefe Avenue
                   Humanity, Inc.)                                                                                                                                 Footage                                                                                                                              04 STANDARD" matches DIG                                                                                                                                                                             New Orleans, LA 70113                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                  0.86                 94.47             $105,995                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential    10/25/2010       //2006          Yes                                                                      Yes              //            No              Yes             No                          //                                                                            //                                       12/
                                                                                                                                                                                                                                                                                                        #3                                                                                                                                                                                                                                                                                                                                                                                                                                                 Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                Case 2:09-md-02047-EEF-MBN Document 21527-2 F ed 07/16/18 Page 7 of 9

Claimant Source      Claimant Name             Affected Property      City          State   Zip     Omni(s)              Date of Earliest PPF    Indicia    Verified    Type of Verficiation     Counsel's Declaration                                                               Product         Type of Indicia Description of Markings      Markings # from    Product       Current Owner as of   Ownership Status of     Proof of Ownership Per     Purchase Date Per   Sell Date if Applicable Counsel                     Counsel Address                  Counsel Phone    Counsel Email                                                        Global,                                                                Pre-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Amount Owed
Identifier                                     Address                                                                    Filed Taishan (Yes/No) (Yes/No)   Square      Provided Uploaded to       Verifying Square     2017 RS Means                                                Brand(s)                                                     Taishan Product ID Bucket(s)     May-August 2017 Per   Named Claimant Per           BrownGreer               BrownGreer       or Current Owner Per                                                                                                                                                     Banner, InEx                                                         Remediation                                                                                                                                               Aware property                                                                            Date Sold or                                                                                                                                                                                                            Who Performed
                                                                                                                                                                                                                                              2017 Cost Per SF    2017 Remediation                                                                                                                                                                                                                                                                                                                                               Already                                                                                                                  VA        Holdback                              Remediation                                                                                  If no, when did                                                                           Assign any       Expressly                      Court                                                                           on        Date of                       Partially or                                                      Date        Alternative
                                                                                                                              Omni                          Footage           Sharefile                Footage         Residential Location                                                                                                       Catalog                              BrownGreer           BrownGreer                                                               BrownGreer                                                                                                                  Pilot Program               Knauf        Repair and                 Foreclosure Lost Rent,                   Alternative                                      Remediation                                                  Residential or Date Property   Date CDW      had CDW at                    If CDW Installed Before Purchase, Date you Assignment of   Transferred                                                                                                              Foreclosure or                              Short Sale Price                   Dates of          Work to     Total Cost for                                Loss of Use  Diminution of
                                                                                                                                                                                                                                              [B = A x $109.85]      Damages                                                                                                                                                                                                                                                                                                                                                    Remediated                            Bodily Injury                             Miscellaneous             Tenant Loss Settlement    Payment                   KPT %       Complete by     SPPF Completed?                                                                you become                                                                              Rights with   Retain Rights to   Bankruptcy   Bankruptcy   Date of Filing   Docket No.   Present Status                  Loan/Mortgage Foreclosure or                   Completely                                                      Remediation     Living                                                                             SPPF Comments/ Notes
                                                                                                                                                                                                                             Factor                                                                                                                                                                                                                                                                                                                                                                                Payments                Remediation    Relocation                or Short Sale Use, or Sales                  Living                                          Option                                                     commercial?      Acquired       Installed      time of                            Learned it Contained CDW               Rights?       Property if                                                                                                              Short Sale?                                 (if applicable)                  Remediation       Remediate     Remediation                                 and Enjoyment    Value
                                                                                                                                                                                                                                                                      [SF x B]                                                                                                                                                                                                                                                                                                                                                 Home (ARH)                                                                                                             Gross Award   Amount                                  KPT?                                                                                           aware?                                                                                  Sale?       Pursue Claim?                    Filed In                                                                    at time of    Short Sale                    Remediated?                                                       Complete     Expenses
                                                                                                                                                                                                                              [A]                                                                                                                                                                                                                                                                                                                                                                                                                         Expenses                                                             Expenses                                                                                                                                                   purchase?                                                                                Applicable                                                                                                                                                                                                               Property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Foreclosure
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            (GBI)                                                              (PRALE)
  383   RP           NOAHH (New Orleans        2305 Mathis Avenue     Harvey        LA      70058   [IX], [XV],             5/5/2011   Yes      Yes          1176      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           PERKINS,TORREY K        Records Not Available City or County Tax                                                     Herman, Herman & Katz         Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                     Area Habitat for                                                               [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                                                                   Records                                                                                              820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       answering these questions, NOAHH has assumed that CDW means corrosive CDW and not just any
                     Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely        10/2010-          Parker
                                                                                                                                                                                                                              0.86                 94.47             $111,097                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  N/A                            No                             Residential     2/12/2013       //2008                                                                                                3/31/2014         No              Yes             No                          //                                                                            //                                                                           $40,834.30    12/2010      $10,090.39                                    CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated        12/2010         Construction
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     as per Judge Fallon's order. NOAHH has not recently opened each one of those boxes to ensure that
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     all evidence is in pristine condition. NOAHH has and continues to gather receipts and other materials
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  384   RP           NOAHH (New Orleans        2307 New Orleans       Harvey        LA      70058   [IX], [XV],             5/5/2011   Yes      Yes          1176      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           THOMAS,ELNORA           Records Not Available City or County Tax                                                     Herman, Herman & Katz         Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                     Area Habitat for          Avenue                                               [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                                                                   Records                                                                                              820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Parker                                                                                   answering these questions, NOAHH has assumed that CDW means corrosive CDW and not just any
                     Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                              0.86                 94.47             $111,097                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  N/A                            No                             Residential    10/18/2010       //2009          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                       10/2010-3/2011     Construction,    $45,100.26     3/2011      $9,239.75                                     CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  385   RP           NOAHH (New Orleans        2309 Mathis Avenue     Harvey        LA      70058   [IX], [XV],             5/5/2011   Yes      Yes          1176      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           PERKINS,TORREY K        Records Not Available City or County Tax                                                     Herman, Herman & Katz         Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                     Area Habitat for                                                               [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                                                                   Records                                                                                              820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                     Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely                          Parker
                                                                                                                                                                                                                              0.86                 94.47             $111,097                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  N/A                            No                             Residential     9/29/2010       //2008          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                       10/2010-3/2011                      $42,503.88     3/2011      $8,604.69                                     CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated                        Construction
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  386   RP           NOAHH (New Orleans        2315 Jefferson Avenue Harvey         LA      70058   [XIII], [XV],           7/5/2011   Yes      Yes          1176      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           JOHNSON,LORENA M.       Records Not Available City or County Tax                                                     Herman, Herman & Katz         Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                     Area Habitat for          (Lorena Johnson)                                     [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                                                                   Records                                                                                              820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       answering these questions, NOAHH has assumed that CDW means corrosive CDW and not just any
                     Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely                          Lakewood
                                                                                                                                                                                                                              0.86                 94.47             $111,097                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  N/A                            No                             Residential    11/28/2011       //2009          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                       3/2012-'10/2012                     $45,565.58    10/2012      $3,754.76                                     CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  387   RP           NOAHH (New Orleans        2316 Victoria Avenue Harvey          LA      70058   [IX], [XV],             5/5/2011   Yes      Yes          1176      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           HOUSE,LUTISHER K        Records Not Available City or County Tax                                                     Herman, Herman & Katz         Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                     Area Habitat for                                                               [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                                                                   Records                                                                                              820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                     Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                              0.86                 94.47             $111,097                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  N/A                            No                             Residential     9/20/2010       //2007          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                       12/2010-3/2011     Consrtuction,    $42,768.98     3/2011      $8,905.51                                     CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  388   RP           NOAHH (New Orleans        2319 Mathis Avenue     Harvey        LA      70058   [IX], [XV],             5/5/2011   Yes      Yes          1176      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           PRICE,LAKUACHEL D       Records Not Available City or County Tax                                                     Herman, Herman & Katz         Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                     Area Habitat for                                                               [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                                                                   Records                                                                                              820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                     Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely                          Lakewood
                                                                                                                                                                                                                              0.86                 94.47             $111,097                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  N/A                            No                             Residential     10/1/2010       //2008          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                       12/2010-5/2011                      $44,381.51     5/2011      $14,177.12                                    CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  389   RP           NOAHH (New Orleans        2320 Victoria Avenue Harvey          LA      70058   [IX], [XV],             5/5/2011   Yes      Yes          1034      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           JACKSON,TAMI R          Records Not Available City or County Tax                                                     Herman, Herman & Katz         Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                     Area Habitat for                                                               [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                                                                   Records                                                                                              820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Parker                                                                                   answering these questions, NOAHH has assumed that CDW means corrosive CDW and not just any
                     Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely        10/2010-
                                                                                                                                                                                                                              0.86                 94.47              $97,682                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  N/A                            No                             Residential     9/24/2010       //2007          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                                          Construction,    $43,254.59    12/2010      $9,457.62                                     CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  390   RP           NOAHH (New Orleans        2323 Mathis Avenue     Harvey        LA      70058   [IX], [XV],             5/5/2011   Yes      Yes          1176      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           JOSEPH,TERRENCE D       Records Not Available City or County Tax                                                     Herman, Herman & Katz         Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                     Area Habitat for                                                               [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                                                                   Records                                                                                              820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                     Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely                          Parker
                                                                                                                                                                                                                              0.86                 94.47             $111,097                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  N/A                            No                             Residential    11/19/2010       //2008          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                       12/2010-3/2011                      $42,656.90     3/2011      $9,427.88                                     CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  391   RP           NOAHH (New Orleans        2325 Rochelle Street   Harvey        LA      70058   [IX], [XV],             5/5/2011   Yes      Yes          1176      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           SCIENEAUX,SONYA M. Records Not Available City or County Tax                                                          Herman, Herman & Katz         Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                     Area Habitat for                                                               [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                                                              Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                     Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                              0.86                 94.47             $111,097                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  N/A                            No                             Residential     10/1/2010       //2009          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                       10/2010-1/2011     Construction,    $44,855.47     1/2011      $7,162.57                                     CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  392   RP           NOAHH (New Orleans        2327 Mathis Avenue     Harvey        LA      70058   [IX], [XV],             5/5/2011   Yes      Yes          1034      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           ROYAL,VERONICA D        Records Not Available City or County Tax                                                     Herman, Herman & Katz         Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                     Area Habitat for                                                               [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                                                                   Records                                                                                              820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                     Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely                          Parker
                                                                                                                                                                                                                              0.86                 94.47              $97,682                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  N/A                            No                             Residential     9/22/2010       //2008          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                       10/2010-1/2011                      $43,395.47     1/2011      $8,380.57                                     CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  393   RP           NOAHH (New Orleans        2327 Rochelle Street   Harvey        LA      70058   [IX], [XV],             5/5/2011   Yes      Yes          1034      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           SNYDER,TYRONE &         Records Not Available City or County Tax                                                     Herman, Herman & Katz         Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                     Area Habitat for                                                               [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                     TRENA M                                       Records                                                                                              820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                     Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely
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  394   RP           NOAHH (New Orleans        2327 Victoria Avenue Harvey          LA      70058   [IX], [XV],             5/5/2011   Yes      Yes          1176      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           PAIGE,ANEITA E          Records Not Available City or County Tax                                                     Herman, Herman & Katz         Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                     Area Habitat for                                                               [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                                                                   Records                                                                                              820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                     Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely        10/2010-
                                                                                                                                                                                                                              0.86                 94.47             $111,097                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  N/A                            No                             Residential     9/29/2010       //2008          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                                          Construction,    $41,579.55    12/2010      $6,711.90                                     CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  395   RP           NOAHH (New Orleans        2328 Clouet Street     New Orleans   LA      70117   [IX], [XV],             5/5/2011   Yes      Yes          1034      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           UNKNOWN                 Records Not Available                                                                        Herman, Herman & Katz         Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                     Area Habitat for                                                               [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                                                                                                                                                                        820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                     Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely                          Lakewood
                                                                                                                                                                                                                              0.86                 94.47              $97,682                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  N/A                            No                             Residential     11/9/2010       //2007          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                       2/2011-5/2011                       $43,341.02     5/2011      $6,884.66                                     CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  396   RP           NOAHH (New Orleans        2328 Rochelle Street   Harvey        LA      70058   [IX], [XV],             5/5/2011   Yes      Yes          1034      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           STEVENSON,LATASHA Records Not Available City or County Tax                                                           Herman, Herman & Katz         Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                     Area Habitat for                                                               [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                     D                                       Records                                                                                                    820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                     Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely        10/2010-
                                                                                                                                                                                                                              0.86                 94.47              $97,682                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  N/A                            No                             Residential     9/22/2010       //2009          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                                          Constructions,   $42,065.95    12/2010      $7,411.37                                     CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  397   RP           NOAHH (New Orleans        2330 Piety Street      New Orleans   LA      70117   [IX], [XV],             5/5/2011   Yes      Yes          1104      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           JOHNSON MARSHALL        No Record of            City or County Tax                                                   Herman, Herman & Katz         Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                     Area Habitat for                                                               [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                     KEENAN                  Ownership               Records                                                                                            820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                     Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely                          Lakewood
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  398   RP           NOAHH (New Orleans        2334 Rochelle Street   Harvey        LA      70058   [IX], [XV],             5/5/2011   Yes      Yes          1176      Property Tax Assessor's           Yes                                                                         Taihe/ Crescent Photo          "MADE IN CHINA MEET           17, 27             D, I        AGEE,SARAH P.           Records Not Available City or County Tax                                                     Herman, Herman & Katz         Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                     Area Habitat for                                                               [XVI], [XVII]                                                       Document with Square                                                                                         City                           OR EXCEEDS ASTM C1396                                                                                      Records                                                                                              820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                     Humanity, Inc.)                                                                                                                                           Footage                                                                                                                              04 STANDARD" matches DIG                                                                                                                                                                                        New Orleans, LA 70113                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely        10/2010-
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                                                                                                                                                                                                                                                                                                                    #3 and "Crescent City Gypsum"                                                                                                                                                                                                                                                                                                                                                                                                                                            Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated        12/2010
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  399   RP           NOAHH (New Orleans        2401 Clouet Street     New Orleans   LA      70117   [IX], [XV],             5/5/2011   Yes      Yes          1040      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           LOUIS HERBERT M         No Record of            City or County Tax                                                   Herman, Herman & Katz         Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                     Area Habitat for                                                               [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                     LOUIS JOANNE J          Ownership               Records                                                                                            820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                     Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely                          Lakewood
                                                                                                                                                                                                                              0.86                 94.47              $98,249                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  N/A                            No                             Residential     2/7/2011        //2007          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                       3/2011-5/2011                       $42,628.76     5/2011      $6,108.27                                     CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  400   RP           NOAHH (New Orleans        2434 Louisa Street     New Orleans   LA      70117   [IX], [XV],             5/5/2011   Yes      Yes          1025      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           PARLOW JAMIE            Records Not Available City or County Tax                                                     Herman, Herman & Katz         Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                     Area Habitat for                                                               [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                                                                   Records                                                                                              820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                     Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely        10/2010-          Lakewood
                                                                                                                                                                                                                              0.86                 94.47              $96,832                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  N/A                            No                             Residential     9/29/2010       //2008          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                                                           $46,752.41    12/2010      $5,381.43                                     CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  401   RP           NOAHH (New Orleans        2504 Desire Street     New Orleans   LA      70117   [IX], [XV],             5/5/2011   Yes      Yes          1025      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           VICTOR NIESHA           Records Not Available City or County Tax                                                     Herman, Herman & Katz         Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                     Area Habitat for                                                               [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                                                                   Records                                                                                              820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                     Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely                          Lakewood
                                                                                                                                                                                                                              0.86                 94.47              $96,832                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  N/A                            No                             Residential     2/23/2011       //2008          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                       4/2011-7/2011                       $54,465.74     7/2011      $9,573.39                                     CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  402   RP           NOAHH (New Orleans        2529 Desire Street     New Orleans   LA      70117   [IX], [XV],             5/5/2011   Yes      Yes          1128      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           ANDREWS LYNELL M        Records Not Available City or County Tax                                                     Herman, Herman & Katz         Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                     Area Habitat for                                                               [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                                                                   Records                                                                                              820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                     Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely                          Lakewood
                                                                                                                                                                                                                              0.86                 94.47             $106,562                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  N/A                            No                             Residential     11/1/2010       //2008          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                       12/2010-2/2011                      $42,535.16     2/2011      $7,821.80                                     CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  403   RP           NOAHH (New Orleans        2530 Gallier Street    New Orleans   LA      70117   [IX], [XV],             5/5/2011   Yes      Yes           981      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           HAWKINS LILLIE MAE      Records Not Available City or County Tax                                                     Herman, Herman & Katz         Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                     Area Habitat for                                                               [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                                                                   Records                                                                                              820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                     Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely                          Lakewood
                                                                                                                                                                                                                              0.86                 94.47              $92,675                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  N/A                            No                             Residential     9/13/2010       //2007          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                       11/2010-1/2011                      $42,674.55     1/2011      $10,825.29                                    CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  404   RP           NOAHH (New Orleans        2717 Palmetto Street   New Orleans   LA      70125   [VII], [IX],           1/14/2011   Yes      Yes          1581      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           SMITH, CURTIS M.        Records Not Available City or County Tax                                                     Herman, Herman & Katz         Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                     Area Habitat for                                                               [XV], [XVI],                                                        Document with Square                                                                                                                                                                                                                                   Records                                                                                              820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                     Humanity, Inc.)                                                                [XVII]                                                                     Footage                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                              0.86                 94.47             $149,357                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  N/A                            No                             Residential     9/13/2010       //2007          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                       12/2010-5/2011     Constructions,   $61,052.61     5/2011      $9,528.93                                     CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  405   RP           NOAHH (New Orleans        3030 Albany Street     New Orleans   LA      70121   [IX], [XV],             5/5/2011   Yes      Yes          1323      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           LANDRY,JANELL M         Records Not Available City or County Tax                                                     Herman, Herman & Katz         Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                     Area Habitat for                                                               [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                                                                   Records                                                                                              820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                     Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                              0.86                 94.47             $124,984                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  N/A                            No                             Residential     9/29/2010       //2009          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                       11-2010-6/2011 HumbleHG, LLC        $48,840.85     6/2011      $18,545.90                                    CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  406   RP           NOAHH (New Orleans        3127 N Galvez Street New Orleans     LA      70117   [IX], [XV],             5/5/2011   Yes      Yes          1071      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           PRESTON SHELLEY         Records Not Available City or County Tax                                                     Herman, Herman & Katz         Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                     Area Habitat for                                                               [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                                                                   Records                                                                                              820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                     Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely                          Lakewood
                                                                                                                                                                                                                              0.86                 94.47             $101,177                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  N/A                            No                             Residential    10/15/2010       //2008          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                       4/2011-7/2011                       $44,966.81     7/2011      $8,758.61                                     CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  407   RP           NOAHH (New Orleans        31 Gibbs Drive         Chalmette     LA      70043   [IX], [XV],             5/5/2011   Yes      Yes          1520      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           LIEBERT, MELISSA        No Record of            City or County Tax                                                   Herman, Herman & Katz         Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                     Area Habitat for                                                               [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                     MICHELLE                Ownership               Records                                                                                            820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                     Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely                       Parker
                                                                                                                                                                                                                              0.86                 94.47             $143,594                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  N/A                            No                             Residential    10/13/2010       //2007          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                       3/2011-9/2011                       $53,285.91     9/2011      $8,688.47                                     CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  408   RP           NOAHH (New Orleans        3229 Maureen Lane      Mereaux       LA      70075   [IX], [XV],             5/5/2011   Yes      Yes          1520      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           SALANDE, JAMES J., JR. No Record of             City or County Tax                                                   Herman, Herman & Katz         Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                     Area Habitat for                                                               [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                     & SALANDE, JAMES J., Ownership                  Records                                                                                            820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                     Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                           SR.                                                                                                                                                New Orleans, LA 70113                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely
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  409   RP           NOAHH (New Orleans        3300 Jackson           Chalmette     LA      70043   [IX], [XV],             5/5/2011   Yes      Yes          1581      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           BAUER, DANIEL G.,       No Record of            City or County Tax                                                   Herman, Herman & Katz         Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                     Area Habitat for          Boulevard                                            [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                     TRUST                   Ownership               Records                                                                                            820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Parker                                                                                   answering these questions, NOAHH has assumed that CDW means corrosive CDW and not just any
                     Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                              0.86                 94.47             $149,357                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  N/A                            No                             Residential    10/19/2010       //2007          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                       1/2011-6/2011      Construction,    $56,875.20     6/2011      $11,105.29                                    CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  410   RP           NOAHH (New Orleans        3308 Rose Street       Chalmette     LA      70043   [IX], [XV],             5/5/2011   Yes      Yes          1520      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           STARNES, ROSALYN        No Record of            City or County Tax                                                   Herman, Herman & Katz         Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                     Area Habitat for                                                               [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                     ELAINE                  Ownership               Records                                                                                            820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                     Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                              0.86                 94.47             $143,594                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  N/A                            No                             Residential     1/3/2010        //2008          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                       2/2011-7/2011      Constructions,   $55,277.50     7/2011      $10,922.76                                    CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  411   RP           NOAHH (New Orleans        4105 E. Louisiana State Kenner       LA      70065   [XIII], [XV],           7/5/2011   Yes      Yes          1260      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           HYMEL,NICOLE M.         Records Not Available City or County Tax                                                     Herman, Herman & Katz         Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                     Area Habitat for          Drive (Nicole Hymel)                                 [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                                                                   Records                                                                                              820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                     Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely        10/2011-          Lakewood
                                                                                                                                                                                                                              0.86                 94.47             $119,032                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  N/A                            No                             Residential     8/5/2011        //2008          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                                                           $44,212.32    12/2012      $30,819.36                                    CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  412   RP           NOAHH (New Orleans        65 Old Hickory Street Chalmette      LA      70043   [XIII], [XV],           7/5/2011   Yes      Yes          1664      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           MAJORS, LYNN            No Record of            City or County Tax                                                   Herman, Herman & Katz         Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                     Area Habitat for                                                               [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                     JOHNSON                 Ownership               Records                                                                                            820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                     Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely                          Lakewood
                                                                                                                                                                                                                              0.86                 94.47             $157,198                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  N/A                            No                             Residential     7/25/2011       //2008          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                       8/2011-2/2011                       $60,998.63     2/2011      $9,027.20                                     CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  413   RP           NOAHH (New Orleans        7 Caroll Drive         Chalmette     LA      70043   [IX], [XV],             5/5/2011   Yes      Yes          1664      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           DEGEORGE, JANET         No Record of            City or County Tax                                                   Herman, Herman & Katz         Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                     Area Habitat for                                                               [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                     HOEHN                   Ownership               Records                                                                                            820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                     Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                              0.86                 94.47             $157,198                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  N/A                            No                             Residential    12/20/2010       //2008          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                       2/2011-8/2011      Construction,    $51,152.67     8/2011      $11,192.61                                    CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  414   RP           NOAHH (New Orleans        720 Marais (Sandra     Chalmette     LA      70043   [XIII], [XV],           7/5/2011   Yes      Yes          1664      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           REUTHER, SANDRA L.      No Record of            City or County Tax                                                   Herman, Herman & Katz         Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                     Area Habitat for          Reuther)                                             [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                     BERTUCCI                Ownership               Records                                                                                            820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                     Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely                          Lakewood
                                                                                                                                                                                                                              0.86                 94.47             $157,198                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  N/A                            No                             Residential     6/9/2011        //2007          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                       7/2011-12/2011                      $59,291.97    12/2011      $3,083.26                                     CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  415   RP           NOAHH (New Orleans        7232 Prosperity Street Arabi         LA      70032   [IX], [XV],             5/5/2011   Yes      Yes          1664      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           TERREBONNE, NOLAN       No Record of            City or County Tax                                                   Herman, Herman & Katz         Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                     Area Habitat for                                                               [XVI], [XVII]                                                       Document with Square                                                                                                                                                                                                             Ownership               Records                                                                                            820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                     Humanity, Inc.)                                                                                                                                           Footage                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                              0.86                 94.47             $157,198                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  N/A                            No                             Residential    10/25/2010       //2007          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                       12/2010-5/2011     Construction,    $58,088.55     5/2011      $9,378.42                                     CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
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  416   RP & Omni    NOAHH (New Orleans        3511 Jackson Blvd.     Chalmette     LA      70043   [II(A)], [IX],         9/16/2010   Yes      Yes          1520      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           HATHEWAY, BILLIE        No Record of            City or County Tax                                                   Herman, Herman & Katz         Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
        XX           Area Habitat for                                                               [XIII], [XV],                                                       Document with Square                                                                                                                                                                                     JEAN BERTUCCI           Ownership               Records                                                                                            820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                     Humanity, Inc.) (Owner:                                                        [XVI], [XVII],                                                             Footage                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely                          Lakewood
                                                                                                                                                                                                                              0.86                 94.47             $143,594                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  N/A                            No                             Residential     6/2/2011        //2007          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                       11/2011-3/2012                      $52,423.18     3/2012      $6,623.26                                     CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
                     Billie Jean Hatheway)                                                          [XX]                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated                         Corporation
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  417   RP & Omni    NOAHH (New Orleans        2119 Caluda Lane       Violet        LA      70092   [IX], [XV],             5/5/2011   Yes      Yes          1152      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           DUCHANE, SUSIANNA       No Record of            City or County Tax                                                   Herman, Herman & Katz         Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                            4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
        XX           Area Habitat for                                                               [XVI], [XVII],                                                      Document with Square                                                                                                                                                                                     ROBERTSON               Ownership               Records                                                                                            820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
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                     Humanity, Inc.) (Owner:                                                        [XX]                                                                       Footage                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                       Completely                          Lakewood
                                                                                                                                                                                                                              0.86                 94.47             $108,829                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  N/A                            No                             Residential    11/29/2011       //2007          Yes                                                                         Yes           //            No              Yes             No                          //                                                                            //                                       1/2011-5/2011                       $48,041.87     5/2011      $9,245.47                                     CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
                     Charles Cuchane)                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated                         Corporation
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  418   Ex 10/79     Nunez, Allen and Janet    2104 Edgar Drive       Violet        LA      70092   [II(A)], [III(A)],     9/16/2010   Yes      Yes          1250      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           NUNEZ, ALLEN J.         Owner as of 6/9/15      City or County Tax             6/22/1972          Current Owner      Baron & Budd, P.C.            Russell Budd, Esq.            (214) 521-3605      rbudd@baronbudd.com                                                                                                                                                                                                               3.22.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       The presence of defective Chinese drywall was
                                                                                                    [XV], [XVI],                                                        Document with Square                                                                                                                                                                                                                                     Records                                                                                            Baron & Budd
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                No                                                                                                                    confirmed via an inspection and drywall analysis                                                                                                                                                                                                                                                                                                              Plaintiff will
                                                                                                    [XVII]                                                                     Footage                                        0.86                 94.47             $118,088                                                                                                                                                                                                                                                       3102 Oak Lawn Ave., Ste. 1100                                                                                                                                                                                                              N/A                            No                             Residential     8/21/2006     2/??/2007          No           5/2010                                                                      //                                            No                          //                                                                            //                            No                                                                                       200,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Inspection                                                                                                                   test performed by Driskell Environmental                                                                                                                                                                                                                                                                                                                  supplement
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Dallas, TX 75219                                                                                                                                                                                                                                                                                                                                                                           Consultants LLD in May of 2010.

  419   Ex 10/79     Nunez, Allen and Janet    2108 Edgar Drive       Violet        LA      70092   [II(A)], [III(A)],     9/16/2010   Yes      Yes          1000      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                        27                 D           NUNEZ, JANET SHAW       Owner as of 6/9/15      City or County Tax             12/2/2011          Current Owner      Baron & Budd, P.C.            Russell Budd, Esq.            (214) 521-3605      rbudd@baronbudd.com                                                                                                                                                                                                               3.22.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       The presence of defective Chinese drywall was
                                                                                                    [XV], [XVI],                                                        Document with Square                                                                                                                                                                                                                                     Records                                                                                            Baron & Budd
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                No                                                                                                                    confirmed via an inspection and drywall analysis                                                                                                                                                                                                                                                                                                              Plaintiff will
                                                                                                    [XVII]                                                                     Footage                                        0.86                 94.47              $94,470                                                                                                                                                                                                                                                       3102 Oak Lawn Ave., Ste. 1100                                                                                                                                                                                                              N/A                            No                             Residential     8/21/2006     2/??/2007          No           5/2010                                                                      //                                            No                          //                                                                            //                            No                                                                                       200,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Inspection                                                                                                                   test performed by Driskell Environmental                                                                                                                                                                                                                                                                                                                  supplement
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Dallas, TX 75219                                                                                                                                                                                                                                                                                                                                                                           Consultants LLD in May of 2010.

  420   Ex 10/79 &   Olivas, John              16280 Charlton         New Orleans   LA      70122   [XIII], [XV],           7/5/2011   Yes      Yes          1860              Other                     Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET      20, 21                  I           OLIVAS JOHN R           Owner as of 6/9/15      City or County Tax             1/31/2007          Current Owner      Paul A. Lea, Jr., APLC        Paul A. Lea, Jr., Esq.           (985) 292-2300   jean@paullea.com                                                                                                                                                                                                                  3.9.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Corrosion Problems, A/C coils failed, Blackening                                                                                                                                                                                                                                                                                                                                 I have had to live in this property containing Chinese Drywall and have suffered the side effects of
        Omni XX                                                                                     [XVI], [XVII],                                                                                                                                                                                                  OR EXCEEDS ASTM C1396                                                                                        Records                                                                                            724 East Boston Street                                                                                                                                                                                                                                      No
                                                                                                                                                                                                                              0.86                 94.47             $175,714                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  N/A                            No                             Residential     1/1/2007      3/10/2007          No           4/2011        of copper surfaces and Failure of various                     //                                            No                          //                                                                            //                            No                                                                                       300,000.00    200,000.00       same. I have no money to fix, the value of my property has substantially decreased and I cannot sell
                                                                                                    [XX]                                                                                                                                                                                                            04 STANDARD" matches DIG                                                                                                                                                                                        Covington, LA 70433                                                                                                                                                                                                                                      Inspection                                                                                                                            electrical appliances                                                                                                                                                                                                                                                                                                                                                                                 because of the Chinese Drywall.
                                                                                                                                                                                                                                                                                                                    #3
  421   Ex 10/79     Palmer, Frances           4601 Lafon Drive       New Orleans   LA      70126   [II(A)], [III],        10/7/2009   Yes      Yes          2978        Inspection Showing              Yes                                                                         Crescent City   Photo                                   27                      D           PALMER FRANCES M        Owner as of 6/9/15      City or County Tax             9/8/2009           Current Owner      Bruno & Bruno, LLP            Joseph Bruno, Esq.               (504) 525-1355   jbruno@brunobrunolaw.com                                                                                                                                                                                                          3.22.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Property was inspected in May 2010 and it was
                                                                                                    [VII], [IX],                                                        Floor Plan and Under                                                                                                                                                                                     PALMER JAMES C                                  Records                                                                                            855 Baronne Street                                                                                                                                                                                                                                          No                                                                                                                                                                                                                                                                                                                                                                       Completely     October 2016 to
                                                                                                                                                                                                                              0.86                 94.47             $281,332                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  N/A                            No                             Residential     9/8/2009        //2007           No           5/2010     confirmed that the property contained Chinese                    //                                            No                          //                                                                            //                                                           Road Home                      3/2017                     250,000.00
                                                                                                    [XV], [XVI],                                                         Air Square Footage                                                                                                                                                                                                                                                                                                                                         New Orleans, 70113                                                                                                                                                                                                                                       Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated       March 2017
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         drywall.
                                                                                                    [XVII]
  422   Ex 10/79     Palmer, Sylvia            7708 Alabama Street    New Orleans   LA      70126   [XIII], [XV],           7/5/2011   Yes      Yes          1620      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA" matches 20, 21                   I           PALMER SYLVIA L         Owner as of 6/9/15      City or County Tax             10/8/1996          Current Owner      Becnel Law Firm, LLC          Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                          3.8.18                                                                                                                                                                                                                                                                                                                                                                            Sean Laurent of
                                                                                                    [XVI], [XVII]                                                       Document with Square                                                                                                                        DIG #3                                                                                                       Records                                                                                            425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Dynamic
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         November 26,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                No                                                                                                                       Air conditioner repairman found it when                                                                                                                                                                                                         Completely                        Construction
                                                                                                                                                                               Footage                                        0.86                 94.47             $153,041                                                                                                                                                                                                                                                       LaPlace, LA 70064                                                                                                                                                                                                                          N/A                            No                             Residential     5/27/2007      4//2007           No           4/2011                                                                      //                                            No                          //                                                                            //                                        2014 through                       61,781.23      4/2016                      75,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Inspection                                                                                                                   inspecting why my coils keep leaking.                                                                                                                                                                                                          remediated                            and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        August 10, 2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Development,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Inc.
  423   Ex 10/79     Patterson, Manuel         6105-6107 Todd Street New Orleans    LA      70117   [IX], [XV],             5/5/2011   Yes      Yes          1484      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "ASTM C1396 04" matches       17                 I           PATTERSON MANUEL        Owner as of 6/9/15      City or County Tax             7/6/1991           Current Owner      Hurricane Legal Center, LLC   Jacob Young, Esq.                (504) 522-4322   jacob@jacobyounglaw.com
                                                                                                    [XVI], [XVII]                                                       Document with Square                                                                                                                        DIG #3                                                                                                       Records                                                                                            Young Law Firm                                                                                                                                                                                                                                              No
                                                                                                                                                                                                                              0.86                 94.47             $140,193                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  N/A                            No
                                                                                                                                                                               Footage                                                                                                                                                                                                                                                                                                                                              1010 Common St., Suite 3040                                                                                                                                                                                                                              Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    New Orleans, LA 70112
  424   Ex 10/79 &   Perdomo, Winston/ 8227 106 Covington         Covington         LA      70433   [XV], [XVI],            7/5/2011   Yes      Yes          1476      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS 21                         I           8227 OAK STREET LLC     Owner as of 6/9/15      Tax Records + Title/Deed      10/18/2002          Current Owner      Paul A. Lea, Jr., APLC        Paul A. Lea, Jr., Esq.           (985) 292-2300   jean@paullea.com                                                                                                                                                                                                                  2.28.18                                                                                       Corrosion Problems, A/C coils failed, Blackening
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Completely     May 2012 thru         GenBuilt
        Omni XX      Oak Street, LLC         Meadows Cl., Unit B,                                   [XVII], [XX]                                                       Plan and Square Footage                                0.79                 86.78             $128,087                                       OR EXCEEEDS ASTM C1396                                                                                                                                                                                          724 East Boston Street                                                                                                                                                                                                                     N/A              0%            No                            Commercial      10/18/2003      2/1/2008          No           5/2011        of copper surfaces and Failure of various                     //                                            No                          //                                                                            //                                                                           58,988.23     11/2012                      65,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         remediated     November 2012        Company
                                             Covington, LA 70433                                                                                                                                                                                                                                                    04 STANDARD"                                                                                                                                                                                                    Covington, LA 70433                                                                                                                                                                                                                                                                                                                                                                            electrical appliances
  425   Ex 10/79 &   Perdomo, Winston/ 8227 106 Covington         Covington         LA      70433   [XV], [XVI],            7/5/2011   Yes      Yes          1476      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS" 18                        I           8227 OAK STREET LLC     Owner as of 6/9/15      Tax Records + Title/Deed      10/18/2002          Current Owner      Paul A. Lea, Jr., APLC        Paul A. Lea, Jr., Esq.           (985) 292-2300   jean@paullea.com                                                                                                                                                                                                                  2.28.18                                                                                       Corrosion Problems, A/C coils failed, Blackening
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Completely     May 2012 thru         GenBuilt
        Omni XX      Oak Street, LLC         Meadows Cl., Unit C,                                   [XVII], [XX]                                                       Plan and Square Footage                                0.79                 86.78             $128,087                                                                                                                                                                                                                                                       724 East Boston Street                                                                                                                                                                                                                     N/A              0%            No                            Commercial      10/18/2003      2/1/2008          No           5/2011        of copper surfaces and Failure of various                     //                                            No                          //                                                                            //                                                                           58,988.23     11/2012                      59,800.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         remediated     November 2012        Company
                                             Covington, LA 70433                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Covington, LA 70433                                                                                                                                                                                                                                                                                                                                                                            electrical appliances
  426   Ex 10/79     Perez, Karen and Hector 2120 Etienne Drive   Meraux            LA      70075   [VII], [XV],           1/14/2011   Yes      Yes          3217      Property Tax Assessor's           No                                                                          Taihe           Photo          "MADE IN CHINA MEETS 18                          I           PEREZ, HECTOR L., JR.   Owner as of 6/9/15      City or County Tax             6/25/1993          Current Owner      Berrigan Litchfield, LLC      Kathy Torregano, Esq.
                                                                                                    [XVI], [XVII]                                                       Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                                                                        Records                                                                                            201 Saint Charles Ave, Ste
                                                                                                                                                                                                                              0.86                 94.47             $303,910
                                                                                                                                                                               Footage                                                                                                                              04 STANDARD"
                                                                                                                                                                                                                                                                                                                                                                                                                                                 Case 2:09-md-02047-EEF-MBN Document 21527-2 Filed 07/16/18 Page 8 of 9

Claimant Source      Claimant Name              Affected Property      City          State   Zip     Omni(s)              Date of Earliest PPF    Indicia    Verified    Type of Verficiation     Counsel's Declaration                                                               Product         Type of Indicia Description of Markings       Markings # from    Product       Current Owner as of    Ownership Status of   Proof of Ownership Per     Purchase Date Per   Sell Date if Applicable Counsel                            Counsel Address                  Counsel Phone    Counsel Email                                                           Global,                                                                Pre-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Amount Owed
Identifier                                      Address                                                                    Filed Taishan (Yes/No) (Yes/No)   Square      Provided Uploaded to       Verifying Square     2017 RS Means                                                Brand(s)                                                      Taishan Product ID Bucket(s)     May-August 2017 Per    Named Claimant Per         BrownGreer               BrownGreer       or Current Owner Per                                                                                                                                                               Banner, InEx                                                         Remediation                                                                                                                                               Aware property                                                                            Date Sold or                                                                                                                                                                                                                    Who Performed
                                                                                                                                                                                                                                               2017 Cost Per SF    2017 Remediation                                                                                                                                                                                                                                                                                                                                                         Already                                                                                                                  VA        Holdback                              Remediation                                                                                  If no, when did                                                                           Assign any       Expressly                        Court                                                                                 on        Date of                       Partially or                                                          Date          Alternative
                                                                                                                               Omni                          Footage           Sharefile                Footage         Residential Location                                                                                                        Catalog                              BrownGreer            BrownGreer                                                             BrownGreer                                                                                                                            Pilot Program               Knauf        Repair and                 Foreclosure Lost Rent,                   Alternative                                      Remediation                                                  Residential or Date Property   Date CDW      had CDW at                    If CDW Installed Before Purchase, Date you Assignment of   Transferred                                                                                                                      Foreclosure or                              Short Sale Price                   Dates of          Work to     Total Cost for                                       Loss of Use  Diminution of
                                                                                                                                                                                                                                               [B = A x $109.85]      Damages                                                                                                                                                                                                                                                                                                                                                              Remediated                            Bodily Injury                             Miscellaneous             Tenant Loss Settlement    Payment                   KPT %       Complete by     SPPF Completed?                                                                you become                                                                              Rights with   Retain Rights to   Bankruptcy     Bankruptcy         Date of Filing   Docket No.   Present Status                  Loan/Mortgage Foreclosure or                   Completely                                                          Remediation       Living                                                                               SPPF Comments/ Notes
                                                                                                                                                                                                                              Factor                                                                                                                                                                                                                                                                                                                                                                                          Payments                Remediation    Relocation                or Short Sale Use, or Sales                  Living                                          Option                                                     commercial?      Acquired       Installed      time of                            Learned it Contained CDW               Rights?       Property if                                                                                                                      Short Sale?                                 (if applicable)                  Remediation       Remediate     Remediation                                        and Enjoyment    Value
                                                                                                                                                                                                                                                                       [SF x B]                                                                                                                                                                                                                                                                                                                                                           Home (ARH)                                                                                                             Gross Award   Amount                                  KPT?                                                                                           aware?                                                                                  Sale?       Pursue Claim?                      Filed In                                                                          at time of    Short Sale                    Remediated?                                                           Complete       Expenses
                                                                                                                                                                                                                               [A]                                                                                                                                                                                                                                                                                                                                                                                                                                   Expenses                                                             Expenses                                                                                                                                                   purchase?                                                                                Applicable                                                                                                                                                                                                                       Property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Foreclosure
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       (GBI)                                                              (PRALE)
  435   Ex 10/79     Pollock, Mark and Keri     418 Turquoise Street   New Orleans   LA      70124   [XIII], [XV],           7/5/2011   Yes      Yes          2908      Property Tax Assessor's           Yes                                                                         Taihe           Photo            "MADE IN CHINA MEET      18                     I           POLLOCK MARK G          Owner as of 6/9/15     City or County Tax             6/5/2008           Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               3.22.18                                                                                                                                                                                                                                                                                                                                                                                       JES, Inc,
                                                                                                     [XVI], [XVII]                                                       Document with Square                                                                                                                          OR EXCEEDS ASTM C1396                                       POLLOCK KERI G                                 Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Contractors;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Jesus Is Lord
                                                                                                                                                                                Footage                                                                                                                                04 STANDARD" matches DIG                                                                                                                                                                                             New Orleans, LA 70113                                                                                                                                                                                                                                          No                                                                                                                                                                                                                                                                                                                                                                               Completely        2/2014 -         Plumbers;
                                                                                                                                                                                                                               0.86                 94.47             $274,719                                         #3                                                                                                                                                                                                                                                                                                                                                                                                                                                                 N/A                            No                             Residential     6/5/2008       2/1/2007          No           6/2011                                                                      //                                            No                                  //                                                                            //                                                                            $149,725.93       6/2014        $18,393.00                      $100,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                          remediated        06/2014             Verges
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Electrical;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Kevin's Heating
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   & AC
  436   Ex 10/79     Pomes, Ashley              2416 Munster           Meraux        LA      70075   [XV], [XVI],            7/5/2011   Yes      Yes          1450      Property Tax Assessor's           Yes                                                                         Crescent City   Photo            "Made in China Crescent City 27                 D           POMES, ASHLEY           Owner as of 6/9/15     Title/Deed                     7/12/2007          Current Owner      The Lambert Firm                   Hugh Lambert, Esq.             (504) 529-2931       hlambert@thelambertfirm.com                                                                                                                                                                                                          4.18.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No
                                                                                                     [XVII]                                                              Document with Square                                  0.86                 94.47             $136,982                                         Gypsum"                                                                                                                                                                                                            701 Magazine St,                                                                                                                                                                                                                                N/A                            No                             Residential        //             //             No                                                                                       //            No              No              No                                  //                                                                            //                            No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection
                                                                                                                                                                                Footage                                                                                                                                                                                                                                                                                                                                                   New Orleans LA 70130
  437   Ex 10/79     Ponce Properties, LLC c/o 117 S. Solomon Drive New Orleans      LA      70119   [XV], [XVI],            7/5/2011   Yes      Yes          3926      Appraisal Showing Floor           Yes                                                                         Taihe           Photo            "MADE IN CHINA,"             14, 18             H, I        PONCE JENNIFER          Owner as of 6/9/15     City or County Tax            10/19/2001          Current Owner      Barrios, Kingsdorf & Casteix       Dawn M. Barrios, Esq.          (504) 523-3300       DBarrios@bkc-law.com                                                                                                                                                                                                                 3.20.18                                                                                                                                                                                                                                                                                                                                                                  December 1,        Belvedere
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                       Inspection performed in December 2011                                                                                                                                                                                                                   Completely                                                                                                                          The Chinese drywall affected property (117 S. Solomon Drive, New Orleans, LA) is a 4-plex. The cost
                     Jennifer Gardner                                                                [XVII]                                                             Plan and Square Footage                                0.86                 94.47             $370,935                                                                                                                                                    Records                                                                                                 701 Poydras Street, Suite 3650                                                                                                                                                                                                                  N/A                            No                             Residential     2/20/2003      2/1/2006          No          12/2011                                                                      //                                            No                                  //                                                                            //                                       2011-February      Development,       128,560.00       2/2012                        125,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                 confirmed the presence of Chinese drywall.                                                                                                                                                                                                               remediated                                                                                                                                                 of remediation is total for all 4 units to be remediated.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70166                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              29, 2012             LLC
  438   Add. Taishan Preservation Alliance of   1205 South Genois      New Orleans   LA      70125   [IX], [XV],             5/5/2011   Yes      Yes           851        Builder's Floor Plan            Yes                                                                         Crescent City   Photo            "Made in China Crescent City 27                 D           JONES CASSANDRA         No Record of           City or County Tax                                                   Simon, Peragine, Smith & Redfearn, Robert Redfearn, Jr.           (504) 569-2030       redfearnjr@spsr-law.com                                                                                                                                                                                                              4.18.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Section VI - Prior Payments (Continued)
        Prop. &      New Orleans, Inc., d/b/a   Street                                               [XVI], [XVII],                                                                                                                                                                                                    Gypsum Incorporated                                                                 Ownership              Records                                                              LLP                                1100 Poydras St., 30th Floor                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   $150 - Stipend Payment - CDW Settlement Program
        Omni XX      Preservation Resource                                                           [XX]                                                                                                                                                                                                              Manufactured in P.R.C."                                                                                                                                                                                            New Orleans, LA 70163
                     Center of New Orleans
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                               Completely      01/27/2014 -     Ronald L. Mills,                                                                                                                                  NOTE:
                                                                                                                                                                                                                               0.86                 94.47              $80,394                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential                                                                                                                                                                                                                                                                                                                                                                              69,598.89        6/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                          remediated       06/18/2014       Inc. and Self
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Preservation Resource Center (PRC) never owned the property, but remediated it and the home
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                owner assigned the remediation claim and all claims to PRC with the exception of personal property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                and personal injury claims. The remediation work was performed by contractors and PRC personnel.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   A claim has been filed with PRC's insurer but no payments made for this property at this time.
  439   Add. Taishan Preservation Alliance of   1603 Hollygrove Street New Orleans   LA      70118   [IX], [XV],             5/5/2011   Yes      Yes          1555        Builder's Floor Plan            Yes                                                                         Crescent City   Photo            "Made in China Crescent City 27                 D           COUSIN ALICE      No Record of                 City or County Tax                                                   Simon, Peragine, Smith & Redfearn, Robert Redfearn, Jr.               (504) 569-2030   redfearnjr@spsr-law.com                                                                                                                                                                                                              4.18.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Section VI. Prior Payments (Continued)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          $150 - Stipend Payment - CDW Settlement Program
        Prop. &      New Orleans, Inc., d/b/a                                                        [XVI], [XVII],                                                                                                                                                                                                    Gypsum Incorporated                                         ETALS             Ownership                    Records                                                              LLP                                1100 Poydras St., 30th Floor
        Omni XX      Preservation Resource                                                           [XX]                                                                                                                                                                                                              Manufactured in P.R.C."                                     BROWN LORRAINE                                                                                                                                         New Orleans, LA 70163
                     Center of New Orleans                                                                                                                                                                                                                                                                                                                                         DARENSBOURG KEVIN                                                                                                                                                                                                                                                                                                                                                                                                       No                                                                                                                                                                                                                                                                                                                                                                               Completely       10/02/12 -      Ronald L. Mills,                                                                                                                                   Note:
                                                                                                                                                                                                                               0.86                 94.47             $146,901                                                                                                     HENRY ALFRED                                                                                                                                                                                                                                                                                                                                                                                           N/A                            No                             Residential                                                                                                                                                                                                                                                                                                                                                                              40,069.89        4/2013         16,915.79
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                          remediated       04/12/2013       Inc. and Self                                                                                     The Preservation Resource Center of New Orleans (PRC) never owned the property, but remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 it and the home owner assigned the remediation claim and all claims to PRC with the exception of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 personal property and personal injury claims. The remediation work was performed by contractors
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    and PRC personnel. A claim has been filed with PRC's insurer but no payments made for this
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       property at this time
  440   Add. Taishan Preservation Alliance of   2601 Arts Street       New Orleans   LA      70117   [IX], [XV],             5/5/2011   Yes      Yes          1152        Builder's Floor Plan            Yes                                                                         Crescent City   Affidavit from                                27                 D           BEACO REGINALD          No Record of           City or County Tax                                                   Simon, Peragine, Smith & Redfearn, Robert Redfearn, Jr.               (504) 569-2030   redfearnjr@spsr-law.com                                                                                                                                                                                                              4.18.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Section VI. Prior Payments (Continued)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         $150 - Stipend Payment - CDW Settlement Program
        Prop. &      New Orleans, Inc., d/b/a                                                        [XVI], [XVII],                                                                                                                                                                                   Rebuilding                                                                                           Ownership              Records                                                              LLP                                1100 Poydras St., 30th Floor
        Omni XX      Preservation Resource                                                           [XX]                                                                                                                                                                                             Together                                                                                                                                                                                                                            New Orleans, LA 70163
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            See Additional
                     Center of New Orleans                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 No
                                                                                                                                                                                                                               0.86                 94.47             $108,829                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential                                                                                                                                                                                                                                                                                                                                        Notes/Comment                          3,047.39        5/2012         8,897.19                                                                                        NOTE:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  s                                                                                                                The Preservation Resource Center of New Orleans (PRC) never owned the property and the home
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 owner assigned the remediation claim and all claims to PRC with the exception of personal property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   and personal injury claims. The PRC incurred expenses for the home but was unable to provide
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             remediation due to homeowner related issues/unwillingness to participate.
  441   Add. Taishan Preservation Alliance of   2617 Eagle Street      New Orleans   LA      70118   [IX], [XV],             5/5/2011   Yes      Yes           812        Builder's Floor Plan            Yes                                                                         Crescent City   Photo            "Made in China Crescent City 27                 D           ASHFORD LEROY           No Record of           City or County Tax                                                   Simon, Peragine, Smith & Redfearn, Robert Redfearn, Jr.               (504) 569-2030   redfearnjr@spsr-law.com                                                                                                                                                                                                              4.18.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Section VI - Prior Payments (Continued)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           $150 - Stipend Payment - CDW Settlement Program
        Prop. &      New Orleans, Inc., d/b/a                                                        [XVI], [XVII],                                                                                                                                                                                                    Gypsum Incorporated                                                                 Ownership              Records                                                              LLP                                1100 Poydras St., 30th Floor
        Omni XX      Preservation Resource                                                           [XX]                                                                                                                                                                                                              Manufactured in P.R.C."                                                                                                                                                                                            New Orleans, LA 70163
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Rebuilding                                                                                                                                       NOTE:
                     Center of New Orleans                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 No                                                                                                                                                                                                                                                                                                                                                                               Completely      10/01/2011 -
                                                                                                                                                                                                                               0.86                 94.47              $76,710                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential                                                                                                                                                                                                                                                                                                                                                           Together New       21,201.79        9/2012         3,805.98                                            The Preservation Resource Center (PRC) never owned the property, but remediated it and the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                          remediated        09/30/12
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Orleans                                                                                          home owner assigned the remediation claim and all claims to PRC with the exception of personal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                property and personal injury claims. A claim has been filed with PRC's insurer but no payments made
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    for this property at this time.

  442   Add. Taishan Preservation Alliance of   2923 Mistletoe Street New Orleans    LA      70118   [IX], [XV],             5/5/2011   Yes      Yes          1362        Builder's Floor Plan            Yes                                                                         Crescent City   Photo            "Made in China Crescent City 27                 D           LARCE WILLIAM           No Record of           City or County Tax                                                   Simon, Peragine, Smith & Redfearn, Robert Redfearn, Jr.               (504) 569-2030   redfearnjr@spsr-law.com                                                                                                                                                                                                              4.18.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Section VI. Prior Payments (Continued)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          $150 - Stipend Payment - CDW Settlement Program
        Prop. &      New Orleans, Inc., d/b/a                                                        [XVI], [XVII],                                                                                                                                                                                                    Gypsum Incorporated                                         LARCE LEON              Ownership              Records                                                              LLP                                1100 Poydras St., 30th Floor
        Omni XX      Preservation Resource                                                           [XX]                                                                                                                                                                                                              Manufactured in P.R.C."                                                                                                                                                                                            New Orleans, LA 70163
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Rebuilding
                     Center of New Orleans                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 No                                                                                                                                                                                                                                                                                                                                                                               Completely      07/25/2011 -
                                                                                                                                                                                                                               0.86                 94.47             $128,668                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential                                                                                                                                                                                                                                                                                                                                                           Together New       24,705.36        2/2012         8,568.84                                                                                       Note:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                          remediated       02/07/2012
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Orleans                                                                                        The Preservation Resource Center of New Orleans (PRC) never owned the property, but remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 it and the home owner assigned the remediation claim and all claims to PRC with the exception of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   personal property and personal injury claims. A claim has been filed with PRC's insurer but no
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           payments made for this property at this time.
  443   Add. Taishan Preservation Alliance of   3029 La. Avenue        New Orleans   LA      70125   [IX], [XV],             5/5/2011   Yes      Yes          1353        Builder's Floor Plan            Yes                                                                         Crescent City   Photo            "Made in China Crescent City 27                 D           NETTER PERCY            No Record of           City or County Tax                                                   Simon, Peragine, Smith & Redfearn, Robert Redfearn, Jr.               (504) 569-2030   redfearnjr@spsr-law.com                                                                                                                                                                                                              4.18.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Section VI. Prior Payments (Continued)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          $150 - Stipend Payment - CDW Settlement Program
        Prop. &      New Orleans, Inc., d/b/a   Parkway                                              [XVI], [XVII],                                                                                                                                                                                                    Gypsum Incorporated                                                                 Ownership              Records                                                              LLP                                1100 Poydras St., 30th Floor
        Omni XX      Preservation Resource                                                           [XX]                                                                                                                                                                                                              Manufactured in P.R.C."                                                                                                                                                                                            New Orleans, LA 70163
                     Center of New Orleans                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Helping Hands
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                               Completely      03/11/2013 -                                                                                                                                                        Note:
                                                                                                                                                                                                                               0.86                 94.47             $127,818                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential                                                                                                                                                                                                                                                                                                                                                            Construction      89,560.55        3/2015         4,343.25
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                          remediated       03/20/2015                                                                                                         The Preservation Resource Center of New Orleans (PRC) never owned the property, but remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 and Self
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 it and the home owner assigned the remediation claim and all claims to PRC with the exception of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 personal property and personal injury claims. The remediation work was performed by contractors
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    and PRC personnel. A claim has been filed with PRC's insurer but no payments made for this
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       property at this time
  444   Add. Taishan Preservation Alliance of   3632 Monroe Street     New Orleans   LA      70118   [IX], [XV],             5/5/2011   Yes      Yes          1355        Builder's Floor Plan            Yes                                                                         Crescent City   Photo            "Made in China Crescent City 27                 D           PETERSON DIANE T        No Record of           City or County Tax                                                   Simon, Peragine, Smith & Redfearn, Robert Redfearn, Jr.               (504) 569-2030   redfearnjr@spsr-law.com                                                                                                                                                                                                              4.18.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Section VI - Prior Payments (Continued)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        $150 - Stipend Payment - CDW Settlement Program
        Prop. &      New Orleans, Inc., d/b/a                                                        [XVI], [XVII],                                                                                                                                                                                                    Gypsum Incorporated                                                                 Ownership              Records                                                              LLP                                1100 Poydras St., 30th Floor
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   $16,651.37 - Chartis Insurance
        Omni XX      Preservation Resource                                                           [XX]                                                                                                                                                                                                              Manufactured in P.R.C."                                                                                                                                                                                            New Orleans, LA 70163
                     Center of New Orleans                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Rebuilding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                               Completely      04/19/2011 -
                                                                                                                                                                                                                               0.86                 94.47             $128,007                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential                                                                                                                                                                                                                                                                                                                                                           Together New       35,945.90        2/2012         17,989.57
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                          remediated       02/11/2012                                                                                                                                                        NOTE:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Orleans

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Preservation Resource Center (PRC) never owned the property, but remediated it and the home
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 owner assigned the remediation claim and all claims to PRC with the exception of personal property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    and personal injury claims
  445   Add. Taishan Preservation Alliance of   4319 S. Tonti Street   New Orleans   LA      70125   [IX], [XV],             5/5/2011   Yes      Yes          1468        Builder's Floor Plan            Yes                                                                         Crescent City   Photo            "Made in China Crescent City 27                 D           JOHNSON JESSIE          No Record of           City or County Tax                                                   Simon, Peragine, Smith & Redfearn, Robert Redfearn, Jr.               (504) 569-2030   redfearnjr@spsr-law.com                                                                                                                                                                                                              4.18.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Section VI - Prior Payments (Continued)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        $150 - Stipend Payment - CDW Settlement Program
        Prop. &      New Orleans, Inc., d/b/a                                                        [XVI], [XVII],                                                                                                                                                                                                    Gypsum Incorporated                                                                 Ownership              Records                                                              LLP                                1100 Poydras St., 30th Floor
        Omni XX      Preservation Resource                                                           [XX]                                                                                                                                                                                                              Manufactured in P.R.C."                                                                                                                                                                                            New Orleans, LA 70163
                     Center of New Orleans                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Rebuilding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                               Completely      10/01/2012 -                                                                                                                                                      NOTE:
                                                                                                                                                                                                                               0.86                 94.47             $138,682                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential                                                                                                                                                                                                                                                                                                                                                           Together New         567.58         3/2013         4,002.37
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                          remediated       04/30/2013                                                                                                            Preservation Resource Center (PRC) never owned the property, but remediated it and the home
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Orleans
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                owner assigned the remediation claim and all claims to PRC with the exception of personal property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                and personal injury claims. A claim has been filed with PRC's insurer but no payments made for this
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       property at this time.

  446   Add. Taishan Preservation Alliance of   4423-25 Walmsley       New Orleans   LA      70125   [IX], [XV],             5/5/2011   Yes      Yes          1628        Builder's Floor Plan            Yes                                                                         Crescent City   Photo            "Made in China Crescent City 27                 D           GILMORE ANTONIE S       No Record of           City or County Tax                                                   Simon, Peragine, Smith & Redfearn, Robert Redfearn, Jr.               (504) 569-2030   redfearnjr@spsr-law.com                                                                                                                                                                                                              4.18.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Section VI - Prior Payments (Continued)
        Prop. &      New Orleans, Inc., d/b/a   Avenue                                               [XVI], [XVII],                                                                                                                                                                                                    Gypsum Incorporated                                                                 Ownership              Records                                                              LLP                                1100 Poydras St., 30th Floor                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   $150 - Stipend Payment - CDW Settlement Program
        Omni XX      Preservation Resource                                                           [XX]                                                                                                                                                                                                              Manufactured in P.R.C."                                                                                                                                                                                            New Orleans, LA 70163
                     Center of New Orleans                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Colmex
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                               Completely      08/08/2014 -                                                                                                                                                       NOTE:
                                                                                                                                                                                                                               0.86                 94.47             $153,797                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential                                                                                                                                                                                                                                                                                                                                                            Construction      122,773.30       1/2015         17,869.35
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                          remediated       01/22/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 and Self
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Preservation Resource Center (PRC) never owned the property, but remediated it and the home
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                owner assigned the remediation claim and all claims to PRC with the exception of personal property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                and personal injury claims. The remediation work was performed by contractors and PRC personnel.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   A claim has been filed with PRC's insurer but no payments made for this property at this time.
  447   Add. Taishan Preservation Alliance of   4609 S. Johnson Street New Orleans   LA      70125   [IX], [XV],             5/5/2011   Yes      Yes          1390        Builder's Floor Plan            Yes                                                                         Crescent City   Photo            "Made in China Crescent City 27                 D           RENTERIA JOSEPH         No Record of           City or County Tax                                                   Simon, Peragine, Smith & Redfearn, Robert Redfearn, Jr.               (504) 569-2030   redfearnjr@spsr-law.com                                                                                                                                                                                                              4.18.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Section VI - Prior Payments (Continued)
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        Prop. &      New Orleans, Inc., d/b/a                                                        [XVI], [XVII],                                                                                                                                                                                                    Gypsum Incorporated                                         RENTERIA CINDY K        Ownership              Records                                                              LLP                                1100 Poydras St., 30th Floor
        Omni XX      Preservation Resource                                                           [XX]                                                                                                                                                                                                              Manufactured in P.R.C."                                                                                                                                                                                            New Orleans, LA 70163
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                NOTE:
                     Center of New Orleans                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 No                                                                                                                                                                                                                                                                                                                                                                               Completely       2/1/2015 -      J.B. Holton and
                                                                                                                                                                                                                               0.86                 94.47             $131,313                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential                                                                                                                                                                                                                                                                                                                                                                              125,480.86       8/2015                                                             The Preservation Resource Center (PRC) never owned the property, but remediated it and the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                          remediated       8/31/2015             Self
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  home owner assigned the remediation claim and all claims to PRC with the exception of personal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 property and personal injury claims. The remediation work was performed by contractors and PRC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                personnel. A claim has been filed with PRC's insurer but no payments made for this property at this
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 time.
  448   Add. Taishan Preservation Alliance of   5 Alice Court          New Orleans   LA      70117   [IX], [XV],             5/5/2011   Yes      Yes           457        Builder's Floor Plan            Yes                                                                         Crescent City   Photo            "Made in China Crescent City 27                 D           BUSH GERALDINE P        No Record of           City or County Tax                                                   Simon, Peragine, Smith & Redfearn, Robert Redfearn, Jr.               (504) 569-2030   redfearnjr@spsr-law.com                                                                                                                                                                                                              4.18.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Section VI. Prior Payments (Continued)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          $150 - Stipend Payment - CDW Settlement Program
        Prop. &      New Orleans, Inc., d/b/a                                                        [XVI], [XVII],                                                                                                                                                                                                    Gypsum Incorporated                                                                 Ownership              Records                                                              LLP                                1100 Poydras St., 30th Floor
        Omni XX      Preservation Resource                                                           [XX]                                                                                                                                                                                                              Manufactured in P.R.C."                                                                                                                                                                                            New Orleans, LA 70163
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Rebuilding
                     Center of New Orleans                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 No                                                                                                                                                                                                                                                                                                                                                                               Completely      02/01/2012 -
                                                                                                                                                                                                                               0.86                 94.47              $43,173                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential                                                                                                                                                                                                                                                                                                                                                           Together New        5,786.63        5/2012         1,056.26                                                                                       Note:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                          remediated       05/01/2012
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Orleans                                                                                        The Preservation Resource Center of New Orleans (PRC) never owned the property, but remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 it and the home owner assigned the remediation claim and all claims to PRC with the exception of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   personal property and personal injury claims. A claim has been filed with PRC's insurer but no
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          payments made for this property at this time.
  449   Add. Taishan Preservation Alliance of   5329 Chartres Street   New Orleans   LA      70117   [IX], [XV],             5/5/2011   Yes      Yes          1207        Builder's Floor Plan            Yes                                                                         Crescent City   Photo            "Made in China Crescent City 27                 D           BURKE YOLANDA F         No Record of           City or County Tax                                                   Simon, Peragine, Smith & Redfearn, Robert Redfearn, Jr.               (504) 569-2030   redfearnjr@spsr-law.com                                                                                                                                                                                                              4.18.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Section VI. Prior Payments (Continued)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         $150 - Stipend Payment - CDW Settlement Program
        Prop. &      New Orleans, Inc., d/b/a                                                        [XVI], [XVII],                                                                                                                                                                                                    Gypsum Incorporated                                         FORD TERRIN A           Ownership              Records                                                              LLP                                1100 Poydras St., 30th Floor
        Omni XX      Preservation Resource                                                           [XX]                                                                                                                                                                                                              Manufactured in P.R.C."                                     FORD JOHN H                                                                                                                                            New Orleans, LA 70163
                     Center of New Orleans                                                                                                                                                                                                                                                                                                                                         FORD KEITH J                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                               Completely      02/12/2013 -     Ronald L. Mills,                                                                                                                                   Note:
                                                                                                                                                                                                                               0.86                 94.47             $114,025                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential                                                                                                                                                                                                                                                                                                                                                                              76,917.09       10/2013         6,181.28
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                          remediated       10/23/2013       Inc. and Self                                                                                     The Preservation Resource Center of New Orleans (PRC) never owned the property, but remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 it and the home owner assigned the remediation claim and all claims to PRC with the exception of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 personal property and personal injury claims. The remediation work was performed by contractors
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    and PRC personnel. A claim has been filed with PRC's insurer but no payments made for this
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       property at this time
  450   Add. Taishan Preservation Alliance of   8230 Apple Street      New Orleans   LA      70118   [IX], [XV],             5/5/2011   Yes      Yes          1731        Builder's Floor Plan            Yes                                                                         Crescent City   Photo            "Manufactured in P.R.C."     27                 D           LEWIS HENRY             No Record of           City or County Tax                                                   Simon, Peragine, Smith & Redfearn, Robert Redfearn, Jr.               (504) 569-2030   redfearnjr@spsr-law.com                                                                                                                                                                                                              4.18.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Section VI - Prior Payments (Continued)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        $150 - Stipend Payment - CDW Settlement Program
        Prop. &      New Orleans, Inc., d/b/a                                                        [XVI], [XVII],                                                                                                                                                                                                                                                                LEWIS THERESA A         Ownership              Records                                                              LLP                                1100 Poydras St., 30th Floor
        Omni XX      Preservation Resource                                                           [XX]                                                                                                                                                                                                                                                                                                                                                                                                                                 New Orleans, LA 70163
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               NOTE:
                     Center of New Orleans                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Rebuilding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                               Completely      4/23/2012 -
                                                                                                                                                                                                                               0.86                 94.47             $163,528                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential                                                                                                                                                                                                                                                                                                                                                           Together New        3,520.72        6/2012
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                          remediated       6/30/2012                                                                                                          The Preservation Resource Center (PRC) never owned the property, but remediated it and the home
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Orleans
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                owner assigned the remediation claim and all claims to PRC with the exception of personal property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                and personal injury claims. A claim has been filed with PRC's insurer but no payments made for this
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       property at this time.

  451   Add. Taishan Preservation Alliance of   8918 Palm Street       New Orleans   LA      70118   [IX], [XV],             5/5/2011   Yes      Yes          1167        Builder's Floor Plan            Yes                                                                         Crescent City   Photo            "Made in China Crescent City 27                 D           EBARB LORAN K           No Record of           City or County Tax                                                   Simon, Peragine, Smith & Redfearn, Robert Redfearn, Jr.               (504) 569-2030   redfearnjr@spsr-law.com                                                                                                                                                                                                              4.18.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Section VI. Prior Payments (Continued)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          $150 - Stipend Payment - CDW Settlement Program
        Prop. &      New Orleans, Inc., d/b/a                                                        [XVI], [XVII],                                                                                                                                                                                                    Gypsum"                                                                             Ownership              Records                                                              LLP                                1100 Poydras St., 30th Floor
        Omni XX      Preservation Resource                                                           [XX]                                                                                                                                                                                                                                                                                                                                                                                                                                 New Orleans, LA 70163                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  C&G
                     Center of New Orleans                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 No                                                                                                                                                                                                                                                                                                                                                                               Completely      11/14/2012 -     Construction of                                                                                                                                    Note:
                                                                                                                                                                                                                               0.86                 94.47             $110,246                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential                                                                                                                                                                                                                                                                                                                                                                              30,731.03        6/2013          769.26
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                          remediated       6/30/2013       Louisiana, Inc.                                                                                     The Preservation Resource Center of New Orleans (PRC) never owned the property, but remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                and Self                                                                                          it and the home owner assigned the remediation claim and all claims to PRC with the exception of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 personal property and personal injury claims. The remediation work was performed by contractors
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                and PRC personnel. A claim has been filed with PRC's insurer but no payments made for this property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            at this time
  452   Add. Taishan Preservation Alliance of   921 Lamanche Street    New Orleans   LA      70117   [IX], [XV],             5/5/2011   Yes      Yes          2542        Builder's Floor Plan            Yes                                                                         Crescent City   Photo            "Made in China Crescent City 27                 D           SMITH CURTIS            No Record of           City or County Tax                                                   Simon, Peragine, Smith & Redfearn, Robert Redfearn, Jr.               (504) 569-2030   redfearnjr@spsr-law.com                                                                                                                                                                                                              4.18.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Section VI. Prior Payments (Continued)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          $150 - Stipend Payment - CDW Settlement Program
        Prop. &      New Orleans, Inc., d/b/a                                                        [XVI], [XVII],                                                                                                                                                                                                    Gypsum Incorporated                                         SMITH BRENETTA          Ownership              Records                                                              LLP                                1100 Poydras St., 30th Floor
        Omni XX      Preservation Resource                                                           [XX]                                                                                                                                                                                                              Manufactured in P.R.C."                                     SMITH BRIDGET                                                                                                                                          New Orleans, LA 70163
                     Center of New Orleans                                                                                                                                                                                                                                                                                                                                         PORTIS CAROL                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Helping Hands
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                               Completely      03/20/2013 -                                                                                                                                                        Note:
                                                                                                                                                                                                                               0.86                 94.47             $240,143                                                                                                     SMITH GARY                                                                                                                                                                                                                                                                                                                                                                                             N/A                            No                             Residential                                                                                                                                                                                                                                                                                                                                                            Construction      101,764.37       3/2014         9,779.87
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                          remediated       03/19/2014                                                                                                         The Preservation Resource Center of New Orleans (PRC) never owned the property, but remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 and Self
                                                                                                                                                                                                                                                                                                                                                                                   SMITH GREGORY                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 it and the home owner assigned the remediation claim and all claims to PRC with the exception of
                                                                                                                                                                                                                                                                                                                                                                                   WILLIAMS OLLIE                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                personal property and personal injury claims. The remediation work was performed by contractors
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    and PRC personnel. A claim has been filed with PRC's insurer but no payments made for this
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       property at this time
  453   RP & Omni    Preservation Alliance of   5441-3 Chartres        New Orleans   LA      70117   [IX], [XV],             5/5/2011   Yes      Yes          1973        Builder's Floor Plan            Yes                                                                         Crescent City   Photo            "Made in China Crescent City 27                 D           TAYLOR CHARLIE          No Record of           City or County Tax                                                   Simon, Peragine, Smith & Redfearn, Robert Redfearn, Jr.               (504) 569-2030   redfearnjr@spsr-law.com                                                                                                                                                                                                              4.18.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Section VI - Prior Payments (Continued)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         $150 - Stipend Payment - CDW Settlement Program
        XX           New Orleans, Inc., d/b/a                                                        [XVI], [XVII],                                                                                                                                                                                                    Gypsum Incorporated                                                                 Ownership              Records                                                              LLP                                1100 Poydras St., 30th Floor
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     $2,411.29 - Chartis Insurance
                     Preservation Resource                                                           [XX]                                                                                                                                                                                                              Manufactured in P.R.C."                                                                                                                                                                                            New Orleans, LA 70163
                     Center of New Orleans                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 No                                                                                                                                                                                                                                                                                                                                                                               Completely      01/03/2012 -     Ronald L. Mills,
                     (Owner: Charlie Taylor)                                                                                                                                                                                   0.86                 94.47             $186,389                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential                                                                                                                                                                                                                                                                                                                                                                              32,335.25       12/2012         9,988.03
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                          remediated       12/03/2012       Inc. and Self                                                                                                                                     NOTE:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     The Preservation Resource Center (PRC) never owned the property, but remediated it and the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  home owner assigned the remediation claim and all claims to PRC with the exception of personal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 property and personal injury claims. The remediation work was performed by contractors and PRC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              personnel
  454   RP & Omni    Preservation Alliance of   3610 Louisiana Ave.    New Orleans   LA      70125   [IX], [XV],             5/5/2011   Yes      Yes          3110      Property Tax Assessor's           Yes                                                                         Crescent City   Inspection                                    27                 D           SIMS LESLIE JR          No Record of           City or County Tax                                                   Simon, Peragine, Smith & Redfearn, Robert Redfearn, Jr.               (504) 569-2030   redfearnjr@spsr-law.com                                                                                                                                                                                                              4.18.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Section VI. Prior Payments (Continued)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          $150 - Stipend Payment - CDW Settlement Program
        XX           New Orleans, Inc., d/b/a   Pkwy.                                                [XVI], [XVII],                                                      Document with Square                                                                                                         Report                                                                                               Ownership              Records                                                              LLP                                1100 Poydras St., 30th Floor
                     Preservation Resource                                                           [XX]                                                                       Footage                                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70163
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Rebuilding
                     Center of New Orleans                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 No                                                                                                                                                                                                                                                                                                                                                                               Completely      02/22/2012 -
                                                                                                                                                                                                                               0.86                 94.47             $293,802                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential                                                                                                                                                                                                                                                                                                                                                           Together New        4,402.78        6/2012                                                                                                       Note:
                     (Owner: Leslie Sims)                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Inspection                                                                                                                                                                                                                                                                                                                                                                          remediated       06/30/2012
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Orleans                                                                                        The Preservation Resource Center of New Orleans (PRC) never owned the property, but remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 it and the home owner assigned the remediation claim and all claims to PRC with the exception of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   personal property and personal injury claims. A claim has been filed with PRC's insurer but no
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          payments made for this property at this time.
  455   Ex 10/79     Prestenback, Mae rose      2041 Livaccari Drive   Violet        LA      70092   [II(A)], [IX],         9/16/2010   Yes      Yes          1188        Inspection Showing              Yes                                                                         Crescent City   Photo            "Made in China"              27                 D           PRESTENBACH, MARY       Owner as of 6/9/15     City or County Tax             8/19/1968          Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                               3.26.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Other damages:
                                                                                                     [XV], [XVI],                                                        Floor Plan and Under                                                                                                                                                                                      ROSE DENNIS                                    Records                                                                                                   8301 W. Judge Perez Drive,                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                               Completely       10/2010 -         St. Bernard
                                                                                                                                                                                                                               0.86                 94.47             $112,202                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential     8/19/1968     4/??/2008          No           1/2009       report by materials analytical services, inc.                  //                                            No                                  //                                                                            //                                                                                 0           10/2012         3600.00        108,000.00                                            ALE: utility expenses for 2 years @ $150.00 per month =
                                                                                                     [XVII]                                                               Air Square Footage                                                                                                                                                                                                                                                                                                                                                Suite 303                                                                                                                                                                                                                                                   Inspection                                                                                                                                                                                                                                                                                                                                                                          remediated        10/2012            Project
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Chalmette, LA 70043
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Loss of use damages: 54 months x $2000 rental estimate = $108,000.00
  456   Ex 10/79     Price, Lear                7681 Branch Drive      New Orleans   LA      70128   [II(A)], [IX],         9/16/2010   Yes      Yes          2104      Property Tax Assessor's           Yes                                                                         Crescent City   Photo            "Made in China Crescent City 27                 D           PRICE EDWARD B          Owner as of 6/9/15     Tax Records + Title/Deed       5/18/1981          Current Owner      Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.13.18                                                                                         Property was repaired after Katrina. Heard
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                               Completely     late 2009-early    Higher Ground
                                                                                                     [XV], [XVI],                                                        Document with Square                                  0.86                 94.47             $198,765                                         Gypsum Incorporated                                                                                                                                                                                                  425 W. Airline Hwy, Suite B                                                                                                                                                                                                                   N/A                            No                             Residential     5/18/1981      11//2007          No           2/2008     about Chinese Drywall so I checked the drywall                   //                                            No                                  //                                                                            //                                                                             48,909.13         2010                          75,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                          remediated           2010          Construction
                                                                                                     [XVII]                                                                     Footage                                                                                                                                Manufactured in P.R.C."                                                                                                                                                                                              LaPlace, LA 70064                                                                                                                                                                                                                                                                                                                                                                             and it was labled as Chinese.
  457   Ex 10/79     Randazzo, Virginia         121 West St. Avide     Chalmette     LA      70043   [II(B)], [IX],         12/6/2010   Yes      Yes          1381      Appraisal Showing Floor           Yes                                                                         Taihe           Photo            "MADE IN CHINA" and          20, 21             I           RANDAZZO, VIRGINIA      Owner as of 6/9/15     City or County Tax            12/27/2006          Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                               3.23.18
                                                Street                                               [XV], [XVI],                                                       Plan and Square Footage                                                                                                                        "STANDARD" matches DIG                                      LUCILLE                                        Records                                                                                                   8301 W. Judge Perez Drive,                                                                                                                                                                                                                                     No
                                                                                                                                                                                                                               0.86                 94.47             $130,463                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential    12/27/2006     11/??/2006         No          10/2010       report by materials analytical services, inc.                  //                                            No                                  //                                                                            //                            No                                                                                              200,000.00
                                                                                                     [XVII]                                                                                                                                                                                                            #3                                                                                                                                                                                                                   Suite 303                                                                                                                                                                                                                                                   Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Chalmette, LA 70043
  458   Ex 10/79     Rankins, Edward and        4841 Francisco         New Orleans   LA      70126   [III], [VII],          10/7/2009   Yes      Yes          1697      Appraisal Showing Floor           Yes                                                                         Taihe           Photo            "MADE IN CHINA MEETS" 18                        I           RANKINS EDWARD J        Owner as of 6/9/15     City or County Tax             7/16/1990          Current Owner      Reich & Binstock                     Dennis Reich, Esq.               (713) 352-7883   DReich@reichandbinstock.com                                                                                                                                                                                                          6.6.18                                                                                                                                                                                                                                                                                                                                                                                     Roy Kitchens:                                   Monthly fee paid
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                        Experienced a number of problems air                                                                                                                                                                                                                   Completely     June 2015 thru
                     Pamela                     Verrette Drive                                       [XV], [XVI],                                                       Plan and Square Footage                                0.86                 94.47             $160,316                                         matches DIG #3                                              RANKINS PAMELA B                               Records                                                                                                   4265 San Felipe, Suite 1000                                                                                                                                                                                                                   N/A                            No                             Residential     7/??/1990     7/??/2007          No          12/2009                                                        No            //            No              No              No                                  //                                                                            //                                                         504-309-0423:       84,300.00        8/2015       by the City of Will supplement Not applicable.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                             conditioning unit.                                                                                                                                                                                                                           remediated     August of 2015
                                                                                                     [XVII]                                                                                                                                                                                                                                                                                                                                                                                                                                 Houston, TX 77027                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                CID#: 881039                                      New Orleans.
  459   Ex 10/79     Rareshide, Charles A. and 2404 Aramis Drive       Meraux        LA      70075   [XIII], [XV],           7/5/2011   Yes      Yes          2062        Builder's Floor Plan            Yes                                                                         Crescent City   Photo            "Crescent City Gypsum        27                 D           RARESHIDE, CHARLES Owner as of 6/9/15          City or County Tax             7/31/2008          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               3.22.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        All materials that were saved were accidentally thrown away by BSD Construction Cleaning Crew.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                               Completely       2/6/2005 -           BSD
                     Deborah A.                                                                      [XVI], [XVII]                                                                                                             0.86                 94.47             $194,797                                         Incorporated Manufactured in                                A.                                             Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                             Residential     8/1/2008       1/1/2008          No           8/2009                                                        No            //                                            No                                  //                                                                            //                                                                            $158,373.66       5/2015         $5,454.35                                         The only Photos are those that were taken by CVN Enterprise, the company that did the drywall
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                          remediated       5/26/2015         Construction
                                                                                                                                                                                                                                                                                                                       P.R.C."                                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      inspection and report.
  460   Ex 10/79     Reed, Ernest and Rosie     7539 Ebbtide Drive     New Orleans   LA      70126   [VII], [XV],           1/14/2011   Yes      Yes          2213         Inspection Showing             Yes                                                                         Taihe           Photo            "MADE IN CHINA MEET          20                 I           REED EARNEST J JR       Owner as of 6/9/15     City or County Tax            12/21/2006          Current Owner      Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.8.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                      Home came with the drywall, the AC repair
                                                                                                     [XVI], [XVII]                                                       Floor Plan and Under                                  0.86                 94.47             $209,062                                         OR EXCEEDS ASTM C1396                                       REED ROSIE C                                   Records                                                                                                   425 W. Airline Hwy, Suite B                                                                                                                                                                                                                   N/A                            No                             Residential    12/21/2006       //2006           No           8/2009                                                                      //                                            No                                  //                                                                            //                            No                                                                                               75,000.00                                                 I have incurred expenses to repair the AC unit.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                             man told me.
                                                                                                                                                                           Air Square Footage                                                                                                                          04" matches DIG #3                                                                                                                                                                                                   LaPlace, LA 70064
  461   Ex 10/79     Rey, Angel                 1332 Riviera Avenue    New Orleans   LA      70122   [II(A)], [VII],        9/16/2010   Yes      Yes          2372      Appraisal Showing Floor           Yes                                                                         Crescent City   Photo            "Made in China Crescent City 27                 D           REY LESLIE J M          Owner as of 6/9/15     City or County Tax            10/26/2006          Current Owner      Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.20.18                                                                                         heard on the news problems with Chinese                                                                                 United States
                                                                                                     [XV], [XVI],                                                       Plan and Square Footage                                                                                                                        Gypsum Incorporated"                                                                                       Records                                                                                                   425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                    No                                                                                                                     Drywall and I remembered my builder after                                                                               District Court for                                                                                                                Completely       8/1/2016 to
                                                                                                                                                                                                                               0.86                 94.47             $224,064                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential    10/25/2006     2/15/2007          No           1/2010                                                                      //                                            Yes                             1/31/2018        18-10212       Pending                                           //                                                               Self          187,377.00       2/2017         10,427.48       75,000.00
                                                                                                     [XVII]                                                                                                                                                                                                                                                                                                                                                                                                                                 LaPlace, LA 70064                                                                                                                                                                                                                                           Inspection                                                                                                               Katrina telling me all he could find was Chinese                                                                         Eastern District                                                                                                                  remediated        2/15/2017
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Drywall.                                                                                               of Louisiana
  462   Ex 10/79     Richard, Roger and         2824 Guerra Drive      Violet        LA      70092   [XV], [XVI],            7/5/2011   Yes      Yes          1222      Property Tax Assessor's           Yes                                                                         Crescent City   Photo            "Crescent City Gypsum"       27                 D           BUTLER, BRENDA L.       Owner as of 6/9/15     City or County Tax             1/19/2012          Current Owner      Barrios, Kingsdorf & Casteix         Dawn M. Barrios, Esq.          (504) 523-3300     DBarrios@bkc-law.com                                                                                                                                                                                                                 2.15.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                    Inspection performed in March 2012 confirmed
                     Brenda                                                                          [XVII]                                                              Document with Square                                  0.86                 94.47             $115,442                                                                                                                                                    Records                                                                                                   701 Poydras Street, Suite 3650                                                                                                                                                                                                                N/A                            No                             Residential    10/25/1988      5/1/2008          No           3/2012                                                                      //                                            No                                  //                                                                            //                            No                                                                                              250,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                        presence of Chinese drywall.
                                                                                                                                                                                Footage                                                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70166
  463   RP           Robinson, Harold           3035 General Taylor    New Orleans   LA      70125   [IX], [XV],             5/5/2011   Yes      Yes          1381        Inspection Showing              Yes                                                                         Crescent City   Photo            "Made in China Crescent City 27                 D           ROBINSON HAROLD L       Owner as of 6/9/15     Tax Records + Title/Deed       6/16/1992          Current Owner      Barrios, Kingsdorf & Casteix         Dawn M. Barrios, Esq.          (504) 523-3300     DBarrios@bkc-law.com                                                                                                                                                                                                                 3.22.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Section VI. Prior Payments (Continued)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          $150 - Stipend Payment - CDW Settlement Program
                                                                                                     [XVI], [XVII]                                                       Floor Plan and Under                                                                                                                          Gypsum"                                                     JR                                                                                                                                                       701 Poydras Street, Suite 3650
                                                                                                                                                                          Air Square Footage                                                                                                                                                                                                                                                                                                                                                New Orleans, LA 70166
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Iron
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                        Inspection performed in February 2011                                                                                                                                                                                                                  Completely      10/01/2012 -                                                                                                                                                        Note:
                                                                                                                                                                                                                               0.86                 94.47             $130,463                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential     6/16/1992      7/1/2007          No           2/2011                                                                      //                                            No                                  //                                                                            //                                                         Triangle/Ronald     125,215.28       4/2013                        100,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                 confirmed the presence of Chinese drywall.                                                                                                                                                                                                               remediated       04/25/2013                                                                                                          The Preservation Resource Center of New Orleans (PRC) never owned the property, but remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Mills and Self
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  it and the home owner assigned the remediation claim and all claims to PRC with the exception of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 personal property and personal injury claims. The remediation work was performed by contractors
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                and PRC personnel. A claim has been filed with PRC's insurer but no payments made for this property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            at this time
  464   Ex 10/79     Robinson, Jerome and       2609 Sand Bar Lane     Marrero       LA      70072   [III], [VII],          10/7/2009   Yes      Yes          1481        Builder's Floor Plan            Yes                                                                         Taihe           Photo            "MADE IN CHINA," and "OR 21                     I           ROBINSON,JEROME K       Owner as of 6/9/15     Tax Records + Title/Deed       3/7/2007           Current Owner      Becnel Law Firm, LLC              Salvadore Christina, Jr., Esq. (985) 536-1186        schristina@becnellaw.com                                                                                                                                                                                                             3.6.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                    We bought house new, it was constructed with
                     Ellen                                                                           [XV], [XVI],                                                                                                              0.86                 94.47             $139,910                                         EXCEEDS" matches DIG #3                                                                                                                                                                                           425 W. Airline Hwy, Suite B                                                                                                                                                                                                                      N/A                            No                             Residential     3/7/2007        //2006           No           5/2009                                                                      //                                            No                                  //                                                                            //                            No                                                                                               75,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                            Chinese Drywall
                                                                                                     [XVII]                                                                                                                                                                                                                                                                                                                                                                                                                              LaPlace, LA 70064
  465   Ex 10/79     Robinson, Karen A.         4744-46 Deomntluzin New Orleans      LA      70122   [IX], [XV],             5/5/2011   Yes      Yes          2834              Other                     Yes                                                                         Taihe           Photo            "MADE IN CHINA" and          20                 I           ROBINSON KAREN A        Owner as of 6/9/15     City or County Tax            11/30/2012          Current Owner      Lemmon Law Firm                   Andrew Lemmon, Esq.            985-783-6789          andrew@lemmonlawfirm.com                                                                                                                                                                                                             3.19.18
                                                Street                                               [XVI], [XVII]                                                                                                                                                                                                     "ASTM C1396 04" matches                                                                                    Records                                                                                                PO Box 904 (mailing address)                                                                                                                                                                                                                                      No                                                                                                                                                                                                                                                                                                                                                                               Completely
                                                                                                                                                                                                                               0.86                 94.47             $267,728                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential     12/7/1993      2//2006           No          12/2010        Inspection by R.A.C. in December of 2010                      //                                            No                                  //                                                                            //                                       December 2017 Magic Makeover          225,000.00      12/2017
                                                                                                                                                                                                                                                                                                                       DIG #3                                                                                                                                                                                                            15058 River Road                                                                                                                                                                                                                                               Inspection                                                                                                                                                                                                                                                                                                                                                                          remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Hahnville, LA 70057
  466   Ex 10/79     Roland, Linda              4308 Jeanne Marie      New Orleans   LA      70122   [III], [XV],           10/7/2009   Yes      Yes          1444      Property Tax Assessor's           Yes                                                                         Taihe           Photo            "MADE IN CHINA MEE" and 17, 18                  I           ROLAND LINDA T          Owner as of 6/9/15     City or County Tax             10/7/2003          Current Owner      Becnel Law Firm, LLC              Salvadore Christina, Jr., Esq. (985) 536-1186        schristina@becnellaw.com                                                                                                                                                                                                             3.26.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                     My AC continued to have problems and found                                                                                                                                                                                                                Completely       2/1/2018 -      Magig Makeover
                                                Place                                                [XVI], [XVII]                                                       Document with Square                                  0.86                 94.47             $136,415                                         "EXCEEDS ASTM C1396 04                                                                                     Records                                                                                                425 W. Airline Hwy, Suite B                                                                                                                                                                                                                      N/A                            No                             Residential     10/7/2003     7/20/2007          No           7/2009                                                                      //                                            No                                  //                                                                            //                                                                               73,000                     5290 (ongoing)      70,000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                 chinese drywall when making AC repairs.                                                                                                                                                                                                                  remediated        present.        COnstruction
                                                                                                                                                                                Footage                                                                                                                                ST" matches DIG #3                                                                                                                                                                                                LaPlace, LA 70064
  467   Ex 10/79     Romain, Eric J. and Tracy 2350 Lyndel Drive    Chalmette        LA      70043   [III], [VII],          10/7/2009   Yes      Yes          3658      Appraisal Showing Floor           Yes                                                                         Taihe           Photo            "04 STANDARD"           18                      I           ROMAIN, TRACY HULL Owner as of 6/9/15          Title/Deed                     1/18/2008          Current Owner      Herman, Herman & Katz             Russ Herman, Esq.              (504) 581-4892        rherman@hhklawfirm.com                                                                                                                                                                                                               3.21.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No
                     H.                        Chalmette, Apts. A-D                                  [XIII], [XV],                                                      Plan and Square Footage                                0.86                 94.47             $345,571                                                                                                                                                                                                                                                           820 O'Keefe Avenue                                                                                                                                                                                                                               N/A                            No                            Commercial       1/18/2008      5/1/2007          No           8/2009                           n/a                                        //                                            No                                  //                                        Short Sale     $$135,521.06     8/31/2011      $37,000.00         No                                                                                              $13,050.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection
                                                                                                     [XVI], [XVII]                                                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70113
  468   Ex 10/79     Rondeno, Charlotte         7543 Lady Gray Street New Orleans    LA      70127   [IX], [XV],             5/5/2011   Yes      Yes          2481      Appraisal Showing Floor           Yes                                                                         Taihe           Photo                                         14, 16, 18         H, I        RONDENO CHARLOTTE Owner as of 6/9/15           City or County Tax             3/4/2005           Current Owner      Barrios, Kingsdorf & Casteix      Dawn M. Barrios, Esq.          (504) 523-3300        DBarrios@bkc-law.com                                                                                                                                                                                                                 3.21.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                     Inspection performed in May 2011 confirmed                                                                                                                                                                                                                Completely     July 2013-April
                                                                                                     [XVI], [XVII]                                                      Plan and Square Footage                                0.86                 94.47             $234,380                                                                                                     A                                              Records                                                                                                701 Poydras Street, Suite 3650                                                                                                                                                                                                                   N/A                            No                             Residential     3/4/2005      10/1/2006          No           5/2011                                                                      //                                            No                                  //                                                                            //                                                         Self-Contractor     38,373.39        4/2015         36,589.00      175,000.00                         Additional remediation documents and receipts will be uploaded at a later date when received.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                      the presence of Chinese drywall                                                                                                                                                                                                                     remediated          2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70166
  469   Add. Taishan Rondeno, Colleen           3110 Law Street, New New Orleans     LA      70117   [II], [II(C)],         3/15/2010   Yes      Yes          1395      Property Tax Assessor's           Yes                                                                         Crescent City   Photo            Made In China; Crescent City 27                 D           TAYLOR ALBERT           Current Owner,         City or County Tax                                Current Owner      Allison Grant, P.A. Baron & Budd, Russell Budd, Esq.             (214) 521-3605        rbudd@baronbudd.com                                                                                                                                                                                                                  3.28.18
        Prop.                                   Orleans, LA 70117                                    [VII], [XV],                                                        Document with Square                                                                                                                          Gypsum                                                                              Unknown Purchase       Records                                                              P.C.                              Baron & Budd
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                                 Partially
                                                                                                     [XVI], [XVII]                                                              Footage                                        0.86                 94.47             $131,786                                                                                                                             Date                                                                                                                          3102 Oak Lawn Ave., Ste. 1100                                                                                                                                                                                                                    N/A                            No                             Residential    ??/??/1950     8/??/2008          No           9/2009                                                                      //                                            No                                  //                                                                            //                                                              Self.           5,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                          remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Dallas, TX 75219

  470   Ex 10/79 &   Rousseau, Ronnie           106 Covington        Covington       LA      70433   [XV], [XVI],            7/5/2011   Yes      Yes           898              Other                     Yes                                                                         Taihe           Photo            "MEETS OR EXCEEDS"           18                 I           RONNIE ROUSSEAU         Owner as of 6/9/15     Tax Records + Title/Deed      12/31/2008          Current Owner      Paul A. Lea, Jr., APLC           Paul A. Lea, Jr., Esq.               (985) 292-2300   jean@paullea.com                                                                                                                                                                                                                     3.9.18                                                                                        Corrosion Problems, A/C coils failed, Blackening                                                                                                                                                                                                                                                                                                                                                 I have had to live in this property containing Chinese Drywall and have suffered the side effects of
        Omni XX                                 Meadows Circle, Unit                                 [XVII], [XX]                                                                                                              0.79                 86.78              $77,928                                         matches DIG #3                                                                                                                                                                                                   724 East Boston Street                                                                                                                                                                                                                            N/A              0%            No                             Residential    12/31/2008      2/1/2008          No           3/2011        of copper surfaces and Failure of various                     //                                            No                                  //                                                                            //                            No                                                                                              300,000.00      200,000.00      same. I have no money to fix, the value of my property has substantially decreased and I cannot sell
                                                A                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Covington, LA 70433                                                                                                                                                                                                                                                                                                                                                                                   electrical appliances                                                                                                                                                                                                                                                                                                                                                                                                 because of the Chinese Drywall.
  471   Ex 10/79     Ruiz, Elia                 1952 Sugar Mill Road St. Bernard     LA      70085   [III(A)], [XV],        9/16/2010   Yes      Yes          1122              Other                     Yes                                                                         Taihe           Photo            "MADE IN CHINA MEE"          17, 18             I           LOPEZ, ELIA RUIZ        Owner as of 6/9/15     City or County Tax            11/17/2000          Current Owner      Becnel Law Firm/ Morris Bart LLC Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.19.18
                                                                                                     [XVI], [XVII]                                                                                                                                                                                                     matches DIG #3                                                                                             Records                                                                                               Becnel Law Firm, LLC                                                                                                                                                                                                                                               No                                                                                                                                                                                                                                                                                                                                                                               Completely
                                                                                                                                                                                                                               0.86                 94.47             $105,995                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential    11/17/2000      1/5/2008          No           9/2009                  heard about on news.                                //                                            No                                  //                                                                            //                                                               self            70,000        12/2010         3600.00         50,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                     Inspection                                                                                                                                                                                                                                                                                                                                                                          remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        LaPlace, LA 70064
  472   Ex 10/79     Rushing, Shirley           4727 Eunice Drive      New Orleans   LA      70127   [III], [VII],          10/7/2009   Yes      Yes          1449      Property Tax Assessor's           Yes                                                                         Taihe           Photo            "MADE IN CHINA" matches 17, 18                  I           TOEFIELD SHIRLEY A      Owner as of 6/9/15     City or County Tax             1/30/1996          Current Owner      Becnel Law Firm, LLC             Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             5.14.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                    Saw a report on the news and went in my attic                                                                                                                                                                                                              Completely
                                                                                                     [XV], [XVI],                                                        Document with Square                                  0.86                 94.47             $136,887                                         DIG #3                                                                                                     Records                                                                                               425 W. Airline Hwy, Suite B                                                                                                                                                                                                                       N/A                            No                             Residential     1/30/1996     2/??/2007          No          12/2009                                                                      //                                            No                                  //                                                                            //                                            2015           Road Home         87,000.00        ??/2016        unkknown       $65,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                     and saw the tag "Made in China".                                                                                                                                                                                                                     remediated
                                                                                                     [XVII]                                                                     Footage                                                                                                                                                                                                                                                                                                                                                 LaPlace, LA 70064
  473   Ex 10/79     Russo, John                7416 Read Blvd.        New Orleans   LA      70126   [III(A)], [VII],       9/16/2010   Yes      Yes          2024        Inspection Showing              Yes                                                                         Taihe           Photo            "MADE IN CHINA, MEETS 21                        I           RUSSO JOHN J            Owner as of 6/9/15     City or County Tax             7/28/2004          Current Owner      Bruno & Bruno, LLP               Joseph Bruno, Esq.                   (504) 525-1355   jbruno@brunobrunolaw.com                                                                                                                                                                                                             3.22.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Property was inspected in May 2010 and it was
                                                                                                     [XV], [XVI],                                                        Floor Plan and Under                                                                                                                          OR EXCEEDS ASTM C1396-                                                                                     Records                                                                                               855 Baronne Street                                                                                                                                                                                                                                                 No                                                                                                                                                                                                                                                                                                                                                                               Completely                        Sigur Holmes
                                                                                                                                                                                                                               0.86                 94.47             $191,207                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential     7/28/2005       //2008           No           5/2010     confirmed that the property contained Chinese                    //                                            No                                  //                                                                            //                                            2015                             104,920.00      11/2015                        175,000.00
                                                                                                     [XVII]                                                               Air Square Footage                                                                                                                           04 STANDARD" matches DIG                                                                                                                                                                                         New Orleans, 70113                                                                                                                                                                                                                                              Inspection                                                                                                                                                                                                                                                                                                                                                                          remediated                        (Road Home)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    drywall.
                                                                                                                                                                                                                                                                                                                       #3
  474   Ex 10/79     Ryckman, Rickey            4820 Janice Avenue     Kenner        LA      70065   [III], [VII],          10/7/2009   Yes      Yes          2870        Builder's Floor Plan            Yes                                                                         Taihe           Photo            "IN CHINA, MEEETS"       15                     I           RICKEY RYCKMAN          Owner as of 6/9/15     Tax Records + Title/Deed         1998             Current Owner      Herman, Herman & Katz              Russ Herman, Esq.                  (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               3.22.18                                                                                         Moved into addition in December 2007. In
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No
                                                                                                     [XV], [XVI],                                                                                                              0.86                 94.47             $271,129                                         matches DIG #3                                                                                                                                                                                                     820 O'Keefe Avenue                                                                                                                                                                                                                              N/A                            No                             Residential     2/25/1998     2/12/2007          No                      August 2008, had to replace 1st of 3 AC coils in   No            //                                            No                                  //                                                                            //                            No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection
                                                                                                     [XVII]                                                                                                                                                                                                                                                                                                                                                                                                                               New Orleans, LA 70113                                                                                                                                                                                                                                                                                                                                                                               new addition attic.
  475   Ex 10/79     Saldibar, Erin and Gasper 612 Markham Drive       Slidell       LA      70458   [XV], [XVI],            7/5/2011   Yes      Yes          1874              Other                     Yes                                                                         Taihe           Photo            "MADE IN CHINA MEET"         19                 I           SALDIBAR, GASPER        Owner as of 6/9/15     Tax Records + Title/Deed       2/15/2007          Current Owner      Thornhill Law Firm, Fayard &       Tom Thornhill, Esq.                800-989-2707     tom@thornhilllawfirm.com                                                                                                                                                                                                             3.19.18                                                                                                                                                                                                                                                                                                                                                                  Approximately                                                                                                            A Homeowner Disclosure Affidavit consistent with PTO 26 and the Knauf settlement has been
                                                                                                     [XVII]                                                                                                                                                                                                            matches DIG #3                                              ETUX                                                                                                                Honeycutt APLC and N. Frank Elliot Thornhill Law Firm                                                                                                                                                                                                                                                                                                                                                                     Property was renovated after Hurricane Katrina
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           from December                                                                                                          previously uploaded along with the supporting documents and photographs. Loss of enjoyment is
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                      by Claimants. Claimants discovered Chinese                                                                                                                                                                                                                 Partially
                                                                                                                                                                                                                               0.79                 86.78             $162,626                                                                                                                                                                                                                         III, LLC                           1308 9th St                                                                                                                                                                                                                                     N/A                            No                             Residential     2/15/2007     6/15/2007          No           6/2012                                                                      //                                            No                                  //                                                                            //                                         30, 2012 to           Self          49,991.79                       5116.00        100,000.00       49,991.79          being estimated at $100,000.00. Also, diminution of value is at least equal to the amount of the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                drywall after investigations performed in June                                                                                                                                                                                                            remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Slidell, LA 70458                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 September 1,                                                                                                         remediation costs paid to date. The diminution may be equal to the cost of remediation assigned by
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       2012.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                2013                                                                                                               the Court and any additional costs too. All rights are reserved to amend this section of the SPPF.
  476   Ex 10/79     Salzer, Doug and Lisa      614 Carmenere Drive Kenner           LA      70065   [II], [XV],            3/15/2010   Yes      Yes          3313              Other                     Yes                                                                         Crescent City   Photo            "Made in China Crescent City 27                 D           DOUGLA SAND LISA        Owner as of 6/9/15     Tax Records + Title/Deed       12/4/1998          Current Owner      Barrios, Kingsdorf & Casteix         Dawn M. Barrios, Esq.          (504) 523-3300     DBarrios@bkc-law.com                                                                                                                                                                                                                 3.19.18                                                                                                                                                                                                                                                                                                                                                                                      Godbold
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                     Inspection performed in June 2009 confirmed                                                                                                                                                                                                               Completely      August 2015-
                                                                                                     [XVI], [XVII]                                                                                                             0.86                 94.47             $312,979                                         Gypsum Incorporated"                                        SALZER                                                                                                                                                   701 Poydras Street, Suite 3650                                                                                                                                                                                                                N/A                            No                             Residential     12/4/1998     12/1/2006          No           6/2009                                                                      //                                            No                                  //                                                                            //                                                          Construction,      166,846.00       3/2016         16,250.00      250,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                      the presence of Chinese drywall.                                                                                                                                                                                                                    remediated       March 2016
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            New Orleans, LA 70166                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 LLC
  477   Ex 10/79     Samples, Deneen            2711 Bristol Place     New Orleans   LA      70131   [III], [VII],          10/7/2009   Yes      Yes          2302      Appraisal Showing Floor           Yes                                                                         Taihe           Photo            "MADE IN CHINA MEET"         17                 I           SAMPLES DENEEN C        Owner as of 6/9/15     City or County Tax             8/3/2007           Current Owner      Martzell & Bickford                  Scott Bickford, Esq.           (504) 581-9065     srb@mbfirm.com                                                                                                                                                                                                                       3.19.18                                                                                                                                                                                                                                                                                                                                                                                                      96,820 (Road
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Road Home and
                                                                                                     [XV], [XVI],                                                       Plan and Square Footage                                                                                                                        matches DIG #3                                                                                             Records                                                                                                   338 Lafayette Street                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                               Completely                                            Home) +
                                                                                                                                                                                                                               0.86                 94.47             $217,470                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                                             3/15/1993      6/1/2007          No           4/2008                                                                      //                                            No                                  //                                                                            //                                        August 2015          Magic                            3/2016         19,197.11       6,322.96
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                          remediated                                          $3,706.24 for
                                                                                                     [XVII]                                                                                                                                                                                                                                                                                                                                                                                                                                 New Orleans, LA 70130                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Makeover, LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Appliances.
  478   Ex 10/79     Sanchez, Julius            2004 Walkers Lane      Meraux        LA      70075   [XV], [XVI],            7/5/2011   Yes      Yes          1399        Builder's Floor Plan            Yes                                                                         Crescent City   Photo            "Made in China Crescent City 27                 D           SANCHEZ, JULIUS C.      Owner as of 6/9/15     City or County Tax             12/3/1999          Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                               3.23.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                other damages:
                                                                                                     [XVII]                                                                                                                                                                                                            Gypsum Incorporated"                                                                                       Records                                                                                                   8301 W. Judge Perez Drive,                                                                                                                                                                                                                                     No                                                                                                                      Report after inspection by columbia analytic                                                                                                                                                                                                             Completely        ??/2013 -
                                                                                                                                                                                                                               0.86                 94.47             $132,164                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                                            11/30/1999     ??/??/2007         No           1/2012                                                                      //                                            No                                  //                                                                            //                                                               self          48,000.00        6/2013         15,000.00      144,000.00                                                               ALE- approximation
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Suite 303                                                                                                                                                                                                                                                   Inspection                                                                                                                                   services                                                                                                                                                                                                                               remediated         6/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Chalmette, LA 70043
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Loss of use: 72 months x $2000 = $144,000
  479   Ex 10/79     Sansome, Shelly            412 Doerr Drive        Arabi         LA      70032   [IX], [XV],             5/5/2011   Yes      Yes          2345      Appraisal Showing Floor           Yes                                                                         Taihe           Photo            "MADE IN CHINA MEET      17                     I           SANSONE, SHELLY         Owner as of 6/9/15     City or County Tax             4/27/2006          Current Owner      The Lambert Firm Greg DiLeo Law Hugh Lambert, Esq.                    (504) 529-2931   hlambert@thelambertfirm.com                                                                                                                                                                                                          3.21.18
                                                                                                     [XVI], [XVII]                                                      Plan and Square Footage                                                                                                                        OR EXCEEDS ASTM C1396                                       MICHELE                                        Records                                                              Offices Kanner & Whiteley, LLC  701 Magazine St,                                                                                                                                                                                                                                                    No                                                                                                                      Saw on TV; Fried suggested we get house
                                                                                                                                                                                                                               0.86                 94.47             $221,532                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential     4/11/2016       //2007           No          10/2008                                                                      //                                            No                                  //                                                                            //                                                                                                                            800,000.00
                                                                                                                                                                                                                                                                                                                       04 STANDARD" matches DIG                                                                                                                                                        Milstein, Adelman & Kreger, LLP New Orleans LA 70130                                                                                                                                                                                                                                             Inspection                                                                                                               checked because of problems we were having.
                                                                                                                                                                                                                                                                                                                       #3
  480   Ex 10/79     Scallan, Patricia E. and   3912 Charles Drive     Chalmette     LA      70043   [III], [IX], [XV],     10/7/2009   Yes      Yes          1069        Builder's Floor Plan            Yes                                                                         Taihe           Photo                                     17                     I           WELLS, PATRICIA         Owner as of 6/9/15     City or County Tax            11/18/1994          Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                               3.23.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ALE expenses: $9900.00 rent plus $1000.00 moving costs
                     Ronald                                                                          [XVI], [XVII]                                                                                                                                                                                                                                                                 ECKELMANN                                      Records                                                                                                   8301 W. Judge Perez Drive,                                                                                                                                                                                                                                     No                                                                                                                      Report after inspection by materials analytic                                                                                                                                                                                                            Completely                        Robert Wolfe
                                                                                                                                                                                                                               0.86                 94.47             $100,988                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential    11/10/1994     1/??/2008          No           9/2009                                                                      //                                            No                                  //                                                                            //                                       6/2015 - 4/2016                       80,580.00        4/2016         10,900.00      168,000.00                                 remediation costs: $78,300.00 for contractor plus $2280.00 for A/C duct work
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Suite 303                                                                                                                                                                                                                                                   Inspection                                                                                                                                 services, inc.                                                                                                                                                                                                                           remediated                        Construction
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Chalmette, LA 70043
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  loss of use: was in house with cdw for approximately 84 months x $2000 per month rental value
  481   Ex 10/79     Schott, Mark and Susan     6673 Marshall Foch     New Orleans   LA      70124   [II(B)], [III(A)],     9/16/2010   Yes      Yes          3047      Appraisal Showing Floor           Yes                                                                         Crescent City   Photo            "Manufactured in P.R.C."     27                 D           SCHOTT MARK D           Owner as of 6/9/15     City or County Tax             7/1/1988           Current Owner      Barrios, Kingsdorf & Casteix         Dawn M. Barrios, Esq.          (504) 523-3300     DBarrios@bkc-law.com                                                                                                                                                                                                                 3.6.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                    Inspection performed in March 2010 confirmed                                                                                                                                                                                                               Completely       June 2010-         Mascari's
                                                Street                                               [XV], [XVI],                                                       Plan and Square Footage                                0.86                 94.47             $287,850                                                                                                                                                    Records                                                                                                   701 Poydras Street, Suite 3650                                                                                                                                                                                                                N/A                            No                             Residential     6/30/1988      1/1/2007          No           3/2010                                                                      //                                            No                                  //                                                                            //                                                                             80,716.79        1/2011         10,230.00      100,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                      the presence of Chinese drywall.                                                                                                                                                                                                                    remediated      January 2011     Construction Co.
                                                                                                     [XVII]                                                                                                                                                                                                                                                                                                                                                                                                                                 New Orleans, LA 70166
  482   Ex 10/79     Schubert, Alex and Beth    2301 Livaccari Drive, Violet         LA      70092   [III], [VII],          10/7/2009   Yes      Yes          1190      Property Tax Assessor's           Yes                                                                         Taihe           Photo            "MADE IN CHINA" matches 20                      I           SCHUBERT, ALEX JOHN, Owner as of 6/9/15        City or County Tax             1/3/2009           Current Owner      Martzell & Bickford                  Scott Bickford, Esq.           (504) 581-9065     srb@mbfirm.com                                                                                                                                                                                                                       3.13.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No
                                                70092                                                [XV], [XVI],                                                        Document with Square                                  0.86                 94.47             $112,419                                         DIG #3                                                      SR.                                            Records                                                                                                   338 Lafayette Street                                                                                                                                                                                                                          N/A                            No                                            12/30/2008     8/??/2007          No           8/2009                                                                      //                                            No                                  //                                                                            //                            No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection
                                                                                                     [XVII]                                                                     Footage                                                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70130
  483   Ex 10/79 &   Selzer, Nell               106 Covington        Covington       LA      70433   [XV], [XVI],            7/5/2011   Yes      Yes           898               Other                    Yes                                                                         Taihe           Photo            "EXCEEDS" matches DIG #3 17, 18                 I           NELL SELZER             Owner as of 6/9/15     Tax Records + Title/Deed       1/9/2009           Current Owner      Paul A. Lea, Jr., APLC               Paul A. Lea, Jr., Esq.         (985) 292-2300     jean@paullea.com                                                                                                                                                                                                                     3.2.18                                                                                        Corrosion Problems, A/C coils failed, Blackening                                                                                                                                                                                                                                                                                                                                                 I have had to live in this property containing Chinese Drywall and have suffered the side effects of
        Omni XX                                 Meadows Circle, Unit                                 [XVII], [XX]                                                                                                              0.79                 86.78              $77,928                                                                                                                                                                                                                                                              724 East Boston Street                                                                                                                                                                                                                        N/A              0%            No                             Residential     1/10/2009     1/10/2007          No           1/2010        of copper surfaces and Failure of various                     //                                            No                                  //                                                                            //                            No                                                                                              300,000.00      200,000.00      same. I have no money to fix, the value of my property has substantially decreased and I cannot sell
                                                F                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Covington, LA 70433                                                                                                                                                                                                                                                                                                                                                                               electrical appliances                                                                                                                                                                                                                                                                                                                                                                                                 because of the Chinese Drywall.
  484   Ex 10/79     Serigne, Paul and Hope     2408 Reunion Street Violet           LA      70092   [III(A)], [XV],        9/16/2010   Yes      Yes          2516      Appraisal Showing Floor           Yes                                                                         Taihe           Photo            MADE IN CHINA MEET OR 17                        I           SERIGNE, HOPE           Owner as of 6/9/15     Tax Records + Title/Deed       6/23/2006          Current Owner      Baron & Budd, P.C.                   Russell Budd, Esq.             (214) 521-3605     rbudd@baronbudd.com                                                                                                                                                                                                                  5.10.18
                                                                                                     [XVI], [XVII]                                                      Plan and Square Footage                                                                                                                        EXCEEDS ASTM 1396 04 ST                                     SCHLUMBRECHT                                                                                                                                             Baron & Budd
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No
                                                                                                                                                                                                                               0.86                 94.47             $237,687                                                                                                                                                                                                                                                              3102 Oak Lawn Ave., Ste. 1100                                                                                                                                                                                                                 N/A                            No                             Residential     10//2007          //             No          ??/2009                           N/A                                        //                                            No                                  //                                                                            //                            No                                                                                              200,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Dallas, TX 75219

  485   Ex 10/79     Shelmire, Geraldine        4208 Van Avenue        New Orleans   LA      70122   [VII], [XV],           1/14/2011   Yes      Yes          1334        Inspection Showing              Yes                                                                         Taihe           Photo            "MADE IN CHINA" and          17, 18             I           SHELMIRE ADAM           Owner as of 6/9/15     Tax Records + Title/Deed       9/27/1971          Current Owner      Bruno & Bruno, LLP                   Joseph Bruno, Esq.               (504) 525-1355   jbruno@brunobrunolaw.com                                                                                                                                                                                                             3.21.18                                                                                       Property was inspected in April 2010 and it was
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No
                                                                                                     [XVI], [XVII]                                                       Floor Plan and Under                                  0.86                 94.47             $126,023                                         "EXCEEDS ASTM C1396"                                                                                                                                                                                                 855 Baronne Street                                                                                                                                                                                                                            N/A                            No                             Residential     9/27/1971       //2007           No           4/2010      confirmed that the property contained Chinese                   //                                            No                                  //                                                                            //                            No                                                                                              250,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection
                                                                                                                                                                          Air Square Footage                                                                                                                           matches DIG #3                                                                                                                                                                                                       New Orleans, 70113                                                                                                                                                                                                                                                                                                                                                                                       drywall.
  486   Ex 10/79     Sigur, Frederick           3608-10 Packenham      Chalmette     LA      70043   [II], [IX], [XV],      3/15/2010   Yes      Yes          1845        Builder's Floor Plan            Yes                                                                         Crescent City   Photo            "Made in China Crescent City 27                 D           SIGUR, KENNETH M., JR. Owner as of 6/9/15      City or County Tax             11/3/2004          Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                               3.23.18
                                                Dr.                                                  [XVI], [XVII]                                                                                                                                                                                                     Gypsum Incorporated"                                                                                       Records                                                                                                   8301 W. Judge Perez Drive,                                                                                                                                                                                                                                     No                                                                                                                      Report after inspection by materials analytic                                                                                                                                                                                                            Completely                                                                                                                                                                   other damages:
                                                                                                                                                                                                                               0.86                 94.47             $174,297                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                                             11/1/2004     9/??/2006          No          12/2009                                                                      //                                            No                                  //                                                                            //                                             self        2/2010 - 1/2011     39,180.25        1/2011                        104,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Suite 303                                                                                                                                                                                                                                                   Inspection                                                                                                                                 services, inc.                                                                                                                                                                                                                           remediated                                                                                                                                              Loss of use- 52 months x $2000.00 per month = $104,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Chalmette, LA 70043
  487   Ex 10/79     Silver Creek Baptist       2334 Tupelo Street     New Orleans   LA      70117   [XIII], [XV],           7/5/2011   Yes      Yes          1398         Inspection Showing             Yes                                                                         Taihe           Photo            "MADE IN CHINA MEET      19                     I           SILVER CREEK BAPTIST Owner as of 6/9/15        City or County Tax             1/3/2012           Current Owner      The Lambert Firm Kanner &            Hugh Lambert, Esq.               (504) 529-2931   hlambert@thelambertfirm.com                                                                                                                                                                                                          3.21.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No
                     Church c/o Rev. Will                                                            [XVI], [XVII]                                                       Floor Plan and Under                                  0.86                 94.47             $132,069                                         OR EXCEEDS" matches DIG                                     CHURCH                                         Records                                                              Whitely Greg Dileo                   701 Magazine St,                                                                                                                                                                                                                              N/A                            No                            Commercial        //1962        10//2007          No                                                                                       //                                            No                                  //                                                                            //                            No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection
                     McCabney                                                                                                                                              Air Square Footage                                                                                                                          #3                                                                                                                                                                                                                   New Orleans LA 70130
  488   Ex 10/79     Simmons, Sandra and        240 Latigue Road       Waggaman      LA      70094   [III], [VII],          10/7/2009   Yes      Yes          3120      Appraisal Showing Floor           Yes                                                                         Taihe           Photo            "MADE IN CHINA MEET      19                     I           SIMMONS,JAMES P         Owner as of 6/9/15     Mortgage Documents               2008             Current Owner      Becnel Law Firm/ Morris Bart LLC Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.6.18
                     James                                                                           [XV], [XVI],                                                       Plan and Square Footage                                                                                                                        OR EXCEEDS ASTM C1396                                                                                                                                                                                                Becnel Law Firm, LLC                                                                                                                                                                                                                                           No
                                                                                                                                                                                                                               0.86                 94.47             $294,746                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential     1/23/2006         //             No           8/2009                                                                      //                                            No                                  //                                                                            //                            No                                                                                               95,000.00                       Had to replace electronics and appliances in the house. Out of pockets expenses were $42,965.28
                                                                                                     [XVII]                                                                                                                                                                                                            04 STANDARD" matches DIG                                                                                                                                                                                             425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                 Inspection
                                                                                                                                                                                                                                                                                                                       #3                                                                                                                                                                                                                   LaPlace, LA 70064
  489   Ex 10/79     Simon, Reginald            4962 Painters Street   New Orleans   LA      70122   [IX], [XV],             5/5/2011   Yes      Yes          1810      Property Tax Assessor's           Yes                                                                         Taihe           Photo            "MADE IN CHINA MEET      19, 20                 I           SIMON REGINALD D        Owner as of 6/9/15     City or County Tax            12/29/2006          Current Owner      Hurricane Legal Center, LLC          Jacob Young, Esq.                (504) 522-4322   jacob@jacobyounglaw.com                                                                                                                                                                                                              5.3.18
                                                                                                     [XVI], [XVII]                                                       Document with Square                                                                                                                          OR EXCEEDS ASTM C1396                                                                                      Records                                                                                                   Young Law Firm                                                                                                                                                                                                                                                 No
                                                                                                                                                                                                                               0.86                 94.47             $170,991                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No                             Residential      //2005         //2006           No            2010            Appliances and piping discoloration                        //                                            No                                  //                                        Foreclosure         N/A         12/14/2017                        No                                                                                66,000                        146,321.00
                                                                                                                                                                                Footage                                                                                                                                04 STANDARD" matches DIG                                                                                                                                                                                             1010 Common St., Suite 3040                                                                                                                                                                                                                                 Inspection
                                                                                                                                                                                                                                                                                                                       #3                                                                                                                                                                                                                   New Orleans, LA 70112
  490   Ex 10/79     Sims, Elvina and Darryl    4991 Dorgenois Street New Orleans    LA      70117   [IX], [XV],             5/5/2011   Yes      Yes          1960      Appraisal Showing Floor           Yes                                                                         Taihe           Photo            "MADE IN CHINA MEET" 20                         I           SIMS DARRYL J           Owner as of 6/9/15     City or County Tax            10/10/2003          Current Owner      Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.19.18                                                                                         Heard about issues on news and we were                                                                                                                                                                                                                                                         Lucas                                       $3500 approx.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                               Completely       April - June
                                                                                                     [XVI], [XVII]                                                      Plan and Square Footage                                0.86                 94.47             $185,161                                         matches DIG #3                                              THOMPSON ELVINA                                Records                                                                                                   425 W. Airline Hwy, Suite B                                                                                                                                                                                                                   N/A                            No                             Residential     7/11/2003      11//2007          No           3/2011     having same issues with our home. Had home                       //                                            No                                  //                                                                            //                                                           Construction      48,410.00        6/2015       Gathering all     65,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                          remediated          2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            LaPlace, LA 70064                                                                                                                                                                                                                                                                                                                                                                        inspected and found Chinese Drywall.                                                                                                                                                                                                                                                         Corp                                           receipts
  491   Ex 10/79     Sims, Sarah and Michael    2017 Guerra Drive      Violet        LA      70092   [IX], [XV],             5/5/2011   Yes      Yes          1784      Property Tax Assessor's           Yes                                                                         Crescent City   Photo            "Made in China Crescent City 27                 D           SIMS, MICHAEL A. 1/2    Owner as of 6/9/15     City or County Tax             6/23/1997          Current Owner      Hurricane Legal Center, LLC          Jacob Young, Esq.                (504) 522-4322   jacob@jacobyounglaw.com
                                                                                                     [XVI], [XVII]                                                       Document with Square                                                                                                                          Gypsum Incorporated"                                                                                       Records                                                                                                   Young Law Firm                                                                                                                                                                                                                                                 No
                                                                                                                                                                                                                               0.86                 94.47             $168,534                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N/A                            No
                                                                                                                                                                                Footage                                                                                                                                                                                                                                                                                                                                                     1010 Common St., Suite 3040                                                                                                                                                                                                                                 Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            New Orleans, LA 70112
  492   Add. Taishan Singleton, Diedre          552 Huseman Lane       Covington     LA      70453   [VII], [XV],           1/14/2011   Yes      Yes          2701        Builder's Floor Plan            Yes                                                                         Taihe           Photo            EEDS ASTM                    15                 I           SINGLETON,              Owner as of 6/9/15     Mortgage Documents               2008             Current Owner      Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.26.18                                                                                          Sun COnstruction company sent us a letter
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           No
        Prop.                                                                                        [XVI], [XVII]                                                                                                             0.79                 86.78             $234,393                                                                                                     LAWRENCE III ETUX                                                                                                                                        425 W. Airline Hwy, Suite B                                                                                                                                                                                                                   N/A                            No                             Residential    12/29/2006     ??/??/2006                      4/2009      informing us the house was built with Chinese                   //                                            No                                  //                                                                            //                            No                                                                                               70,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            LaPlace, LA 70064                                                                                                                                                                                                                                                                                                                                                                                        Drywall.
                                                                                                                                                                                                                                                                                                                                                                                                                                                  Case 2:09-md-02047-EEF-MBN Document 21527-2 Filed 07/16/18 Page 9 of 9

Claimant Source      Claimant Name                Affected Property      City          State   Zip     Omni(s)                Date of Earliest PPF    Indicia    Verified    Type of Verficiation     Counsel's Declaration                                                               Product         Type of Indicia Description of Markings     Markings # from    Product       Current Owner as of   Ownership Status of   Proof of Ownership Per     Purchase Date Per   Sell Date if Applicable Counsel                            Counsel Address                  Counsel Phone    Counsel Email                                                           Global,                                                                Pre-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Amount Owed
Identifier                                        Address                                                                      Filed Taishan (Yes/No) (Yes/No)   Square      Provided Uploaded to       Verifying Square     2017 RS Means                                                Brand(s)                                                    Taishan Product ID Bucket(s)     May-August 2017 Per   Named Claimant Per         BrownGreer               BrownGreer       or Current Owner Per                                                                                                                                                               Banner, InEx                                                         Remediation                                                                                                                                               Aware property                                                                            Date Sold or                                                                                                                                                                                                                   Who Performed
                                                                                                                                                                                                                                                   2017 Cost Per SF    2017 Remediation                                                                                                                                                                                                                                                                                                                                                      Already                                                                                                                  VA        Holdback                              Remediation                                                                                  If no, when did                                                                           Assign any       Expressly                       Court                                                                                on        Date of                       Partially or                                                              Date          Alternative
                                                                                                                                   Omni                          Footage           Sharefile                Footage         Residential Location                                                                                                      Catalog                              BrownGreer           BrownGreer                                                             BrownGreer                                                                                                                            Pilot Program               Knauf        Repair and                 Foreclosure Lost Rent,                   Alternative                                      Remediation                                                  Residential or Date Property   Date CDW      had CDW at                    If CDW Installed Before Purchase, Date you Assignment of   Transferred                                                                                                                    Foreclosure or                              Short Sale Price                   Dates of           Work to     Total Cost for                                               Loss of Use  Diminution of
                                                                                                                                                                                                                                                   [B = A x $109.85]      Damages                                                                                                                                                                                                                                                                                                                                                           Remediated                            Bodily Injury                             Miscellaneous             Tenant Loss Settlement    Payment                   KPT %       Complete by     SPPF Completed?                                                                you become                                                                              Rights with   Retain Rights to   Bankruptcy    Bankruptcy        Date of Filing   Docket No.   Present Status                  Loan/Mortgage Foreclosure or                   Completely                                                              Remediation       Living                                                                                  SPPF Comments/ Notes
                                                                                                                                                                                                                                  Factor                                                                                                                                                                                                                                                                                                                                                                                       Payments                Remediation    Relocation                or Short Sale Use, or Sales                  Living                                          Option                                                     commercial?      Acquired       Installed      time of                            Learned it Contained CDW               Rights?       Property if                                                                                                                    Short Sale?                                 (if applicable)                  Remediation        Remediate     Remediation                                                and Enjoyment    Value
                                                                                                                                                                                                                                                                           [SF x B]                                                                                                                                                                                                                                                                                                                                                        Home (ARH)                                                                                                             Gross Award   Amount                                  KPT?                                                                                           aware?                                                                                  Sale?       Pursue Claim?                     Filed In                                                                         at time of    Short Sale                    Remediated?                                                               Complete       Expenses
                                                                                                                                                                                                                                   [A]                                                                                                                                                                                                                                                                                                                                                                                                                                Expenses                                                             Expenses                                                                                                                                                   purchase?                                                                                Applicable                                                                                                                                                                                                                      Property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Foreclosure
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        (GBI)                                                              (PRALE)
  493   Ex 10/79     Slavich, Randy and Susan 13 Brittany Place          Arabi         LA      70032   [XV], [XVI],              7/5/2011   Yes      Yes          3470      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS        15, 21             I           SLAVICH, RANDY L. & Owner as of 6/9/15        City or County Tax             6/21/2006          Current Owner      Gainsburgh Benjamin                  Gerald Meunier, Esq.             (504) 522-2304   gmeunier@gainsben.com                                                                                                                                                                                                                4.16.18                                                                                                                                                                                                                                                                                                                                                                                     Self, family,                                                                                         After losing everything on August 29, 2005, from Hurricane Katrina, we purchased the house at 13
                                                                                                       [XVII]                                                                Document with Square                                                                                                                        OR EXCEEDS ASTM"                                            SLAVICH, SUSAN CLINE                          Records                                                                                                   2800 Energy Centre                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              friends, & hired                                                                                        Brittany Place, Arabi, LA using most of our money to rebuild, mostly peace meal, by ourselves. Then
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     When the appliances started to fail! After
                                                                                                                                                                                    Footage                                                                                                                              matches DIG #3                                                                                                                                                                                                      1100 Poydras Street                                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                             Completely        9/22/12 -          help - sheet                                                                                          6 years later learning we had to remove everything form our established home, furniture, cabinets,
                                                                                                                                                                                                                                   0.86                 94.47             $327,811                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     6/6/2006      10/6/2006          No           9/2012      Hurricane Issac 9/12 - when we lost electricity    No           //            No                              No                                //                                                                            //
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             New Orleans, LA 70163                                                                                                                                                                                                                                       Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated         5/22/13        rock installation,                                                                                       appliances, toilets, etc. back to the studs, we were devastated mentally & physically. Again we had
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       for 5 days. There was a sulfur smell.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 finishing &                                                                                          to rebuild using most of our money because of no fault of ours or mother nature, but because of a
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   painting                                                                                                                            company who sold us tainted drywall.
  494   Ex 10/79     Smiles, John and Jacquelyn2021 Walkers Lane         Meraux        LA      70075   [VII], [XV],             1/14/2011   Yes      Yes          1389        Inspection Showing              Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                 D           SMILES, JOHN A.         Owner as of 6/9/15    City or County Tax            11/26/2011          Current Owner      Bruno & Bruno, LLP                   Joseph Bruno, Esq.               (504) 525-1355   jbruno@brunobrunolaw.com                                                                                                                                                                                                             3.22.18                                                                                        Property was inspected in August 2010 and it
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No
                                                                                                       [XVI], [XVII]                                                         Floor Plan and Under                                  0.86                 94.47             $131,219                                       Gypsum Incorporated                                                                                       Records                                                                                                   855 Baronne Street                                                                                                                                                                                                                            N/A                            No                             Residential      //1987         //2007                        8/2010       was confirmed that the property contained                      //                                            No                                //                                                                            //                            No                                                                                                       250,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection
                                                                                                                                                                              Air Square Footage                                                                                                                         Manufactured in P.R.C."                                                                                                                                                                                             New Orleans, 70113                                                                                                                                                                                                                                                                                                                                                                                  Chinese drywall.
  495   Ex 10/79     Smith, Allen and Janis       25720 E. Sycamore      Lacombe       LA      70445   [II(B)], [XV],           12/6/2010   Yes      Yes          1385              Other                     Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET          17                 I           ALLEN B. SMITH ET UX Owner as of 6/9/15       Tax Records + Title/Deed      12/15/2008          Current Owner      Whitfield, Bryson & Mason            Dan Bryson, Esq.                 919-600-5000     dan@wbmllp.com                                                                                                                                                                                                                       3.22.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No
                                                  Street                                               [XVI], [XVII]                                                                                                               0.79                 86.78             $120,190                                       OR EXCEEDS ASTM"                                                                                                                                                                                                    900 W. Morgan Street                                                                                                                                                                                                                          N/A                            No                             Residential    12/15/2008     ??/??/2008         No           8/2010                                                                  7/19/2017         No              Yes             No                                //                                                                            //                            No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection
                                                                                                                                                                                                                                                                                                                         matches DIG #3                                                                                                                                                                                                      Raleigh, NC 27603
  496   Ex 10/79     Smith, Cheryl and George 79 Derbes                  Gretna        LA      70053   [XV], [XVI],              7/5/2011   Yes      Yes          4912        Builder's Floor Plan            Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET          17                 I           GEORGE AND CHERYL Owner as of 6/9/15          Tax Records + Title/Deed       6/23/2003          Current Owner      Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.9.18                                                                                         Heard about it on the news, and inspected our
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No
                                                                                                       [XVII]                                                                                                                      0.86                 94.47             $464,002                                       OR EX" matches DIG #3                                       SMITH                                                                                                                                                   425 W. Airline Hwy, Suite B                                                                                                                                                                                                                   N/A                            No                             Residential     6/23/2003       //2006           No           7/2012         house due to us experiencing the same                        //                                            No                                //                                                                            //                            No                                                                                                        81,625.94
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             LaPlace, LA 70064                                                                                                                                                                                                                                                                                                                                                                          problems. Found Chinese Drywall
  497   Ex 10/79     Smith, Gary                  4849-51 Lynhuber       New Orleans   LA      70126   [II], [VII], [XV],       3/15/2010   Yes      Yes          2335        Inspection Showing              Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                 D           4849 LYNNHUBER, LLC Owner as of 6/9/15        City or County Tax             7/23/2004          Current Owner      Bruno & Bruno, LLP                   Joseph Bruno, Esq.               (504) 525-1355   jbruno@brunobrunolaw.com                                                                                                                                                                                                             3.22.18                                                                                        Property was inspected in August 2009 and it
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                             Completely     May 2011 to July    Self and
                                                  Drive                                                [XVI], [XVII]                                                         Floor Plan and Under                                  0.86                 94.47             $220,587                                       Gypsum Incorporated                                                                                       Records                                                                                                   855 Baronne Street                                                                                                                                                                                                                            N/A                            No                            Commercial       7/23/2004      6//2007           No           8/2009       was confirmed that the property contained                  6/25/2014         No              Yes             No                                //                                                                            //                                                                               65,000.00          7/2012                              60,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated          2012        Subcontractors
                                                                                                                                                                              Air Square Footage                                                                                                                         Manufactured in P.R.C."                                                                                                                                                                                             New Orleans, 70113                                                                                                                                                                                                                                                                                                                                                                                  Chinese drywall.
  498   Ex 10/79     Smith, Linda                 5001 North Prieur      New Orleans   LA      70117   [XV], [XVI],              7/5/2011   Yes      Yes          1488      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                 D           SMITH LINDA L           Owner as of 6/9/15    City or County Tax             6/4/1999           Current Owner      Whitfield, Bryson & Mason            Dan Bryson, Esq.                 919-600-5000     dan@wbmllp.com                                                                                                                                                                                                                       3.19.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                               Partially                          Habitat for
                                                  Street                                               [XVII]                                                                Document with Square                                  0.86                 94.47             $140,571                                       Gypsum Incorporated                                                                                       Records                                                                                                   900 W. Morgan Street                                                                                                                                                                                                                          N/A                            No                             Residential     6/4/1999      ??/??/2008                                         Inspection done in January 2010                          //                                            No                                //                                                                            //                                            2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated                           Humanity
                                                                                                                                                                                    Footage                                                                                                                              Manufactured in P.R.C."                                                                                                                                                                                             Raleigh, NC 27603
  499   Ex 10/79     Smith, Tarika                3005 Oak Drive         Violet        LA      70092   [II], [VII], [XV],       3/15/2010   Yes      Yes          1640        Inspection Showing              Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                 D           ENCLARDE, TARIKA        Owner as of 6/9/15    City or County Tax             8/1/2013           Current Owner      Bruno & Bruno, LLP                   Joseph Bruno, Esq.               (504) 525-1355   jbruno@brunobrunolaw.com                                                                                                                                                                                                             3.21.18                                                                                                                                                                                                                                                                                                                                                                                  Magic Makeover
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Property was inspected in August 2009 and it
                                                                                                       [XVI], [XVII]                                                         Floor Plan and Under                                                                                                                        Gypsum Incorporated                                         TRENELL                                       Records                                                                                                   855 Baronne Street                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                             Completely     August 2015 to      Construction,
                                                                                                                                                                                                                                   0.86                 94.47             $154,931                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential    11/24/1999       //2007           No           8/2009       was confirmed that the property contained                      //                                            No                                //                                                                            //                                                                               124,670.00        12/2015                             224,220.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated     December 2015        LLC (Road
                                                                                                                                                                              Air Square Footage                                                                                                                         Manufactured in P.R.C."                                                                                                                                                                                             New Orleans, 70113                                                                                                                                                                                                                                                                                                                                                                                  Chinese drywall.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Home)
  500   Ex 10/79     Snyder, Sharon F. and        1344 Gaudet Drive      Marrero       LA      70072   [IX], [XV],               5/5/2011   Yes      Yes          2701      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "EXCEEDS ASTM C1396"         17, 18             I           SNYDER,SHARON F         Owner as of 6/9/15    Mortgage Documents                                Current Owner      Gainsburgh Benjamin               Gerald Meunier, Esq.          (504) 522-2304         gmeunier@gainsben.com                                                                                                                                                                                                                4.16.18
                     Gwinn, Elizabeth R.                                                               [XVI], [XVII]                                                        Plan and Square Footage                                                                                                                      matches DIG #3                                                                                                                                                                                                   2800 Energy Centre                                                                                                                                                                                                                                                No                                                                                                                                                                                                                                                                                                                                                                             Completely       Dec - 2012 -      self - Jeremby
                                                                                                                                                                                                                                   0.86                 94.47             $255,163                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential         //            //                                                                                                      //                                            No                                //                                                                            //
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          1100 Poydras Street                                                                                                                                                                                                                                            Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated       March 2013       Leblanc (floors)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
  501   Ex 10/79     Sperier Mary Rose            2216 Plaza Drive       Chalmette     LA      70043   [III(A)], [IX],          9/16/2010   Yes      Yes          1479      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET      19                     I           SPERIER, MARY ROSE      Owner as of 6/9/15    City or County Tax            12/12/2003          Current Owner      Allison Grant, P.A. Baron & Budd, Russell Budd, Esq.            (214) 521-3605         rbudd@baronbudd.com                                                                                                                                                                                                                  3.20.18
                                                                                                       [XV], [XVI],                                                          Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                       LICCIARDI 1/2 ETALS                           Records                                                              P.C. Alters Boldt Brown Rash &    Baron & Budd
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                      An inspection of the property in February of                                                                                                                                                                                                             Partially    February 2014 - Thomas Albers
                                                                                                       [XVII]                                                                       Footage                                        0.86                 94.47             $139,721                                       04 STANDARD" matches DIG                                                                                                                                                       Culmo                             3102 Oak Lawn Ave., Ste. 1100                                                                                                                                                                                                                    N/A                            No                             Residential     7/8/1956       3/8/2007          No           2/2010                                                                      //                                            No                                //                                                                            //                                                                               48,700.00          3/2014         10,273.00           200,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                               2010 revealed the presence of Chinese drywall.                                                                                                                                                                                                           remediated       April 2014     Painting, LLC
                                                                                                                                                                                                                                                                                                                         #3                                                                                                                                                                                                               Dallas, TX 75219

  502   Ex 10/79     St. Germain, Keith           3213 Angelique Drive Violet          LA      70092   [III(A)], [VII],         9/16/2010   Yes      Yes          1856      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Manufactured in P.R.C."     27                 D           ST. GERMAIN, KEITH M. Owner as of 6/9/15      City or County Tax             3/5/2001           Current Owner      Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.9.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                    Home was repaired using Chinese Drywall after
                                                                                                       [XV], [XVI],                                                          Document with Square                                  0.86                 94.47             $175,336                                                                                                                                                 Records                                                                                                   425 W. Airline Hwy, Suite B                                                                                                                                                                                                                   N/A                            No                             Residential     3/5/2001        //2007           No           1/2010                                                                      //                                            No                                //                                                                            //                            No                                                                                                        75,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                            Hurricane Katrina
                                                                                                       [XVII]                                                                       Footage                                                                                                                                                                                                                                                                                                                                                  LaPlace, LA 70064
  503   Ex 10/79     Steele, Wanda E.             7821 Mullett Street    New Orleans   LA      70126   [III], [IX], [XV],       10/7/2009   Yes      Yes          2370               Other                    Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET          17, 20             I           STEELE WANDA E          Owner as of 6/9/15    City or County Tax             5/11/2007          Current Owner      Reich & Binstock                     Dennis Reich, Esq.               (713) 352-7883   DReich@reichandbinstock.com                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Will supplement
                                                                                                       [XVI], [XVII]                                                                                                                                                                                                     OR EXCEEDS ASTM"                                                                                          Records                                                                                                   4265 San Felipe, Suite 1000                                                                                                                                                                                                                                    No
                                                                                                                                                                                                                                   0.86                 94.47             $223,894                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential      ??/??/??      ??/??/??          No           1/2010                                                         No           //            No              No              No                                //                                                                            //                                       Will supplement.      information   Will supplement.        ??/??      Will supplement Will supplement Not applicable.
                                                                                                                                                                                                                                                                                                                         matches DIG #3                                                                                                                                                                                                      Houston, TX 77027                                                                                                                                                                                                                                           Inspection                                                                                                                                                                                                                                                                                                                                                                                                          from contractor.
  504   Ex 10/79     Steffy, Sandra and           26121 Highway 40       Bush          LA      70431   [III(A)], [VII],         9/16/2010   Yes      Yes          2249      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA," matches 21                     I           STEFFY, SANDRA          Owner as of 6/9/15    City or County Tax               2012             Current Owner      Becnel Law Firm, LLC              Salvadore Christina, Jr., Esq. (985) 536-1186        schristina@becnellaw.com
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No
                     Meyers, Peggy                                                                     [XV], [XVI],                                                         Plan and Square Footage                                0.79                 86.78             $195,168                                       DIG #3                                                                                                    Records                                                                                                425 W. Airline Hwy, Suite B                                                                                                                                                                                                                      N/A                            No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection
                                                                                                       [XVII]                                                                                                                                                                                                                                                                                                                                                                                                                             LaPlace, LA 70064
  505   Ex 10/79     Sterling, Elvin, Jr.         9921 Cane Bayou        Port Allen    LA      70767   [II(A)], [VII],          9/16/2010   Yes      Yes          7100      Appraisal Showing Floor           Yes                                                                         Crescent City   Photo          "Manufactured in P.R.C."     27                 D           STERLING ELVIN          Owner as of 6/9/15    City or County Tax             7/12/2006          Current Owner      Becnel Law Firm, LLC              Salvadore Christina, Jr., Esq. (985) 536-1186        schristina@becnellaw.com                                                                                                                                                                                                             3.22.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                        Heard it on the news and had the home
                                                  Road                                                 [XV], [XVI],                                                         Plan and Square Footage                                0.86                 94.47             $670,737                                                                                                   ALBRITTON JR                                  Records                                                                                                425 W. Airline Hwy, Suite B                                                                                                                                                                                                                      N/A                            No                             Residential     7/12/2006      1//2008                       12/2009                                                                      //                                            No                                //                                                                            //                            No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                                  inspected.
                                                                                                       [XVII]                                                                                                                                                                                                                                                                                                                                                                                                                             LaPlace, LA 70064
  506   Ex 10/79     Stone, Thomas and Lauren 2316 Gallant               Chalmette     LA      70043   [III], [IX], [XV],       10/7/2009   Yes      Yes          2013      Property Tax Assessor's           Yes                                                                         Taihe           Photo          Taihe blue-aqua edge tape    14                 H           STONE, THOMAS MARK Owner as of 6/9/15         Title/Deed                     10/5/2006          Current Owner      Becnel Law Firm, LLC              Salvadore Christina, Jr., Esq. (985) 536-1186        schristina@becnellaw.com                                                                                                                                                                                                             3.19.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                      Saw damage to metal fixtures and had the                                                                                                                                                                                                                 Partially
                                                                                                       [XVI], [XVII]                                                         Document with Square                                  0.86                 94.47             $190,168                                                                                                                                                                                                                                                        425 W. Airline Hwy, Suite B                                                                                                                                                                                                                      N/A                            No                             Residential     10/6/2001     4/30/2007                       3/2009                                                                      //                                            No                                //                                                                            //                                          late 2010             self            2500.00                           2955.54              75,000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                           house inspected.                                                                                                                                                                                                                             remediated
                                                                                                                                                                                    Footage                                                                                                                                                                                                                                                                                                                                               LaPlace, LA 70064
  507   Ex 10/79     Stout, Michael and Kristina2308 Legend Drive        Meraux        LA      70075   [III], [VII],            10/7/2009   Yes      Yes          1579      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "OR EXCEEDS ASTM C1396 17                       I           STOUT, MICHAEL          Owner as of 6/9/15    City or County Tax             8/10/2012          Current Owner      Becnel Law Firm/ Morris Bart LLC Salvadore Christina, Jr., Esq. (985) 536-1186         schristina@becnellaw.com                                                                                                                                                                                                             3.12.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  HAD to replace AC coils three times. Heard that
                                                                                                       [XV], [XVI],                                                         Plan and Square Footage                                                                                                                      04 STANDARD" matches DIG                                                                                  Records                                                                                                Becnel Law Firm, LLC                                                                                                                                                                                                                                              No                                                                                                                                                                                                                                                                                                                                                                             Completely       8/1/2012 -        I was general                                                                                           Spent $5585.67 replacing the AC Coils and other electronics in the house that went bad because of
                                                                                                                                                                                                                                   0.86                 94.47             $149,168                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     5/1/2006       4/1/2007          No           4/2009      Chinese Drywall was affecting these units so I                  //                                            No                                //                                                                            //                                                                                 88,000          11/2012                              75,000.00
                                                                                                       [XVII]                                                                                                                                                                                                            #3                                                                                                                                                                                                               425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                    Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated       11/1/2012           contractor                                                                                                                                      the drywall.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               had home inspected.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          LaPlace, LA 70064
  508   Ex 10/79     Sweeney, Kerrell and         2036 Landry Court      Meraux        LA      70075   [XV], [XVI],              7/5/2011   Yes      Yes          3660      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS 14, 18                    H, I        FOLES, SUZANNE A.       Owner as of 6/9/15    City or County Tax             2/22/1999          Current Owner      Allison Grant, P.A. Baron & Budd, Russell Budd, Esq.             (214) 521-3605        rbudd@baronbudd.com                                                                                                                                                                                                                  3.20.18
                     Suzanne                                                                           [XVII]                                                               Plan and Square Footage                                                                                                                      OR EXCEEDS" and Taihe blue-                                                                               Records                                                              P.C. Alters Boldt Brown Rash &    Baron & Budd                                                                                                                                                                                                                                                                                                                                                                             Inspection performed by Driskill Environmental                                                                                                                                                                                                                            June 2008   Tiger Air & Heat
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                               Partially
                                                                                                                                                                                                                                   0.86                 94.47             $345,760                                       aqua edge tape                                                                                                                                                                 Culmo                             3102 Oak Lawn Ave., Ste. 1100                                                                                                                                                                                                                    N/A                            No                             Residential     2/28/2002      5/1/2007          No           7/2010       Consultants, LLC, confirmed the presence of                    //                                            No                                //                                                                            //                                       through January / Brockhaus             10,099.00                                             600,000.00                    Preservation of evidence questions are inapplicable as the defective drywall has not been removed.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Dallas, TX 75219                                                                                                                                                                                                                                                                                                                                                                                 Chinese drywall in July, 2010.                                                                                                                                                                                                                                      2018       Electrica & AC


  509   Ex 10/79     Tatum, Martin and Doris      3808 Alexander Lane Marrero          LA      70072   [III], [VII],            10/7/2009   Yes      Yes          1884              Other                     Yes                                                                         Taihe           Photo          "MADE IN CHINA," matches 21                     I           TATUM,MARTIN O &        Owner as of 6/9/15    Tax Records + Title/Deed      10/27/2006          Current Owner      Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.8.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            I have had to replace a Washer ($400), Bon Marche Dryer ($357.79), washing machine ($550), A/C
                                                                                                       [XV], [XVI],                                                                                                                                                                                                      DIG #3                                                      DORIS P                                                                                                                                                 425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                    No                                                                                                                    I purchased the home with the drywall already                                                                                                                                                                                                                                                                                                                                                      units ($680), microwave ($300), fans ($600), central air system ($6500), Best Buy air unit ($344.99),
                                                                                                                                                                                                                                   0.86                 94.47             $177,981                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential    10/30/2006      9//2006           No          11/2009                                                                      //                                            No                                //                                                                            //                            No                                                                                                        75,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                                 installed.                                                                                                                                                                                                                                                                                                                                                                       Evaporator Coil to AC ($480). In addition to this I suffered from injuries and incurred medical bills as
                                                                                                       [XVII]                                                                                                                                                                                                                                                                                                                                                                                                                                LaPlace, LA 70064
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   a result.
  510   Ex 10/79     Taylor, Noel                 3110 Law Street        New Orleans   LA      70117   [XV], [XVI],              7/5/2011   Yes      Yes          2155      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                 D           TAYLOR ALBERT           Owner as of 6/9/15    City or County Tax             2/4/1946           Current Owner      The Lambert Firm                  Hugh Lambert, Esq.                  (504) 529-2931   hlambert@thelambertfirm.com                                                                                                                                                                                                          3.21.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                        The Chinese Drywall was installed after                                                                                                                                                                                                                Partially
                                                                                                       [XVII]                                                                Document with Square                                  0.86                 94.47             $203,583                                       Gypsum Incorporated                                                                                       Records                                                                                                701 Magazine St,                                                                                                                                                                                                                                 N/A                            No                             Residential         //        3/22/2009          No           9/2009                                                                      //                                            No                                //                                                                            //                                                                Self
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                             hurricane Katrina.                                                                                                                                                                                                                         remediated
                                                                                                                                                                                    Footage                                                                                                                              Manufactured in P.R.C."                                                                                                                                                                                          New Orleans LA 70130
  511   Ex 10/79     Taylor, Willie Mae           1409 Delery Street     New Orleans   LA      70117   [II], [VII], [IX],       3/15/2010   Yes      Yes           648      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "In China Cre"               27                 D           TAYLOR WILLIE M         Owner as of 6/9/15    City or County Tax             3/16/2007          Current Owner      Becnel Law Firm, LLC Morris Bart, Salvadore Christina, Jr., Esq.      (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.6.18
                                                                                                       [XV], [XVI],                                                          Document with Square                                                                                                                                                                                                                                  Records                                                              LLC Herman, Herman & Katz         Becnel Law Firm, LLC                                                                                                                                                                                                                                              No                                                                                                                      Had home inspected in May 2009 and found
                                                                                                                                                                                                                                   0.86                 94.47              $61,217                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential      7//2006      6/12/2008          No           5/2009                                                                      //                                            No                                //                                                                            //                            No                                                                                                        55,000.00
                                                                                                       [XVII]                                                                       Footage                                                                                                                                                                                                                                                                                                                                               425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                    Inspection                                                                                                                             Chinsese Drywall
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          LaPlace, LA 70064
  512   Ex 10/79     Thomas, Celeste              3313-3315 General      New Orleans   LA      70122   [III], [VII],            10/7/2009   Yes      Yes          2120        Inspection Showing              Yes                                                                         Taihe           Photo          "MADE IN CHINA MEETS 18                         I           THOMAS CELESTE S        Owner as of 6/9/15    City or County Tax             7/7/2000           Current Owner      Bruno & Bruno, LLP                Joseph Bruno, Esq.                  (504) 525-1355   jbruno@brunobrunolaw.com                                                                                                                                                                                                             3.21.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Property was inspected in December 2009 and
                                                  Taylor St                                            [XV], [XVI],                                                          Floor Plan and Under                                                                                                                        OR EXCEEDS ASTM C1396                                                                                     Records                                                                                                855 Baronne Street                                                                                                                                                                                                                                                No
                                                                                                                                                                                                                                   0.86                 94.47             $200,276                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                                             7/7/2000        //2007           No          12/2009      it was confirmed that the property contained                    //                                            No                                //                                                                            //                            No                                                                                                       102,326.00
                                                                                                       [XVII]                                                                 Air Square Footage                                                                                                                         04 STANDARD" matches DIG                                                                                                                                                                                         New Orleans, 70113                                                                                                                                                                                                                                             Inspection                                                                                                                              Chinese drywall.
                                                                                                                                                                                                                                                                                                                         #3
  513   Ex 10/79     Tillman, Joel                7522 Lucerne Street    New Orleans   LA      70128   [IX], [XV],               5/5/2011   Yes      Yes          1832      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "IN CHINA MEET OR        20                     I           LUCKY CAROLYN           Owner as of 6/9/15,   City or County Tax             1/14/2010             3/22/2016       Hurricane Legal Center, LLC      Jacob Young, Esq.               (504) 522-4322        jacob@jacobyounglaw.com
                                                                                                       [XVI], [XVII]                                                         Document with Square                                                                                                                        EXCEEDS" matches DIG #3                                                             No Longer Owns        Records                                                                                               Young Law Firm                                                                                                                                                                                                                                                     No
                                                                                                                                                                                                                                   0.86                 94.47             $173,069                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No
                                                                                                                                                                                    Footage                                                                                                                                                                                                                  Property                                                                                                                    1010 Common St., Suite 3040                                                                                                                                                                                                                                     Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70112
  514   Ex 10/79     Toney, Ferdinand and         2115-2117 Pleasure     New Orleans   LA      70122   [VII], [XV],             1/14/2011   Yes      Yes          1548        Inspection Showing              Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                 D           TONEY FERDINAND         Owner as of 6/9/15    City or County Tax             10/1/1998          Current Owner      Bruno & Bruno, LLP               Joseph Bruno, Esq.              (504) 525-1355        jbruno@brunobrunolaw.com                                                                                                                                                                                                             3.21.18                                                                                        Property was inspected in March 2010 and it
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                             Completely
                     Charlotte                    Street                                               [XVI], [XVII]                                                         Floor Plan and Under                                  0.86                 94.47             $146,240                                       Gypsum Incorporated                                                                                       Records                                                                                               855 Baronne Street                                                                                                                                                                                                                                N/A                            No                             Residential     10/1/1998       //2007           No           3/2010       was confirmed that the property contained                      //                                            No                                //                                                                            //                                         2010-2011              Self                               2011                              100,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated
                                                                                                                                                                              Air Square Footage                                                                                                                         Manufactured in P.R.C."                                                                                                                                                                                         New Orleans, 70113                                                                                                                                                                                                                                                                                                                                                                                     Chinese drywall.
  515   Ex 10/79     Treadaway, Danny and         2009 Kingbird          St. Bernard   LA      70085   [II(A)], [VII],          9/16/2010   Yes      Yes          1184      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                 D           TREADAWAY, DANNY        Owner as of 6/9/15    City or County Tax             2/5/1991           Current Owner      Becnel Law Firm/ Morris Bart LLC Salvadore Christina, Jr., Esq. (985) 536-1186         schristina@becnellaw.com                                                                                                                                                                                                             3.8.18
                     Kathy                        Boulevard                                            [XV], [XVI],                                                          Document with Square                                                                                                                        Gypsum Incorporated                                                                                       Records                                                                                               Becnel Law Firm, LLC                                                                                                                                                                                                                                               No                                                                                                                    Home was rebuilt after Hurricane Katrina. The                                                                                                                                                                                                                                                                                                                                                      We have had to change out/replace our refrigerator, stove, microwave, dishwasher, ceiling fans, fire
                                                                                                                                                                                                                                   0.86                 94.47             $111,852                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     1/30/1991     2/20/2006          No           8/2009                                                                      //                                            No                                //                                                                            //                            No                                                                                                        50,000.00
                                                                                                       [XVII]                                                                       Footage                                                                                                                              Manufactured in P.R.C."                                                                                                                                                                                         425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                     Inspection                                                                                                                drywall used to rebuild was Chinese Drywall.                                                                                                                                                                                                                                                                                                                                                                alarms, hot water heater and AC Coils due to damage caused by the drywall.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         LaPlace, LA 70064
  516   Ex 10/79     Triche, Susan and Glenn      3605 Decomine Drive Chalmette        LA      70043   [II], [III], [VII],      10/7/2009   Yes      Yes          1250      Property Tax Assessor's           No                                                                          Taihe           Photo          "MADE IN CHINA" matches 17, 18                  I           TRICHE, SUSAN GAIL  Owner as of 6/9/15        City or County Tax             3/24/1981          Current Owner      Berrigan Litchfield, LLC         Kathy Torregano, Esq.           (504) 568-0541        ktorregano@berriganlaw.net                                                                                                                                                                                                           3.22.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             10-01-06
                                                                                                       [XV], [XVI],                                                          Document with Square                                                                                                                        DIG #3                                                      MC DOUGALL &                                  Records                                                                                               201 Saint Charles Ave, Ste 4204                                                                                                                                                                                                                                    No                                                                                                                     We purchased this home in 1987. Remodeled                                                                                                                                                                                                               Completely                                                                                              100,000.00 each
                                                                                                                                                                                                                                   0.86                 94.47             $118,088                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     1/13/1987     12/1/2006          No           8/2009                                                         No           //                                            No                                //                                                                            //                                       through 03-01-      self-installed       6,954.54          1/2010          1,200.00
                                                                                                       [XVII]                                                                       Footage                                                                                                                                                                                          TRICHE, GLENN HENRY                                                                                                                                 New Orleans, LA 70170-4204                                                                                                                                                                                                                                      Inspection                                                                                                                      after Hurricane Katrina in 2006.                                                                                                                                                                                                                  remediated                                                                                                 occupant
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                07

  517   Ex 10/79     Tromatore, Ronald and        1221 Bayou Road        St. Bernard   LA      70085   [III], [VII],            10/7/2009   Yes      Yes          2199        Inspection Showing              Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET      20                     I           TROMATORE, RONALD Owner as of 6/9/15          City or County Tax            12/20/2012          Current Owner      Bruno & Bruno, LLP                   Joseph Bruno, Esq.               (504) 525-1355   jbruno@brunobrunolaw.com                                                                                                                                                                                                             3.21.18                                                                                                                                                                                                                                                                                                                                                                                     Self and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Property was inspected in April 2009 and it was
                     Peggy                                                                             [XV], [XVI],                                                          Floor Plan and Under                                                                                                                        OR EXCEEDS ASTM C1396                                       E.                                            Records                                                                                                   855 Baronne Street                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                             Completely                          Mistretta
                                                                                                                                                                                                                                   0.86                 94.47             $207,740                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     3/2/1992        //2007           No           4/2009      confirmed that the property contained Chinese                   //                                            No                                //                                                                            //                                         2009-2011                             18,838.78           2011                              100,000.00
                                                                                                       [XVII]                                                                 Air Square Footage                                                                                                                         04 STANDARD" matches DIG                                                                                                                                                                                            New Orleans, 70113                                                                                                                                                                                                                                          Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated                         Builders and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      drywall.
                                                                                                                                                                                                                                                                                                                         #3                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Repairs, Inc.
  518   Ex 10/79     Vappie, Cathy Parker         9700 Andover Drive     New Orleans   LA      70127   [II], [VII], [XIII],     3/15/2010   Yes      Yes          1709      Property Tax Assessor's           Yes                                                                         Crescent City   Inspection                              N/A                    D           VAPPIE CATHY            Owner as of 6/9/15    City or County Tax            12/12/2007          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.             (504) 581-4892      rherman@hhklawfirm.com                                                                                                                                                                                                               3.22.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                             Completely
                                                                                                       [XV], [XVI],                                                          Document with Square                                  0.86                 94.47             $161,449                        Report                                                                     PATRICE                                       Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                            N/A                            No                            Commercial       5/1/2001        //2008           No                                             n/a                                   8/16/2012         No              Yes             No                                //             No                                                             //                                                                                                                     n/a                 n/a            n/a
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated
                                                                                                       [XVII]                                                                       Footage                                                                                                                                                                                                                                                                                                                                                  New Orleans, LA 70113
  519   Ex 10/79     Viada, Jodi                  3017 Oak Drive         Violet        LA      70092   [IX], [XV],               5/5/2011   Yes      Yes          1168        Builder's Floor Plan            Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                 D           VIADA, JODI R.          Owner as of 6/9/15    City or County Tax             11/6/2012          Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.   504-271-8422        storres@torres-law.com                                                                                                                                                                                                               3.23.18
                                                                                                       [XVI], [XVII]                                                                                                                                                                                                     Gypsum"                                                                                                   Records                                                                                                   8301 W. Judge Perez Drive,                                                                                                                                                                                                                                     No
                                                                                                                                                                                                                                   0.86                 94.47             $110,341                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential    11/28/2006     3/??/2007          No           2/2011      report by by materials analytical services, inc.                //                                            No                                //                                                                            //                            No                                                                                                       200,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Suite 303                                                                                                                                                                                                                                                   Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Chalmette, LA 70043
  520   Ex 10/79     Villanueva, Lanny            1800 Michelle Drive    St. Bernard   LA      70085   [III(A)], [XV],          9/16/2010   No       Yes          1883      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS 18                        I           VILLANUEVA, LANNY       Owner as of 6/9/15    City or County Tax             6/11/1996          Current Owner      Baron & Budd, P.C.                   Russell Budd, Esq.            (214) 521-3605      rbudd@baronbudd.com                                                                                                                                                                                                                  3.22.18
                                                                                                       [XVI], [XVII]                                                        Plan and Square Footage                                                                                                                      OR EXCEEDS ASTM C1396-                                      C., JR.                                       Records                                                                                                   Baron & Budd
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No
                                                                                                                                                                                                                                   0.86                 94.47             $177,887                                       04 STANDARD" matches DIG                                                                                                                                                                                            3102 Oak Lawn Ave., Ste. 1100                                                                                                                                                                                                                 N/A                            No                             Residential     6/11/1996     11/??/2007         No          ??/2010                                                                      //                                            No                                //                                                                            //                            No                                                                                                       250,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection
                                                                                                                                                                                                                                                                                                                         #3                                                                                                                                                                                                                  Dallas, TX 75219

  521   Ex 10/79     Vincent, Earl S. (Jr.) and   4800 Stemway Drive     New Orleans   LA      70126   [XIII], [XV],             7/5/2011   Yes      Yes          2580      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET          17, 20             I           VINCENT EARL S JR       Owner as of 6/9/15    City or County Tax             4/2/1993           Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.8.18                                                                                                                                                                                                                                                                                                                                                                                      George W.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   I was having my AC serviced to make sure it
                     Myrna B.                                                                          [XVI], [XVII]                                                         Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                                                                     Records                                                                                                   820 O'Keefe Avenue                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                             Completely      08/04/2015 -           White
                                                                                                                                                                                                                                   0.86                 94.47             $243,733                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     4/2/1993       1/8/2007                       3/2015      was running properly and the worker showed         No           //                                            No                                //                                                                            //                                                                                75,000.           1/2016
                                                                                                                                                                                    Footage                                                                                                                              04 STANDARD" matches DIG                                                                                                                                                                                            New Orleans, LA 70113                                                                                                                                                                                                                                       Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated       01/08/2016         Construction
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 me the drywall
                                                                                                                                                                                                                                                                                                                         #3                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     COmpany
  522   Ex 10/79     Voebel, Matt Villanueva, 3313 Charles Court         Chalmette     LA      70043   [II(B)], [VII],          12/6/2010   Yes      Yes          1800      Property Tax Assessor's           Yes                                                                         Taihe           Video          "MADE IN CHINA MEET          20                 I           FITZGERALD, MICHAEL Owner as of 6/9/15,       City or County Tax             6/6/2008              4/26/2016       The Lambert Firm                     Hugh Lambert, Esq.               (504) 529-2931   hlambert@thelambertfirm.com                                                                                                                                                                                                          3.22.18
                     Lauren                                                                            [XV], [XVI],                                                          Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                       JOSEPH & FITZGERALD, No Longer Owns           Records                                                                                                   701 Magazine St,                                                                                                                                                                                                                                               No                                                                                                                                                                                                                                                                                                                                                                             Completely      August 2010 -
                                                                                                                                                                                                                                   0.86                 94.47             $170,046                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     5/30/2008         //             No                                                                                   4/27/2016         No              No              No                                //                                                                            //                                                                Self                              8/2013
                                                                                                       [XVII]                                                                       Footage                                                                                                                              04 STANDARD" matches DIG                                    LISA P.              Property                                                                                                                           New Orleans LA 70130                                                                                                                                                                                                                                        Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated       August 2013
                                                                                                                                                                                                                                                                                                                         #3
  523   Ex 10/79     Voltolina, Michael and       2005 MD Avenue         Kenner        LA      70062   [II(A)], [III(A)],       9/16/2010   Yes      Yes          1568        Builder's Floor Plan            Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                 D           MICHAEL AND             Owner as of 6/9/15    Tax Records + Title/Deed       7/22/1986          Current Owner      Barrios, Kingsdorf & Casteix         Dawn M. Barrios, Esq.          (504) 523-3300     DBarrios@bkc-law.com                                                                                                                                                                                                                 3.21.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                     Inspection performed in April 2010 confirmed                                                                                                                                                                                                            Completely       July 2015-           Godbold
                     Roxann                                                                            [XV], [XVI],                                                                                                                0.86                 94.47             $148,129                                       Gypsum Incorporated                                         ROXANN VOLTOLINA                                                                                                                                        701 Poydras Street, Suite 3650                                                                                                                                                                                                                N/A                            No                             Residential     7/18/1986      7/1/2006          No           4/2010                                                                      //                                            No                                //                                                                            //                                                                               95,000.00         10/2015                             250,000.00                                       Remediation documentation will be uploaded at a later date.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                      the presence of Chinese drywall.                                                                                                                                                                                                                  remediated      October 2015        Construction
                                                                                                       [XVII]                                                                                                                                                                                                            Manufactured in P.R.C."                                                                                                                                                                                             New Orleans, LA 70166
  524   Ex 10/79     Vu, Jessie and Mai, Kristy 11342 Pressburg Street New Orleans     LA      70128   [III], [VII],            10/7/2009   Yes      Yes          1973      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China C"            27                 D           VU JESSIE               Owner as of 6/9/15    City or County Tax            10/16/2006          Current Owner      Becnel Law Firm/ Morris Bart LLC Salvadore Christina, Jr., Esq. (985) 536-1186         schristina@becnellaw.com                                                                                                                                                                                                             3.16.18
                                                                                                       [XV], [XVI],                                                          Document with Square                                                                                                                                                                                    MAI KRISTY T                                  Records                                                                                                   Becnel Law Firm, LLC                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                             Completely
                                                                                                                                                                                                                                   0.86                 94.47             $186,389                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential    10/16/2006      3/5/2007          No           4/2009                  The smell in the house                              //                                            No                                //                                                                            //                                            2013                                 95,000            2013                               50,000.00
                                                                                                       [XVII]                                                                       Footage                                                                                                                                                                                                                                                                                                                                                  425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                 Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             LaPlace, LA 70064
  525   Ex 10/79     Vucinovich, Thomas and 4330 Genoa Road              New Orleans   LA      70129   [II], [IX], [XV],        3/15/2010   Yes      Yes          2174        Inspection Showing              Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                 D           VUCINOVICH THOMAS Owner as of 6/9/15          City or County Tax            12/16/2009          Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.    504-271-8422       storres@torres-law.com                                                                                                                                                                                                               4.27.18
                     Warrine                                                                           [XVI], [XVII]                                                         Floor Plan and Under                                                                                                                        Gypsum Incorporated                                         F                                             Records                                                                                                   8301 W. Judge Perez Drive,
                                                                                                                                                                              Air Square Footage                                                                                                                         Manufactured in P.R.C."                                     DOYLE KAREN L                                                                                                                                           Suite 303
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No
                                                                                                                                                                                                                                   0.86                 94.47             $205,359                                                                                                   DOYLE KIM A                                                                                                                                             Chalmette, LA 70043                                                                                                                                                                                                                           N/A                            No                                            12/16/2009     6/??/2007          No           1/2010       report by materials analytical services, inc.                  //                                            No                                //                                                                            //                            No                                                                                                       200,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection
                                                                                                                                                                                                                                                                                                                                                                                     DOYLE KAY F
                                                                                                                                                                                                                                                                                                                                                                                     DOYLE DANIEL R
                                                                                                                                                                                                                                                                                                                                                                                     DOYLE KARLA M
  526   Ex 10/79     Wagner, Angela               2844 Clouet Street     New Orleans   LA      70126   [XIII], [XV],             7/5/2011   Yes      Yes          1024      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                 D           WAGNER ANGELA     Owner as of 6/9/15          City or County Tax             7/17/1993          Current Owner      The Lambert Firm Kanner &            Hugh Lambert, Esq.               (504) 529-2931   hlambert@thelambertfirm.com                                                                                                                                                                                                          3.21.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                             Completely     December 2014 -
                                                                                                       [XVI], [XVII]                                                         Document with Square                                  0.86                 94.47              $96,737                                       Gypsum Incorporated                                                                                       Records                                                              Whitely Greg Dileo                   701 Magazine St,                                                                                                                                                                                                                              N/A                            No                             Residential     7/9/1993       4//2008           No           4/2009         Watching the news and told by a friend                       //                                            No                                //                                                                            //                                                            Road home          49,000.00          7/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated        July 2015
                                                                                                                                                                                    Footage                                                                                                                              Manufactured in P.R.C."                                                                                                                                                                                             New Orleans LA 70130
  527   Ex 10/79     Waiters, James and Terrea 3108 Angelique Drive Violet             LA      70092   [IX], [XV],               5/5/2011   Yes      Yes          1350      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET          17                 I           WAITERS, JAMES, III     Owner as of 6/9/15    City or County Tax             5/3/2011           Current Owner      Hurricane Legal Center, LLC          Jacob Young, Esq.                (504) 522-4322   jacob@jacobyounglaw.com
                                                                                                       [XVI], [XVII]                                                        Plan and Square Footage                                                                                                                      OR EXCEEDS ASTM C1396                                                                                     Records                                                                                                   Young Law Firm                                                                                                                                                                                                                                                 No
                                                                                                                                                                                                                                   0.86                 94.47             $127,535                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No
                                                                                                                                                                                                                                                                                                                         04 STANDARD" matches DIG                                                                                                                                                                                            1010 Common St., Suite 3040                                                                                                                                                                                                                                 Inspection
                                                                                                                                                                                                                                                                                                                         #3                                                                                                                                                                                                                  New Orleans, LA 70112
  528   Ex 10/79     Walker, Alphonso and         4973 Chantilly Drive   New Orleans   LA      70126   [XV], [XVI],              7/5/2011   Yes      Yes          2145        Inspection Showing              Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                 D           WALKER ALPHONSO         Owner as of 6/9/15    Tax Records + Title/Deed       5/9/1973           Current Owner      Martzell & Bickford                  Scott Bickford, Esq.             (504) 581-9065   srb@mbfirm.com                                                                                                                                                                                                                       3.21.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                      The tenet discovered Chinese drywall in the                                                                                                                                                                                                              Partially
                     Nora                                                                              [XVII]                                                                Floor Plan and Under                                  0.86                 94.47             $202,638                                       Gypsum Incorporated                                         SR                                                                                                                                                      338 Lafayette Street                                                                                                                                                                                                                          N/A                            No                             Residential     4/6/1973      3/??/2007          No           3/2008                                                                      //                                            No                                //                                                                            //                                         March 2008       Czsar Delgado        150,000.00         3/2009                                7200
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                            attic and notified me.                                                                                                                                                                                                                      remediated
                                                                                                                                                                              Air Square Footage                                                                                                                         Manufactured in P.R.C."                                                                                                                                                                                             New Orleans, LA 70130
  529   Ex 10/79     Wallace, Kim L.              25715 E. Spruce Street Lacombe       LA      70445   [II(B)], [XV],           12/6/2010   Yes      Yes          1440              Other                     Yes                                                                         Taihe           Photo          "MADE IN CHINA" and          17, 18             I           KIM WALLACE             Owner as of 6/9/15    Tax Records + Title/Deed       7/31/2008          Current Owner      Whitfield, Bryson & Mason            Dan Bryson, Esq.                 919-600-5000     dan@wbmllp.com                                                                                                                                                                                                                       3.15.18
                                                                                                       [XVI], [XVII]                                                                                                                                                                                                     "ASTM C1396 04                                                                                                                                                                                                      900 W. Morgan Street                                                                                                                                                                                                                                           No
                                                                                                                                                                                                                                   0.79                 86.78             $124,963                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     7/31/2008     5/??/2008          No           7/2010                                                                      //                                            No                                //                                                                            //                            No                                                                                                                       70,000.00
                                                                                                                                                                                                                                                                                                                         STANDARD" matches DIG #3                                                                                                                                                                                            Raleigh, NC 27603                                                                                                                                                                                                                                           Inspection

  530   Ex 10/79     Ware, Shawnell               7310 Camberley Drive New Orleans     LA      70128   [III(A)], [VII],         9/16/2010   Yes      Yes          2583      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEETS" 18                        I           WARE SHAWNELL M         Owner as of 6/9/15    City or County Tax             9/11/2006          Current Owner      Becnel Law Firm/ Morris Bart LLC Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.8.18                                                                                        I bought the house gutted as it was damaged in
                                                                                                       [XV], [XVI],                                                         Plan and Square Footage                                                                                                                      matches DIG #3                                                                                            Records                                                                                                   Becnel Law Firm, LLC                                                                                                                                                                                                                                           No                                                                                                                     Hurricane Katrina. I remodeled the home, and                                                                                                                                                                                                                                                                                                                                                      I have had to replace appliances, A/C coils, TVs, thermostats. In addition the hardware in the house
                                                                                                                                                                                                                                   0.86                 94.47             $244,016                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     9/11/2006     10/11/2006         No           1/2010                                                                      //                                            No                                //                                                                            //                            No                                                                                                        50,000.00
                                                                                                       [XVII]                                                                                                                                                                                                                                                                                                                                                                                                                                425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                 Inspection                                                                                                                  the drywall used to remodel was Chinese                                                                                                                                                                                                                                                                                                                                                                                  such as the faucets and door hinges are all pitted.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             LaPlace, LA 70064                                                                                                                                                                                                                                                                                                                                                                                        Drywall.
  531   Ex 10/79     Welcome, Dave and            7619 Berg Street       New Orleans   LA      70128   [IX], [XV],               5/5/2011   Yes      Yes          1521      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEETS 18                         I           WELCOME DAVE C          Owner as of 6/9/15    City or County Tax            11/18/1991          Current Owner      Hurricane Legal Center, LLC          Jacob Young, Esq.                (504) 522-4322   jacob@jacobyounglaw.com
                     Darnell                                                                           [XVI], [XVII]                                                         Document with Square                                                                                                                        OR EXCEEDS ASTM C1396-                                      WELCOME (WIFE                                 Records                                                                                                   Young Law Firm                                                                                                                                                                                                                                                 No
                                                                                                                                                                                                                                   0.86                 94.47             $143,689                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No
                                                                                                                                                                                    Footage                                                                                                                              04 STANDARD" matches DIG                                    DARNELL R                                                                                                                                               1010 Common St., Suite 3040                                                                                                                                                                                                                                 Inspection
                                                                                                                                                                                                                                                                                                                         #3                                                                                                                                                                                                                  New Orleans, LA 70112
  532   Ex 10/79     Wells, Crystal               534 Angela Street      Arabi         LA      70032   [IX], [XV],               5/5/2011   Yes      Yes          1100      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                 D           WELLS, CRYSTAL SUE      Owner as of 6/9/15    City or County Tax             3/20/2007          Current Owner      Hurricane Legal Center, LLC          Jacob Young, Esq.                (504) 522-4322   jacob@jacobyounglaw.com
                                                                                                       [XVI], [XVII]                                                         Document with Square                                                                                                                        Gypsum Incorporated                                                                                       Records                                                                                                   Young Law Firm                                                                                                                                                                                                                                                 No
                                                                                                                                                                                                                                   0.86                 94.47             $103,917                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No
                                                                                                                                                                                    Footage                                                                                                                              Manufactured in P.R.C."                                                                                                                                                                                             1010 Common St., Suite 3040                                                                                                                                                                                                                                 Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             New Orleans, LA 70112
  533   Ex 10/79     West, Wayne                  3216 Gallo Drive       Chalmette     LA      70043   [IX], [XV],               5/5/2011   Yes      Yes          1856      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                 D           ALMENDAREZ,         Owner as of 6/9/15,       City or County Tax            10/22/2010            12/29/2016       Parker Waichman                      Jerrold Parker, Esq.             (239) 390-1000   jerry@yourlawyer.com                                                                                                                                                                                                                 2.16.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No
                                                                                                       [XVI], [XVII]                                                         Document with Square                                  0.86                 94.47             $175,336                                       Gypsum"                                                     EDUARDO             No Longer Owns            Records                                                                                                   27300 Riverview Center Blvd                                                                                                                                                                                                                   N/A                            No                             Residential     8/19/2010      1/1/2006          No          12/2010                                                                 12/20/2017         No              No              No                                //                                                                            //                            No                                                                                        0                   0           105,000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection
                                                                                                                                                                                    Footage                                                                                                                                                                                                              Property                                                                                                                            Bonita Springs, FL 34134
  534   Ex 10/79     Westerfield, Robert and      3209 Decomine Drive Chalmette        LA      70043   [II(B)], [III],          10/7/2009   Yes      Yes          1204        Builder's Floor Plan            Yes                                                                         Crescent City   Photo          "Made in China C"            27                 D           WESTERFIELD, ROBERT Owner as of 6/9/15        City or County Tax             3/3/2008           Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                               3.23.18
                     Ashley                                                                            [IX], [XV],                                                                                                                                                                                                                                                                   J. & WESTERFIELD,                             Records                                                                                                   8301 W. Judge Perez Drive,                                                                                                                                                                                                                                     No
                                                                                                                                                                                                                                   0.86                 94.47             $113,742                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     3/3/2008      2/??/2007                      11/2009       report by materials analytical services, inc.                  //                                            No                                //                                                                            //                            No                                                                                                        200,00.00
                                                                                                       [XVI], [XVII]                                                                                                                                                                                                                                                                 ASHLEY SMITH                                                                                                                                            Suite 303                                                                                                                                                                                                                                                   Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Chalmette, LA 70043
  535   Ex 10/79 &   Wheeler, Daniel              3118 Pakenham Dr.      Chalmette     LA      70043   [XIII], [XV],             7/5/2011   Yes      Yes          1210      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "CHINA MEETS OR              18                 I           WHEELER, DANIEL P., Owner as of 6/9/15        City or County Tax             5/23/1986          Current Owner      Paul A. Lea, Jr., APLC               Paul A. Lea, Jr., Esq.           (985) 292-2300   jean@paullea.com                                                                                                                                                                                                                     3.9.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Corrosion Problems, A/C coils failed, Blackening                                                                                                                                                                                                                                                                                                                                                     I have had to live in this property containing Chinese Drywall and have suffered the side effects of
        Omni XX                                                                                        [XVI], [XVII],                                                        Document with Square                                                                                                                        EXCEEDS" matches DIG #3                                     JR. 1/2 &                                     Records                                                                                                   724 East Boston Street                                                                                                                                                                                                                                         No
                                                                                                                                                                                                                                   0.86                 94.47             $114,309                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     5/23/1986     1/10/2006          No           4/2009        of copper surfaces and Failure of various                     //                                            No                                //                                                                            //                            No                                                                                                       300,000.00      200,000.00   same. I have no money to fix, the value of my property has substantially decreased and I cannot sell
                                                                                                       [XX]                                                                         Footage                                                                                                                                                                                          CATHALOUGNE,                                                                                                                                            Covington, LA 70433                                                                                                                                                                                                                                         Inspection                                                                                                                            electrical appliances                                                                                                                                                                                                                                                                                                                                                                                                     because of the Chinese Drywall.
                                                                                                                                                                                                                                                                                                                                                                                     THELMA WHEELER 1/2
  536   Ex 10/79     White, Jerry and Celeste     2604 Creely Drive      Chalmette     LA      70043   [III], [IX], [XV],       10/7/2009   Yes      Yes          1928      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "CHINA MEET OR" matches 17                      I           DOBSON, CELESTE E.  Owner as of 6/9/15        Tax Records + Title/Deed       3/27/2001          Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                               3.23.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     other damages:
                                                                                                       [XVI], [XVII]                                                        Plan and Square Footage                                                                                                                      DIG #3                                                                                                                                                                                                              8301 W. Judge Perez Drive,                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                             Completely        7/2010 -            self and
                                                                                                                                                                                                                                   0.86                 94.47             $182,138                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     3/27/2001     10/??/2007         No           6/2009      report by by materials analytical services, inc.                //                                            No                                //                                                                            //                                                                                6,500.00         12/2012         14,400.00           124,000.00                                             ALE- 18 mos. x $800 per mo. rental = $14,400.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Suite 303                                                                                                                                                                                                                                                   Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated        12/2012            volunteers
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Chalmette, LA 70043
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Loss of use - 62 mos. x $2000.00 = $124,000.00
  537   RP           White, John and              820 Deslonde Street    New Orleans   LA      70117   [XIII], [XV],             7/5/2011   Yes      Yes          1101              Other                     Yes                                                                         Crescent City   Photo          "Crescent City"              27                 D           WHITE JOHN              Owner as of 6/9/15    Tax Records + Title/Deed       2/26/1996          Current Owner      Barrios, Kingsdorf & Casteix         Dawn M. Barrios, Esq.          (504) 523-3300     DBarrios@bkc-law.com                                                                                                                                                                                                                 3.22.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Section VI. Prior Payments (Continued)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               $150 - Stipend Payment - CDW Settlement Program
                     Evangeline                                                                        [XVI], [XVII]                                                                                                                                                                                                                                                                 WHITE EVANGELINE                                                                                                                                        701 Poydras Street, Suite 3650
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             New Orleans, LA 70166
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                    Inspection performed in March 2011 confirmed                                                                                                                                                                                                             Completely      12/01/2014 -       Tevye F. Cruz                                                                                                                                          Note:
                                                                                                                                                                                                                                   0.86                 94.47             $104,011                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     2/26/1996     ??/??/2007         No           3/2011                                                                      //                                            No                                //                                                                            //                                                                               79,484.20         12/2015         10,755.13           100,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                      the presence of Chinese drywall                                                                                                                                                                                                                   remediated       12/31/2015          and Self                                                                                              The Preservation Resource Center of New Orleans (PRC) never owned the property, but remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       it and the home owner assigned the remediation claim and all claims to PRC with the exception of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      personal property and personal injury claims. The remediation work was performed by contractors
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     and PRC personnel. A claim has been filed with PRC's insurer but no payments made for this property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 at this time
  538   Ex 10/79     White, Ronald                1926/1928 Lapeyrouse New Orleans     LA      70116   [IX], [XV],               5/5/2011   Yes      Yes          1460      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET      20                     I           WHITE RONALD J          Owner as of 6/9/15    City or County Tax             6/28/1996          Current Owner      Hurricane Legal Center, LLC      Jacob Young, Esq.                    (504) 522-4322   jacob@jacobyounglaw.com                                                                                                                                                                                                              5.3.18
                                                  Street                                               [XVI], [XVII]                                                         Document with Square                                                                                                                        OR EXCEEDS ASTM C1396                                                                                     Records                                                                                               Young Law Firm                                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                             Completely                         Self and hired
                                                                                                                                                                                                                                   0.86                 94.47             $137,926                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential      //1996         //2008           No            2010                                                                       //                                            No                                //                                                                            //                                         2011-2012                             140,000.00        10/2012                            31,050 (Rents)
                                                                                                                                                                                    Footage                                                                                                                              04 STANDARD" matches DIG                                                                                                                                                                                        1010 Common St., Suite 3040                                                                                                                                                                                                                                     Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated                            workers
                                                                                                                                                                                                                                                                                                                         #3                                                                                                                                                                                                              New Orleans, LA 70112
  539   Ex 10/79     Whitfield, Tydell Nealy      5848 Louis Prima       New Orleans   LA      70128   [III], [VII],            10/7/2009   Yes      Yes          2356      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEE"      17, 20                 I           NEALY TYDELL A          Owner as of 6/9/15    City or County Tax             5/8/1998           Current Owner      Herman, Herman & Katz            Russ Herman, Esq.                    (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               3.22.18                                                                                                                                                                                                                                                                                                                                                                                       Lucas
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                             Completely      August 2015 -
                                                  Drive, West                                          [XV], [XVI],                                                          Document with Square                                  0.86                 94.47             $222,571                                       matches DIG #3                                                                                            Records                                                                                               820 O'Keefe Avenue                                                                                                                                                                                                                                N/A                            No                             Residential     5/8/1998          //             No                                                                                       //                                            No                                //                                                                            //                                                            Construction       $56,090.00         3/2016
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated       March 2016
                                                                                                       [XVII]                                                                       Footage                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70113                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Corporation
  540   Ex 10/79     Williams, Ann                5940 Kensington Blvd. New Orleans    LA      70127   [XIII], [XV],             7/5/2011   Yes      Yes          5196        Inspection Showing              Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                 D           WILLIAMS ANN M          Owner as of 6/9/15    City or County Tax             1/11/2002          Current Owner      Barrios, Kingsdorf & Casteix     Dawn M. Barrios, Esq.                (504) 523-3300   DBarrios@bkc-law.com                                                                                                                                                                                                                 4.4.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                     Inspection performed in May 2011 confirmed                                                                                                                                                                                                              Completely      March 2014-
                                                                                                       [XVI], [XVII]                                                         Floor Plan and Under                                  0.86                 94.47             $490,866                                       Gypsum Incorporated                                                                                       Records                                                                                               701 Poydras Street, Suite 3650                                                                                                                                                                                                                    N/A                            No                             Residential     1/1/1981      12/1/2007          No           5/2011                                                                      //                                            No                                //                                                                            //                                                     Self Contractor                             11/2014                             250,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                      the presence of Chinese drywall.                                                                                                                                                                                                                  remediated     November 2014
                                                                                                                                                                              Air Square Footage                                                                                                                         Manufactured in P.R.C."                                                                                                                                                                                         New Orleans, LA 70166
  541   Ex 10/79     Williams, Arnelle and        3844 Alexander Lane Marrero          LA      70072   [II(B)], [III],          10/7/2009   Yes      Yes          1697        Builder's Floor Plan            Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS" 15                       I           WILLIAMS,ARNELLE D Owner as of 6/9/15         Tax Records + Title/Deed      11/21/2006          Current Owner      Becnel Law Firm/ Morris Bart LLC Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             4.19.18
                     Shelby                                                                            [VII], [XV],                                                                                                                                                                                                      matches DIG #3                                                                                                                                                                                                  Becnel Law Firm, LLC                                                                                                                                                                                                                                               No
                                                                                                                                                                                                                                   0.86                 94.47             $160,316                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential    11/22/2006      1/8/2008          No           5/2009         the smell and the appliances went out.                       //                                            No                                //                                                                            //                            No                                                                                    6000.00             65000.00
                                                                                                       [XVI], [XVII]                                                                                                                                                                                                                                                                                                                                                                                                                     425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                     Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         LaPlace, LA 70064
  542   Ex 10/79     Williams, Damien and         2904 Alana Lane        Marrero       LA      70072   [III(A)], [VII],         9/16/2010   Yes      Yes          1553        Builder's Floor Plan            Yes                                                                         Taihe           Photo          "CHINA MEETS" matches        18                 I           WILLIAMS,CLAUDETTE Owner as of 6/9/15         Tax Records + Title/Deed       1/26/2006          Current Owner      Becnel Law Firm/ Morris Bart LLC Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.9.18
                     Claudette                                                                         [XV], [XVI],                                                                                                                                                                                                      DIG #3                                                      R                                                                                                                                                   Becnel Law Firm, LLC                                                                                                                                                                                                                                               No                                                                                                                                                                                                                                                                                                                                                                             Completely
                                                                                                                                                                                                                                   0.86                 94.47             $146,712                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     1/26/2007      10//2006          No           7/2009                                                                      //                                            No                                //                                                                            //                                       8/27/15-3/29/17 Damien Williams         34,042.88          3/2017                              75,000.00
                                                                                                       [XVII]                                                                                                                                                                                                                                                                                                                                                                                                                            425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                     Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         LaPlace, LA 70064
  543   Ex 10/79     Williams, Deborah            2101 Caluda Lane       Violet        LA      70092   [II(A)], [III],          10/7/2009   Yes      Yes          2400      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Crescent City Gypsum        27                 D           WILLIAMS, DEBORAH       Owner as of 6/9/15    City or County Tax             7/13/2011          Current Owner      Whitfield, Bryson & Mason, LLP   Dan Bryson, Esq.                     919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No
                                                                                                       [VII], [XV],                                                          Document with Square                                  0.86                 94.47             $226,728                                       Incorporated Manufactured in                                M. 4/7                                        Records                                                              Matthews & Associates            900 W. Morgan Street                                                                                                                                                                                                                              N/A                            No                             Residential     8/17/1997     ??/??/2007                                          Inspection done in March 2010                           //                                            No                                //                                                                            //                            No
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection
                                                                                                       [XVI], [XVII]                                                                Footage                                                                                                                              P.R.C."                                                                                                                                                                                                         Raleigh, NC 27603
  544   Ex 10/79     Williams, Gail               35 East Carmack        Chalmette     LA      70043   [XV], [XVI],              7/5/2011   Yes      Yes          1190      Appraisal Showing Floor           Yes                                                                         Crescent City   Photo          "Manufactured in P.R.C."     27                 D           WILLIAMS, GAIL MAE      Owner as of 6/9/15    City or County Tax             2/19/2008          Current Owner      Becnel Law Firm, LLC             Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.7.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No
                                                                                                       [XVII]                                                               Plan and Square Footage                                0.86                 94.47             $112,419                                                                                                                                                 Records                                                                                               425 W. Airline Hwy, Suite B                                                                                                                                                                                                                       N/A                            No                             Residential     2/15/2008       //2007           No           1/2010                                                                      //                                            No                                //                                                                            //                            No                                                                                                        50,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         LaPlace, LA 70064
  545   Ex 10/79     Williams, Logan A.           2429 Judy Drive        Meraux        LA      70075   [XV], [XVI],              7/5/2011   Yes      Yes          1317      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET          20                 I           PARRA, MIRIAM           Owner as of 6/9/15,   City or County Tax            10/21/2011             8/4/2011        Herman, Herman & Katz            Russ Herman, Esq.                    (504) 581-4892   rherman@hhklawfirm.com
                                                                                                       [XVII]                                                               Plan and Square Footage                                                                                                                      OR EXCEEDS ASTM C1396                                       KARINA CONTRERAS        No Longer Owns        Records                                                                                               820 O'Keefe Avenue                                                                                                                                                                                                                                                 No
                                                                                                                                                                                                                                   0.86                 94.47             $124,417                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No
                                                                                                                                                                                                                                                                                                                         04 STANDARD" matches DIG                                                            Property                                                                                                                    New Orleans, LA 70113                                                                                                                                                                                                                                           Inspection
                                                                                                                                                                                                                                                                                                                         #3
  546   RP           Williams, Raymond and        7150 West              New Orleans   LA      70128   [IX], [XV],               5/5/2011   Yes      Yes          1542      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                 D           WILLIAMS RAYMOND J Owner as of 6/9/15         City or County Tax            10/10/2003          Current Owner      Hurricane Legal Center, LLC          Jacob Young, Esq.                (504) 522-4322   jacob@jacobyounglaw.com
                     Johnell                      Renaissance Court                                    [XVI], [XVII]                                                         Document with Square                                                                                                                        Gypsum Incorporated                                         WILLIAMS JOHNELL O                            Records                                                                                                   Young Law Firm                                                                                                                                                                                                                                                 No
                                                                                                                                                                                                                                   0.86                 94.47             $145,673                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No
                                                                                                                                                                                    Footage                                                                                                                              Manufactured in P.R.C."                                                                                                                                                                                             1010 Common St., Suite 3040                                                                                                                                                                                                                                 Inspection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             New Orleans, LA 70112
  547   Ex 10/79     Williamson, Dennis and       4901 Trace Street      Violet        LA      70092   [XV], [XVI],              7/5/2011   Yes      Yes          2500      Homeowner's Insurance             Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                 D           WILLIAMSON, DENNIS      Owner as of 6/9/15    City or County Tax            10/29/2007          Current Owner      Gainsburgh Benjamin                  Gerald Meunier, Esq.             (504) 522-2304   gmeunier@gainsben.com                                                                                                                                                                                                                4.16.18                                                                                                                                                                                                                                                                                                                                                                                                                                          52,770.00
                     Kathy                                                                             [XVII]                                                                 Form with Square                                                                                                                           Gypsum Incorporated                                         R.                                            Records                                                                                                   2800 Energy Centre                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  (Lease of out of
                                                                                                                                                                            Footage and Floor Plan                                                                                                                       Manufactured in P.R.C."                                                                                                                                                                                             1100 Poydras Street                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  state hosuing -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  During self rebuild of Katrina damaged house in                                                                                                                                                                                                                                             Robert Wolfe
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             New Orleans, LA 70163                                                                                                                                                                                                                                          No                                                                                                                                                                                                                                                                                                                                                                             Completely      August 2016 -                                                         living expenses)
                                                                                                                                                                                                                                   0.86                 94.47             $236,175                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential    10/23/2007      1//2008                                      January 2008 we saw imprint on back of                    2/6/2018          No              Yes             No                                //                                                                            //                                                           Construction,       140,151.00        11/2016
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated     November 2016                                                              $7,829.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       drywall                                                                                                                                                                                                                                                                    Inc.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  (Utilities for out
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 of state housing -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 living expenses)
  548   Ex 10/79     Wilson, Wilbert and Joyce4619 Evangeline Drive New Orleans        LA      70127   [VII], [XV],             1/14/2011   Yes      Yes          1130        Inspection Showing              Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET          13, 17             I           HICKMAN JOYCE K         Owner as of 6/9/15    City or County Tax            11/24/1999          Current Owner      Bruno & Bruno, LLP                   Joseph Bruno, Esq.               (504) 525-1355   jbruno@brunobrunolaw.com                                                                                                                                                                                                             3.22.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Property was inspected in February 2010 and it                                                                                                                                                                                                                                               JB Holton &
                                                                                                       [XVI], [XVII]                                                         Floor Plan and Under                                                                                                                        OR EXCEEDS ASTM C1396                                                                                     Records                                                                                                   855 Baronne Street                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                             Completely
                                                                                                                                                                                                                                   0.86                 94.47             $106,751                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential    11/24/1999       //2007           No           2/2010       was confirmed that the property contained                      //                                            No                                //                                                                            //                                         2015-2016        Associates, LLC      63,653.00           2016                              250,000.00
                                                                                                                                                                              Air Square Footage                                                                                                                         04 STANDARD" matches DIG                                                                                                                                                                                            New Orleans, 70113                                                                                                                                                                                                                                          Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Chinese drywall.                                                                                                                                                                                                                                                             (Road Home)
                                                                                                                                                                                                                                                                                                                         #3
  549   Ex 10/79     Wilson, Carolyn              9910 Grant Street      New Orleans   LA      70127   [VII], [XV],             1/14/2011   Yes      Yes          2186      Appraisal Showing Floor           Yes                                                                         Taihe           Photo          "MADE IN CHINA MEET          13, 17             I           WILSON CAROLYN D        Owner as of 6/9/15    City or County Tax             4/20/1999          Current Owner      Bruno & Bruno, LLP                   Joseph Bruno, Esq.               (504) 525-1355   jbruno@brunobrunolaw.com                                                                                                                                                                                                             3.22.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Property was inspected in May 2010 and it was                                                                                                                                                                                                                                                  Project
                                                                                                       [XVI], [XVII]                                                        Plan and Square Footage                                                                                                                      OR EXCEEDS ASTM C1396                                                                                     Records                                                                                                   855 Baronne Street                                                                                                                                                                                                                                             No                                                                                                                                                                                                                                                                                                                                                                             Completely
                                                                                                                                                                                                                                   0.86                 94.47             $206,511                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     4/20/1999     7/23/2007                       5/2010     confirmed that the property contained Chinese                    //                                            No                                //                                                                            //                                        2015 to 2016       Homecoming          124,712.00          2016                              250,000.00
                                                                                                                                                                                                                                                                                                                         04 STANDARD" matches DIG                                                                                                                                                                                            New Orleans, 70113                                                                                                                                                                                                                                          Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     drywall.                                                                                                                                                                                                                                                                 (Road Home)
                                                                                                                                                                                                                                                                                                                         #3
  550   Ex 10/79     Wilson, Robert F. and        2425 Pecan Drive       Chalmette     LA      70043   [IX], [XIII],             5/5/2011   Yes      Yes          1376      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                 D           COOK, PATRICIA          Owner as of 6/9/15    Tax Records + Title/Deed       7/11/2013          Current Owner      Herman, Herman & Katz                Russ Herman, Esq.                (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                               5.9.18                                                                                                                                                                                                                                                                                                                                                                                    Road Home /
                     Patricia L.                                                                       [XV], [XVI],                                                          Document with Square                                                                                                                        Gypsum Incorporated                                         LEFEBVRE                                                                                                                                                820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                David Sigur,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                    CDW occurred after Hurricane Katrina 2005 and                                                                                                                                                                                                            Completely                         Sigur Homes,
                                                                                                       [XVII]                                                                       Footage                                        0.86                 94.47             $129,991                                       Manufactured in P.R.C."                                                                                                                                                                                             New Orleans, LA 70113                                                                                                                                                                                                                         N/A                            No                             Residential     6/5/1978       9/1/2008                                                                                                   //                                            No                                //                                                                            //                                            2015                                                   2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                  property was purchased prior to CDW                                                                                                                                                                                                                   remediated                          202 Charles
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Court, SLidell,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   LA
  551   Ex 10/79     Wiltz, Kenneth and           5337 Cameron Blvd      New Orleans   LA      70112   [II], [VII], [XV],       3/15/2010   Yes      Yes          1282      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                 D           WILTZ, KENNETH L        Owner as of 6/9/15    City or County Tax             8/21/2006          Current Owner      Berniard Law Firm Gregory P.      Jeffrey Berniard, Esq.       (504) 527-6225          Jeff@getjeff.com                                                                                                                                                                                                                     3.21.18                                                                                        The Plaintiff's noticed a rotten egg smell and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      begin experiencing health problems and
                     Barbara                                                                           [XVI], [XVII]                                                         Document with Square                                                                                                                        Gypsum Incorporated                                                                                       Records                                                              DiLeo, Esquire Kanner & Whiteley, 300 Lafayette St, #101                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Common
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   electrical problems not long after the drywall                                                                                                                                                                                                                                                            0 to the Plaintiff,
                                                                                                                                                                                    Footage                                                                                                                              Manufactured in P.R.C."                                                                                                                                                        L.L.C.                            New Orleans, Louisiana 70130                                                                                                                                                                                                                                      No                                                                                                                                                                                                                                                                                                                                                                             Completely                         Ground relief
                                                                                                                                                                                                                                   0.86                 94.47             $121,111                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     8/21/2006      1/1/2007          No           5/2009     was installed. The plaintiffs became aware that     No           //                                            No                                //                                                                            //                                         08/01/2009                       a charity did the      10/2009                               200000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated                          with the St.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  that chinese drywall was used in their home in                                                                                                                                                                                                                                                                   work.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Bernard Project
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  May of 2009 after seeing the indicia of chinese
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        drywall on the back of the drywall.
  552   Ex 10/79     Wise, Rebecca                536-538 Friscoville    Arabi         LA      70032   [XV], [XVI],              7/5/2011   Yes      Yes          2250        Inspection Showing              Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                 D           WISE, REBECCA A.        Owner as of 6/9/15    City or County Tax            10/12/2000          Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.      504-271-8422     storres@torres-law.com                                                                                                                                                                                                               3.23.18                                                                                                                                                                                                                                                                                                                                                                   started
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     see prior profile form- a realty company
                                                  Avenue                                               [XVII]                                                                Floor Plan and Under                                                                                                                        Gypsum Incorporated                                                                                       Records                                                                                                   8301 W. Judge Perez Drive,                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                               Partially     approximately
                                                                                                                                                                                                                                   0.86                 94.47             $212,510                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                                             10/6/2000     5/??/2009          No           5/2012      determined drywall was installed in or around                   //                                            No                                //                                                                            //                                                                self               ??                            12,000.00           200,000.00
                                                                                                                                                                              Air Square Footage                                                                                                                         Manufactured in P.R.C."                                                                                                                                                                                             Suite 303                                                                                                                                                                                                                                                   Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated         6/2012-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   may 2012 after house was renovated in 2009.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Chalmette, LA 70043                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             unfinished
  553   Ex 10/79     Young, Irvin                 2224 Delary Street     New Orleans   LA      70117   [III], [VII],            10/7/2009   Yes      Yes          1140      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "CHINA MEE" matches DIG      13                 I           YOUNG IRVIN P           Owner as of 6/9/15    City or County Tax             4/12/1989          Current Owner      Becnel Law Firm/ Morris Bart LLC Salvadore Christina, Jr., Esq.       (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.29.18                                                                                          Drywall was installed to repair home from
                                                                                                       [XV], [XVI],                                                          Document with Square                                                                                                                        #3                                                                                                        Records                                                                                                   Becnel Law Firm, LLC                                                                                                                                                                                                                                           No                                                                                                                      Hurricane Katrina. Saw news reports about                                                                                                                                                                                                              Completely
                                                                                                                                                                                                                                   0.86                 94.47             $107,696                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N/A                            No                             Residential     4/13/1989      4/1/2008                       3/2009                                                                      //                                            No                                //                                                                            //                                          mid 2009        S&K Contractors      50,000.00          6/2009                              75,000.00
                                                                                                       [XVII]                                                                       Footage                                                                                                                                                                                                                                                                                                                                                  425 W. Airline Hwy, Suite B                                                                                                                                                                                                                                 Inspection                                                                                                                  Chinese Drywall and called to have home                                                                                                                                                                                                               remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             LaPlace, LA 70064                                                                                                                                                                                                                                                                                                                                                                                       inspected.
  554   Ex 10/79     Young, Melissa               2909 Monica Lane       Marrero       LA      70072   [III], [VII],            10/7/2009   Yes      Yes          1797        Builder's Floor Plan            Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS 21                        I           YOUNG,MELISSA A         Owner as of 6/9/15    Tax Records + Title/Deed      11/17/2006          Current Owner      Becnel Law Firm, LLC                 Salvadore Christina, Jr., Esq.   (985) 536-1186   schristina@becnellaw.com                                                                                                                                                                                                             3.21.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                      Heard about it on the news. Had the house                                                                                                                                                                                                              Completely        2/1/2013-                                                                                                                  Prior to remediation had expenses for fixing the HVAC unit and replacing broken appliances and
                                                                                                       [XV], [XVI],                                                                                                                0.86                 94.47             $169,763                                       OR EXCEEDS" matches DIG                                                                                                                                                                                             425 W. Airline Hwy, Suite B                                                                                                                                                                                                                   N/A                            No                             Residential    11/17/2006      8//2006           No           4/2009                                                                      //                                            No                                //                                                                            //                                                                Self           104,307.62        12/2013                              60,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                    inspected and found Chinese Drywall                                                                                                                                                                                                                 remediated       12/31/2013                                                                                                                                                 electronics. Totaled $6301.72.
                                                                                                       [XVII]                                                                                                                                                                                                            #3                                                                                                                                                                                                                  LaPlace, LA 70064
  555   Ex 10/79     Zhang, Zhou and Zhao,        5941 Kensington Blvd. New Orleans    LA      70127   [XIII], [XV],             7/5/2011   Yes      Yes          4432      Appraisal Showing Floor           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                 D           CAPTAIN, LLC       Owner as of 6/9/15,        City or County Tax             9/15/2006             9/14/2016       Barrios, Kingsdorf & Casteix         Dawn M. Barrios, Esq.            (504) 523-3300   DBarrios@bkc-law.com                                                                                                                                                                                                                 3.22.18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                    Inspection performed in August 2011 confirmed                                                                            Eastern District
                     Xug Ying                                                                          [XVI], [XVII]                                                        Plan and Square Footage                                0.86                 94.47             $418,691                                       Gypsum Incorporated                                                            No Longer Owns             Records                                                                                                   701 Poydras Street, Suite 3650                                                                                                                                                                                                                N/A                            No                             Residential     9/15/2006     11/8/2006          No           8/2011                                                                 11/12/2014         No              No              Yes                           1/13/2015        15-10084       Closed        Foreclosure     $242,523.55     11/12/2014                        No                                                                                                       250,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                      the presence of Chinese drywall.                                                                                   of Louisiana
                                                                                                                                                                                                                                                                                                                         Manufactured in P.R.C."                                                        Property                                                                                                                             New Orleans, LA 70166
  556   Ex 10/79     Zubrowski, Michael and       109 Indian Mound       Slidell       LA      70461   [II], [VII], [XV],       3/15/2010   Yes      Yes          2032        Inspection Showing              Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                 D           ZUBROWSKI, MICHAEL Owner as of 6/9/15         Tax Records + Title/Deed       8/20/2008          Current Owner      Bruno & Bruno, LLP                   Joseph Bruno, Esq.               (504) 525-1355   jbruno@brunobrunolaw.com                                                                                                                                                                                                             3.22.18                                                                                       Property was inspected in May 2009 and August                                                                                                                                                                                                                                                 Laurent
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            No                                                                                                                                                                                                                                                                                                                                                                               Partially    April 1, 2015 to
                     Linda                        Lane                                                 [XVI], [XVII]                                                         Floor Plan and Under                                  0.79                 86.78             $176,337                                       Gypsum Incorporated                                         J ETUX                                                                                                                                                  855 Baronne Street                                                                                                                                                                                                                            N/A                            No                             Residential     8/20/2008       //2007           No           5/2009       2009 and it was confirmed that the property                    //                                            No                                //                                                                            //                                                           Construction,       60,000.00                           450.36            250,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Inspection                                                                                                                                                                                                                                                                                                                                                                        remediated      June 30, 2015
                                                                                                                                                                              Air Square Footage                                                                                                                         Manufactured in P.R.C."                                                                                                                                                                                             New Orleans, 70113                                                                                                                                                                                                                                                                                                                                                                             contained Chinese drywall.                                                                                                                                                                                                                                                            Co.
